Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 1 of 385 PageID #: 33486




                   EXHIBIT 20
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 2 of 385 PageID #: 33487
  Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 3 of 385 PageID #: 33488
                                                                                                    6RGLXP 2[\EDWH DQG 1RFWXUQDO 6OHHS 'LVUXSWLRQ
                                                                           6WXG\ 'HVLJQ
 0(7+2'6                                                                       7KH VWXG\ GHVLJQ LQFOXGLQJ YLVLW QXPEHU DQG IUHTXHQF\ LV LO
                                                                           OXVWUDWHG LQ )LJXUH  )ROORZLQJ FOLQLF 9LVLW  SDWLHQWV UHFRUGHG
6XEMHFWV                                                                   QDUFROHSV\ V\PSWRPV DQG DGYHUVH HYHQWV DVVRFLDWHG ZLWK FXUUHQW
   3DWLHQWV LQFOXGHG LQ WKH WULDO ZHUH   \HDUV RI DJH DQG               QDUFROHSV\ WUHDWPHQWV LQ GDLO\ GLDULHV GXULQJ D GD\ OHDGLQ SHUL
PHW WKH IROORZLQJ FULWHULD GLDJQRVLV RI QDUFROHSV\ EDVHG RQ               RG )ROORZLQJ FOLQLF 9LVLW  SDWLHQWV ZHUH JUDGXDOO\ WDSHUHG IURP
DQ RYHUQLJKW 36* DQG PXOWLSOH VOHHS ODWHQF\ WHVW 06/7                   DQWLGHSUHVVDQWV RU DQ\ RWKHU PHGLFDWLRQ XVHG IRU WKH WUHDWPHQW RI
DQG FXUUHQW V\PSWRPV RI QDUFROHSV\ LQFOXGLQJ H[FHVVLYH GD\               FDWDSOH[\ GXULQJ D GD\ ZLWKGUDZDO SHULRG 7KLV ZDV IROORZHG
WLPH VOHHSLQHVV FDWDSOH[\ DQG UHFXUUHQW VOHHS DWWDFNV IRU !              E\ D ZDVKRXW SHULRG ODVWLQJ  GD\V RU  WLPHV WKH KDOIOLIH RI WKH
 PRQWKV DOO SDWLHQWV PHW FXUUHQW ,&6' FULWHULD IRU QDUFR               GLVFRQWLQXHG GUXJ ZKLFKHYHU ZDV ORQJHU EXW QRW H[FHHGLQJ 
OHSV\ ZLWK FDWDSOH[\  $GGLWLRQDO FULWHULD LQFOXGHG ZLOOLQJQHVV           GD\V :LWKGUDZDO IURP ÀXR[HWLQH ZDV LQLWLDWHG DW FOLQLF 9LVLW 
WR IRUJR RSHUDWLQJ D FDU RU KHDY\ PDFKLQHU\ LI LQGLFDWHG E\                GXH WR LWV YHU\ ORQJ KDOIOLIH ,I ZLWKGUDZDO IURP DQ DQWLGHSUHVVDQW
WKH LQYHVWLJDWRU DQG ZLOOLQJQHVV WR FRPSOHWH WKH HQWLUH WULDO             ZDV QRW UHTXLUHG SDWLHQWV HQWHUHG D PRFN GD\ ZDVKRXW SHULRG
DV GHVFULEHG LQ WKH SURWRFRO E\ VLJQLQJ DQ LQIRUPHG FRQVHQW                   )ROORZLQJ WKH ZDVKRXW SHULRG SDWLHQWV HQWHUHG D GD\ EDVH
:RPHQ RI FKLOGEHDULQJ SRWHQWLDO DJUHHG WR XVH D PHGLFDOO\                 OLQH SHULRG DQG UHFHLYHG SODFHER LQ VLQJOHEOLQG IDVKLRQ 'XULQJ
DFFHSWHG PHWKRG RI ELUWK FRQWURO XQOHVV VXUJLFDOO\ VWHULOH RU            WKLV SKDVH RI WKH WULDO SDWLHQWV ZHUH DFFOLPDWHG WR WKH XVH RI GDLO\
\HDUV SRVWPHQRSDXVDO                                                     GLDULHV DQG EDVHOLQH DVVHVVPHQWV RI QDUFROHSV\ V\PSWRPV ZHUH
   7KH IROORZLQJ FULWHULD ZHUH XVHG WR H[FOXGH SDWLHQWV IURP               UHFRUGHG 7KH GD\ EDVHOLQH SHULRG ZDV H[WHQGHG WR  GD\V
WKH WULDO XVH RI 6;% RU LQYHVWLJDWLRQDO GUXJ WKHUDS\ ZLWKLQ             LI LQ WKH RSLQLRQ RI WKH LQYHVWLJDWRU WKH IUHTXHQF\ RI FDWDSOH[\
GD\V RI WULDO HQWU\ VOHHS DSQHD RU DQ\ RWKHU FDXVH RI GD\WLPH             DWWDFNV KDG QRW VWDELOL]HG 7R UHPDLQ HOLJLEOH IRU WKH GRXEOHEOLQG
VOHHSLQHVV XVH RI K\SQRWLFV DQ[LRO\WLFV RU DQ\ RWKHU VHGDWLQJ           SKDVH RI WKH WULDO HDFK SDWLHQW ZDV UHTXLUHG WR UHFRUG D PLQLPXP
PHGLFDWLRQV DQ\ XQVWDEOH GLVHDVH WKDW PLJKW SODFH WKH SDWLHQW             DYHUDJH RI  FDWDSOH[\ DWWDFNV SHU ZHHN GXULQJ WKH EDVHOLQH SH
DW ULVN GXULQJ WKH VWXG\ RU PLJKW FRPSURPLVH WKH VWXG\ REMHF              ULRG 3DWLHQWV ZHUH NHSW XQDZDUH RI WKLV UHTXLUHPHQW 7R EH FODV
WLYHV KLVWRU\ RI D VXEVWDQFH DEXVH GLVRUGHU VHUXP FUHDWLQLQH             VL¿HG DV FDWDSOH[\ IRU WKLV WULDO WKH HYHQW PXVW KDYH KDG VXGGHQ
!  PJG/ OLYHU IXQFWLRQ WHVWV PRUH WKDQ WZLFH WKH QRUPDO               RQVHW EHHQ ORFDOL]HG WR D VSHFL¿F PXVFOH JURXS V RU SDUW RI WKH
XSSHU OLPLW VHUXP ELOLUXELQ !  WLPHV WKH QRUPDO XSSHU OLPLW           ERG\ LQ D ELODWHUDO PDQQHU DQG RFFXUUHG ZKLOH WKH SDWLHQW ZDV
RU DQ (&* GHPRQVWUDWLQJ FOLQLFDOO\ VLJQL¿FDQW DUUK\WKPLDV                 OXFLG LH QRW H[SHULHQFLQJ D VOHHS DWWDFN RU PLFURVOHHS 
KLVWRU\ RI P\RFDUGLDO LQIDUFWLRQ ZLWKLQ  PRQWKV DQ RFFXSD                   7KH GRVHWLWUDWLRQ SKDVH 9LVLW  ZDV FRQGXFWHG LQ UDQGRP
WLRQ UHTXLULQJ FKDQJLQJ VKLIWV RU URXWLQH QLJKW VKLIWV RU KLVWRU\         L]HG GRXEOHEOLQG IDVKLRQ DV IROORZV
RI VHL]XUH GLVRUGHU KHDG WUDXPD RU LQYDVLYH LQWUDFUDQLDO VXU                :HHN  2QHIRXUWK RI WKH VWXG\ SDWLHQWV UHFHLYHG SODFHER
JHU\ 3DWLHQWV ZHUH DOVR H[FOXGHG IURP WKH VWXG\ LI WKH LQLWLDO            ZKLOH WKUHHIRXUWKV UHFHLYHG  J 6;% QLJKWO\
36* VWXG\ UHYHDOHG WKH SUHVHQFH RI PRGHUDWH WR VHYHUH VOHHS                    :HHN  2QHWKLUG RI SDWLHQWV UHFHLYLQJ 6;% UHPDLQHG DW WKH
DSQHD V\QGURPH GH¿QHG DV DQ DSQHD LQGH[ RI ! K RU DSQHD               JQLJKW GRVH ZKLOH WZRWKLUGV LQFUHDVHG WKHLU GRVH WR  J
K\SRSQHD LQGH[ ! K RU DQ\ VOHHS GLVRUGHU H[FHSW QDUFROHSV\            QLJKWO\ WZRWKLUGV RI SODFHER SDWLHQWV LQFUHDVHG WKH YROXPH RI
                                                                           WKHLU SODFHER GRVH E\ DQ HTXLYDOHQW DPRXQW WR PDWFK WKH  J
'RVLQJ DQG $GPLQLVWUDWLRQ RI 6WXG\ 'UXJ                                    QLJKW GRVH
   7ULDO PHGLFDWLRQ FRQVLVWHG RI D FRQFHQWUDWHG RUDO VROXWLRQ                  :HHN  2QHKDOI RI SDWLHQWV WDNLQJ 6;% DW WKH  JQLJKW GRVH
FRQWDLQLQJ  PJP/ 6;% SODFHER FRQVLVWHG RI D VRGLXP                    UHPDLQHG DW WKLV GRVH ZKLOH WKH UHPDLQLQJ KDOI LQFUHDVHG WKHLU
FLWUDWH VROXWLRQ WKDW ZDV HTXLPRODU WR WKH VWXG\ GUXJ ZLWK UH             GRVH WR  J QLJKWO\ RQHKDOI RI WKH SODFHER SDWLHQWV WDNLQJ WKH
VSHFW WR VRGLXP 3UHYLRXV WDVWH WHVWV FRQ¿UPHG WKH SODFHER LV              PRFN  JQLJKW GRVH FRQWLQXHG WDNLQJ WKH VDPH YROXPH ZKLOH
LQGLVWLQJXLVKDEOH IURP 6;% VROXWLRQ -D]] 3KDUPDFHXWLFDOV                  WKH UHPDLQLQJ KDOI LQFUHDVHG WKHLU YROXPH RI WKHLU SODFHER GRVH
,QF GDWD RQ ¿OH  6WXG\ GUXJ RU SODFHER ZDV DGPLQLVWHUHG LQ             WR PDWFK WKH  JQLJKW GRVH
HTXDOO\ GLYLGHG GRVHV HDFK QLJKW 3DWLHQWV SDUWLFLSDWLQJ LQ WKH                :HHN  $OO SDWLHQWV WDNLQJ WKH  JQLJKW 6;% GRVH LQ
WULDO ZHUH LQVWUXFWHG WR WDNH WKH VHFRQG GRVH RI 6;%  WR  K            FUHDVHG WKHLU GRVH WR  J QLJKWO\ ZKLOH WKH SODFHER SDWLHQWV WDN
IROORZLQJ WKH ¿UVW GRVH ZKHQ GRVLQJ WKH PHGLFDWLRQ DW KRPH               LQJ WKH PRFN  JQLJKW GRVH LQFUHDVHG WKH YROXPH RI WKHLU
+RZHYHU GXULQJ WKH LQODE 36* QLJKWV WKH WRWDO 36*UHFRUGLQJ             GRVH E\ DQ HTXLYDOHQW DPRXQW
GXUDWLRQ ZDV VHW DW H[DFWO\  K DQG WKH K QLJKW ZDV VSOLW LQWR               (DFK VXEMHFW UHWXUQHG WR WKH FOLQLF DW 9LVLW  ZKHQ VWXG\
 FRQVHFXWLYH K SHULRGV 6;% ZDV GRVHG DW WKH EHJLQQLQJ RI               PHDVXUHV IRU HI¿FDF\ ZHUH FRQGXFWHG DQG VDIHW\ DVVHVVPHQWV
HDFK K SHULRG                                                           ZHUH PDGH 3DWLHQWV WKHQ FRQWLQXHG DW WKHLU DVVLJQHG GRVH IRU
   2YHUDOO  RI SDWLHQWV ZHUH WDNLQJ &16 VWLPXODQWV IRU WKH             WKH UHPDLQLQJ  GD\V RI WKH VWXG\ EHIRUH UHWXUQLQJ IRU WKH ¿QDO
WUHDWPHQW RI ('6 WKH GRVDJH RI WKHVH PHGLFDWLRQV ZDV KHOG                 HI¿FDF\ DQG VDIHW\ DVVHVVPHQWV DW 9LVLW  36* DQG 0:7 ZHUH
FRQVWDQW WKURXJKRXW WKH WULDO $ SRVW KRF DQDO\VLV UHYHDOHG WKH            SHUIRUPHG DW 9LVLWV    DQG  DQG DZDNHQLQJV GH¿QHG DV
XVH RI VWLPXODQW PHGLFDWLRQV ZDV XQLIRUPO\ GLVWULEXWHG DFURVV              WKH DYHUDJH QXPEHU RI DZDNHQLQJV GXULQJ WKH QLJKW SHU ZHHN
SODFHER DQG DFWLYH GUXJ JURXSV UDQJH  WR  -D]]                   EDVHG RQ GLDU\ GDWD IURP WKH  ZHHNV LPPHGLDWHO\ SUHFHGLQJ
3KDUPDFHXWLFDOV ,QF GDWD RQ ¿OH  3DWLHQWV ZHUH FDXWLRQHG               WKH YLVLW ZHUH UHFRUGHG
DJDLQVW WKH XVH RI DOFRKROLF EHYHUDJHV DQG SRWHQWLDOO\ VHGDWLQJ
PHGLFDWLRQV VXFK DV RSLDWH DQDOJHVLFV RU VNHOHWDO PXVFOH UHOD[            3RO\VRPQRJUDSKLF 5HFRUGLQJV
DQWV DW DQ\ WLPH GXULQJ WKH WULDO DQG ZHUH UHTXLUHG WR GLVFXVV WKH            7KH 36* GDWD ZHUH REWDLQHG DV GHVFULEHG HOVHZKHUH XVLQJ
XVH RI DOO PHGLFLQHV ZLWK D VWXG\ LQYHVWLJDWRU                            SUHYLRXVO\ GHVFULEHG WHFKQLTXHV %ULHÀ\ GDWD IURP HOHFWUR

                                                                                      -RXUQDO RI &OLQLFDO 6OHHS 0HGLFLQH 9RO  1R  
  Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 4 of 385 PageID #: 33489
- %ODFN ' 3DUGL &6 +RUQIHOGW HW DO


  )LJXUH 




  %DVHOLQH FDWDSOH[\ IUHTXHQF\ ZDV UHFRUGHG GXULQJ WKH ZHHN OHDGLQ SKDVH $QWLGHSUHVVDQW PHGLFDWLRQV XVHG IRU WKH WUHDWPHQW RI FDWDSOH[\ ZHUH ZLWKGUDZQ
  RYHU D GD\ SHULRG IROORZLQJ 9LVLW  ZLWK WKH H[FHSWLRQ RI ÀXR[HWLQH ZKLFK ZDV ZLWKGUDZQ EHJLQQLQJ DW 9LVLW  7KH ZDVKRXW SHULRG ODVWHG  GD\V RU  WLPHV
  WKH KDOIOLIH RI WKH ZLWKGUDZQ PHGLFDWLRQ ZKLFKHYHU ZDV ORQJHU EXW GLG QRW H[FHHG  GD\V )ROORZLQJ UDQGRPL]DWLRQ SDWLHQWV ZHUH VWDUWHG RQ SODFHER
  LQ VLQJOHEOLQG IDVKLRQ DQG UHFRUGHG EDVHOLQH FDWDSOH[\ RFFXUUHQFHV RYHU D GD\ SHULRG KRZHYHU WKLV ZDV H[WHQGHG WR  GD\V LI WKH LQYHVWLJDWRU IHOW
  FDWDSOH[\ KDG QRW \HW VWDELOL]HG 3DWLHQWV WKHQ UHFHLYHG VWXG\ PHGLFDWLRQ RU SODFHER DQG ZHUH WLWUDWHG WR WKHLU ¿QDO GRVH DV VKRZQ 3RO\VRPQRJUDSK\ WKH
  PDLQWHQDQFH RI ZDNHIXOQHVV WHVW DQG DVVHVVPHQW RI QDUFROHSV\ V\PSWRPV ZHUH SHUIRUPHG DW 9LVLWV    DQG 


HQFHSKDORJUDSKLF ((* DQG RWKHU SDUDPHWHUV LQFOXGLQJ H\H                            DEVHQFH RI 9LVLW  GDWD 9LVLW  7KH WHVW IRU D QRUPDO GLVWULEX
PRYHPHQWV (2*  VXEPHQWDOLV PXVFOH WRQH FKLQ(0*                                   WLRQ RI GDWD ZDV SHUIRUPHG XVLQJ WKH :LONV6KDSLUR WHVW DQG
HOHFWURFDUGLRJUDP (&*  DQG ULJKW DQG OHIW DQWHULRU WLELDOLV                        KRPRJHQHLW\ RI WKH YDULDELOLW\ ZDV H[DPLQHG JUDSKLFDOO\ ,I WKH
PXVFOH DFWLYLW\ OHJ(0* DV ZHOO DV QDVDO DLU ÀRZ WKRUDFLF                          GDWD ZHUH IRXQG WR EH QRUPDO DQG KRPRJHQHRXV LQ GLVWULEXWLRQ
DQG DEGRPLQDO HIIRUW DQG R[\JHQ VDWXUDWLRQ ZHUH GLJLWDOO\ UH                     DQ DQDO\VLV RI YDULDQFH $129$ PRGHO ZDV XVHG WR DQDO\]H WKH
FRUGHG DQG PDQXDOO\ VFRUHG E\ WUDLQHG UHJLVWHUHG SRO\VRPQRJ                        GDWD )DFWRUV LQ WKH $129$ PRGHO LQFOXGHG WUHDWPHQW JURXS
UDSKHUV LQ D EOLQG PDQQHU XVLQJ D YDOLGDWHG VRIWZDUH SURJUDP                       WULDO VLWH DQG WKH LQWHUDFWLRQ EHWZHHQ WUHDWPHQW DQG WULDO VLWH ,I
   7KH IROORZLQJ YDULDEOHV ZHUH PHDVXUHG GXULQJ HDFK KDOI RI                        WKH LQWHUDFWLRQ ZDV QRW IRXQG WR EH VWDWLVWLFDOO\ VLJQL¿FDQW S 
WKH QLJKW FRUUHVSRQGLQJ ZLWK WKH ¿UVW DQG VHFRQG GRVHV RI 6;%                      WKH WHUP ZDV GURSSHG IURP WKH PRGHO ,I D VLJQL¿FDQW LQ
DQG ZHUH VXEVHTXHQWO\ DGGHG WRJHWKHU IRU WKH HQWLUH QLJKW VOHHS                    WHUDFWLRQ HIIHFW ZDV IRXQG WKH QDWXUH RI WKH LQWHUDFWLRQV DQG WKH
ODWHQF\ WRWDO VOHHS WLPH 767  ZDNH DIWHU VOHHS RQVHW :$62                        LPSDFW RQ WKH VWXG\ FRQFOXVLRQ ZDV DVVHVVHG ,I D VLJQL¿FDQW GLI
GXUDWLRQ RI VWDJHV    DQG  DQG 5(0 VOHHS VOHHS VWDJH                        IHUHQFH EHWZHHQ WUHDWPHQW JURXSV ZDV IRXQG HDFK RI WKH WUHDW
VKLIWV SHU KRXU DQG QRFWXUQDO DZDNHQLQJV 5(0 GHQVLW\ ZDV                          PHQW JURXSV ZDV FRPSDUHG WR SODFHER XVLQJ WKH 'XQQHWW WHVW
GH¿QHG DV WKH SHUFHQW RI VHF 5(0 HSRFKV FRQWDLQLQJ RQH RU                         ,I WKH GDWD ZHUH QRW QRUPDOO\ GLVWULEXWHG QRQSDUDPHWULF WHVWV
PRUH UDSLG H\H PRYHPHQWV 5(0 VOHHS ODWHQF\ ZDV H[DPLQHG                            ZHUH XVHG 7KH .UXVNDO:DOOLV WHVW ZDV XVHG WR DVVHVV WKH GLI
IRU WKH ¿UVW KDOI RI WKH QLJKW RQO\ GHOWD SRZHU ZDV GH¿QHG DV                      IHUHQFHV EHWZHHQ WUHDWPHQW JURXSV LQ WKH FKDQJH IURP EDVHOLQH
WKH DFFXPXODWHG ((* VLJQDO SRZHU IRU DOO IUHTXHQFLHV EHWZHHQ                        7KH :LOFR[RQ VLJQHG UDQN WHVW ZDV XVHG WR DVVHVV WKH FKDQJH
DQG LQFOXGLQJ  +] DQG  +]                                                      IURP EDVHOLQH ZLWKLQ WUHDWPHQW JURXSV DQG WKH 0DQQ:KLWQH\
                                                                                    WHVW ZDV XVHG IRU SDLUZLVH FRPSDULVRQV RI DFWLYH WUHDWPHQW YHU
'DWD $QDO\VLV                                                                       VXV SODFHER ,QWHUSUHWDWLRQ DQG JHQHUDOL]DWLRQ RI WKH VWXG\ UH
   $OO FRPSXWDWLRQV ZHUH SHUIRUPHG XVLQJ WKH 6WDWLVWLFDO $QDO\                     VXOWV LQ WKLV PXOWLFHQWHU VWXG\ ZHUH DVVHVVHG E\ H[DPLQLQJ WKH
VLV 6\VWHP 6$6 6$6 ,QVWLWXWH ,QF &DU\ 1& DQG ZHUH SHU                          WUHDWPHQW E\ WULDO VLWH LQWHUDFWLRQV ,Q WKH GDWD DQDO\VLV LQYROYLQJ
IRUPHG RQ DQ LQWHQWWRWUHDW EDVLV XVLQJ SDWLHQWV ZKR UHFHLYHG                      $129$ PRGHOV WUHDWPHQW E\ WULDO VLWH LQWHUDFWLRQ ZDV WHVWHG
WULDO GUXJ DQG FRPSOHWHG DW OHDVW RQH SRVWWUHDWPHQW HYDOXDWLRQ                     DQG LI WKH LQWHUDFWLRQ ZDV VLJQL¿FDQW WKH LPSDFW RQ WKH VWXG\
YLVLW $OO DQDO\VHV ZHUH EDVHG RQ WKH FKDQJH IURP EDVHOLQH WR                       UHVXOWV ZDV HYDOXDWHG 7KLV LQWHUDFWLRQ ZDV PRGHOHG DV D ¿[HG
HQGSRLQW %DVHOLQH ZDV GH¿QHG DV WKH 36* PHDVXUHV DW 9LVLW                        HIIHFW DOWKRXJK PRGHOLQJ DV D UDQGRP HIIHFW PD\ IXUWKHU LQ
(QGSRLQW ZDV GH¿QHG DV WKH 36* PHDVXUHV DW 9LVLW  RU LQ WKH                       FUHDVH WKH DELOLW\ WR JHQHUDOL]H WKHVH UHVXOWV 7KH GRVHUHVSRQVH

-RXUQDO RI &OLQLFDO 6OHHS 0HGLFLQH 9RO  1R                         
  Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 5 of 385 PageID #: 33490
                                                                                                     6RGLXP 2[\EDWH DQG 1RFWXUQDO 6OHHS 'LVUXSWLRQ
UHODWLRQVKLS LQ WKH 36* PHDVXUHV ZDV DVVHVVHG E\ WHVWLQJ WKH                 QLJKW DQG  JQLJKW JURXSV DW  ZHHNV 7DEOH   7KHUH ZDV D
VORSH RI VLPSOH OLQHDU UHJUHVVLRQ PRGHO RI LQGLYLGXDO 36* PHD               VLJQL¿FDQW UHODWLRQVKLS EHWZHHQ LQFUHDVHG GRVH DQG GHFUHDVHG
VXUH DQG GRVH XVLQJ GDWD IURP WKH  DFWLYH WUHDWPHQW JURXSV                QXPEHU RI DZDNHQLQJV DW  ZHHNV S   :$62 ZDV VLJ
6WDWLVWLFDO VLJQL¿FDQFH ZDV DFFHSWHG LI WKH DGMXVWHG SYDOXH ZDV             QL¿FDQWO\ GHFUHDVHG LQ WKH  JQLJKW JURXS DW  ZHHNV 7DEOH  
  7KH VLJQL¿FDQFH RI WKH PHDQ FKDQJH IURP EDVHOLQH IRU                 7KHUH ZDV D VLJQL¿FDQW GRVH UHODWLRQVKLS IRU WKH GHFUHDVH LQ
HDFK WUHDWPHQW JURXS ZDV GHWHUPLQHG XVLQJ D SDLUHG WWHVW                   :$62 DW  ZHHNV DV ZHOO S   6OHHS VWDJH VKLIWV SHU
                                                                             KRXU ZDV QRW GLIIHUHQW EHWZHHQ WKH WUHDWPHQW JURXSV DW HLWKHU
(WKLFV                                                                       WLPH SRLQW
   7KLV WULDO ZDV FRQGXFWHG DW  VLWHV EHWZHHQ 1RYHPEHU 
DQG 0DUFK  LQ WKH 8QLWHG 6WDWHV &DQDGD 8QLWHG .LQJ                    6WDJH  DQG  6OHHS
GRP *HUPDQ\ )UDQFH 6ZLW]HUODQG 1HWKHUODQGV DQG WKH                         7KH GXUDWLRQ RI 6WDJH  VOHHS ZDV VLJQL¿FDQWO\ GHFUHDVHG LQ
&]HFK 5HSXEOLF DQG ZDV DSSURYHG E\ WKH LQVWLWXWLRQDO UHYLHZ                 DOO 6;% WUHDWPHQW JURXSV DW  ZHHNV 7DEOH  DQG LQ WKH  J
ERDUGHWKLFV FRPPLWWHH RI HDFK SDUWLFLSDWLQJ WULDO FHQWHU :ULW             QLJKW DQG  JQLJKW JURXSV DW  ZHHNV RI WUHDWPHQW 7DEOH  
WHQ LQIRUPHG FRQVHQW ZDV REWDLQHG IURP HDFK SDWLHQW SULRU WR                 7KHUH ZDV D VLJQL¿FDQW GRVH UHODWLRQVKLS IRU WKH GHFUHDVH LQ
LQLWLDWLRQ RI WKH VWXG\ 7KLV VWXG\ ZDV FRQGXFWHG LQ DFFRUGDQFH              VWDJH  VOHHS S   7KH GXUDWLRQ RI VWDJH  VOHHS ZDV
ZLWK WKH HWKLFDO SULQFLSOHV GHOLQHDWHG LQ WKH +HOVLQNL 'HFODUD              QRW VLJQL¿FDQWO\ GLIIHUHQW DPRQJ WKH WUHDWPHQW JURXSV DW HLWKHU
WLRQ RI  DV UHYLVHG LQ                                              RU  ZHHNV

 5(68/76                                                                     6WDJH  DQG  6OHHS
                                                                                7KH GXUDWLRQ RI VWDJH  DQG  VOHHS ZDV VLJQL¿FDQWO\ LQFUHDVHG
   2I  SDWLHQWV ZKR VLJQHG LQIRUPHG FRQVHQW DQG HQWHUHG                   IRU WKH  JQLJKW DQG  JQLJKW JURXSV DW  ZHHNV 7DEOH  DQG
WKH VFUHHQLQJ SKDVH  ZHUH HQUROOHG  ZHUH UDQGRPL]HG                  IRU DOO  6;% WUHDWPHQW JURXSV DW  ZHHNV 7DEOH   $V VKRZQ
WR WUHDWPHQW  UHFHLYHG DW OHDVW RQH GRVH RI VWXG\ GUXJ DQG              LQ 7DEOHV  DQG  VXEVWDQWLDO LQFUHDVHV RFFXUUHG GXULQJ ERWK
 HQWHUHG WKH GRXEOHEOLQG SKDVH RI WKH WULDO 7KH LQWHQWWR              KDOYHV RI WKH QLJKW 7KLV LQFUHDVH LQ VWDJH  DQG  VOHHS ZDV
WUHDW ,77 SRSXODWLRQ LQFOXGHG WKHVH  SDWLHQWV ZKR UHFHLYHG                VLJQL¿FDQWO\ GRVHUHODWHG DW ERWK  ZHHNV S   DQG 
DW OHDVW RQH GRVH RI VWXG\ GUXJ DQG KDG EDVHOLQH 36* HI¿FDF\                 ZHHNV S   
GDWD DQG ZHHN  9LVLW  DQGRU ZHHN  9LVLW  36* GDWD 2I
WKH SDWLHQWV UDQGRPL]HG WR WUHDWPHQW    ZHUH WDNLQJ                   'HOWD 3RZHU
VWLPXODQWV   ZHUH WDNLQJ WULF\FOLF DQWLGHSUHV                      0HGLDQ GHOWD SRZHU ZDV VLJQL¿FDQWO\ LQFUHDVHG LQ DOO 6;%
VDQWV 7&$V  DQG   ZHUH WDNLQJ VHURWRQLQ VHOHF                     WUHDWPHQW JURXSV DW ERWK  ZHHNV 7DEOH  DQG  ZHHNV
WLYH UHXSWDNH LQKLELWRUV 665,V                                               7DEOH   7KHVH LQFUHDVHV ZHUH SURSRUWLRQDWHO\ JUHDWHU GXU
   2I WKH ,77 SRSXODWLRQ   ZHUH IHPDOH DQG                        LQJ WKH VHFRQG KDOI RI WKH QLJKW 7DEOHV  DQG   $ VLJQL¿FDQW
  ZHUH PDOH 7KH DYHUDJH DJH ZDV  \HDUV UDQJH ±                   GRVH UHODWLRQVKLS ZDV QRW REVHUYHG S  DW  ZHHNV DQG
  WKH DYHUDJH KHLJKW ZDV  FP UDQJH ±  WKH                 S  DW  ZHHNV GXH WR KLJK YDULDELOLW\
DYHUDJH ZHLJKW ZDV  NJ UDQJH ±  $ WRWDO RI  SD
WLHQWV ZHUH &DXFDVLDQ  ZHUH RI $IULFDQ GHVFHQW  ZHUH $VLDQ             5(0 6OHHS /DWHQF\ DQG 'XUDWLRQ
 ZHUH +LVSDQLF DQG  ZHUH RI RWKHU HWKQLF RULJLQV $Q DQDO\VLV                6RGLXP R[\EDWH DGPLQLVWUDWLRQ KDG QR DSSUHFLDEOH HIIHFW RQ
DFURVV DOO WUHDWPHQW JURXSV LQGLFDWHG WKDW SDWLHQWV ZHUH HYHQO\ GLV         5(0 VOHHS 7KH GXUDWLRQ RI 5(0 VOHHS ZDV VLJQL¿FDQWO\ GH
WULEXWHG ZLWK UHVSHFW WR WKH DERYH GHPRJUDSKLF SDUDPHWHUV 7KH               FUHDVHG LQ WKH  JQLJKW JURXS DW  ZHHNV 7DEOH  DQG  ZHHNV
VWXG\ ZDV FRPSOHWHG E\  SDWLHQWV DQG SRO\VRPQRJUDSKLF GDWD                 7DEOH  
ZHUH DYDLODEOH DW ZHHNV  DQG  IRU  DQG  SDWLHQWV UHVSHF
WLYHO\ 7KH GXUDWLRQ RI 5(0 VOHHS DQG 15(0 VOHHS ZHUH IRXQG WR               (IIHFW RI 6RGLXP 2[\EDWH RQ WKH 6\PSWRPV RI
EH QRUPDOO\ GLVWULEXWHG DQG ZHUH DQDO\]HG ZLWK $129$ PRGHOV                 1DUFROHSV\
)RU WKH RWKHU YDULDEOHV QRQSDUDPHWULF PHWKRGV ZHUH XVHG                       'DWD UHSRUWHG HOVHZKHUH LQGLFDWH WKDW WKH QLJKWO\ DGPLQ
                                                                             LVWUDWLRQ RI   DQG  JQLJKW GRVHV RI 6;% UHVXOWHG LQ VLJ
(IIHFW RI 6RGLXP 2[\EDWH RQ 1RFWXUQDO                                        QL¿FDQW GHFUHDVHV LQ PHGLDQ ZHHNO\ FDWDSOH[\ DWWDFNV 3DWLHQWV
3RO\VRPQRJUDSK\ 9DULDEOHV                                                    DOVR H[SHULHQFHG VLJQL¿FDQW LPSURYHPHQWV LQ ERWK VXEMHFWLYH
                                                                             DQG REMHFWLYH PHDVXUHV RI H[FHVVLYH GD\WLPH VOHHSLQHVV (S
6OHHS /DWHQF\ DQG 7RWDO 6OHHS 7LPH                                           ZRUWK 6OHHSLQHVV 6FDOH PLQ PDLQWHQDQFH RI ZDNHIXOQHVV
   6OHHS ODWHQF\ ZDV QRW VLJQL¿FDQWO\ GLIIHUHQW DPRQJ WKH WUHDW             WHVW DQG TXDOLW\ RI OLIH DV ZHOO DV VLJQL¿FDQW LPSURYHPHQWV
PHQW JURXSV DIWHU WKH LQLWLDO GRVH RU DIWHU WKH QG GRVH GDWD QRW            LQ WKH FOLQLFDO LQYHVWLJDWRUUDWHG HYDOXDWLRQ RI GLVHDVH VHYHULW\
VKRZQ  767 ZDV LQFUHDVHG DIWHU  ZHHNV RI WUHDWPHQW UHDFK
LQJ VLJQL¿FDQFH DW WKH  JQLJKW GRVH 7DEOH   EXW QR FKDQJH                6DIHW\
ZDV VHHQ DW  ZHHNV 7DEOH   $W  ZHHNV WKHUH ZDV D VLJQL¿                   7ZHQW\RQH SDWLHQWV GLVFRQWLQXHG WKH WULDO GXH WR DQ DGYHUVH
FDQW UHODWLRQVKLS EHWZHHQ GRVH DQG LQFUHDVHG 767 S                     HYHQW ZLWK PRVW RFFXUULQJ LQ WKH  JQLJKW GRVH JURXS 
                                                                             XQLTXH HYHQWV RFFXUUHG RYHUDOO ZLWK D IUHTXHQF\ VLJQL¿FDQWO\
$ZDNHQLQJV DQG :DNH DIWHU 6OHHS 2QVHW                                        JUHDWHU WKDQ SODFHER 1DXVHD KHDGDFKH GL]]LQHVV QDVRSKDU
   7KH QXPEHU RI QRFWXUQDO DZDNHQLQJV ZDV VLJQL¿FDQWO\ GH                   \QJLWLV DQG HQXUHVLV RFFXUUHG ZLWK DQ RYHUDOO LQFLGHQFH JUHDWHU
FUHDVHG LQ DOO GRVH JURXSV DW  ZHHNV 7DEOH  DQG LQ WKH  J                WKDQ  2I WKHVH RQO\ QDXVHD DQG GL]]LQHVV UHDFKHG D OHYHO RI

                                                                                        -RXUQDO RI &OLQLFDO 6OHHS 0HGLFLQH 9RO  1R  
  Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 6 of 385 PageID #: 33491
- %ODFN ' 3DUGL &6 +RUQIHOGW HW DO

  7DEOH ²&KDQJHV LQ SRO\VRPQRJUDSKLF SDUDPHWHUV IROORZLQJ  ZHHNV RI WUHDWPHQW  FKDQJH IURP EDVHOLQH PHGLDQ
                               3ODFHER 6;%  J 6;%  J       6;%  J                                     3ODFHER 6;%  J 6;%  J         6;%  J
                                1     1       1           1                                         1     1       1             1 
   7RWDO 6OHHS 7LPH PLQ                                                          6WDJH  DQG  6OHHS PLQ
     VW +DOI                                                    VW +DOI                                   
     QG +DOI                                                      QG +DOI                                   
     727$/                                                         727$/                                     
                                  ²         16         16          16                                     ²              16     S  S  
   7RWDO 15(0 6OHHS PLQ                                                          :DNH $IWHU 6OHHS 2QVHW PLQ
     VW +DOI                                                     VW +DOI                                     
     QG +DOI                                                 QG +DOI                                       
     727$/                                                     727$/                                       
                                  ²        16          16     S                                       ²             16         16          16
   7RWDO 5(0 6OHHS PLQ                                                           6OHHS 6WDJH 6KLIWV 3HU +RXU
     VW +DOI                                                  VW +DOI                                      
     QG +DOI                                                  QG +DOI                                    
     727$/                                                    $9(5$*(                                     
                                  ²         16         16     S                                         ²           16          16         16
   5(0 6OHHS /DWHQF\ PLQ                                                         'HOWD 3RZHU PLFURYROWVA+]
                                                               VW +DOI                           
                                  ²         16         16         16              QG +DOI                            
   6WDJH  6OHHS PLQ                                                              $9(5$*(                             
                                                                                                            ²       S      S     S  
     VW +DOI                               
     QG +DOI                                               1RFWXUQDO $ZDNHQLQJV
     727$/                                                 VW +DOI                              
                                  ²     S  S  S                   QG +DOI                             
   6WDJH  6OHHS PLQ                                                              727$/                              
                                                                                                              ²     S  S  S 
     VW +DOI                                       
     QG +DOI                                       
     727$/                                        
                                  ²         16         16         16
   6WDWLVWLFDO VLJQL¿FDQFH ZDV HVWDEOLVKHG FRPSDUHG WR SODFHER 16 QRW VLJQL¿FDQW ([SUHVVHG DV PHGLDQV IROORZLQJ WUDQVIRUPDWLRQ RI QRQQRUPDO GDWD



VWDWLVWLFDO VLJQL¿FDQFH FRPSDUHG ZLWK SODFHER 7KHVH DSSHDUHG                    GXUDWLRQ RI QRFWXUQDO VORZ ZDYH VOHHS DW WKH H[SHQVH RI VWDJH 
WR EH GRVH UHODWHG DQG RFFXUUHG LQ   DQG                        VOHHS DQG JHQHUDOO\ LPSURYHG WKH FRQWLQXLW\ RI QRFWXUQDO VOHHS
  RI WKH 6;%WUHDWHG VXEMHFWV 7KHUH ZHUH QR GHDWKV                        7KHVH FKDQJHV LQ QRFWXUQDO VOHHS FRLQFLGHG ZLWK SDWLHQW UHSRUWV
   6L[ VHULRXV DGYHUVH HYHQWV ZHUH UHSRUWHG GXULQJ WKH VWXG\                    RI LPSURYHPHQWV LQ WKH TXDOLW\ RI VOHHS GLPLQLVKHG GD\WLPH
7KUHH RI WKHVH RFFXUUHG LQ SDWLHQWV UHFHLYLQJ SODFHER 2I WKH                    GURZVLQHVV DQG GHFUHDVHG FDWDSOH[\
UHPDLQLQJ  HYHQWV DQ HSLVRGH RI SQHXPRQLWLV ZDV UHSRUWHG                          6XEVHTXHQW LQYHVWLJDWLRQV LQWR WKH XVH RI 6;% KDYH \LHOGHG
LQ RQH SDWLHQW UHFHLYLQJ  J RI 6;% DQG ZDV UHSRUWHG WR EH XQ                   VLPLODU UHVXOWV RQ QRFWXUQDO VOHHS LQ SDWLHQWV ZLWK QDUFROHS
UHODWHG WR GUXJ $QRWKHU SDWLHQW UHFHLYLQJ  J RI 6;% VXIIHUHG                   V\ &ROOHFWLYHO\ WKHVH VWXGLHV GHPRQVWUDWH WKDW WKH QLJKW
D IUDFWXUHG DQNOH IROORZLQJ DQ DFFLGHQWDO IDOO GXULQJ WKH QLJKW                 O\ DGPLQLVWUDWLRQ RI 6;% GHFUHDVHV QRFWXUQDO DZDNHQLQJV DQG
,Q WKLV FDVH WKH UHODWLRQVKLS WR VWXG\ PHGLFDWLRQ ZDV UHSRUWHG                  LQFUHDVHV VORZ ZDYH VOHHS LQ D GRVHGHSHQGHQW IDVKLRQ DV ZHOO
DV XQNQRZQ 7KH WKLUG SDWLHQW UHFHLYLQJ  J RI 6;% GHPRQ                      DV LPSDUWLQJ HIIHFWV RQ 5(0 VOHHS 7KHVH VWXGLHV DOVR GHPRQ
VWUDWHG DEQRUPDO DPLQR DODQLQH WUDQVIHUDVH $/7 DQG DVSDUWDWH                     VWUDWH WKDW WKH FKDQJHV LQ QLJKWWLPH VOHHS DUH DFFRPSDQLHG E\
DPLQR WUDQVIHUDVH $67 DW WKH FRQFOXVLRQ RI WKH WULDO ZKLFK UH                  LPSURYHPHQWV LQ RWKHU FOLQLFDO PDQLIHVWDWLRQV RI QDUFROHSV\ LQ
WXUQHG WR QRUPDO DSSUR[LPDWHO\  PRQWKV ODWHU 7KLV HYHQW ZDV                    FOXGLQJ FDWDSOH[\ VXEMHFWLYH DQG REMHFWLYH PHDVXUHV RI H[FHV
UHSRUWHG WR EH SRVVLEO\ GXH WR VWXG\ PHGLFDWLRQ 7KHVH HYHQWV                    VLYH GD\WLPH VOHHSLQHVV K\SQDJRJLF KDOOXFLQDWLRQV DQG VOHHS
DUH GHVFULEHG LQ JUHDWHU GHWDLO LQ DQRWKHU UHSRUW                              SDUDO\VLV
                                                                                    7KH SUHVHQW VWXG\ LV WKH ODUJHVW FRQWUROOHG VWXG\ WR FRPSDUH
 ',6&866,21                                                                      PXOWLSOH GRVHV RI 6;% WR SODFHER SHUIRUPHG WR GDWH SHUPLWWLQJ
                                                                                 D PRUH WKRURXJK HYDOXDWLRQ RI LPSDFW RQ QLJKWWLPH VOHHS DQG
   2QH RI WKH HDUOLHVW UHSRUWV GHVFULELQJ WKH XVH RI VRGLXP R[\                 QDUFROHSV\ V\PSWRPV IROORZLQJ WKH QLJKWO\ DGPLQLVWUDWLRQ RI
EDWH DOVR NQRZQ DV ȖK\GUR[\EXW\UDWH VRGLXP *+% VRGLXP                          6;% LQ SDWLHQWV ZLWK QDUFROHSV\ $V SUHGLFWHG E\ D SUHYLRXV
IRU WKH WUHDWPHQW RI QDUFROHSV\ LQGLFDWHG WKDW GRVHV RI  PJNJ                 RSHQODEHO SLORW VWXG\ WKH QRFWXUQDO DGPLQLVWUDWLRQ RI 6;%
 DSSUR[LPDWHO\ ± J QLJKWO\ VLJQL¿FDQWO\ LQFUHDVHG WKH                    SURGXFHG VLJQL¿FDQW GRVHUHODWHG LQFUHDVHV LQ ERWK VORZ ZDYH

-RXUQDO RI &OLQLFDO 6OHHS 0HGLFLQH 9RO  1R                      
  Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 7 of 385 PageID #: 33492
                                                                                                          6RGLXP 2[\EDWH DQG 1RFWXUQDO 6OHHS 'LVUXSWLRQ


 7DEOH ²&KDQJHV LQ SRO\VRPQRJUDSKLF SDUDPHWHUV IROORZLQJ  ZHHNV RI WUHDWPHQW  FKDQJH IURP EDVHOLQH PHGLDQ
                            3ODFHER 6;%  J 6;%  J         6;%  J                                     3ODFHER 6;%  J 6;%  J         6;%  J
                             1     1       1             1                                         1     1       1             1 
   7RWDO 6OHHS 7LPH PLQ                                                         6WDJH  DQG  6OHHS PLQ
     VW +DOI                                                    VW +DOI                               
     QG +DOI                                                   QG +DOI                                 
     727$/                                                      727$/                                   
                               ²           16        16      S                                       ²        S  S   S  
   7RWDO 15(0 6OHHS PLQ                                                         :DNH $IWHU 6OHHS 2QVHW PLQ
     VW +DOI                                                 VW +DOI                                      
     QG +DOI                                                 QG +DOI                                     
     727$/                                                    727$/                                        
                               ²          16     S  S                                          ²             16         16      S 
   7RWDO 5(0 6OHHS PLQ                                                          6OHHS 6WDJH 6KLIWV 3HU +RXU
     VW +DOI                                                 VW +DOI                                    
     QG +DOI                                                 QG +DOI                                     
     727$/                                                   $9(5$*(                                     
                               ²           16         16     S                                         ²           16         16          16
   5(0 6OHHS /DWHQF\ PLQ                                                        'HOWD 3RZHU PLFURYROWVA+]
                                                               VW +DOI                              
                               ²      S  S  S                     QG +DOI                           
   6WDJH  6OHHS PLQ                                                             $9(5$*(                            
                                                                                                          ²        S      S     S  
     VW +DOI                               
     QG +DOI                                               1RFWXUQDO $ZDNHQLQJV
     727$/                                                 VW +DOI                                 
                               ²      S  S   S                  QG +DOI                                 
   6WDJH  6OHHS PLQ                                                             727$/                                   
                                                                                                             ²          16     S  S 
     VW +DOI                                    
     QG +DOI                                    
     727$/                                        
                               ²          16         16          16
  6WDWLVWLFDO VLJQL¿FDQFH ZDV HVWDEOLVKHG FRPSDUHG WR SODFHER 16 QRW VLJQL¿FDQW ([SUHVVHG DV PHGLDQV IROORZLQJ WUDQVIRUPDWLRQ RI QRQQRUPDO GDWD



VOHHS DQG WRWDO VOHHS WLPH 5REXVW LQFUHDVHV LQ VWDJH  DQG                    SURFHVVHV )XUWKHU ZRUN WR EHWWHU FKDUDFWHUL]H WKH QDWXUH RI WKH
VOHHS DQG GHOWD SRZHU RFFXUUHG LQ DVVRFLDWLRQ ZLWK FRUUHVSRQG                  LQFUHDVHG GHOWD DFWLYLW\ PD\ EH RI LQWHUHVW
LQJ GHFUHDVHV LQ VWDJH  VOHHS 5(0 VOHHS DQG QXPEHU RI QRF                       6LPLODU WR WKH LQLWLDO SLORW VWXG\ FKDQJHV LQ VOHHS DUFKLWHFWXUH
WXUQDO DZDNHQLQJV ZKLOH VWDJH  VOHHS UHPDLQHG XQDIIHFWHG                     IROORZLQJ WKH QLJKWO\ DGPLQLVWUDWLRQ RI 6;% LQ WKH SUHVHQW VWXG\
7KHVH ¿QGLQJV DUH FRQVLVWHQW ZLWK SUHYLRXVO\ SXEOLVKHG 6;%                      FRLQFLGHG ZLWK VLJQL¿FDQW LPSURYHPHQWV LQ QDUFROHSV\ V\PS
VWXGLHV                                                              WRPV LQFOXGLQJ VLJQL¿FDQW GRVHUHODWHG UHGXFWLRQV LQ PHGLDQ
   :KHWKHU WKH REVHUYHG LPSDFW RI 6;% RQ VWDJHV  DQG                          QXPEHU RI ZHHNO\ FDWDSOH[\ DWWDFNV D VLJQL¿FDQW GRVHUHODWHG
VOHHS DQG RQ GHOWD SRZHU UHSUHVHQWV D WUXH VOHHS HIIHFW GHOWD                 LPSURYHPHQW LQ ('6 DV PHDVXUHG ZLWK WKH (SZRUWK 6OHHSLQHVV
ZDYH HIIHFWV VLPLODU WR WKRVH VHHQ ZLWK &16 DQHVWKHWLF DJHQWV                  6FDOH WKH PDLQWHQDQFH RI ZDNHIXOQHVV WHVW DQG LQFLGHQFH RI LQ
RU DQ HSLSKHQRPHQRQ XQUHODWHG WR HLWKHU VOHHS RU DQHVWKHVLD                     DGYHUWHQW QDSV DQG VLJQL¿FDQW GRVHUHODWHG LPSURYHPHQWV LQ WKH
LV XQNQRZQ :LWK WKH GDWD DYDLODEOH LW LV GLI¿FXOW WR HYDOXDWH                 &*,F 7KHVH UHVXOWV DUH UHSRUWHG HOVHZKHUH $OWKRXJK VRPH RI
WKLV TXHVWLRQ DV LW LV FXUUHQWO\ QRW SRVVLEOH WR LQYHVWLJDWH WKLV               WKH FKDQJHV LQ VOHHS DUFKLWHFWXUH UHSRUWHG KHUH DUH VLJQL¿FDQW RQO\
LVVXH PHDQLQJIXOO\ WKURXJK FKDUDFWHUL]DWLRQ RI ((* VSHFWUDO                     DW WKH KLJKHVW GRVH WKH UHODWLRQVKLS EHWZHHQ VOHHS DUFKLWHFWXUH DQG
IHDWXUHV DORQH 2QH PD\ K\SRWKHVL]H WKDW DQ DOWHUHG SDWWHUQ                     VXEMHFWLYH RXWFRPHV UHPDLQV XQFOHDU DQG ZDUUDQWV IXUWKHU VWXG\
RI LQFUHDVHG GHOWD SRZHU DFWLYLW\ PD\ VXJJHVW D SKDUPDFR                           $ VKRUWFRPLQJ RI WKH LQLWLDO SLORW VWXG\ ZDV WKH ODFN RI D
ORJLFDO HIIHFW WKDW LV QRW UHSUHVHQWDWLYH RI VOHHS <HW VXFK D                 FRQWURO IRU WKH GRVH DQG GXUDWLRQ RI 6;% WKHUDS\ $Q RSHQ
FRQFOXVLRQ PD\ EH LQDFFXUDWH DV WKLV YDULDQW SDWWHUQ RI ((*                     ODEHO PRQWK H[WHQVLRQ VWXG\ RI 6;% LQ WKH WUHDWPHQW RI QDU
DFWLYLW\ PD\ UHÀHFW DQ DOWHUDWLRQ RI VRPH DVSHFWV RI VOHHS EXW                  FROHSV\ GHPRQVWUDWHG VXVWDLQHG LPSURYHPHQW LQ FDWDSOH[\ DQG
QRW RWKHUV RU DQ LPSDFW RQ DOO DVSHFWV RI VOHHS EXW ZHLJKWHG                  ('6 7KH SUHVHQW VWXG\ ZDV QRW GHVLJQHG WR GHWHFW GLIIHUHQFHV
LQ D IDVKLRQ GLVWLQFW IURP QRUPDO SK\VLRORJLFDO VOHHS 7DNHQ                    LQ VOHHS DUFKLWHFWXUH YDULDEOHV DW GLIIHUHQW WLPH SRLQWV ZLWK
WRJHWKHU WKH REVHUYHG LPSDFWV RI 6;% RQ VOHHS FRXSOHG ZLWK                    VWHDG\ GRVHV RI 6;% 7KHVH PDWWHUV PD\ PHULW IXUWKHU VWXG\
WKH REVHUYHG LPSURYHPHQWV LQ GD\WLPH V\PSWRPV DUH FRQVLV                      $OWKRXJK WKH JUHDWHVW SHUFHQWDJH RI FKDQJHV RFFXUUHG ZLWKLQ
WHQW ZLWK WKH K\SRWKHVLV WKDW VRGLXP R[\EDWH HQKDQFHV 6:6                       WKH LQLWLDO ZHHN WUHDWPHQW SHULRG VRPH SDUDPHWHUV RI VOHHS

                                                                                            -RXUQDO RI &OLQLFDO 6OHHS 0HGLFLQH 9RO  1R  
  Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 8 of 385 PageID #: 33493
- %ODFN ' 3DUGL &6 +RUQIHOGW HW DO
ZHUH IXUWKHU LPSDFWHG GXULQJ WKH VXEVHTXHQW  ZHHNV RI VWDEOH                                  /DSLHUUH 2 0RQWSODLVLU - /DPDUUH 0 %HGDUG 0$ 7KH HIIHFW RI JDPPDK\GUR[\
GRVH WUHDWPHQW LQFOXGLQJ WRWDO VOHHS WLPH WRWDO 15(0 VOHHS                                       EXW\UDWH RQ QRFWXUQDO DQG GLXUQDO VOHHS RI QRUPDO VXEMHFWV IXUWKHU FRQVLGHU
                                                                                                   DWLRQV RQ 5(0 VOHHS 6OHHS 
6:6 DQG QXPEHU RI DZDNHQLQJV 7KH IXUWKHU FKDQJHV IURP
ZHHN  WR ZHHN  PD\ VXJJHVW D WLPHRQGUXJ HIIHFW IRU WKHVH
SDUDPHWHUV EXW WKLV FDQQRW EH FODUL¿HG ZLWK WKHVH GDWD                                       $&.12:/('*0(176
                                                                                                   7KLV VWXG\ ZDV VSRQVRUHG E\ -D]] 3KDUPDFHXWLFDOV ,QF 3DOR $OWR &$ DQG FRQ
 &21&/86,21                                                                                    GXFWHG E\ WKH PHPEHUV RI WKH ;\UHP ,QWHUQDWLRQDO 6WXG\ *URXS ZKR DUH 0DQVRRU
                                                                                               $KPHG 0' &OHYHODQG 6OHHS &HQWHU 0LGGOHEURRN +HLJKWV 2+ 3KLOLS %HFNHU 0'
   7KH QRFWXUQDO DGPLQLVWUDWLRQ RI 6;% WR QDUFROHSV\ SDWLHQWV                                  6OHHS 0HGLFLQH $VVRFLDWLRQ RI 7H[DV 3ODQR 7; 0LFKDHO %LEHU 0' &HQWHU IRU 6OHHS
                                                                                               'LDJQRVWLFV 1HZWRQ 0$ -HG %ODFN 0' 6WDQIRUG 6OHHS 'LVRUGHU &OLQLF 6WDQIRUG &$
LQ WZR HTXDOO\ GLYLGHG GRVHV UHVXOWV LQ VLJQL¿FDQW GRVHUHODWHG                                5LFKDUG %RJDQ 0' 3DOPHWWR %DSWLVW 0HGLFDO &HQWHU &ROXPELD 6& $QGUHZ &KHV
FKDQJHV LQ VOHHS DUFKLWHFWXUH LQFOXGLQJ DQ LQFUHDVH LQ VORZ                                   VRQ -U 0' /RXLVLDQD 6WDWH 8QLYHUVLW\ 6OHHS 'LVRUGHUV &HQWHU 6KUHYHSRUW /$ -DPHV
ZDYH VOHHS DQG 767 DQG D GHFUHDVH LQ VWDJH  VOHHS ZDNH DIWHU                                 &RRN 0' 7KH &HQWHU IRU 6OHHS :DNH 'LVRUGHUV 'DQYLOOH ,1 6WHSKHQ 'XQWOH\
VOHHS RQVHW DQG QXPEHU RI DZDNHQLQJV 7KHVH ¿QGLQJV DUH FRQ                                  0' :DVKLQJWRQ 8QLYHUVLW\ 0HGLFDO &HQWHU 6W /RXLV 02 +HOHQH (PVHOOHP 0'
                                                                                               &HQWHU IRU 6OHHS :DNH 'LVRUGHUV &KHY\ &KDVH 0' 0LOWRQ (UPDQ 0' DQG 5R]D
VLVWHQW ZLWK LPSURYHPHQW LQ PHDVXUHV RI VOHHS FRQWLQXLW\ DQG                                   +D\GXN 0' 3DFL¿F 6OHHS 0HGLFLQH 6HUYLFHV /D -ROOD &$ 1HLO )HOGPDQ 0' 6W
VXJJHVW 6;% PD\ SURPRWH VRPH DPHOLRUDWLRQ RI WKH VOHHS IUDJ                                   3HWHUVEXUJ 6OHHS 'LVRUGHUV &HQWHU 6W 3HWHUVEXUJ )/ -RKQ )OHPLQJ 0' 9DQFRX
PHQWDWLRQ WKDW LV FRPPRQ LQ QDUFROHSV\ $W 6;% GRVHV RI  J                                 YHU +RVSLWDO 9DQFRXYHU %ULWLVK &ROXPELD &DQDGD 3HWHU *HLVOHU 0' 3V\FKLDWULVFKH
 J DQG  JQLJKW GRVHUHODWHG LPSURYHPHQWV LQ FDWDSOH[\ DQG                                 8QLYHUVLWlWVNOLQLN 5HJHQVEXUJ *HUPDQ\ 0DUWKD +DJDPDQ 0' &KLOGUHQ¶V 6OHHS ,Q
                                                                                               VWLWXWH 1DVKYLOOH 71 'HQQLV +LOO 0' &HQWUDO &DUROLQD 1HXURORJ\ 6OHHS 6DOLVEXU\
RYHUDOO FKDQJH LQ VHYHULW\ RI SDWLHQW¶V GLVHDVH VWDWH DQG DW GRVHV                             1& :LOOLDP & +RXJKWRQ 0' DQG &DUO 6 +RUQIHOGW 3K' 2USKDQ 0HGLFDO ,QF 0LQ
RI  J DQG  JQLJKW GHFUHDVHV LQ H[FHVVLYH GD\WLPH VOHHSLQHVV                                QHWRQND 01 $DWLI 0 +XVDLQ 0' 'XNH +HDOWK &HQWHU DW 0RUUHHQH 5RDG 'XUKDP
ZHUH QRWHG DV SUHYLRXVO\ UHSRUWHG                                                          1& 7KRPDV .DHOLQ 0' /RZFRXQWU\ /XQJ &ULWLFDO &DUH 3$ &KDUOHVWRQ 6& *HUW
                                                                                               -DQ /DPPHUV 0' 3K' /HLGHQ 8QLYHUVLW\ 0HGLFDO &HQWHU /HLGHQ WKH 1HWKHUODQGV
                                                                                               ' $ODQ /DQNIRUG 3K' 6OHHS 'LVRUGHUV &HQWHU RI *HRUJLD $WODQWD *$ -XGLWK /HHFK
 5()(5(1&(6                                                                                    0' 7KH 2WWDZD +RVSLWDO 6OHHS &HQWUH 2WWDZD 2QWDULR &DQDGD 0RUWLPHU 0DPHODN
                                                                                               0' %UDLQ 6OHHS 'LDJQRVWLF &HQWHU 7RURQWR 2QWDULR &DQDGD *HHUW 0D\HU 0'
   86 ;\UHP 0XOWLFHQWHU 6WXG\ *URXS $ UDQGRPL]HG GRXEOH EOLQG SODFHER                   +HSDWLF .OLQLN 6FKZDOPVWDGW7UH\VD *HUPDQ\ +DUYH\ 0ROGRIVN\ 0' &HQWHU IRU
     FRQWUROOHG PXOWLFHQWHU WULDO FRPSDULQJ WKH HIIHFWV RI WKUHH GRVHV RI RUDOO\ DG           6OHHS DQG &KURQRELRORJ\ 7RURQWR 2QWDULR &DQDGD -DFTXHV 0RQWSODLVLU 0' 6OHHS
     PLQLVWHUHG VRGLXP R[\EDWH ZLWK SODFHER IRU WKH WUHDWPHQW RI QDUFROHSV\ 6OHHS             'LVRUGHU &HQWUH 0RQWUHDO 4XHEHF &DQDGD 5DFKHO 0RUHKRXVH 0' 6DLQW -RKQ 5H
                                                                                  JLRQDO +RVSLWDO 6DLQW -RKQ 1HZ %UXQVZLFN &DQDGD $GDP 0RVFRYLWFK 0' &DQDGLDQ
   86 ;\UHP 0XOWLFHQWHU 6WXG\ *URXS $ PRQWK RSHQODEHO PXOWLFHQWHU H[WHQ            6OHHS ,QVWLWXWH &DOJDU\ $OEHUWD &DQDGD 6RQND 1HYVLPDORYD 0' &KDUOHV 8QLYHUVLW\
     VLRQ WULDO RI RUDOO\ DGPLQLVWHUHG VRGLXP R[\EDWH IRU WKH WUHDWPHQW RI QDUFROHSV\         3UDJXH &]HFK 5HSXEOLF :LOOLDP 2UU 3K' /\QQ +HDOWK 6FLHQFH ,QVWLWXWH 2NODKRPD
     6OHHS                                                                        &LW\ 2. 5DOSK 3DVFXDO\ 0' 6ZHGLVK 6OHHS 0HGLFLQH ,QVWLWXWH 6HDWWOH :$ 9HUQRQ
   86 ;\UHP 0XOWLFHQWHU 6WXG\ *URXS 6RGLXP R[\EDWH GHPRQVWUDWHV ORQJWHUP                 3HJUDP 3K' 6OHHS 'LVRUGHUV &HQWHU RI $ODEDPD %LUPLQJKDP $/ 7KRPDV 3HUNLQV
     HI¿FDF\ IRU WKH WUHDWPHQW RI FDWDSOH[\ LQ SDWLHQWV ZLWK QDUFROHSV\ 6OHHS 0HG             0' 3K' 5DOHLJK 1HXURORJ\ $VVRFLDWHV 3$ 5DOHLJK 1& -D\DQW 3KDGNH 0' 6W
                                                                                9LQFHQW +RVSLWDO :RUFHVWHU 0$ 5X]LFD 5LVWDQRYLF 0' (YDQVWRQ +RVSLWDO 6OHHS
   ;\UHP ,QWHUQDWLRQDO 6WXG\ *URXS $ GRXEOHEOLQG SODFHERFRQWUROOHG VWXG\                'LVRUGHUV &HQWHU (YDQVWRQ ,/ -RKQ 6KQHHUVRQ 0' 3DSZRUWK +RVSLWDO &DPEULGJH
     GHPRQVWUDWHV VRGLXP R[\EDWH LV HIIHFWLYH IRU WKH WUHDWPHQW RI H[FHVVLYH GD\WLPH           (QJODQG -DPHV 6WHYHQV 0' )RUW :D\QH ,1 7RGG 6ZLFN 0' 7KH +RXVWRQ 6OHHS
     VOHHSLQHVV LQ QDUFROHSV\ - &OLQ 6OHHS 0HG                                  &HQWHU +RXVWRQ 7; -R\FH :DOVOHEHQ 3K' %HOOHYXH +RVSLWDO 6OHHS:DNH &HQWHU
   ;\UHP ,QWHUQDWLRQDO 6WXG\ *URXS )XUWKHU HYLGHQFH VXSSRUWLQJ WKH XVH RI VR               1HZ <RUN 1< 7LPRWK\ :DOWHU 0' *URYH &LW\ 6OHHS 'LDJQRVWLF &HQWHU *URYH &LW\
     GLXP R[\EDWH IRU WKH WUHDWPHQW RI FDWDSOH[\ D GRXEOHEOLQG SODFHERFRQWUROOHG           2+ - &DWHVE\ :DUH 3K' 6OHHS 'LVRUGHUV &HQWHU 1RUIRON 9$ 3DWULFN :KLWWHQ 0'
     VWXG\ LQ  SDWLHQWV 6OHHS 0HG                                            3HRULD ,/ 'DYLG :LQVORZ 0' 6OHHS 0HGLFLQH 6SHFLDOLVWV /RXLVYLOOH .< 7KH DXWKRUV
   2YHUHHP 6 0LJQRW ( YDQ 'LMN -* /DPPHUV *- 1DUFROHSV\ &OLQLFDO IHDWXUHV              ZLVK WR WKDQN WKH 6WDQIRUG 6OHHS 'LVRUGHUV &OLQLF 2VFDU &DULOOR IRU DVVLVWDQFH LQ GDWD
     QHZ SDWKRSK\VLRORJLF LQVLJKWV DQG IXWXUH SHUVSHFWLYHV - &OLQ 1HXURSK\VLRO               FROOHFWLRQ DQG GDWD DQDO\VLV 7KH DXWKRUV DOVR DFNQRZOHGJH +RZDUG /LDQJ 06 DQG
                                                                                &KLQJOLQ /DL 3K' -D]] 3KDUPDFHXWLFDOV ,QF LQ SHUIRUPLQJ VWDWLVWLFDO DQDO\VHV DQG
   0DPHODN 0 (VFULX -0 6WRNDQ 2 7KH HIIHFWV RI JDPPDK\GUR[\EXW\UDWH RQ                   7HUHVD 6WHLQLQJHU 3K' DQG &KLQJOLQ /DL 3K' -D]] 3KDUPDFHXWLFDOV ,QF IRU HGLWRULDO
     VOHHS %LRO 3V\FKLDWU\                                                     DVVLVWDQFH DQG KHOSIXO VXJJHVWLRQV
   %URXJKWRQ 5 0DPHODN 0 (IIHFWV RI QRFWXUQDO JDPPDK\GUR[\EXW\UDWH RQ VOHHS
     ZDNLQJ SDWWHUQV LQ QDUFROHSV\FDWDSOH[\ &DQ - 1HXURO 6FL 
   6FULPD / +DUWPDQ 3* -RKQVRQ )+ 7KRPDV (( +LOOHU )& 7KH HIIHFWV RI                    68%0,66,21               &255(6321'(1&( ,1)250$7,21
     ȖK\GUR[\EXW\UDWH RQ WKH VOHHS RI QDUFROHSV\ SDWLHQWV $ GRXEOH EOLQG VWXG\
     6OHHS                                                                      6XEPLWWHG IRU SXEOLFDWLRQ 0DUFK 
  /DPPHUV *- $UHQGV - 'HFOHUFN $& )HUUDUL 01 6FKRXZLQN * 7URRVW - *DP               6XEPLWWHG LQ ÀQDO UHYLVHG IRUP -XQH 
     PDK\GUR[\EXW\UDWH DQG QDUFROHSV\ D GRXEOH EOLQG SODFHER FRQWUROOHG VWXG\               $FFHSWHG IRU SXEOLFDWLRQ -XQH 
     6OHHS                                                                      $GGUHVV FRUUHVSRQGHQFH WR -HG %ODFN 0' 6WDQIRUG 6OHHS 0HGLFLQH &HQWHU 
  0DPHODN 0 %ODFN - 0RQWSODLVLU - 5LVWDQRYLF 5 $ GRVH UHVSRQVH VWXG\ RQ                 %URDGZD\ 6WUHHW 3DYLOLRQ % QG )ORRU 5HGZRRG &LW\ &$  7HO 
     WKH HIIHFWV RI VRGLXP R[\EDWH RQ VOHHS DUFKLWHFWXUH DQG GD\WLPH DOHUWQHVV LQ               )D[   (PDLO MHGEODFN#VWDQIRUGHGX
     QDUFROHSV\ 6OHHS 
  :HDYHU 7( &XHOODU 1 $ UDQGRPL]HG WULDO HYDOXDWLQJ WKH HIIHFWLYHQHVV RI VRGLXP
     R[\EDWH WKHUDS\ RQ TXDOLW\ RI OLIH LQ QDUFROHSV\ 6OHHS                   ',6&/2685( 67$7(0(17
  $PHULFDQ $FDGHP\ RI 6OHHS 0HGLFLQH ,QWHUQDWLRQDO FODVVL¿FDWLRQ RI VOHHS GLVRU
                                                                                                 7KLV VWXG\ ZDV VSRQVRUHG E\ -D]] 3KDUPDFHXWLFDOV ,QF 3DOR $OWR &$ DQG FRQ
     GHUV GLDJQRVWLF DQG FRGLQJ PDQXDO QG HG :HVWFKHVWHU ,/ $PHULFDQ $FDGHP\
                                                                                               GXFWHG E\ WKH PHPEHUV RI WKH ;\UHP ,QWHUQDWLRQDO 6WXG\ *URXS VHH $FNQRZOHGJ
     RI 6OHHS 0HGLFLQH 
                                                                                               PHQWV IRU QDPHV RI WKH JURXS  'U %ODFN LV DQ HPSOR\HH RI $FWHOLRQ 3KDUPDFHXWLFDOV
  5HFKWVFKDIIHQ $ .DOHV $ HGV  $ PDQXDO RI VWDQGDUGL]HG WHUPLQRORJ\ WHFK
                                                                                               /7' DQG KDV UHFHLYHG UHVHDUFK VXSSRUW IURP &HSKDORQ *OD[R6PLWK.OLQH -D]] 3KDU
     QLTXHV DQG VFRULQJ V\VWHP IRU VOHHS VWDJHV RI KXPDQ VXEMHFWV 3XEOLF +HDOWK
                                                                                               PDFHXWLFDOV 0HUFN DQG 7DNHGD DQG KRQRUDULD IURP %RHKULQJHU,QJHOKHLP 7DNHGD
     6HUYLFH 86 *RYHUQPHQW 3ULQWLQJ 2I¿FH 
                                                                                               DQG 8&% 'U +RUQIHOGW LV D SDLG FRQVXOWDQW WR -D]] 3KDUPDFHXWLFDOV 'U ,QKDEHU DQG
  %URXJKWRQ 5 0DPHODN 0 7KH WUHDWPHQW RI QDUFROHSV\FDWDSOH[\ ZLWK QRFWXUQDO
                                                                                               0U 3DUGL DUH IRUPHU HPSOR\HHV RI -D]] 3KDUPDFHXWLFDOV DQG RZQ VKDUHV RI VWRFN
     JDPPDK\GUR[\EXW\UDWH &DQ - 1HXURO 6FL 
  6FKDUI 0% %URZQ ' :RRGV 0 %URZQ / +LUVFKRZLW] - 7KH HIIHFWV DQG HI
     IHFWLYHQHVV RI JDPPDK\GUR[\EXW\UDWH LQ SDWLHQWV ZLWK QDUFROHSV\ - &OLQ 3V\
     FKLDWU\ 

-RXUQDO RI &OLQLFDO 6OHHS 0HGLFLQH 9RO  1R                                    
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 9 of 385 PageID #: 33494




                   EXHIBIT 21
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 10 of 385 PageID #: 33495
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 11 of 385 PageID #: 33496
 378                                                                                                                  T. Roth et al.


                                                                   immediate-release SXB have been published; however, the
  Key Points                                                       data are presented as bifurcated segments of sleep [12]. This
                                                                   bifurcation and disruption of sleep highlights an unmet med-
  One of the most frequently reported symptoms of nar-             ical need in the treatment of nighttime symptoms in patients
  colepsy is disturbed nocturnal sleep/disrupted nighttime         with narcolepsy.
  sleep, characterized by a disruption in sleep architecture          FT218 is an investigational, extended-release, once-
  and sleep continuity. FT218 is an investigational, novel,        nightly formulation of SXB (ON-SXB). In a randomized,
  once-nightly formulation of sodium oxybate.                      open-label, crossover pilot study evaluating the pharmacoki-
  In this randomized controlled clinical trial, both subjec-       netic properties of ON-SXB, a single 6-g dose was shown to
  tive and objective measures of disrupted nighttime sleep         be bioequivalent in drug exposure (i.e., area under the curve)
  were signiﬁcantly improved for the once-nightly formu-           to two 3-g doses of immediate-release SXB administered
  lation of sodium oxybate at 6, 7.5, and 9 g vs placebo.          4 h apart [13]. In the 13-week, phase III, REST-ON clinical
                                                                   trial (NCT02720744) of patients with narcolepsy, all three
  The results from this trial support the use of a once-           evaluated doses of ON-SXB (6, 7.5, and 9 g) were eﬀective
  nightly formulation of sodium oxybate for the nocturnal          on all three coprimary endpoints and demonstrated clini-
  symptoms of narcolepsy, as well as an improvement in             cally meaningful and statistically signiﬁcant improvements
  patients’ perception of their sleep, including in those          compared with placebo in EDS as assessed by the Mainte-
  taking concomitant stimulants and/or wake-promoting              nance of Wakefulness Test, overall condition as measured by
  agents.                                                          Clinical Global Impression of Improvement, and frequency
                                                                   of cataplexy attacks, all with p < 0.001 [14]. Signiﬁcant
                                                                   results were observed at week 3, the earliest formal assess-
                                                                   ment with the 6-g dose. In REST-ON, ON-SXB was gener-
 estimates is reported (~ 30–95%) [4]. Numerous factors            ally well tolerated. Most adverse events were mild or moder-
 such as the presence of rapid eye movement (REM) sleep            ate in severity and diminished over time. The most common
 behavior disorder, nightmares, periodic limb movements of         adverse reactions with ON-SXB were consistent with the
 sleep, obstructive sleep apnea, depression, anxiety, hallu-       well-characterized safety proﬁle of SXB and included vomit-
 cinations, sleep paralysis, and obesity contribute to DNS         ing, dizziness, and enuresis [10, 15].
 [4–7]. Furthermore, varying deﬁnitions of DNS in narco-              Secondary endpoints of the REST-ON trial reported here
 lepsy are employed in both the literature and clinical prac-      included both objective and subjective assessments of DNS
 tice, contributing to the wide range of DNS prevalence rates      in patients with narcolepsy. These assessments include PSG
 [4, 8]. A recently validated 15-item self-administered ques-      measures of sleep instability (i.e., shifts to wake or N1 from
 tionnaire, the Narcolepsy Severity Scale, includes an item to     N1, N2, N3, and REM) and nocturnal arousals (NAs), as
 assess the presence and frequency of DNS [8]. In a study of       well as patient-reported assessments of both sleep quality
 patients with narcolepsy type 1 (NT1) that used the Narco-        and refreshing nature of sleep.
 lepsy Severity Scale, DNS was reported to be the third most
 frequent symptom (95.5% of untreated patients with three
 symptoms), exceeded only by EDS and cataplexy. Despite            2 Methods
 its high prevalence, it is unclear whether clinicians routinely
 assess or monitor this symptom. Additionally, sleep frag-         2.1 Study Design
 mentation is a frequent ﬁnding in polysomnographic (PSG)
 recordings in individuals with narcolepsy. Less time in slow-     REST-ON was a multicenter, randomized, double-blind, pla-
 wave sleep (SWS), frequent awakenings/arousals, more N1           cebo-controlled, phase III clinical trial (NCT02720744). The
 sleep, and more frequent awakenings from deeper stages of         study design, which consisted of a 3-week screening period,
 sleep are consistently found on PSG recordings in patients        a 13-week treatment period, and a 1-week follow-up period,
 with narcolepsy [4].                                              was described previously [14]. The study was approved by
     Sodium oxybate (SXB), the sodium salt of                      an institutional review board or independent ethics com-
 ȥ-hydroxybutyrate, has been recognized as the gold stand-         mittee for each study center. REST-ON was performed in
 ard for disrupted sleep due to narcolepsy [9]. However,           accordance with the Declaration of Helsinki, Good Clinical
 the immediate-release formulations require the patients           Practice guidelines, International Council for Harmonisation
 to awaken for the second dose 2.5–4 h after the ﬁrst dose         guidelines, and any applicable regulatory requirements at
 owing to the short half-life of ȥ-hydroxybutyrate (i.e., 30–60    the local and national level. Written informed consent was
 min) [10, 11]. This required awakening disrupts sleep con-        provided by all adult participants (≥ 18 years old). Young
 tinuity. Results describing improvements in DNS with              adults (16 and 17 years old) must have been capable of
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 12 of 385 PageID #: 33497
 Improvement in Disrupted Nighttime Sleep with Once-Nightly Sodium Oxybate                                                         379

 giving assent followed by consent from a legally authorized             in an electronic sleep diary. The VAS ranged from 1 to 100,
 guardian.                                                               with 1 indicating “did not sleep”/“not refreshed” and 100
                                                                         indicating “slept very well”/“refreshed.” Post hoc analyses
 2.2 Participants                                                        included the amount of time spent in N1, N2, N3, and REM
                                                                         sleep; REM latency; shifts from REM to wake/N1; and delta
 Eligible participants were aged 16 years or older, with a               power for non-REM sleep in the whole-night recording as an
 diagnosis of NT1 or narcolepsy type 2 (NT2) as deﬁned by                objective measure of DNS and the assessment of prespeci-
 the criteria listed in the International Classiﬁcation of Sleep         ﬁed endpoints associated with DNS (i.e., shifts, arousals,
 Disorders, Third Edition [16]. Participants who previously              sleep quality, and refreshing nature of sleep) in subgroups of
 used SXB were excluded (except use of SXB ≤ 4.5 g for                   participants who were vs who were not taking concomitant
 ≤ 2 weeks and ≥ 1 year before study entry), as were those               stimulants and/or wake-promoting medications.
 who had a diagnosis of sleep apnea (apnea-hypopnea index
 ≥ 15) or any other sleep disorder known to cause EDS as                 2.5 Statistical Analyses
 determined by PSG ﬁndings and sleep history. Concomi-
 tant stimulant use was allowed (initiated ≥ 3 weeks before              Eﬃcacy analyses were based on the modiﬁed intent-to-treat
 starting the screening process and the same stimulant regi-             population, deﬁned as all patients randomized to treatment
 men continued throughout the entire study period). Detailed             with at least one eﬃcacy measurement after receiving either
 participant inclusion/exclusion criteria can be found in the            the 6-g dose of ON-SXB or placebo. Least-squares mean
 primary REST-ON publication [14].                                       (LSM) diﬀerences vs placebo, associated 95% conﬁdence
                                                                         intervals (CIs), and p-values were calculated. LSM change
 2.3 Treatment                                                           from baseline in the PSG and VAS measures were analyzed
                                                                         using a mixed-eﬀects model for repeated measures that
 Stratified randomization was performed based on the                     included treatment, time at which measurements were taken,
 presence of narcolepsy type (NT1 or NT2), with patients                 treatment-by-time interaction, site (USA or non-USA), and
 assigned in a 1:1 ratio to treatment with ON-SXB or pla-                baseline score as fixed effects, and subjects as random
 cebo. Doses of study medication were 4.5 g for 1 week, 6                eﬀects. For stage shifts, the p-value was estimated using a
 g for 2 weeks, 7.5 g for 5 weeks, and 9 g for 5 weeks taken             mixed-eﬀects model for repeated measures with additional
 once nightly at bedtime. The dosing paradigm was designed               criteria including change from baseline in the number of
 this way to demonstrate the eﬃcacy and safety of 6, 7.5 and             wakefulness or N1 stages after sleep onset as the response
 9 g of ON-SXB. All study personnel were blinded to the                  variable, covariate of baseline number of wakefulness or N1
 study treatments, and a double-blind approach was used to               stages after sleep onset, and unstructured variance-covari-
 ensure the integrity of the study blinding.                             ance structure. Mean VAS responses were averaged over the
                                                                         14 days preceding the test day. Post hoc analyses included
 2.4 Assessments                                                         changes from baseline in total time spent in N1, N2, N3, and
                                                                         REM sleep; REM latency; and delta power. All statistical
 Secondary eﬃcacy endpoints were change from baseline in                 tests were performed using a two-sided alpha test with a 5%
 (1) frequency of sleep stage transitions, (2) NAs, and (3)              overall signiﬁcance level, unless otherwise noted. Second-
 patient-reported quality of sleep and refreshing nature of              ary eﬃcacy endpoints did not take multiplicity into account.
 sleep. Overnight, in-clinic PSG was performed at baseline
 and at weeks 3, 8, and 13. Stage transitions were assessed
 as the number of shifts from N1 (light sleep), N2, N3 (deep             3 Results
 sleep), and REM sleep to wake and from N2, N3, and REM
 sleep to N1. Nocturnal arousals were deﬁned as the num-                 3.1 Patient Disposition and Demographics
 ber of transient arousals on nocturnal PSG following the
 American Academy of Sleep Medicine Scoring Guidelines                   Of the 413 candidates who were screened, 222 (53.8%) were
 for PSG [17], i.e., an abrupt shift of electroencephalography           randomized 1:1 to ON-SXB or placebo (n = 111, each), and
 frequency including alpha, theta, and/or frequencies greater            212 of those randomized (95.5%) received one or more doses
 than 16 Hz (but not spindles), greater than 3 s of changed              of the study drug. Baseline demographics and clinical char-
 frequency on electroencephalography, at least 10 s of stable            acteristics of all randomized patients in the REST-ON trial
 sleep preceding the change, and in REM sleep, an increase               were generally similar between treatment arms; full patient
 in submental electromyography for at least 1 second. Qual-              demographics and disposition information have been previ-
 ity of sleep and refreshing nature of sleep were assessed               ously published [14]. The majority of patients were female
 using a visual analog scale (VAS) and were recorded daily               (n = 144; 67.9%) and white (n = 160; 75.5%) with a mean
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 13 of 385 PageID #: 33498
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 14 of 385 PageID #: 33499
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 15 of 385 PageID #: 33500
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 16 of 385 PageID #: 33501
 Improvement in Disrupted Nighttime Sleep with Once-Nightly Sodium Oxybate                                                                      383


 Table 1 Post hoc analysis: change from baseline in time spent in sleep stages, delta power, REM, and REM latency (modiﬁed intent-to-treat
 population)
 Parameter             Week 0                        Week 3                        Week 8                          Week 13
                       ON-SXB          Placebo       ON-SXB 6 g      Placebo       ON-SXB 7.5 g Placebo            ON-SXB 9 g       Placebo
                       n = 97          n = 93        n = 97          n = 93        n = 97       n = 93             n = 97           n = 93

 N1 sleep
  Time spent in N1 sleep at baseline, minutes
    Mean (SD)          40.2 (22.1)     42.6 (21.2)
  Change from baseline in N1, minutes
    LSM (SE)                                         − 6.2 (1.7)     − 0.3 (1.7)   − 10.3 (2.0)     0.73 (1.9)     − 13.2 (1.8)     0.15 (1.7)
    LSMD (95% CI)                                    − 5.9 (− 10.7 to − 1.1)*      − 11.0 (− 16.5 to − 5.5)***     − 13.4 (− 18.4 to − 8.4)***
 N2 sleep
  Time spent in N2 sleep at baseline, minutes
    Mean (SD)          215.9 (52.2) 211.6 (48.3)
  Change from baseline in N2, minutes
    LSM (SE)                                         – 8.5 (4.1)     − 1.9 (4.1)   2.7 (4.4)         − 1.0 (4.3)   − 11.5 (5.0)     2.0 (4.7)
    LSMD (95% CI)                                    − 6.6 (− 18.1 to 4.9)         3.6 (− 8.4 to 15.7)             − 13.5 (− 27.1 to 0.1)
 N3 sleep
  Time spent in N3 sleep at baseline, minutes
    Mean (SD)          68.8 (31.5)     68.8 (28.1)
  Change from baseline in N3, minutes
    LSM (SE)                                         27.6 (3.0)     5.5 (3.0)      30.4 (3.7)      3.6 (3.6)       39.5 (4.3)       1.1 (4.1)
    LSMD (95% CI)                                    22.1 (13.6–30.5)***           26.8 (16.6–37.0)***             38.4 (26.7–50.1)***
 Delta power in NREM
  Baseline delta power in NREM
    Mean (SD)          460.8 (336.8) 545.6 (656.5)
  Change from baseline in delta power in NREM
    LSM (SE)                                         239.4 (62.4) − 6.5 (63.5) 400.3 (95.3)    90.2 (101.3) 640.8 (110.8)   67.2 (106.3)
    LSMD (95% CI)                                    245.8 (69.0–422.7)**      310.0 (33.3–586.7)*          573.6 (266.8–880.4)***
 Total REM sleep
  Total REM sleep at baseline, minutes
    Mean (SD)          76.7 (30.8)     78.3 (27.7)
  Change from baseline in total REM sleep, minutes
    LSM (SE)                                         − 16.1 (2.6)    0.6 (2.6)   − 21.3 (2.7)     5.9 (2.7)   − 22.8 (3.3)     1.7 (3.1)
    LSMD (95% CI)                                    − 16.7 (− 23.9 to − 9.5)*** − 27.2 (− 34.8 to − 19.6)*** − 24.5 (− 33.4 to − 15.6)***
 REM latency
  Baseline REM latency, minutes
    Mean (SD)          69.1 (68.0)     56.0 (45.9)
  Change from baseline in REM latency, minutes
    LSM (SE)                                         14.2 (6.8)      − 3.4 (6.8)   19.7 (7.6)       − 3.4 (7.5)    20.8 (8.6)       − 2.4 (8.1)
    LSMD (95% CI)                                    17.6 (− 1.4 to 36.6)          23.1 (2.0–44.2)*                23.2 (− 0.21 to 46.6)

 Mixed-eﬀects model for repeated measures used to assess signiﬁcance at each timepoint
 CI conﬁdence interval, LSM least-squares mean, LSMD least-squares mean diﬀerence, NREM non-rapid eye movement, ON-SXB once-nightly
 sodium oxybate, REM rapid eye movement, SD standard deviation, SE standard error
 *p < 0.05; **p < 0.01; ***p < 0.001


    A previous assessment of twice-nightly SXB also showed                the second middle-of-the-night dose required to cover a full
 increases in time spent in N3 and corresponding decreases                night of sleep [10]. A required awakening for the second
 in N1 and REM sleep, whereas N2 remains unaﬀected [12];                  dose 2.5–4 h after the ﬁrst bedtime dose by deﬁnition is a
 however, these data are presented separated into the ﬁrst and            disruption of sleep. Although immediate-release SXB has
 the second half of the night owing to the need to awaken for             been shown to increase the overall amount of time spent in
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 17 of 385 PageID #: 33502
 384                                                                                                                                        T. Roth et al.


 Table 2 Post hoc analysis: sleep stage shifts, NAs, sleep quality, and refreshing nature of sleep by stimulant use (modiﬁed intent-to-treat popula-
 tion)
                       Baseline                   Week 3                                Week 8                            Week 13
 Parameter             ON-SXB       Placebo       ON-SXB 6 g              Placebo       ON-SXB 7.5 g         Placebo      ON-SXB 9 g        Placebo

 Sleep stage shifts
  Stimulant use       n = 66        n = 53
    Baseline, mean 59.2 (24.5)      64.0 (22.8)
      (SD)
    LSM change                                    − 8.4 (2.2)             0.6 (2.4)     − 12.8 (3.0)         3.4 (3.1)    − 19.6 (2.6)      1.5 (2.6)
      from baseline
      (SE)
    LSMD (95% CI)                                 − 9.0 (− 15.5 to − 2.5)**             − 16.2 (− 24.8 to − 7.6)***       − 21.1 (− 28.5 to − 13.8)***
  No stimulant use n = 31           n = 40
    Baseline, mean 62.1 (21.0)      55.3 (19.5)
      (SD)
    LSM change                                    – 13.4 (2.8)            – 3.5 (2.5)   – 20.2 (3.6)         2.8 (3.2)    – 23.4 (4.1)      4.1 (3.6)
      from baseline
      (SE)
    LSMD (95% CI)                                 − 16.9 (– 24.5 to – 9.3)***           – 23.0 (– 32.8 to – 13.3)***      − 27.6 (– 38.4 to – 16.7)***
 NAs
  Stimulant use       n = 66        n = 53
    Baseline, mean 78.5 (46.4)      76.4 (30.6)
      (SD)
    LSM change                                    – 26.6 (4.2)            – 20.2 (4.5) – 35.8 (4.2)          – 17.1 (4.4) – 36.0 (4.6)      – 14.7 (4.5)
      from baseline
      (SE)
    LSMD (95% CI)                                 – 6.4 (– 18.7 to 5.9)                 – 18.8 (– 30.8 to – 6.8)**        – 21.3 (– 34.1 to – 8.5)***
  No stimulant use n = 31           n = 40
    Baseline, mean 89.0 (36.8)      78.2 (46.7)
      (SD)
    LSM change                                    – 40.2 (6.2)            – 20.7 (5.5) – 45.6 (7.7)          – 23.5 (6.8) – 46.0 (8.2)      – 17.0 (7.2)
      from baseline
      (SE)
    LSMD (95% CI)                                 – 19.5 (– 36.0 to – 3.0)*             – 22.1 (– 42.6 to – 1.6)*         – 29.0 (– 50.8 to – 7.1)**
 VAS sleep qualitya
  Stimulant use       n = 66        n = 53
    Baseline, mean 54.7 (19.1)      55.5 (19.0)
      (SD)
    LSM change                                    10.7 (1.3)              5.4 (1.4)     18.3 (1.6)           10.9 (1.7)   19.5 (1.9)        13.0 (2.0)
      from baseline
      (SE)
    LSMD (95% CI)                                 5.4 (1.6–9.1)**                       7.4 (2.9–12.0)**                  6.5 (1.1–11.9)*
  No stimulant use n = 31           n = 40
    Baseline, mean 51.8 (24.3)      56.5 (27.0)
      (SD)
    LSM change                                    14.7 (2.1)              4.5 (1.8)     19.4 (2.8)           6.2 (2.5)    24.9 (3.2)        8.2 (2.8)
      from baseline
      (SE)
    LSMD (95% CI)                                 10.2 (4.6–15.9)***                    13.2 (5.7–20.8)***                16.7 (8.1–25.3)***
 VAS refreshing nature of sleepa
 Stimulant use        n = 66        n = 53
    Baseline, mean 49.0 (20.4)      50.9 (21.8)
      (SD)
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 18 of 385 PageID #: 33503
 Improvement in Disrupted Nighttime Sleep with Once-Nightly Sodium Oxybate                                                                            385

 Table 2 (continued)
                         Baseline                  Week 3                           Week 8                              Week 13
 Parameter               ON-SXB       Placebo      ON-SXB 6 g          Placebo      ON-SXB 7.5 g          Placebo       ON-SXB 9 g          Placebo

   LSM change                                      11.5 (1.4)          7.0 (1.6)    20.5 (1.7)            11.7 (1.8)    22.6 (2.0)          15.1 (2.1)
      from baseline
      (SE)
   LSMD (95% CI)                                   4.5 (0.3–8.7)*                   8.8 (3.9–13.6)***                   7.6 (1.8–13.3)*
 No stimulant use   n = 31    n = 40
   Baseline, mean 41.3 (24.1) 48.6 (25.3)
      (SD)
   LSM change                                      16.1 (2.4)          6.4 (2.0)    20.6 (3.4)            6.1 (2.9)     25.7 (3.8)          8.8 (3.2)
      from baseline
      (SE)
   LSMD (95% CI)                                   9.7 (3.5–15.8)**                 14.5 (5.6–23.4)**                   16.9 (7.0–26.8)***

 Mixed-eﬀects model for repeated measures used to assess signiﬁcance at each timepoint
 CI conﬁdence interval, LSM least-squares mean, LSMD least-squares mean diﬀerence, NA nocturnal arousal, ON-SXB once-nightly sodium oxy-
 bate, REM rapid eye movement, SD standard deviation, SE standard error, VAS visual analog scale, *p < 0.05; **p ≤ 0.01; ***p < 0.001
 a
     VAS of 1–100, with 1 indicating “did not sleep”/“not refreshed” and 100 indicating “slept very well”/“refreshed”


 SWS [12, 18, 19], the larger increase was observed in the                    sleepiness [28, 29]. Thus, these ﬁndings provide reassuring
 second half of the night [12], which is in contrast to when                  evidence that the eﬃcacy of ON-SXB for the treatment of
 SWS typically occurs following the homeostatic drive to                      DNS in narcolepsy will likely be maintained whether or not
 sleep after a period of wakefulness [20].                                    the patients are using concurrent stimulants.
    Slow-wave sleep is considered the deepest and most                           The analyses conducted in this trial have some limita-
 restorative stage of sleep and is associated with sleep quality              tions. Eﬃcacy results presented are secondary endpoints,
 and maintenance of sleep [20–23]. A recently completed sys-                  not powered for a multiplicity analysis, and some were
 tematic review and meta-analysis showed that SWS is dimin-                   conducted post hoc. However, improvements with ON-
 ished in people with narcolepsy compared with controls                       SXB treatment were consistent over time and increased in
 (n = 65 studies) and similar in NT1 vs NT2 (n = 41 studies)                  a dose-dependent manner, further substantiating the results
 [24]. During SWS, there is a reduction in sympathetic activ-                 and decreasing the likelihood of a type 1 error.
 ity; a reduction in this sleep stage may adversely aﬀect blood
 pressure and contribute to hypertension [25–27]. Whether
 the increase in SWS with ON-SXB confers additional clini-                    5 Conclusions
 cal beneﬁts merits further research.
    A signiﬁcant reduction in overall REM sleep was dem-                      The eﬃcacy of a single bedtime dose of SXB was demon-
 onstrated with all three ON-SXB doses, which was previ-                      strated for the treatment of DNS in participants with narco-
 ously demonstrated with the 9-g dose of twice-nightly SXB                    lepsy. Clinically relevant improvements were observed in
 [12]. ON-SXB increased REM sleep latency at all doses                        both objective measures (i.e., PSG-recorded decreases in
 compared with placebo, which was statistically signiﬁcant at                 stage shifts and NAs) and subjective ﬁndings with partici-
 the 7.5-g dose. The clinical implications of SXB modifying                   pants reporting both improved quality and refreshing nature
 REM sleep are not entirely known, although nocturnal REM                     of sleep. At all doses evaluated (6, 7.5, and 9 g), ON-SXB
 suppression may theoretically decrease SP, hypnagogic/hyp-                   treatment demonstrated a signiﬁcant consolidation of noc-
 nopompic hallucinations, and vivid dreaming.                                 turnal sleep, a signiﬁcant improvement in time spent in deep
    The magnitude of change in measures of DNS was greater                    sleep, and a signiﬁcant decrease in time spent in lighter sleep
 for participants who were not taking concomitant stimulants,                 vs placebo.
 although no statistical comparisons were made between
 groups given that these are post hoc analyses. Signiﬁcant                    Acknowledgments The authors thank the REST-ON trial participants
                                                                              and their families. People who participate in clinical trials play a key
 improvements in sleep stage transitions, NAs, and patient-                   role in advancing science and medicine and we would like to acknowl-
 reported sleep quality and refreshing nature of sleep were                   edge those individuals who participated in this trial. A statistical review
 observed with ON-SXB vs placebo regardless of concurrent                     of the manuscript was provided by Robert Flikkema, PhD, with fund-
 stimulant use. Polypharmacy may be necessary for patients                    ing from Avadel Pharmaceuticals (Chesterﬁeld, MO, USA). Medical
                                                                              writing support was provided by Judy Fallon, PharmD, and Jennifer
 with narcolepsy, and many take stimulants for daytime                        Fetting, PhD, of The Curry Rockefeller Group, LLC (Tarrytown, NY,
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 19 of 385 PageID #: 33504
 386                                                                                                                                       T. Roth et al.

 USA), and was funded by Avadel Pharmaceuticals (Chesterﬁeld, MO,            Open Access This article is licensed under a Creative Commons Attri-
 USA).                                                                       bution-NonCommercial 4.0 International License, which permits any
                                                                             non-commercial use, sharing, adaptation, distribution and reproduction
                                                                             in any medium or format, as long as you give appropriate credit to the
 Declarations                                                                original author(s) and the source, provide a link to the Creative Com-
                                                                             mons licence, and indicate if changes were made. The images or other
 Funding This study was funded by Avadel Ireland. Avadel was                 third party material in this article are included in the article's Creative
 involved in the study design; in the collection, analysis, and interpre-    Commons licence, unless indicated otherwise in a credit line to the
 tation of data; in the writing of the report; and in the decision to sub-   material. If material is not included in the article's Creative Commons
 mit the article for publication. Open access publication was funded by      licence and your intended use is not permitted by statutory regula-
 Avadel Ireland.                                                             tion or exceeds the permitted use, you will need to obtain permission
                                                                             directly from the copyright holder. To view a copy of this licence, visit
 Conflicts of interest/Competing interests TR is a consultant for Jazz       http://creativecommons.org/licenses/by-nc/4.0/.
 Pharmaceuticals, Takeda Pharmaceutical Co., Orexo, Avadel Pharma-
 ceuticals, Eisai, Merck & Co., and Idorsia. YD has served as a con-
 sultant or on advisory boards for Avadel Pharmaceuticals, Jazz Phar-
 maceuticals, UCB, Takeda Pharmaceutical Co., Theranexus, Harmony
                                                                             References
 Biosciences, Bioprojet Pharma, and Idorsia. MJT has served as a con-
 sultant or on advisory boards for Axsome Therapeutics, Balance Ther-         1. Kornum BR, Knudsen S, Ollila HM, et al. Narcolepsy. Nat Rev
 apeutics, Eisai, Avadel Pharmaceuticals, Harmony Biosciences, Jazz              Dis Primers. 2017;3:16100.
 Pharmaceuticals, NLS Pharmaceuticals, Suven Life Sciences Ltd., and          2. Longstreth JRWT, Koepsell TD, Ton TG, et al. The epidemiology
 Takeda Pharmaceutical Co. CK is a consultant of Avadel Pharmaceu-               of narcolepsy. Sleep. 2007;30:13–26.
 ticals and XW Pharma. BCC is a member of the speakers bureaus and            3. Dauvilliers Y, Arnulf I, Mignot E. Narcolepsy with cataplexy.
 has received honoraria from Jazz Pharmaceuticals, Eisai, and Harmo-             Lancet. 2007;369:499–511.
 ny Biosciences. He is an advisor and has received consulting fees and        4. Roth T, Dauvilliers Y, Mignot E, et al. Disrupted nighttime sleep
 honoraria from Jazz Pharmaceuticals, Eisai, Harmony Biosciences,                in narcolepsy. J Clin Sleep Med. 2013;9:955–65.
 and Avadel Pharmaceuticals. He is a member of the speakers bureau            5. Mamelak M. Narcolepsy and depression and the neurobiology of
 for Merck & Co. Inc., Jazz Pharmaceuticals, Eisai, and Harmony                  gammahydroxybutyrate. Prog Neurobiol. 2009;89:193–219.
 Biosciences. RB is a shareholder in WaterMark Medical and Healthy            6. Alfano CA, Reynolds K, Scott N, et al. Polysomnographic sleep
 Humming, LLC; serves on the board of directors for the National Sleep           patterns of non-depressed, non-medicated children with general-
 Foundation and WaterMark Medical; is a consultant for Jazz Pharma-              ized anxiety disorder. J Aﬀect Disord. 2013;147:379–84.
 ceuticals, Takeda Pharmaceutical Co., Avadel Pharmaceuticals, and            7. Hargens TA, Kaleth AS, Edwards ES, et al. Association between
 Oventus; has received industry-funded research grants from Avadel               sleep disorders, obesity, and exercise: a review. Nat Sci Sleep.
 Pharmaceuticals, BrescoTec, Bayer, Idorsia, Suven Life Sciences Ltd,            2013;5:27–35.
 Jazz Pharmaceuticals, Balance, Vanda, Merck & Co., Eisai, Philips,           8. Dauvilliers Y, Barateau L, Lopez R, et al. Narcolepsy Severity
 FRESCA Medical, Takeda Pharmaceutical Co., LivaNova, Roche, and                 Scale: a reliable tool assessing symptom severity and conse-
 Sommetrics; and has served on speakers bureaus for Jazz Pharmaceu-              quences. Sleep. 2020;43:zsaa009.
 ticals, Eisai, and Harmony Biosciences. RR received research grant           9. Morgenthaler TI, Kapur VK, Brown T, et al. Practice parameters
 funding by Avadel Pharmaceuticals to conduct the current study. He              for the treatment of narcolepsy and other hypersomnias of central
 has also received research grant support from Jazz Pharmaceuticals,             origin. Sleep. 2007;30:1705–11.
 Eisai, Merck & Co., Apnimed, Inc., Idorsia, Biohaven, and Suven Life        10. Jazz Pharmaceuticals. Xyrem (sodium oxybate oral solution, CIII).
 Sciences Ltd. He has participated in advisory boards for Jazz Phar-             Full prescribing information. Palo Alto: Jazz Pharmaceuticals;
 maceuticals, Eisai, and Harmony Biosciences. DS is an employee of               2020.
 Avadel Pharmaceuticals. JD is a consultant to, stockholder, and former      11. Barateau L, Lopez R, Dauvilliers Y. Treatment options for narco-
 employee of Avadel Pharmaceuticals.                                             lepsy. CNS Drugs. 2016;30:369–79.
                                                                             12. Black J, Pardi D, Hornfeldt CS, et al. The nightly use of sodium
 Ethics approval The REST-ON protocol was approved by the centers’               oxybate is associated with a reduction in nocturnal sleep disrup-
 institutional review board or appropriate independent ethics committee.         tion: a double-blind, placebo-controlled study in patients with
                                                                                 narcolepsy. J Clin Sleep Med. 2010;6:596–602.
 Consent to participate All participants provided written informed           13. Seiden D, Tyler C, Dubow J. Pharmacokinetics of FT218, a once-
 consent (and assent for participants aged 16 or 17 years of age) before         nightly sodium oxybate formulation in healthy adults. Clin Ther.
 participation.                                                                  2021;43(672):e1-14.
                                                                             14. Kushida CA, Shapiro CM, Roth T, et al. Once-nightly sodium
 Consent for publication Not applicable.                                         oxybate (FT218) demonstrated improvement of symptoms in
                                                                                 a phase 3 randomized clinical trial in patients with narcolepsy.
 Availability of data and material The data underlying this article will         Sleep. 2021. https://doi.org/10.1093/sleep/zsab200.
 be shared on reasonable request to the corresponding author.                15. U. S. Xyrem Multicenter Study Group. A randomized, double
                                                                                 blind, placebo-controlled multicenter trial comparing the eﬀects
 Code availability Not applicable.                                               of three doses of orally administered sodium oxybate with placebo
                                                                                 for the treatment of narcolepsy. Sleep. 2002;25:42–9.
 Authors’ contributions TR, YD, JD, and DS participated in study con-        16. American Academy of Sleep Medicine. International classiﬁcation
 ception and design. TR, YD, CK, MJT, BCC,RB, RR, JD, and DS par-                of sleep disorders. 3rd ed. Darien: American Academy of Sleep
 ticipated in the acquisition and/or analysis of data. TR, YD, CK, MJT,          Medicine; 2014.
 BCC, RB, RR, JD, and DS participated in drafting a signiﬁcant portion       17. Berry RB, Brooks R, Gamaldo C, et al. AASM scoring manual
 of the manuscript or ﬁgures, approved the ﬁnal version for submission,          updates for 2017 (Version 2.4). J Clin Sleep Med. 2017;13:665–6.
 and agree to be accountable for the work presented.
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 20 of 385 PageID #: 33505
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 21 of 385 PageID #: 33506




                   EXHIBIT 22
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 22 of 385 PageID #: 33507
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 23 of 385 PageID #: 33508




                   EXHIBIT 23
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 24 of 385 PageID #: 33509
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 25 of 385 PageID #: 33510
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 26 of 385 PageID #: 33511
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 27 of 385 PageID #: 33512
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 28 of 385 PageID #: 33513
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 29 of 385 PageID #: 33514
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 30 of 385 PageID #: 33515
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 31 of 385 PageID #: 33516
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 32 of 385 PageID #: 33517
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 33 of 385 PageID #: 33518
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 34 of 385 PageID #: 33519
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 35 of 385 PageID #: 33520
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 36 of 385 PageID #: 33521
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 37 of 385 PageID #: 33522
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 38 of 385 PageID #: 33523
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 39 of 385 PageID #: 33524
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 40 of 385 PageID #: 33525
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 41 of 385 PageID #: 33526
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 42 of 385 PageID #: 33527
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 43 of 385 PageID #: 33528
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 44 of 385 PageID #: 33529
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 45 of 385 PageID #: 33530
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 46 of 385 PageID #: 33531
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 47 of 385 PageID #: 33532
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 48 of 385 PageID #: 33533
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 49 of 385 PageID #: 33534
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 50 of 385 PageID #: 33535
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 51 of 385 PageID #: 33536
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 52 of 385 PageID #: 33537
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 53 of 385 PageID #: 33538
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 54 of 385 PageID #: 33539
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 55 of 385 PageID #: 33540
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 56 of 385 PageID #: 33541
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 57 of 385 PageID #: 33542
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 58 of 385 PageID #: 33543
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 59 of 385 PageID #: 33544
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 60 of 385 PageID #: 33545
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 61 of 385 PageID #: 33546
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 62 of 385 PageID #: 33547
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 63 of 385 PageID #: 33548
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 64 of 385 PageID #: 33549
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 65 of 385 PageID #: 33550
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 66 of 385 PageID #: 33551
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 67 of 385 PageID #: 33552
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 68 of 385 PageID #: 33553
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 69 of 385 PageID #: 33554
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 70 of 385 PageID #: 33555
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 71 of 385 PageID #: 33556
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 72 of 385 PageID #: 33557
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 73 of 385 PageID #: 33558
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 74 of 385 PageID #: 33559
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 75 of 385 PageID #: 33560
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 76 of 385 PageID #: 33561
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 77 of 385 PageID #: 33562
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 78 of 385 PageID #: 33563
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 79 of 385 PageID #: 33564
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 80 of 385 PageID #: 33565
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 81 of 385 PageID #: 33566
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 82 of 385 PageID #: 33567
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 83 of 385 PageID #: 33568
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 84 of 385 PageID #: 33569
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 85 of 385 PageID #: 33570
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 86 of 385 PageID #: 33571
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 87 of 385 PageID #: 33572
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 88 of 385 PageID #: 33573
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 89 of 385 PageID #: 33574
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 90 of 385 PageID #: 33575
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 91 of 385 PageID #: 33576
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 92 of 385 PageID #: 33577
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 93 of 385 PageID #: 33578
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 94 of 385 PageID #: 33579
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 95 of 385 PageID #: 33580
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 96 of 385 PageID #: 33581
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 97 of 385 PageID #: 33582
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 98 of 385 PageID #: 33583
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 99 of 385 PageID #: 33584
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 100 of 385 PageID #: 33585
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 101 of 385 PageID #: 33586
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 102 of 385 PageID #: 33587
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 103 of 385 PageID #: 33588
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 104 of 385 PageID #: 33589
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 105 of 385 PageID #: 33590
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 106 of 385 PageID #: 33591
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 107 of 385 PageID #: 33592
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 108 of 385 PageID #: 33593
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 109 of 385 PageID #: 33594
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 110 of 385 PageID #: 33595
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 111 of 385 PageID #: 33596
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 112 of 385 PageID #: 33597
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 113 of 385 PageID #: 33598
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 114 of 385 PageID #: 33599
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 115 of 385 PageID #: 33600
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 116 of 385 PageID #: 33601
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 117 of 385 PageID #: 33602
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 118 of 385 PageID #: 33603
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 119 of 385 PageID #: 33604
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 120 of 385 PageID #: 33605
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 121 of 385 PageID #: 33606
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 122 of 385 PageID #: 33607
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 123 of 385 PageID #: 33608
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 124 of 385 PageID #: 33609
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 125 of 385 PageID #: 33610
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 126 of 385 PageID #: 33611
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 127 of 385 PageID #: 33612
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 128 of 385 PageID #: 33613
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 129 of 385 PageID #: 33614
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 130 of 385 PageID #: 33615
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 131 of 385 PageID #: 33616
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 132 of 385 PageID #: 33617
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 133 of 385 PageID #: 33618
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 134 of 385 PageID #: 33619
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 135 of 385 PageID #: 33620
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 136 of 385 PageID #: 33621
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 137 of 385 PageID #: 33622
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 138 of 385 PageID #: 33623
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 139 of 385 PageID #: 33624
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 140 of 385 PageID #: 33625
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 141 of 385 PageID #: 33626
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 142 of 385 PageID #: 33627
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 143 of 385 PageID #: 33628
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 144 of 385 PageID #: 33629
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 145 of 385 PageID #: 33630
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 146 of 385 PageID #: 33631
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 147 of 385 PageID #: 33632
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 148 of 385 PageID #: 33633
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 149 of 385 PageID #: 33634
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 150 of 385 PageID #: 33635
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 151 of 385 PageID #: 33636
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 152 of 385 PageID #: 33637
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 153 of 385 PageID #: 33638
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 154 of 385 PageID #: 33639
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 155 of 385 PageID #: 33640
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 156 of 385 PageID #: 33641
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 157 of 385 PageID #: 33642
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 158 of 385 PageID #: 33643
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 159 of 385 PageID #: 33644
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 160 of 385 PageID #: 33645
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 161 of 385 PageID #: 33646
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 162 of 385 PageID #: 33647
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 163 of 385 PageID #: 33648
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 164 of 385 PageID #: 33649
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 165 of 385 PageID #: 33650
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 166 of 385 PageID #: 33651
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 167 of 385 PageID #: 33652
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 168 of 385 PageID #: 33653
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 169 of 385 PageID #: 33654
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 170 of 385 PageID #: 33655
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 171 of 385 PageID #: 33656
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 172 of 385 PageID #: 33657
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 173 of 385 PageID #: 33658
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 174 of 385 PageID #: 33659
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 175 of 385 PageID #: 33660
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 176 of 385 PageID #: 33661
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 177 of 385 PageID #: 33662
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 178 of 385 PageID #: 33663
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 179 of 385 PageID #: 33664
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 180 of 385 PageID #: 33665
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 181 of 385 PageID #: 33666
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 182 of 385 PageID #: 33667
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 183 of 385 PageID #: 33668
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 184 of 385 PageID #: 33669
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 185 of 385 PageID #: 33670
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 186 of 385 PageID #: 33671
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 187 of 385 PageID #: 33672
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 188 of 385 PageID #: 33673
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 189 of 385 PageID #: 33674
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 190 of 385 PageID #: 33675
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 191 of 385 PageID #: 33676
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 192 of 385 PageID #: 33677
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 193 of 385 PageID #: 33678
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 194 of 385 PageID #: 33679
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 195 of 385 PageID #: 33680
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 196 of 385 PageID #: 33681
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 197 of 385 PageID #: 33682
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 198 of 385 PageID #: 33683
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 199 of 385 PageID #: 33684
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 200 of 385 PageID #: 33685
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 201 of 385 PageID #: 33686
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 202 of 385 PageID #: 33687
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 203 of 385 PageID #: 33688
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 204 of 385 PageID #: 33689
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 205 of 385 PageID #: 33690
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 206 of 385 PageID #: 33691
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 207 of 385 PageID #: 33692
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 208 of 385 PageID #: 33693
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 209 of 385 PageID #: 33694
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 210 of 385 PageID #: 33695
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 211 of 385 PageID #: 33696
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 212 of 385 PageID #: 33697
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 213 of 385 PageID #: 33698
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 214 of 385 PageID #: 33699
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 215 of 385 PageID #: 33700
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 216 of 385 PageID #: 33701
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 217 of 385 PageID #: 33702
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 218 of 385 PageID #: 33703
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 219 of 385 PageID #: 33704
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 220 of 385 PageID #: 33705
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 221 of 385 PageID #: 33706
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 222 of 385 PageID #: 33707
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 223 of 385 PageID #: 33708
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 224 of 385 PageID #: 33709
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 225 of 385 PageID #: 33710
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 226 of 385 PageID #: 33711
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 227 of 385 PageID #: 33712
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 228 of 385 PageID #: 33713
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 229 of 385 PageID #: 33714
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 230 of 385 PageID #: 33715
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 231 of 385 PageID #: 33716
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 232 of 385 PageID #: 33717
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 233 of 385 PageID #: 33718
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 234 of 385 PageID #: 33719
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 235 of 385 PageID #: 33720
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 236 of 385 PageID #: 33721
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 237 of 385 PageID #: 33722
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 238 of 385 PageID #: 33723
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 239 of 385 PageID #: 33724
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 240 of 385 PageID #: 33725
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 241 of 385 PageID #: 33726
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 242 of 385 PageID #: 33727
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 243 of 385 PageID #: 33728
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 244 of 385 PageID #: 33729
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 245 of 385 PageID #: 33730
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 246 of 385 PageID #: 33731
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 247 of 385 PageID #: 33732
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 248 of 385 PageID #: 33733
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 249 of 385 PageID #: 33734
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 250 of 385 PageID #: 33735
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 251 of 385 PageID #: 33736
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 252 of 385 PageID #: 33737
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 253 of 385 PageID #: 33738
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 254 of 385 PageID #: 33739
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 255 of 385 PageID #: 33740
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 256 of 385 PageID #: 33741
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 257 of 385 PageID #: 33742
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 258 of 385 PageID #: 33743
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 259 of 385 PageID #: 33744




                    EXHIBIT 24
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 260 of 385 PageID #: 33745

Jazz v. Avadel                                       FINAL                                        September 7, 2023
                                                                                                   Gregory Divis, Jr.
                                                  Page 1                                                        Page 3
    IN THE UNITED STATES DISTRICT COURT                              APPEARANCES
    FOR THE DISTRICT OF DELAWARE
    ------------------------------------                     ALSO PRESENT
    JAZZ PHARMACEUTICALS, INC., et al,                         James Cekola, Esquire, Jazz counsel
            Plaintiff,                                         Craig Siman, Esquire, Avadel counsel
      v.

    AVADEL CNS PHARMACEUTICALS, LLC,                         JANE ROSE REPORTING
        Defendant.                                             74 Fifth Avenue
                                                               New York, New York 10011
    CASE NO. 21-691-GBW; 21-1138-GBW; 21-1594-GBW              1-800-825-3341
    ------------------------------------                       Deborah Habian, Court Reporter
                                                               Chris Messer, Videographer
    VIDEOTAPED DEPOSITION OF
    Gregory Divis, Jr.
    September 7, 2023
    Chicago, Illinois
    Lead: Frank Calvosa, Esquire
    Firm: Quinn Emanuel Urquhart & Sullivan LLP




    FINAL COPY -
    JANE ROSE REPORTING 1-800-825-3341
                                                  Page 2                                                        Page 4
          APPEARANCES                                                       INDEX

    ON BEHALF OF THE PLAINTIFFS                              WITNESS:                                  PAGE
    QUINN EMANUEL URQUHART & SULLIVAN, LLP                   GREGORY J. DIVIS, JR.
    BY: KRISTA M. RYCROFT, ESQUIRE
      FRANK C. CALVOSA, ESQUIRE                              Examination by Mr. Calvosa ................. 6
      51 Madison Avenue, 22nd Floor
      New York, New York 10010
      (212) 849-7000                                         INSTRUCTIONS AND REQUESTS OF COUNSEL
      fcalvosa@quinnemanuel.com                                By Mr. Schuler ......................... 138
      kristarycroft@quinnemanuel.com                           By Mr. Calvosa ......................... 222


    ON BEHALF OF THE DEFENDANTS                              Reporter Certificate ....................... 314
    LATHAM & WATKINS, LLP
    BY: KENNETH G. SCHULER, ESQUIRE                          Index of Exhibits .......................... 315
      ALEX M. GRABOWSKI, ESQUIRE
      330 North Wabash Avenue, Suite 2800                    Notice to Read and Sign .................... 320
      Chicago, Illinois 60611
      (312) 876-6556
      kenneth.schuler@lw.com
      alex.grabowski@lw.com




JANE ROSE REPORTING                                                    National Court-Reporting Coverage
1-800-825-3341                                                          janerose@janerosereporting.com
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 261 of 385 PageID #: 33746
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 262 of 385 PageID #: 33747

Jazz v. Avadel                                      FINAL                                September 7, 2023
HIGHLY CONFIDENTIAL                                                                       Gregory Divis, Jr.
                                               Page 53                                                  Page 55
 1   that -- Avadel didn't make that presentation.        1      Q. Did Katie receive any compensation for
 2   BY MR. CALVOSA:                                      2   attending Avadel's Commercial Day?
 3      Q. It seems like you're aware of some             3      A. I don't know the answer to that
 4   presentation where that is present.                  4   question.
 5      A. Well, the only memory or thing I               5      Q. Okay. You mentioned the major
 6   remember about a presentation with the elephant      6   contribution to patient care for Avadel's Lumryz
 7   in the room was presented by Dr. Ann Marie           7   product over Jazz's Xyrem and Xywav products,
 8   Morse, as she was presenting around -- different     8   right?
 9   considerations around the things she considers       9      A. Per the FDA or the drug exclusivity?
10   around choices when treating her patients and       10   Yes.
11   making a presentation as Dr. Morse.                 11      Q. What is that major contribution in
12      Q. Understood. Where was that                    12   patient care?
13   presentation made?                                  13         MR. SCHULER: Objection, goes beyond
14      A. That was at the Lumryz Investor Day or        14   the scope.
15   Commercial Day in New York City.                    15         But if you have personal knowledge, you
16      Q. And what was the Lumryz Commercial Day?       16   can answer.
17      A. It was an investor event where we             17         THE WITNESS: It's documented in the
18   presented what I would describe as the insights     18   communication from FDA at our approval. I'm
19   that we've learned over the last couple of years    19   happy to refer to that document if you have it
20   that have helped frame our views of the market      20   and read it verbatim.
21   and the opportunity and the role of Lumryz in       21   BY MR. CALVOSA:
22   that opportunity and an opportunity for             22      Q. Okay. Without referring to any
23   investors to hear from leading sleep experts and    23   documents, as the CEO of Avadel, you don't know
24   a patient in the form of Dr. Morse in this case     24   what the major contribution to patient care is
25   and Dr. Tom Stern to hear their views and their     25   that the FDA found for Avadel's Lumryz product?
                                               Page 54                                                  Page 56
 1   perspectives as well.                                1      A. I know it generally what their findings
 2       Q. Did Dr. Morse receive any compensation        2   were.
 3   from Avadel to attend its Commercial Day?            3      Q. And what is that general knowledge?
 4       A. She was compensated for her time to           4      A. That Lumryz, as a once-nightly
 5   prepare and to participate.                          5   treatment, eliminates the need for patients to
 6       Q. Okay. Did Avadel pay for Dr. Morse's          6   have a nocturnal -- a forced nocturnal arousals
 7   flight to Commercial Day?                            7   during the night, which per FDA can create, you
 8       A. I believe Dr. Morse drove in to               8   know, fragmentation of sleep and impact their
 9   New York City, and I believe we provided that        9   sleep and as such, believed and stated in their
10   transportation.                                     10   exclusivity award, that Lumryz, by eliminating
11       Q. Did Avadel pay for any of Dr. Morse's        11   that, was deemed to be a major contribution to
12   meals when she attended Commercial Day?             12   patient care for patients who are chronically
13       A. I only know of one meal that I was at        13   on -- who have a chronic condition or are
14   with her where Avadel paid for that meal.           14   chronically on this medicine.
15       Q. And if I asked you the same questions        15      Q. Jazz's Xyrem and Xywav products are not
16   with respect to Dr. Stern, would your answers be    16   once-nightly treatments for the symptoms of
17   the same?                                           17   narcolepsy, right?
18       A. Yes. I'm just making sure he was at          18      A. Correct.
19   the dinner that I was at, but yes.                  19      Q. They are twice-nightly treatments?
20       Q. Okay. And there was also a patient           20      A. Correct.
21   who's taking Lumryz who was at Avadel's             21      Q. How Avadel is able -- again, before the
22   Commercial Day, right?                              22   question would make no sense.
23       A. Yes.                                         23         Avadel's is able to achieve the
24       Q. And what's that patient's name?              24   once-nightly treatment of the symptoms of
25       A. Her name is Katie.                           25   narcolepsy through a combination of

JANE ROSE REPORTING                                                  National Court-Reporting Coverage
1-800-825-3341                                                        janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 263 of 385 PageID #: 33748

Jazz v. Avadel                                      FINAL                                September 7, 2023
HIGHLY CONFIDENTIAL                                                                       Gregory Divis, Jr.
                                              Page 153                                                 Page 155
 1   question.                                            1        You can answer if you know.
 2   BY MR. CALVOSA:                                      2        THE WITNESS: I believe she had a slide
 3      Q. Mr. Divis, do you know as a CEO with a         3   on that -- I believe so.
 4   fiduciary duty -- let me ask you a question.         4   BY MR. CALVOSA:
 5        Mr. Divis, as a CEO with a fiduciary            5      Q. Does Avadel market its product based on
 6   duty to your investors, do you believe that          6   a lack of artificial sweeteners in Lumryz?
 7   Dr. Morse should have explained at Avadel's          7        MR. SCHULER: Objection, beyond the
 8   Commercial Day that Avadel's once-nightly            8   scope.
 9   product has some or all of these same adverse        9        But if you know, you can answer.
10   events as Jazz's twice-nightly oxybate products?    10        THE WITNESS: No, we don't -- that's
11      A. These are Dr. Morse's words in her            11   not our label. It's not approved for us to
12   slides and I don't have -- I don't have an          12   market.
13   opinion one way or the other. I believe we're       13   BY MR. CALVOSA:
14   more than transparent and disclose to our           14      Q. Okay. Did Avadel review Dr. Morse's
15   investors the -- all aspects of risk related to     15   slides that were presented at Commercial Day
16   our product. So this is Dr. Morse presenting        16   before Commercial Day took place?
17   her clinical expert view.                           17        MR. SCHULER: Object to the form,
18      Q. Let's go to page 9926.                        18   outside the scope.
19      A. (Witness complying.)                          19        But you can answer if you know.
20      Q. There's a slide here about the WHO            20        THE WITNESS: We saw them.
21   warning that continued consumption of artificial    21   BY MR. CALVOSA:
22   sweeteners can increase the risk of                 22      Q. And is the same true of the slides that
23   cardiovascular diseases and mortality.              23   were prepared by Dr. Stern?
24        Do you see that?                               24      A. Yes.
25      A. Yes.                                          25      Q. And did Avadel have a chance to comment
                                              Page 154                                                 Page 156
 1      Q. The WHO, is that referring to the World        1   on the content of those slides?
 2   Health Organization?                                 2      A. I believe members of our -- you know,
 3        MR. SCHULER: Objection, goes beyond             3   Jen Gudeman, Dr. Gudeman offered her assistance
 4   the scope.                                           4   in helping and collaborating on content on -- on
 5        If you have personal knowledge, you can         5   the slide content. And then, you know, we
 6   answer.                                              6   provided a -- if you will, a (gesturing) slide,
 7        THE WITNESS: I believe so.                      7   you know, expert, so to speak, who could help
 8   BY MR. CALVOSA:                                      8   build a slide properly graphically, but it had
 9      Q. And this is another one of Dr. Morse's         9   no bearing on content, just on style.
10   slides that she presented at Avadel's Commercial    10      Q. But Jennifer Gudeman did comment on the
11   Day?                                                11   content of the slides?
12      A. Yes.                                          12      A. I don't know exactly what Jen commented
13      Q. Do you know why Dr. Morse was talking         13   on or didn't comment on. I wasn't party of
14   about artificial sweeteners?                        14   those -- to those discussions.
15      A. In this context, Dr. Morse was                15      Q. Did Avadel approve of the content of
16   discussing the things that she considers, as I      16   Dr. Morse and Dr. Stern's slides before they
17   recall, in terms of making treatment choices for    17   were presented at Avadel's Commercial Day?
18   her patients and the trade-offs relative to         18         MR. SCHULER: I'll again object. What
19   what's right for that -- for that patient in her    19   does this have to do with any issue in the case?
20   discussions with them.                              20   And we are going to take a break.
21      Q. And do you know if Dr. Morse talked           21         MR. CALVOSA: There's a question
22   about artificial sweeteners being present in        22   pending.
23   Jazz's Xywav product at Avadel's Commercial Day?    23         MR. SCHULER: We're going to take a
24        MR. SCHULER: Same objection, goes              24   break. I'm not instructing him not to answer,
25   beyond the scope.                                   25   but we're going to take a break. Because I'm

JANE ROSE REPORTING                                                  National Court-Reporting Coverage
1-800-825-3341                                                        janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 264 of 385 PageID #: 33749

Jazz v. Avadel                                    FINAL                                 September 7, 2023
HIGHLY CONFIDENTIAL                                                                      Gregory Divis, Jr.
                                            Page 157                                                 Page 159
 1   going to investigate your statement about          1   BY MR. CALVOSA:
 2   Corser, A, and B --                                2      Q. Do you see that?
 3        MR. CALVOSA: How do you not know              3      A. Yes.
 4   what's in the Corser and Scharf reports?           4      Q. And this is another slide that
 5        MR. SCHULER: Verbatim? There's 7,000          5   Dr. Morse presented?
 6   pages of expert reports --                         6      A. Yes.
 7        MR. CALVOSA: Yeah.                            7      Q. Avadel does not market Lumryz as being
 8        MR. SCHULER: -- but I'm going to go           8   helpful in decreasing obesity, right?
 9   investigate.                                       9      A. No, Avadel does not.
10        MR. CALVOSA: Please answer the               10      Q. Okay. Is it Avadel's belief that the
11   question. Then we can take a break.               11   launch of Lumryz is off to a strong start?
12        THE WITNESS: Could you restate the           12         MR. SCHULER: Object to the form, I
13   question for me?                                  13   think it goes beyond the scope.
14        MR. CALVOSA: Sure.                           14         But you can answer if you know.
15   BY MR. CALVOSA:                                   15         THE WITNESS: Yeah, I think our view is
16      Q. Did Avadel approve of the content of        16   the early indicators are positive and off to a
17   Dr. Morse and Dr. Stern's slides before they      17   good start, strong start, recognizing we're just
18   were presented at Avadel's Commercial Day?        18   a few months in.
19        MR. SCHULER: I believe that was asked        19   BY MR. CALVOSA:
20   and answered as well, it's beyond the scope.      20      Q. If you turn to the page ending in 9987?
21        But if you have personal knowledge, you      21      A. 87, correct?
22   can answer.                                       22      Q. 87, yeah.
23        THE WITNESS: Avadel reviewed them and,       23      A. Okay.
24   you know, prior to Commercial Day and allowed     24      Q. And it's this page right here
25   them to be presented as they were.                25   (indicating).
                                            Page 158                                                 Page 160
 1         MR. CALVOSA: Okay. We could take a           1      A. Yeah.
 2   break now.                                         2      Q. There Avadel is telling its investors
 3         THE VIDEOGRAPHER: The time is                3   on Commercial Day that Lumryz is off to a strong
 4   12:16 p.m. We are going off the record.            4   start, right?
 5               (Recess taken from 12:16 p.m.          5      A. Yes.
 6                to 1:01 p.m.)                         6      Q. Okay. And there's a section titled
 7         THE VIDEOGRAPHER: The time is                7   "Long-term Lumryz opportunity"?
 8   1:01 p.m. We are back on the record.               8      A. Yes.
 9   BY MR. CALVOSA:                                    9      Q. And it says there "Lumryz has the
10      Q. All right. Mr. Divis --                     10   potential to become the leading oxybate in
11         MR. SCHULER: Just briefly, during the       11   narcolepsy and exceed 1 billion in annual
12   break you and I met and conferred, and counsel    12   sales."
13   made a representation about what he's asking      13      A. Yes.
14   these questions, and I accept his                 14      Q. And Avadel believes that?
15   representation.                                   15      A. It's what we presented and that is the
16         MR. CALVOSA: Thank you.                     16   opportunity. That's what we shared in the
17   BY MR. CALVOSA:                                   17   Commercial Day was the opportunity that offers
18      Q. Mr. Divis, if you turn to 9928, there       18   Lumryz based upon the insights we've learned,
19   is a slide there about obesity common in          19   the opportunity to expand the market, to target
20   narcolepsy shown to decrease with Lumryz.         20   three different patient segments. The potential
21         THE REPORTER: Can you repeat the last       21   opportunity is there to be a billion dollars
22   part of your question?                            22   plus or greater in sales.
23         MR. CALVOSA: Sure. Obesity common in        23      Q. Okay. And all those three different
24   narcolepsy shown to decrease with Lumryz.         24   patient segments would be targeted using
25                                                     25   Avadel's Lumryz product, right?

JANE ROSE REPORTING                                                National Court-Reporting Coverage
1-800-825-3341                                                      janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 265 of 385 PageID #: 33750

Jazz v. Avadel                                               FINAL                                  September 7, 2023
HIGHLY CONFIDENTIAL                                                                                  Gregory Divis, Jr.
                                                        Page 313                                                    Page 315
 1        THE REPORTER: Do you have any order on                    1         INDEX OF EXHIBITS
 2   your final?                                                    2   NUMBER      DESCRIPTION                    PAGE
 3        MR. CALVOSA: I think we have a 24/48                      3
 4   order.                                                         4   Exhibit 1 Plaintiff's Notice of       10
 5        THE REPORTER: Right.                                      5           Deposition pursuant to Federal
 6        MR. GRABOWSKI: Yes, so whatever they                      6           Rule of Civil Procedure 30(b)(1)
 7   take for the final, we'll get.                                 7
 8        THE REPORTER: Okay.                                       8   Exhibit 2 Plaintiff's Supplemental   10
 9      (Deposition concluded at 4:55 p.m. CST.)                    9           Notice of Deposition to
10                                                                 10           Avadel CNS Pharmaceuticals LLC
11                                                                 11           pursuant to Federal Rule of
12                                                                 12           Civil Procedure 30(b)(6)
13                                                                 13
14                                                                 14   Exhibit 3 Greg Divis LinkedIn page         39
15                                                                 15
16                                                                 16   Exhibit 4 Bates AVDL_01433109 through            57
17                                                                 17           AVDL_01433134
18                                                                 18
19                                                                 19   Exhibit 5 Screenshot of RYZUP website           87
20                                                                 20
21                                                                 21   Exhibit 6 Avedal's Lumryz co-pay           87
22                                                                 22           program terms and conditions
23                                                                 23
24                                                                 24   Exhibit 7 Bates AVDL_0134087 through             98
25                                                                 25           AVDL_0134092
                                                        Page 314                                                    Page 316
 1               REPORTER CERTIFICATE                               1         INDEX OF EXHIBITS
 2             I, Deborah Habian, a Certified
 3   Shorthand Reporter within and for the State of                 2   NUMBER      DESCRIPTION                    PAGE
 4   Illinois, do hereby certify:                                   3
 5          That previous to the commencement of                    4   Exhibit 8 Bates AVDL_01434093 through           107
     the examination of the witness, the witness was
 6   by me in person duly sworn to testify the whole                5           AVDL_01434146
 7   truth concerning the matters herein;                           6
                                                                    7   Exhibit 9 Bates AVDL_01409880 through           119
 8        That the foregoing deposition was
 9   reported stenographically by me, was thereafter                8           AVDL_01410000
     reduced to printed transcript by me, and                       9
10   constitutes a true record of the testimony given
11   and the proceedings had;
                                                                   10   Exhibit 10 Bates JPION00524122 through          164
                                                                   11           JPION00524152
12         That the said deposition was taken                      12
13   before me at the time and place specified;
           That the reading and signing by the                     13   Exhibit 11 Bates AVDL_01427354             166
14   witness of the deposition transcript was not                  14
15   discussed within this transcript;                             15   Exhibit 12 Bates JPION00471458 through          187
           That I am not a relative or employee of
16   attorney or counsel, nor a relative or employee               16           JPION00484188
17   of such attorney or counsel for any of the                    17
     parties hereto, nor interested directly or
18   indirectly in the outcome of this action.
                                                                   18   Exhibit 13 Bates JPION00473114 through          191
19         IN WITNESS WHEREOF, I do hereunto set                   19           JPION00473128
     my hand this ____ day of ______________, 20___.               20
20
21                                                                 21   Exhibit 14 Bates AVDL_01435409 through          194
22                                                                 22           AVDL_01435602
23                                                                 23
            DEBORAH HABIAN, CSR, RMR, CRR, CLR
24          IL CSR NO. 084-02432                                   24   Exhibit 15 Bates AVDL_01428379 through          204
25          MO CCR NO. 1409                                        25           AVDL_01428400

JANE ROSE REPORTING                                                             National Court-Reporting Coverage
1-800-825-3341                                                                   janerose@janerosereporting.com
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 266 of 385 PageID #: 33751




                    EXHIBIT 25
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 267 of 385 PageID #: 33752
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 268 of 385 PageID #: 33753
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 269 of 385 PageID #: 33754
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 270 of 385 PageID #: 33755
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 271 of 385 PageID #: 33756




                    EXHIBIT 26
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 272 of 385 PageID #: 33757
     Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 273 of 385 PageID #: 33758

         Articles




                                        Research in context
                                        Evidence before this study                                        magnesium, potassium, and sodium oxybates (lower-sodium
                                        On Aug 18, 2021, we searched PubMed with the keywords             oxybate) in idiopathic hypersomnia. In this study, the use of
                                        “idiopathic hypersomnia” AND (“randomized” OR                     endpoints assessing multiple symptoms and consequences of
                                        “retrospective” OR “prospective” OR “observational”) for any      idiopathic hypersomnia, including newer measures
                                        clinical studies, with no restriction on language or date of      (eg, Idiopathic Hypersomnia Severity Scale and visual analogue
                                        publication. Nine studies were identiﬁed; four were excluded as   scale for sleep inertia), exceeds the scope of previous studies
                                        they did not include participants with idiopathic hypersomnia     that were generally limited to a single symptom (eg, excessive
                                        or studied a mixed group of participants with narcolepsy or       daytime sleepiness), and provides a more holistic picture of the
                                        idiopathic hypersomnia. Two double-blind, placebo-controlled      disease state and therapeutic beneﬁt of lower-sodium oxybate.
                                        randomised studies found that modaﬁnil treatment
                                                                                                          Implications of all the available evidence
                                        signiﬁcantly improved excessive daytime sleepiness in
                                                                                                          Idiopathic hypersomnia is a therapeutic area with few clinical
                                        participants with idiopathic hypersomnia. In a retrospective
                                                                                                          studies and, consequently, relatively little empirical basis for
                                        chart review study, open-label administration of sodium
                                                                                                          treatment decisions. This clinical study showed clinically
                                        oxybate was associated with improvement in excessive daytime
                                                                                                          meaningful improvements in excessive daytime sleepiness and
                                        sleepiness and sleep inertia, and shortened night-time sleep
                                                                                                          other symptoms of idiopathic hypersomnia, with a safety
                                        duration, in adults with idiopathic hypersomnia.
                                                                                                          proﬁle consistent with use of lower-sodium oxybate in
                                        A retrospective chart review of patients treated with mazindol,
                                                                                                          narcolepsy. The results strongly suggest lower-sodium oxybate
                                        and an open-label prospective study of patients treated with
                                                                                                          might be a useful ﬁrst-line therapy, as monotherapy or in
                                        levothyroxine, indicated that both drugs signiﬁcantly reduced
                                                                                                          combination with alerting agents, for the treatment of
                                        excessive daytime sleepiness. Up until August, 2021, no
                                                                                                          idiopathic hypersomnia, a disease state for which there are no
                                        medication had regulatory approval for the treatment of
                                                                                                          other approved treatments.
                                        idiopathic hypersomnia, and many patients were treated with
                                        oﬀ-label medications, with little success.
                                        Added value of this study
                                        This study is the ﬁrst and largest double-blind,
                                        placebo-controlled, randomised withdrawal study of calcium,



                                        Until August, 2021, no medication had regulatory                  Drug Administration has recognised lower-sodium
                                      approval for the treatment of idiopathic hypersomnia.               oxybate as clinically superior to sodium oxybate in
                                      Alerting agents (stimulants and wake-promoting agents)              narcolepsy by virtue of greater safety, because lower-
                                      are used oﬀ-label with varied eﬀects, but prolonged night-          sodium oxybate reduces sodium burden and, therefore,
                                      time sleep and sleep inertia are not typically improved.4,5         cardiovascular morbidity.13
                                      Consensus guidelines recommend the use of modaﬁnil,                   The aim of this study was to assess safety and eﬃcacy
                                      partly on the basis of ﬁndings of a small (n=31)                    of lower-sodium oxybate for the treatment of idiopathic
                                      randomised controlled trial.6,7 A subsequent, larger (n=71),        hypersomnia. An additional aim (to be reported
                                      double-blind, randomised, controlled trial of modaﬁnil              elsewhere) was to characterise the pharmacokinetics of
                                      conﬁrmed that the drug improved excessive daytime                   lower-sodium oxybate in idiopathic hypersomnia.
                                      sleepiness in participants with idiopathic hypersomnia.8
                                        Sodium oxybate is approved in the USA to treat                    Methods
                                      cataplexy or excessive daytime sleepiness in patients               Study design
                                      aged 7 years and older with narcolepsy.9 In a retrospective         A phase 3, double-blind, placebo-controlled, randomised
                                      chart review of open-label sodium oxybate administration            withdrawal study was done at 50 specialist sleep centres in
                                      in adults with idiopathic hypersomnia, sodium oxybate               Belgium, Czech Republic, Finland, France, Poland, Spain,
                                      was associated with improvement in excessive daytime                and the USA. The study consisted of a screening period of
                                      sleepiness and sleep inertia and shortened night-time               at least 30 days, an open-label titration and optimisation
                                      sleep duration.10 Calcium, magnesium, potassium, and                period (OLT; 10–14 weeks), a stable-dose period (SDP;
         See Online for appendix      sodium oxybates (lower-sodium oxybate) contains the                 2 weeks), a double-blind, randomised withdrawal period
             For the protocol see     same active moiety at the same concentration and a                  (DBRWP; 2 weeks), an open-label safety extension period
    https://clinicaltrials.gov/ct2/   unique composition of cations, resulting in 92% less                (OLE; 24 weeks), and a safety follow-up period (2 weeks;
            show/NCT03533114          sodium.11 Lower-sodium oxybate was approved in the                  appendix p 4). The protocol was approved by either an
                               and
https://www.clinicaltrialsregister.
                                      USA in 2020 for the same indications in narcolepsy as               independent ethics committee or an institutional review
                    eu/ctr-search/    sodium oxybate, and in August, 2021, for the treatment              board at each site. The study was done in accordance with
 search?query=2018-001311-79          of idiopathic hypersomnia in adults.12 The US Food and              the International Conference on Harmonisation


54                                                                                                                            www.thelancet.com/neurology Vol 21 January 2022
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 274 of 385 PageID #: 33759

                                                                                                                              Articles




Guidelines for Good Clinical Practice and the Declaration      matched in volume, appearance, and taste to ensure
of Helsinki.                                                   adequate masking. A phase 1 taste study that was done in
                                                               healthy individuals suggested that most (82%)
Participants                                                   participants could not distinguish between lower-sodium
Eligible participants (recruited by investigators) were        oxybate and placebo (sodium citrate oral solution with
aged 18–75 years with a primary diagnosis of idiopathic        sucralose).
hypersomnia (meeting ICSD-2 or ICSD-3 criteria)1,3 and
average nocturnal total sleep time of 7 h or more.             Procedures
Individuals with the long sleep time phenotype were            Participants taking sodium oxybate at study entry
identiﬁed clinically by investigators. Participants could      transitioned to lower-sodium oxybate (oral solution) at the
be taking medications for idiopathic hypersomnia               same dose and regimen as for sodium oxybate gram for
symptoms, including sodium oxybate, alerting agents, or        gram. Participants not taking sodium oxybate at study
both, or could be treatment naive. Individuals treated         entry entered the OLT and initiated lower-sodium oxybate
with alerting agents were required to have been taking         treatment on a once-nightly or twice-nightly dosing
the same dose and regimen for at least 2 months before         regimen, at the investigator’s discretion.
screening and to agree to take the same dose throughout          A once-nightly dose was taken at bedtime or after an
the study. An Epworth Sleepiness Scale (ESS14) score of 11     initial sleep period. The maximum starting dose allowed
or more was required at screening and baseline for all         for once-nightly dosing was 3 g. For twice-nightly dosing,
participants except those taking sodium oxybate at study       the total nightly dose was divided into two doses, with the
entry, who were instead required to have had clinical          ﬁrst dose taken at bedtime or after an initial sleep period,
improvement of excessive daytime sleepiness with               and the second dose taken 2·5–4 h later. The maximum
sodium oxybate treatment per the investigator’s clinical       total nightly starting dose allowed for twice-nightly
judgment.                                                      dosing was 4·5 g/night (ie, two doses of 2·25 g each). For
  Key exclusion criteria were hypersomnia due to another       all participants, lower-sodium oxybate dosing could be
medical, behavioural, sleep, or psychiatric disorder;          increased by no more than 1·5 g/night per week to
evidence of untreated or inadequately treated sleep-           optimise eﬃcacy and tolerability during the OLT, or could
disordered breathing, known or suspected respiratory           be reduced at any time for tolerability. The maximum
diﬃculty, or any condition that might compromise               single dose allowed was 6 g, and the maximum total
breathing; history of bipolar or psychotic disorders,          nightly dose allowed was 9 g. Unequally divided twice-
current or past (within 1 year) major depressive episode,      nightly dosing was allowed, if needed.
or current suicidal risk; usual bedtime later than 0100 h;       No food or ﬂuid restrictions related to dosing were
or a positive urine screen for benzodiazepines or other        imposed, which is contrary to the restriction of food and
drugs of abuse, a positive alcohol test, history of sub-       ﬂuid within 2 h before dosing as directed in a previous
stance abuse, or unwillingness to refrain from                 study on narcolepsy11 and as recommended in the pre-
consuming alcohol. Use of alerting agents in participants      scribing information.12 Suggested guidelines for switching
who were not on a stable dose of these medications or          dosing regimens are provided in the appendix (p 1).
any CNS sedating agents was prohibited. Participants           Thrice-nightly dosing was allowed after initiation at once-
provided written informed consent.                             nightly or twice-nightly dosing.
                                                                 During the SDP, participants remained on their
Randomisation and masking                                      individually optimised stable lower-sodium oxybate dose,
Participants who met randomisation criteria (appendix p 1)     unchanged, for 2 weeks. With the exception of individuals
at the end of the SDP were randomly assigned 1:1 (via an       who were being treated with sodium oxybate at study
interactive web recognition system) to either lower-           entry, participants were required to show a beneﬁt of
sodium oxybate (same dose and regimen as in the SDP)           lower-sodium oxybate (at the end of the SDP, compared
or placebo (volume and regimen equivalent to the stable        with baseline) to enter the DBRWP. On completing the
lower-sodium oxybate dose) for 2 weeks during the              DBRWP, participants entered a 24-week OLE period and
DBRWP. Randomisation was stratiﬁed by use of                   had a safety follow-up visit 2 weeks after the OLE.
idiopathic hypersomnia treatment at study entry (sodium          Scheduled clinic visits occurred at screening, at baseline
oxybate only, sodium oxybate plus alerting agent, alerting     (OLT day 1), during the OLT (weeks 1, 4, and 8), at the end
agent only, or treatment naive). A statistician (interactive   of the OLT and the start of the SDP, at the end of the SDP
web recognition system vendor) who was not involved in         and the start of the DBRWP, at the end of the DBRWP or
the conduct or analysis of this study prepared and             early termination, during the OLE (weeks 2, 6, and 14), at
retained the master randomisation code. Participants and       the end of the OLE or early termination, and at a safety
investigators were aware of dosing during the OLT and          follow-up visit 2 weeks after completion of the OLE or
the SDP, but during the DBRWP, participants and                early termination. The schedule of eﬃcacy and safety
investigators were unaware of treatment assignments.           assessments is described in the appendix (p 5). Reasons
Lower-sodium oxybate and placebo oral solution were            for early discontinuation are listed in the appendix (p 1).


www.thelancet.com/neurology Vol 21 January 2022                                                                                          55
     Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 275 of 385 PageID #: 33760

       Articles




                  Outcomes                                                        impairment due to idiopathic hypersomnia. Items relating
                  The primary eﬃcacy endpoint was change in ESS score             to work productivity were completed by participants in
                  from the end of the SDP to the end of the DBRWP.                employment; the item relating to activity impairment was
                  Although a clinically meaningful change in ESS score for        completed by all participants. A ﬁnal protocol-deﬁned
                  participants with idiopathic hypersomnia has not yet been       exploratory endpoint was total sleep time, collected by
                  deﬁned, a reduction of 2 points has been suggested as           means of sleep diaries completed by participants. Findings
                  clinically signiﬁcant across patients with central disorders    for total sleep time are not reported here because the
                  of hypersomnolence in the current treatment guidelines          funder established that participants had incorrectly
                  from the American Academy of Sleep Medicine.15                  entered information into their sleep diaries, and these data
                    Key secondary endpoints were change in Idiopathic             could not be used as recorded.
                  Hypersomnia Severity Scale (IHSS) score from the end of           Safety assessments included treatment-emergent
                  the SDP to the end of the DBRWP, and the proportion of          adverse events (TEAEs), deﬁned as any events with an
                  participants reporting worsening of symptoms (minim-            onset date on or after the ﬁrst dose of study drug,
                  ally, much, or very much worse) on the Patient Global           including adverse events that occurred until 30 days after
                  Impression of Change (PGIc) at the end of the DBRWP             the last dose. Safety assessments included collection of
                  relative to the end of the SDP. The IHSS, a validated and       participant-reported TEAEs from investigators. Other
                  reliable instrument to evaluate the severity and functional     safety assessments were physical examinations, vital
                  consequences of symptoms of idiopathic hypersomnia, is          signs, electrocardiograms, clinical laboratory tests, and
                  sensitive to clinical changes following treatment.16,17 Other   the Columbia-Suicide Severity Rating Scale (C-SSRS).20 A
                  protocol-deﬁned secondary endpoints were the proportion         full schedule of safety assessments is provided in the
                  of participants rated by investigators as worse (minimally,     appendix (p 5). All safety assessments were done in the
                  much, or very much worse) on the Clinical Global                safety population, which included all participants who
                  Impression of Change (CGIc) at the end of the DBRWP,            took at least one dose of study medication. A post-hoc
                  and the change in Functional Outcomes of Sleep                  safety analysis was done in participants taking lower-
                  Questionnaire, short version (FOSQ-10)18 total score from       sodium oxybate once or twice nightly during the open-
                  the end of the SDP to the end of the DBRWP.                     label periods. Another post-hoc safety analysis was done
                    Prespeciﬁed analyses for the primary, key secondary,          in participants exposed or not exposed to a single dose
                  and other secondary endpoints were done in the overall          greater than 4·5 g at any time during the study.
                  modiﬁed intention-to-treat population. This population
                  comprised all participants who were randomly assigned,          Statistical analysis
                  who took at least one dose of study medication during the       The planned sample size was 56 participants randomly
                  DBRWP, and who had at least one set of post-random-             assigned per treatment group (total randomised sample
                  isation assessments for ESS or IHSS, or PGIc.                   size of 112 participants), which would provide
                    Post-hoc analyses for the primary and key secondary           91·8% power to detect a diﬀerence of 3·5 points in ESS
                  endpoints were done in subgroups of participants. These         between lower-sodium oxybate and placebo, from the
                  subgroups were based on sex, dosing regimen of lower-           end of the SDP to the end of the DBRWP. This study was
                  sodium oxybate (once or twice nightly), idiopathic              originally designed to include an optional interim
                  hypersomnia phenotype (with or without long sleep time),        analysis for eﬃcacy and, thus, calculations were based on
                  and baseline idiopathic hypersomnia treatment (taking           a two-sample Z test with a group-sequential design,
                  idiopathic hypersomnia medication or treatment naive).          including one interim analysis at 60% information
                    A protocol-deﬁned exploratory endpoint was change in          fraction, which used a Lan-DeMets alpha spending
                  mean visual analogue scale for sleep inertia (VAS-SI) daily     function that approximates the O’Brien-Fleming
                  scores from the last week of the SDP to the last week of        boundaries, a common SD of 5·5 points in the change in
                  the DBRWP. The VAS-SI is a self-reported measure of             ESS for both groups, and a two-sided signiﬁcance level
                  diﬃculty awakening. Participants used an electronic             of 0·05. Assuming a 20% dropout rate before
                  hand-held device each morning by marking a point on a           randomisation, approximately 140 participants were
                  100-point scale with anchors labelled as very easy (0) and      planned to be enrolled. A data monitoring committee
                  very diﬃcult (100). An additional protocol-deﬁned               was speciﬁed for the optional interim analysis before
                  exploratory endpoint was change in the Work Productivity        eﬃcacy database lock; however, this analysis was later
                  and Activity Impairment Questionnaire: Speciﬁc Health           deemed unnecessary and was not done.
                  Problem (WPAI:SHP)19 from the end of the SDP to the               Eﬃcacy analyses include data obtained up to the end of
                  end of the DBRWP, with four items: percentage of work           the OLE; all observed data are reported. The primary
                  time missed owing to idiopathic hypersomnia (absen-             eﬃcacy endpoint was analysed by an ANCOVA model
                  teeism); percentage impairment while working due to             including treatment group and baseline medication
                  idiopathic hypersomnia (presenteeism); percentage               group as ﬁxed eﬀects and ESS score at the end of the
                  overall work impairment due to idiopathic hypersomnia           SDP as a covariate. Changes in IHSS score and FOSQ-10
                  (absenteeism plus presenteeism); and percentage activity        score were analysed similarly to the primary eﬃcacy


56                                                                                                  www.thelancet.com/neurology Vol 21 January 2022
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 276 of 385 PageID #: 33761
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 277 of 385 PageID #: 33762
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 278 of 385 PageID #: 33763
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 279 of 385 PageID #: 33764
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 280 of 385 PageID #: 33765
     Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 281 of 385 PageID #: 33766

       Articles




                                                                                                      symptoms compared with those randomly assigned to
                                             Enrolled        Treatment at study entry
                                                                                                      continue lower-sodium oxybate treatment (12 [21%] of 56;
                                             participants
                                             (n=154)                                                  ﬁgure 3B), corresponding to a diﬀerence of −67 percentage
                                                                                                      points (95% CI −80 to −53; p<0·0001; table 2). Similarly,
                                                             Taking idiopathic        Treatment
                                                             hypersomnia              naive‡          the distribution of CGIc ratings showed worsening in
                                                             medication† (n=88)       (n=66)          fewer participants randomly assigned to lower-sodium
                    Participants with        123 (80%)        73 (83%)                50 (76%)        oxybate (table 2).
                    ≥1 treatment-                                                                       Post-hoc analyses of baseline ESS and IHSS scores by
                    emergent adverse                                                                  treatment at study entry, and subgroup analyses of ESS
                    event
                                                                                                      and IHSS scores by idiopathic hypersomnia long sleep
                    Preferred term in ≥5% of participants
                                                                                                      phenotype, are shown in the appendix (pp 2–3).
                      Nausea                  34 (22%)        21 (24%)                13 (20%)
                                                                                                        FOSQ-10 scores increased (indicating improvement)
                      Headache                27 (18%)        15 (17%)                12 (18%)
                                                                                                      with lower-sodium oxybate treatment from baseline to
                      Dizziness               19 (12%)         8 (9%)                 11 (17%)
                                                                                                      the end of the SDP, then remained stable during the
                      Anxiety                 17 (11%)        10 (11%)                 7 (11%)
                                                                                                      DBRWP in the group randomly assigned to lower-
                      Vomiting                17 (11%)        14 (16%)                 3 (5%)
                                                                                                      sodium oxybate and decreased in the placebo group
                      Decreased               14 (9%)          7 (8%)                  7 (11%)        (estimated median diﬀerence 3·7; 95% CI 2·5–5·0;
                      appetite
                                                                                                      p<0·0001; table 2). VAS-SI results indicated improvement
                      Diarrhoea               12 (8%)          9 (10%)                 3 (5%)
                                                                                                      with lower-sodium oxybate on sleep inertia, and
                      Nasopharyngitis         12 (8%)          6 (7%)                  6 (9%)
                                                                                                      WPAI:SHP results indicated improvement with lower-
                      Upper respiratory       12 (8%)          7 (8%)                  5 (8%)
                      tract infection                                                                 sodium oxybate on work–activity impairment
                      Urinary tract           12 (8%)          6 (7%)                  6 (9%)
                                                                                                      (appendix pp 3, 6).
                      infection                                                                         In all study periods, TEAEs were reported by 123 (80%)
                      Fatigue                 11 (7%)          7 (8%)                  4 (6%)         of 154 participants (safety population), including 73 (83%)
                      Insomnia                11 (7%)          9 (10%)                 2 (3%)         of 88 participants taking medication at study entry for the
                      Dry mouth               10 (6%)          8 (9%)                  2 (3%)         treatment of idiopathic hypersomnia symptoms and
                      Night sweats             9 (6%)          7 (8%)                  2 (3%)         50 (76%) of 66 participants who were treatment naive at
                      Tremor                   9 (6%)          9 (10%)                 0              study entry (table 3). Most participants had TEAEs that
                      Muscle spasms            8 (5%)          7 (8%)                  1 (2%)         were mild (114 [74%] of 154) or moderate (77 [50%]) in
                                                                                                      severity; a severe TEAE was reported for one (1%)
                   Data are n (%). *Through completion of the open-label extension period (last
                   participant visit on Dec 18, 2020). †Includes participants taking sodium oxybate   participant who had dysmenorrhoea, which was deemed
                   or an alerting agent, or both, at study entry. ‡Includes participants not taking   by the investigator to be not related to the study drug.
                   sodium oxybate or an alerting agent at study entry.                                There were no deaths. TEAEs reported by more than
                   Table 3: Treatment-emergent adverse events across all study periods*               10% of participants across all study periods (excluding
                   (excluding placebo data), by treatment at study entry (safety                      placebo data) were nausea (34 [22%] of 154), headache
                   population)                                                                        (27 [18%]), dizziness (19 [12%]), anxiety (17 [11%]), and
                                                                                                      vomiting (17 [11%]). TEAEs reported by 5% or more
                  subgroups deﬁned by sex, dosing regimen, long sleep                                 enrolled participants are shown in table 3.
                  phenotype, and baseline medication (ﬁgure 2B;                                         Four participants had nine serious TEAEs, none of
                  appendix p 2).                                                                      which were deemed to be related to study drug by the
                    IHSS scores decreased (indicating improvement) with                               investigator. One participant reported a serious TEAE of
                  lower-sodium oxybate treatment during the OLT, and the                              rhabdomyolysis (without myoglobinuria) during the
                  decrease was maintained during the SDP (ﬁgure 3A;                                   OLT, while taking lower-sodium oxybate, after initiating a
                  table 2). From the end of the SDP to the end of the DBRWP,                          new exercise programme. One participant with a medical
                  mean IHSS scores remained stable in participants                                    history of sponge kidney had multiple serious TEAEs of
                  randomly assigned to continue lower-sodium oxybate                                  nephrolithiasis during the OLT and the OLE, and one
                  treatment (15·5 [SD 9·2] at the end of the SDP; 16·9 [8·1]                          serious TEAE of pyelonephritis during the OLE, while
                  at the end of the DBRWP) and increased (indicating                                  taking lower-sodium oxybate. One participant had a
                  worsening) in participants randomly assigned to placebo                             serious TEAE of non-cardiac chest pain during the OLE,
                  (15·2 [7·8] at the end of the SDP; 28·5 [9·0] at the end of                         while taking lower-sodium oxybate. One participant with
                  the DBRWP). The diﬀerence in change in IHSS score was                               a medical history of syncope had a serious TEAE of
                  signiﬁcant (estimated median diﬀerence in change −12·0;                             syncope during the safety follow-up period.
                  95% CI −15·0 to −8·0; p<0·0001).                                                      TEAEs leading to study discontinuation occurred in
                    The distribution of PGIc ratings at the end of the                                26 (17%) of 154 participants while receiving lower-sodium
                  DBRWP showed that more participants randomly assigned                               oxybate treatment; of these, 20 (13%) occurred during the
                  to placebo (52 [88%] of 59) reported worsening (minimally,                          OLT, two (1%) during the SDP, one (1%) during the
                  much, or very much worse) of idiopathic hypersomnia                                 DBRWP, and three (2%) during the OLE. One participant


62                                                                                                                     www.thelancet.com/neurology Vol 21 January 2022
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 282 of 385 PageID #: 33767

                                                                                                                             Articles




had a TEAE leading to discontinuation while randomly          primary eﬃcacy results were similar across subgroups
assigned to placebo during the DBRWP. The most                stratiﬁed by idiopathic hypersomnia phenotype (with and
common TEAEs leading to discontinuation were in the           without long sleep time), sex, dosing regimen, and
Medical Dictionary for Regulatory Activities (version 19.1)   baseline idiopathic hypersomnia treatment. The
system organ class of psychiatric disorders, with 13 (8%)     reduction in mean ESS score from baseline to 6·1 at the
participants reporting at least one TEAE leading to           end of the SDP (in the modiﬁed intention-to-treat
discontinuation within this category. TEAEs leading to        population) represents a substantial treatment eﬀect.
discontinuation that were reported by multiple                  The mean baseline IHSS score in the safety
participants included anxiety (n=4), insomnia (n=3),          population (32·1) is consistent with the score reported in
nausea (n=3), and confusion (n=2); all other TEAEs            untreated patients with idiopathic hypersomnia (32·1),
leading to discontinuation were reported by one               and well above that for healthy controls (10·5) in a
participant each. One participant withdrew from the           previous study.16 The mean baseline IHSS score was
study owing to a TEAE of paraesthesia during the OLT,         15·1 in participants entering the study taking sodium
which was considered by the investigator to be unrelated      oxybate. Mean IHSS scores declined (improved) to
to study drug administration. At the early termination        15·3 at the end of the SDP (in the modiﬁed intention-to-
visit, this participant reported a positive response on the   treat population), then remained stable with continuing
C-SSRS. All C-SSRS responses were negative at the             lower-sodium oxybate treatment and increased in
safety follow-up visit. There were no other positive          participants randomly assigned to placebo during the
responses to the C-SSRS by any participant during the         DBRWP. These eﬀects suggest a positive eﬀect of lower-
study.                                                        sodium oxybate on idiopathic hypersomnia symptoms
  TEAEs were similar in participants taking lower-            and consequences. Furthermore, lower-sodium oxybate
sodium oxybate once or twice nightly (post-hoc                treatment was associated with beneﬁts in overall
analysis) and in participants exposed or not exposed to       idiopathic hypersomnia symptoms (PGIc and CGIc),
a single dose greater than 4·5 g (post-hoc analysis;          sleep inertia (VAS-SI), daily activities (FOSQ-10), and
appendix pp 3, 7, 8).                                         work productivity (WPAI:SHP).
  There were no clinically relevant changes in clinical         In the safety analysis, 123 (80%) of 154 participants
laboratory evaluations, physical examinations, or electro-    reported TEAEs, mostly mild or moderate in severity.
cardiograms. Vital signs were generally unremarkable;         Commonly reported TEAEs, as expected from previous
markedly abnormal systolic or diastolic blood pressure or     studies of lower-sodium oxybate and sodium oxybate,
heart rate values were infrequent, and none occurred in       included nausea, headache, dizziness, anxiety, and
more than one participant taking lower-sodium oxybate         vomiting. TEAEs in participants (n=34) who took any
across all study periods. No participants reported TEAEs      dose of lower-sodium oxybate greater than 4·5 g were
of suicidal ideation or suicidal behaviour.                   similar.
                                                                This study has strengths. This is, we believe, the ﬁrst
Discussion                                                    large, international, randomised, double-blind, placebo-
In this phase 3, placebo-controlled, double-blind,            controlled study showing a signiﬁcant beneﬁt of
randomised withdrawal study, lower-sodium oxybate             treatment with oxybate in idiopathic hypersomnia. The
showed clinically meaningful improvements in excessive        ﬁndings represent an advance in a therapeutic area with
daytime sleepiness and overall idiopathic hypersomnia         few clinical studies and, consequently, little empirical
symptoms, and reduced the impact of idiopathic hyper-         basis for treatment decisions. The study design aﬀorded
somnia symptoms on daily life, sleep inertia, and quality     several beneﬁts. The OLT allowed individualisation of
of life, in adults with idiopathic hypersomnia.               lower-sodium oxybate dosing (with once-nightly or twice-
  Overall, demographics were similar between random-          nightly options), similar to the real-world scenario, rather
ised treatment groups, given overlapping means and            than assigned dosing. Individualised dosing might be
large variance in age and body-mass index. Most               important, given the presumed heterogeneity of idio-
participants had moderate-to-severe idiopathic hyper-         pathic hypersomnia. The 2-week DBRWP minimised
somnia at study entry. Age and sex of the study population    placebo exposure while maintaining sensitivity to detect
were representative of the idiopathic hypersomnia popu-       clinically meaningful and signiﬁcant diﬀerences between
lation.21,22 The mean baseline ESS score in the safety        randomised treatment groups, as shown in previous
population (16·1) was well above the normal range             lower-sodium oxybate and sodium oxybate narcolepsy
(≤10 points) and similar to that in other idiopathic          studies.11,26 Use of endpoints assessing multiple symp-
hypersomnia studies.10,16,23–25 The mean baseline ESS score   toms and consequences of idiopathic hypersomnia,
was 5·7 in participants entering the study taking sodium      including newer measures (eg, IHSS, VAS-SI), exceeds
oxybate (n=6). Low ESS scores at the end of the SDP were      the scope of previous studies that were generally limited
maintained with double-blind lower-sodium oxybate             to single symptoms (eg, excessive daytime sleepiness)
treatment, whereas a signiﬁcant and clinically meaningful     and provides a more holistic picture of the disease state
increase (worsening) occurred with placebo. These             and therapeutic beneﬁt of lower-sodium oxybate. Results


www.thelancet.com/neurology Vol 21 January 2022                                                                                         63
     Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 283 of 385 PageID #: 33768

       Articles




                  show the eﬃcacy of lower-sodium oxybate on key                 participants with and without long sleep time and with
                  symptoms of idiopathic hypersomnia (excessive daytime          once-nightly and twice-nightly dosing. Idiopathic hyper-
                  sleepiness, prolonged night-time sleep, sleep inertia),        somnia is a disease with a key unmet need, as oﬀ-label
                  measured either directly (ESS, VAS-SI) or as part of more      medications often have little success. An approved,
                  comprehensive measures of idiopathic hypersomnia               eﬀective medication for idiopathic hypersomnia will
                  symptom severity and consequences (IHSS, PGIc, CGIc),          beneﬁt patients by enabling increased participation
                  as well as on functioning and quality of life (FOSQ-10,        in academic, social, and work domains, and will support
                  WPAI:SHP). Finally, the study population was large for a       clinician recognition of the necessity to accurately
                  rare disease, and appeared to represent the broader            diagnose and eﬀectively manage idiopathic hypersomnia.
                  idiopathic hypersomnia population in the nature and            These ﬁndings indicate that lower-sodium oxybate might
                  severity of symptoms (eg, signiﬁcant excessive daytime         be useful for the management of idiopathic hypersomnia
                  sleepiness; IHSS scores consistent with untreated people       as a ﬁrst-line therapy and in combination with an alerting
                  with idiopathic hypersomnia). Considering this and the         agent.
                  consistency of results across subgroups, the ﬁndings are       Contributors
                  probably generalisable.                                        YD participated in the study design, provided the Idiopathic
                    The study has limitations. Because participants entering     Hypersomnia Severity Scale, enrolled participants, veriﬁed the
                                                                                 underlying data, and wrote parts of the manuscript with input from
                  the study taking sodium oxybate had to have documented         other authors. IA participated in the study design, enrolled participants,
                  clinical improvement of excessive daytime sleepiness with      and wrote parts of the manuscript with input from other authors.
                  that treatment, they represent an enriched population;         NF-S, AMM, KŠ, MJT, and EM enrolled participants. PC participated in
                  however, because six of 154 participants entered the study     the study design, veriﬁed the underlying data, and had oversight of the
                                                                                 study. RP participated in the study design, veriﬁed the underlying data,
                  taking sodium oxybate, this enrichment had minimal             and did the statistical analyses. JB and AS participated in the study
                  eﬀect. The OLT period also enriches for lower-sodium           design.DC participated in the study design and had oversight of the
                  oxybate response because only participants who showed          study. FS had oversight of the study. RKB enrolled participants. All
                  improvement were randomly assigned. Three participants         authors had full access to all data in the study, critically revised the
                                                                                 manuscript, and had ﬁnal responsibility for the decision to submit for
                  did not meet criteria for response to lower-sodium             publication. The ﬁnal manuscript was approved by all authors.
                  oxybate; two were excluded from randomisation and one
                                                                                 Declaration of interests
                  was randomly assigned in error and did not complete the        YD is a consultant for and has participated in advisory boards for
                  DBRWP. 31 participants (20 owing to TEAEs) discontinued        Jazz Pharmaceuticals, UCB Pharma, Avadel, Idorsia, Takeda,
                  the study before the SDP, possibly aﬀecting the                Theranexus, and Bioprojet. IA has participated in an advisory board for
                  generalisability of the results. Owing to the study design,    Idorsia. NF-S has received research grants or contracts from Jazz
                                                                                 Pharmaceuticals, Suven, and Takeda; served on an advisory committee
                  participants can become accustomed to the eﬀects of            for Jazz Pharmaceuticals; received support for attending meetings or
                  open-label treatment, potentially leading to inadvertent       travel from Jazz Pharmaceuticals; and participated in clinical trials
                  unmasking at randomised withdrawal. The study included         supported by Jazz Pharmaceuticals, Suven, and Takeda. AMM has
                                                                                 received research funding from the National Institutes of Health,
                  participants with and without long sleep time; thus, the
                                                                                 Geisinger Health Plan, and the Klarman Foundation; has been a site
                  population might be non-uniform.27 Analysis showed             investigator for Avadel Pharmaceuticals and Jazz Pharmaceuticals; has
                  good response in both subgroups; however, the smaller          served on an advisory board/speakers bureau for Jazz Pharmaceuticals;
                  number of participants with long sleep time might limit        has received payment or honoraria from Harmony Biosciences; and has
                                                                                 served on an AASM public advocacy committee. KŠ has served on the
                  the certainty of those ﬁndings.
                                                                                 speakers’ bureau for Sanoﬁ, Angelini, and Stada and as a consultant for
                    The mechanism of action of lower-sodium oxybate in           AOP Orphan; participated in advisory boards for UCB and in clinical
                  idiopathic hypersomnia is not fully understood. The            trials for Jazz Pharmaceuticals, Flamel-Avadel, and Luitpold
                  eﬀects of oxybate on excessive daytime sleepiness and          Pharmaceuticals; and received funding from the Ministry of Health,
                                                                                 Czech Republic, and the Michael J Fox Foundation. MJT has received
                  cataplexy are hypothesised to be mediated through
                                                                                 research or grant support and consultancy fees from Jazz
                  inhibitory GABAB receptor actions at dopaminergic,             Pharmaceuticals, Harmony Biosciences, Balance Therapeutics, Axsome
                  noradrenergic, and thalamocortical neurons during sleep,       Therapeutics, and Avadel Pharmaceuticals; and has participated in data
                  which could lead to improved function during the day.9,12,28   safety monitoring or advisory boards for Axsome, Balance Therapeutics,
                                                                                 Eisai Pharmaceuticals, Flamel–Avadel, Harmony Biosciences, LLC,
                  In contrast to other central disorders of hypersomnolence,     Jazz Pharmaceuticals, NLS Pharmaceuticals, Suven Life Sciences, Takeda
                  night-time sleep in idiopathic hypersomnia is believed         Pharmaceutical, and XW Pharma. EM has received research support
                  to be relatively consolidated,29 particularly with long        from Apple, Jazz Pharmaceuticals, Merck, Takeda, and Huami; is a
                  sleep time,30 although disturbed slow-wave sleep and sleep     consultant for Dreem, Alerion, Orexia, and Inexia; and is on the speakers’
                                                                                 bureau for Vox Media. PC, AS, and FS are full-time employees of Jazz
                  fragmentation can occur.31,32 Better understanding of the      Pharmaceuticals who, in the course of this employment, have received
                  disease state and nocturnal sleep characteristics, and the     stock options exercisable for, and other stock awards of, ordinary shares
                  eﬀect of lower-sodium oxybate on sleep in idiopathic           of Jazz Pharmaceuticals. RP and DC are former full-time employees of
                  hypersomnia, is needed.                                        Jazz Pharmaceuticals who, in the course of this employment, received
                                                                                 stock options exercisable for, and other stock awards of, ordinary shares
                    In conclusion, this study of adults with idiopathic          of Jazz Pharmaceuticals. JB is a part-time employee of Jazz
                  hypersomnia suggests that night-time administration of         Pharmaceuticals and shareholder of Jazz Pharmaceuticals. RKB has
                  lower-sodium oxybate is well tolerated and associated          served on the speakers’ bureau and participated in advisory boards for
                  with clinically meaningful improvements, including for         Jazz Pharmaceuticals; has received consulting fees from



64                                                                                                     www.thelancet.com/neurology Vol 21 January 2022
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 284 of 385 PageID #: 33769

                                                                                                                                                          Articles




Jazz Pharmaceuticals and Harmony Biosciences; and has received              14   Johns MW. A new method for measuring daytime sleepiness:
payment or honoraria from Eisai.                                                 the Epworth sleepiness scale. Sleep 1991; 14: 540–45.
                                                                            15   Maski K, Trotti LM, Kotagal S, et al. Treatment of central disorders
Data sharing
                                                                                 of hypersomnolence: an American Academy of Sleep Medicine
All relevant data are provided within the article and appendix.                  systematic review, meta-analysis, and GRADE assessment.
Additional data might be made available on request following an                  J Clin Sleep Med 2021; 17: 1895–945.
evaluation of research need. Please direct requests to                      16   Dauvilliers Y, Evangelista E, Barateau L, et al. Measurement of
Patricia.Chandler@jazzpharma.com.                                                symptoms in idiopathic hypersomnia: the Idiopathic Hypersomnia
Acknowledgments                                                                  Severity Scale. Neurology 2019; 92: e1754–62.
The authors thank the study participants, study investigators, and study    17   Rassu AL, Evangelista E, Barateau L, et al. Idiopathic Hypersomnia
staﬀ for their contributions to this research. This study was sponsored          Severity Scale to better quantify symptoms severity and their
                                                                                 consequences in idiopathic hypersomnia. J Clin Sleep Med 2021;
by Jazz Pharmaceuticals. Under the direction of the authors, Karyn Liu
                                                                                 published online Oct 4. https://doi.org/10.5664/jcsm.9682.
(an employee of Peloton Advantage, LLC, an OPEN Health company)
                                                                            18   Chasens ER, Ratcliﬀe SJ, Weaver TE. Development of the FOSQ-10:
provided medical writing and editorial support. Jazz Pharmaceuticals
                                                                                 a short version of the Functional Outcomes of Sleep Questionnaire.
provided funding to Peloton Advantage for medical writing and                    Sleep 2009; 32: 915–19.
editorial support.
                                                                            19   Reilly MC, Zbrozek AS, Dukes EM. The validity and reproducibility
References                                                                       of a work productivity and activity impairment instrument.
1    American Academy of Sleep Medicine. Idiopathic hypersomnia.                 PharmacoEconomics 1993; 4: 353–65.
     In: International classiﬁcation of sleep disorders, 3rd edn. Darien,   20   Posner K, Brown GK, Stanley B, et al. The Columbia-Suicide
     IL: American Academy of Sleep Medicine, 2014.                               Severity Rating Scale: initial validity and internal consistency
2    Srivastava B, Morris S, Banderas B, Lowe C, Dauvilliers Y.                  ﬁndings from three multisite studies with adolescents and adults.
     Patient-reported symptoms and health-related quality of life impacts        Am J Psychiatry 2011; 168: 1266–77.
     of idiopathic hypersomnia. 146th annual meeting of the American        21   Ali M, Auger RR, Slocumb NL, Morgenthaler TI. Idiopathic
     Neurological Association; Oct 17–19, 2021 (abstract 282).                   hypersomnia: clinical features and response to treatment.
3    American Academy of Sleep Medicine. The international                       J Clin Sleep Med 2009; 5: 562–68.
     classiﬁcation of sleep disorders: diagnostic & coding manual,          22   Anderson KN, Pilsworth S, Sharples LD, Smith IE, Shneerson JM.
     2nd edn. Westchester, IL: American Academy of Sleep Medicine,               Idiopathic hypersomnia: a study of 77 cases. Sleep 2007; 30: 1274–81.
     2005.                                                                  23   Dauvilliers Y, Paquereau J, Bastuji H, Drouot X, Weil JS,
4    Arnulf I, Leu-Semenescu S, Dodet P. Precision medicine for                  Viot-Blanc V. Psychological health in central hypersomnias:
     idiopathic hypersomnia. Sleep Med Clin 2019; 14: 333–50.                    the French Harmony study. J Neurol Neurosurg Psychiatry 2009;
5    Evangelista E, Lopez R, Dauvilliers Y. Update on treatment for              80: 636–41.
     idiopathic hypersomnia. Expert Opin Investig Drugs 2018; 27: 187–92.   24   Ozaki A, Inoue Y, Nakajima T, et al. Health-related quality of life
6    Maski K, Trotti LM, Kotagal S, et al. Treatment of central disorders        among drug-naïve patients with narcolepsy with cataplexy,
     of hypersomnolence: an American Academy of Sleep Medicine                   narcolepsy without cataplexy, and idiopathic hypersomnia without
     clinical practice guideline. J Clin Sleep Med 2021; 17: 1881–93.            long sleep time. J Clin Sleep Med 2008; 4: 572–78.
7    Mayer G, Benes H, Young P, Bitterlich M, Rodenbeck A. Modaﬁnil         25   Kretzschmar U, Werth E, Sturzenegger C, Khatami R, Bassetti CL,
     in the treatment of idiopathic hypersomnia without long sleep               Baumann CR. Which diagnostic ﬁndings in disorders with
     time—a randomized, double-blind, placebo-controlled study.                  excessive daytime sleepiness are really helpful? A retrospective
     J Sleep Res 2015; 24: 74–81.                                                study. J Sleep Res 2016; 25: 307–13.
8    Inoue Y, Tabata T, Tsukimori N. Eﬃcacy and safety of modaﬁnil in       26   Plazzi G, Ruoﬀ C, Lecendreux M, et al. Treatment of paediatric
     patients with idiopathic hypersomnia without long sleep time:               narcolepsy with sodium oxybate: a double-blind, placebo-controlled,
     a multicenter, randomized, double-blind, placebo-controlled,                randomised-withdrawal multicentre study and open-label
     parallel-group comparison study. Sleep Med 2021; 80: 315–21.                investigation. Lancet Child Adolesc Health 2018; 2: 483–94.
9    Xyrem (sodium oxybate) oral solution, CIII. [prescribing               27   Lammers GJ, Bassetti CLA, Dolenc-Groselj L, et al. Diagnosis of
     information] Palo Alto, CA: Jazz Pharmaceuticals, 2020.                     central disorders of hypersomnolence: a reappraisal by European
10 Leu-Semenescu S, Louis P, Arnulf I. Beneﬁts and risk of sodium                experts. Sleep Med Rev 2020; 52: 101306.
     oxybate in idiopathic hypersomnia versus narcolepsy type 1: a chart    28   Pardi D, Black J. gamma-Hydroxybutyrate/sodium oxybate:
     review. Sleep Med 2016; 17: 38–44.                                          neurobiology, and impact on sleep and wakefulness. CNS Drugs
11 Bogan RK, Thorpy MJ, Dauvilliers Y, et al. Eﬃcacy and safety of               2006; 20: 993–1018.
     calcium, magnesium, potassium, and sodium oxybates                     29   Evangelista E, Lopez R, Barateau L, et al. Alternative diagnostic
     (lower-sodium oxybate [LXB]; JZP-258) in a placebo-controlled,              criteria for idiopathic hypersomnia: a 32-hour protocol. Ann Neurol
     double-blind, randomized withdrawal study in adults with                    2018; 83: 235–47.
     narcolepsy with cataplexy. Sleep 2021; 44: zsaa206.                    30   Evangelista E, Rassu AL, Barateau L, et al. Characteristics associated
12 Xywav (calcium, magnesium, potassium, and sodium oxybates)                    with hypersomnia and excessive daytime sleepiness identiﬁed by
     oral solution, CIII. [prescribing information] Palo Alto, CA:               extended polysomnography recording. Sleep 2021; 44: zsaa264.
     Jazz Pharmaceuticals, 2021.                                            31   Plante DT. Nocturnal sleep architecture in idiopathic hypersomnia:
13 US Food and Drug Administration. Clinical superiority ﬁndings.                a systematic review and meta-analysis. Sleep Med 2018; 45: 17–24.
     2021. https://www.fda.gov/industry/designating-orphan-product-         32   Cairns A, Bogan R. Comparison of the macro and microstructure of
     drugs-and-biological-products/clinical-superiority-ﬁndings                  sleep in a sample of sleep clinic hypersomnia cases.
     (accessed July 9, 2021).                                                    Neurobiol Sleep Circadian Rhythms 2019; 6: 62–69.




www.thelancet.com/neurology Vol 21 January 2022                                                                                                                      65
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 285 of 385 PageID #: 33770




             Supplementary appendix
             This appendix formed part of the original submission and has been peer reviewed.
             We post it as supplied by the authors.

             Supplement to: Dauvilliers Y, Arnulf I, Foldvary-Schaefer N, et al. Safety and
             eﬃcacy of lower-sodium oxybate in adults with idiopathic hypersomnia: a phase 3,
             placebo-controlled, double-blind, randomised withdrawal study. Lancet Neurol 2022;
             21: 53–65.
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 286 of 385 PageID #: 33771




      Appendix

      Randomization Criteria
      Randomization criteria were as follows: the dose and regimen of lower-sodium oxybate remained
      unchanged during SDP, with demonstrated adequate adherence; no ongoing treatment-emergent adverse
      events occurred due to lower-sodium oxybate treatment that would require dose adjustment or treatment
      discontinuation during DBRWP; participants who were taking sodium oxybate at study entry must have
      had Patient Global Impression of Change (PGIc) scale ratings of no change or improved (minimal, much,
      or very much) compared with baseline; and participants who were not taking sodium oxybate at study entry
      must have had improved PGIc scale ratings compared with baseline and a lower Epworth Sleepiness Scale
      (ESS) score at end of SDP compared with the baseline visit.

      Dosing of Lower-Sodium Oxybate
      Suggested considerations for initiating once-nightly or twice-nightly regimens were significant difficulty
      awakening from nighttime sleep in order to take a second dose or long sleep time (LST; for a once-nightly
      regimen), or the need to ensure adequate sleep duration (for a twice-nightly regimen). Investigators could
      change the dosing regimen during OLT.

      If participants changed from once-nightly to twice-nightly dosing, the total starting nightly dose was to be
      WKH VDPH DV RU ā J KLJKHU WKDQ WKH RQFH-nightly dose, and the timing of dosing was to be the same as for
      initial twice-nightly dosing (ie, first dose taken at bedtime or after an initial period of sleep; second dose
      taken 2·5 to 4 hours later). If participants changed from twice-nightly to once-nightly dosing, the same first
      dose taken in the twice-nightly regimen could have been the starting dose when switching to once-nightly
      dosing.

      Reasons for Early Termination
      All participants were free to withdraw from participation in the study at any time and for any reason, and
      the investigator, sponsor, or its designee could remove a participant from the study at any time and for any
      reason. If any of the following criteria were met during the study, study drug administration was required to
      be stopped and the participant discontinued from the study: suicide risk reported or assessed by the
      Columbia-Suicide Severity Rating Scale (C-SSRS); three-fold or greater elevation above the upper limit of
      normal (ULN) of alanine transaminase (ALT) or aspartate transaminase (AST) accompanied by an
      elevation of serum total bilirubin greater than two times the ULN; liver enzyme (AST, ALT) value greater
      WKDQ RU HTXDO WR ILYH WLPHV WKH 8/1 FUHDWLQLQH ! ȝPRO/ SRVLWLYH DOFRKRO RU XULQH GUXJ VFUHHQ RU
      positive pregnancy test.

      Statistical Analysis
      Changes in mean visual analog scale for sleep inertia (VAS-SI) daily score, Functional Outcomes of Sleep
      Questionnaire, short version (FOSQ-10) score, and Work Productivity and Activity Impairment
      Questionnaire: Specific Health Problem (WPAI:SHP) scores were analyzed similarly to the primary
      efficacy endpoint, using analysis of covariance (ANCOVA). Mean VAS-SI daily scores in the last week of
      SDP and the last week of DBRWP, calculated by summing the VAS-SI scores over each 7-day interval and
      dividing by the number of days in which the VAS-SI was completed, were used for these analyses.

      If the normality assumption of the residuals from the ANCOVA model failed the Shapiro-Wilk test at 0·05
      significance level, the reported P value was based on an ANCOVA model with the covariate and response
      variables replaced by the rank value. The estimated median difference in endpoint between the treatment
      groups and asymptotic 95% CI are presented using the Hodges-Lehmann estimator.

      Safety analyses were performed on the safety population. TEAEs were summarized using descriptive
      statistics (counts and percentages). TEAEs were coded to system organ class and preferred term using the
      Medical Dictionary for Regulatory Activities (MedDRA, version 19·1), and summarized for the overall
      safety population and by baseline medication group, across the entire study (excluding TEAEs during
      DBRWP for those randomized to placebo) up to 30 days after the last dose. Additional TEAE summaries
                                                            1
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 287 of 385 PageID #: 33772



      were generated for participants who were exposed or not exposed to a single dose of lower-sodium oxybate
      >4·5 g at any time during the study (preplanned analysis) and for subgroups of participants by lower-
      sodium oxybate dosing regimen (once nightly or twice nightly) during OLT and SDP (post hoc analysis).

      Post hoc analyses of primary and key secondary endpoints were performed using similar analysis methods.
      Change in ESS score from end of SDP to end of DBRWP was assessed in subgroups of participants defined
      by IH phenotype (with or without long sleep time [LST]), sex, dosing regimen (once or twice nightly), and
      baseline IH treatment (taking IH medication at study entry or treatment naive). Change in IHSS score from
      end of SDP to end of DBRWP and proportion of participants reporting worsening of symptoms on the PGIc
      at end of DBRWP relative to end of SDP were assessed in subgroups defined by IH phenotype (with or
      without LST).

      Baseline ESS and IHSS scores were examined in participants who were taking IH medication (alerting
      agents and/or sodium oxybate) at study entry compared with participants who were treatment naive (safety
      population), and in participants who were taking sodium oxybate at study entry compared with participants
      who were taking alerting agents (without sodium oxybate) at study entry.

      Participant Disposition
      Among the seven participants who discontinued after SDP and before DBRWP, the two participants who
      did not meet randomization criteria were treatment naive at study entry. For one participant, ESS score
      improved (19 at baseline, 18 at end of SDP), the PGIc rating was “much worse” at end of SDP compared
      with baseline, and IHSS score worsened (36 at baseline, 38 at end of SDP). The other participant had no
      change in ESS score (21 at baseline, 21 at end of SDP), a PGIc rating of “no change” at end of SDP
      compared with baseline, and worsened IHSS score (40 at baseline, 41 at end of SDP).

      Among the three participants who entered but did not complete DBRWP, the participant who was
      randomized to placebo in error (sodium oxybate + alerting agent group at study entry) had no change in
      ESS score (7 at baseline, 7 at end of SDP), a PGIc rating of “minimally worse” at end of SDP compared
      with baseline, and worsened IHSS score (17 at baseline, 22 at end of SDP).


      Subgroup Analyses: ESS, IHSS, and PGIc

      Subgroup analyses demonstrated that the difference in change in ESS score in the randomized treatment
      groups was similar across subgroups defined by idiopathic hypersomnia phenotype (LS mean difference
      [95% CI] wiWK RU ZLWKRXW /67 íā >íā íā@ DQG íā >íā íā@ UHVSHFWLYHO\  VH[ GRVLQJ
      regimen (once or twice nightly), and baseline idiopathic hypersomnia treatment (taking idiopathic
      hypersomnia medication at study entry or treatment naive; Figure 3B), and that the estimated median
      GLIIHUHQFH  &, LQ FKDQJH LQ ,+66 VFRUH ZDV FRQVLVWHQW LQ SDUWLFLSDQWV ZLWK /67 íā >íā íā@
      Pā DQG ZLWKRXW /67 íā >íā íā@ P<0·0001). In participants with LST, the proportion
      rating their idiopathic hypersomnia as worsened on the PGIc was 23% (all minimally worse) for lower-
      sodium oxybate (n=13) and 100% (minimally, much, very much worse: 18%, 27%, 55%) for placebo
       Q   FRUUHVSRQGLQJ WR D GLIIHUHQFH RI í percentage points  &, í í P=0·0003). In
      participants without LST, the proportion rating their idiopathic hypersomnia as worsened was 21%
      (minimally, much, very much worse: 14%, 5%, 2%) for lower-sodium oxybate (n=43) and 85%
      (minimally, much, very much worse: 25%, 40%, 21%) for placebo (n=48), corresponding to a difference of
      í percentage points  &, í í P<0·0001).

      In participants who were taking idiopathic hypersomnia medication (alerting agents and/or sodium
      oxybate) at study entry compared with treatment-naive participants (safety population), mean (SD) baseline
      ESS scores were 15·7 (4·1) and 16·7 (2·7), respectively, and mean (SD) baseline IHSS scores were 31·8
      (8·3) and 32·4 (7·6), respectively. In participants who were taking sodium oxybate at study entry compared
      with participants who were taking alerting agents (without sodium oxybate) at study entry, mean (SD)
      baseline ESS scores were 5·7 (4·9) and 16·4 (2·9), respectively, and mean (SD) baseline IHSS scores were
      15·1 (7·1) and 33·0 (7·0), respectively.


                                                          2
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 288 of 385 PageID #: 33773



      VAS-SI and WPAI:SHP
      VAS-SI scores decreased (indicating improvement) with lower-sodium oxybate treatment from baseline
      (last week of screening) to end of SDP, then remained stable during DBRWP in the group randomized to
      lower-sodium oxybate and increasHG LQ WKH SODFHER JURXS /6 PHDQ GLIIHUHQFH > &,@ íā >íā
      íā@ P<0·0001; Appendix Table 2 [p 6]).

      Scores on the WPAI:SHP item assessing percent work time missed due to idiopathic hypersomnia
      (absenteeism) were highly variable; therefore, a ranked test was employed to analyze the difference
      between the randomized treatment groups in change in absenteeism from end of SDP to end of DBRWP
       HVWLPDWHG PHGLDQ GLIIHUHQFH > &,@  >íā @ P=0·0092). The result of this test reflects the increased
      number of participants with worsening in the placebo group compared with the lower-sodium oxybate
      group. On the other three WPAI:SHP items, scores decreased (indicating improvement) with open-label
      lower-sodium oxybate treatment from baseline to end of SDP, then remained stable from end of SDP to end
      of DBRWP in participants randomized to continue lower-sodium oxybate treatment and increased in
      participants randomized to placebo (all P<0·0001; Appendix Table 2 [p 6]).

      Improvement in these outcomes from day 1 through SDP was maintained throughout OLE, excluding the
      2-week DBRWP; mean (SD) or median (Q1, Q3) values at end of OLE were 5·3 (3·6) for ESS, 14·7 (8·5)
      for IHSS total score, 18·0 (16·3, 19·2) for FOSQ-10, 0 (0, 4·3) for WPAI:SHP absenteeism, 20·3 (20·4) for
      WPAI:SHP presenteeism, 23·5 (22·8) for WPAI:SHP absenteeism + presenteeism, and 26·2 (23·9) for
      WPAI:SHP activity impairment. At end of OLE relative to baseline (OLT day 1), 49/96 participants (51%)
      and 33/96 (34%) participants rated their change in condition on the PGIc as very much improved or much
      improved, respectively.

      Subgroup Analyses: Safety
      Single doses of lower-sodium oxybate up to 6 g were allowed in the study as part of a once-nightly or
      twice-nightly regimen. The incidence of TEAEs during OLT and SDP was similar in participants who
      initiated and remained on a once-nightly regimen compared with those who initiated and remained on a
      twice-nightly regimen (pre-planned analysis; Appendix Table 3 [p 7]). The incidence and type of TEAEs
      during all study periods in the 34 participants exposed to a single dose greater than 4·5 g (median total
      nightly dose, 6 g; Appendix Table 4 [p 8]) were similar to those of the safety population (post hoc
      analysis).




                                                           3
Appendix Figure 1. Study design. DBRWP, double-blind randomized withdrawal period; LXB, lower-sodium oxybate; OLE, open-label extension
period; OLT, open-label titration and optimization period; SDP, stable-dose period; SXB, sodium oxybate.




                                                                     4
                                                                                                                                          Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 289 of 385 PageID #: 33774
Appendix Table 1. Schedule of assessments

                                               Baseline   OLT    OLT    OLT      End of         End of     End of   OLE    OLE    OLE     End of    SFU
                                                (OLT      Week   Week   Week   OLT/Start of   SDP/Start   DBRWP/    Week   Week   Week   OLE/ET
 Assessment                        Screening    Day 1)     1      4      8        SDP         of DBRWP      ET       2      6      14
 Efficacy
     ESS                              X           X        X      X      X          X            X          X        X      X      X        X
     IHSS                                         X        X      X      X          X            X          X        X      X      X        X
     PGIc                                                  X      X      X          X            X          X        X      X      X        X
     CGIs                                         X
     CGIc                                                  X      X      X          X            X          X        X      X      X        X
     VAS-SI                           X           X                                              X          X
     FOSQ-10                                      X                                              X          X               X      X        X
     WPAI:SHP                                     X                                              X          X               X      X        X
 Safety
     AE reporting                     X           X        X      X      X          X            X          X        X      X      X        X        X
     Physical examination             X                                                          X          X                               X        X
     Vital signs                      X           X        X      X      X          X            X          X        X      X      X        X        X
     12-lead ECG                      X                                                          X          X                               X
     Hematology, serum chemistry      X                                                          X                                          X
     Urinalysis                       X                                                          X                                          X
     Drug screen                      X           X        X      X      X          X            X          X        X      X      X        X
     Pregnancy test                   X           X        X      X      X          X            X          X        X      X      X        X        X
     C-SSRS                           X           X        X      X      X          X            X          X        X      X      X        X        X
AE, adverse event; CGIc, Clinical Global Impression of Change; CGIs, Clinical Global Impression of Severity; C-SSRS, Columbia-Suicide Severity Rating
Scale; DBRWP, double-blind randomized withdrawal period; ECG, electrocardiogram; ESS, Epworth Sleepiness Scale; ET, early termination; FOSQ-10,
Functional Outcomes of Sleep Questionnaire, short form; IHSS, Idiopathic Hypersomnia Severity Scale; OLE, open-label extension; OLT, open-label titration
and optimization period; PGIc, Patient Global Impression of Change; SDP, stable-dose period; SFU, safety follow-up; VAS-SI, visual analog scale for sleep
inertia; WPAI:SHP, Work Productivity and Activity Impairment Questionnaire: Specific Health Problem.




                                                                                5
                                                                                                                                                            Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 290 of 385 PageID #: 33775
Appendix Table 2. Scores on exploratory endpoints (VAS-SI, WPAI:SHP) in the mITT population and randomized treatment

groups (lower-sodium oxybate and placebo)

                 Lower-sodium oxybate (n=56)                 Placebo (n=59)                               Difference          P valuea
                                                                                                          between groups
                 Baseline        End of SDP    End of        Baseline         End of SDP    End of
                                               DBRWP                                        DBRWP
 VAS-SI, mean    --              24·8 (21·1)   28·3 (20·0)   --               32·3 (18·4)   55·3 (25·0)   LS mean             <0·0001
 (SD)                                                                                                     difference (95%
                                                                                                          CI): íā íā
                                                                                                          íā
 WPAI:SHP
  Percent        --              0 (0, 0)      0 (0, 0)      --               0 (0, 0)      0 (0, 13·3)   Estimated median    0·0092
  work time                                                                                               difference (95%
  missed due                                                                                              CI):  íā 
  to IH,
  median (Q1,
  Q3)
  Percent        --              21·3 (19·4)   30 (22·2)     --               20·9 (19·8)   58·2 (26·1)   LS mean             <0·0001
  impairment                                                                                              difference (95%
  while                                                                                                   CI): íā íā
  working due                                                                                             íā
  to IH, mean
  (SD)
  Percent        --              22·3 (20·6)   31·0 (23·0)   --               22·0 (21·2)   63·2 (23·5)   LS mean             <0·0001
  overall work                                                                                            difference (95%
  impairment                                                                                              CI): íā íā
  due to IH,                                                                                              íā
  mean (SD)
  Percent        --              24·8 (20·7)   31·3 (25·3)   --               26·3 (21·4)   63·4 (24·3)   LS mean             <0·0001
  overall                                                                                                 difference (95%
  activity                                                                                                CI): íā íā
  impairment                                                                                              íā
  due to IH,
  mean (SD)
CI, confidence interval; DBRWP, double-blind randomized withdrawal period; IH, idiopathic hypersomnia; LS, least squares; mITT,
modified intent-to-treat; OLT, open-label titration and optimization period; Q1, first quartile; Q3, third quartile; SD, standard
deviation; SDP, stable-dose period; VAS-SI, visual analog scale for sleep inertia; WPAI:SHP, Work Productivity and Activity
Impairment Questionnaire: Specific Health Problem.
a
  P value is nominal.




                                                                                  6
                                                                                                                                         Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 291 of 385 PageID #: 33776
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 292 of 385 PageID #: 33777



 Appendix Table 3. TEAEs in OLT and SDP by lower-sodium oxybate dosing regimen (safety population;

 pre-planned analysis)

                                           Initiated and remained on   Initiated and remained on    Changed regimen once or
                                             once-nightly regimen        twice-nightly regimen              morea
    7($( LQ  RI SDUWLFLSDQWV Q                   (n=21)                      (n=93)                    (n=40)
    Any TEAE                                        13 (61·9)                   69 (74·2)                  33 (82·5)
    Nausea                                           5 (23·8)                   20 (21·5)                  7 (17·5)
    Headache                                         3 (14·3)                   15 (16·1)                  6 (15·0)
    Dizziness                                        4 (19·0)b                    7 (7·5)                  7 (17·5)
    Anxiety                                           2 (9·5)                     9 (9·7)                   3 (7·5)
    Decreased appetite                               3 (14·3)                     9 (9·7)                      0
    Vomiting                                          1 (4·8)                     6 (6·5)                   3 (7·5)
    Dry mouth                                            0                        8 (8·6)                   1 (2·5)
    Urinary tract infection                           1 (4·8)                     5 (5·4)                   3 (7·5)
    Diarrhea                                          1 (4·8)                     6 (6·5)                   1 (2·5)
    Insomnia                                          1 (4·8)                     6 (6·5)                   1 (2·5)
    Tremor                                               0                        5 (5·4)                   3 (7·5)
    Somnolence                                           0                        3 (3·2)                  4 (10·0)
    Upper respiratory tract infection                    0                        6 (6·5)                   1 (2·5)
    Back pain                                            0                        4 (4·3)                   2 (5·0)
   OLT, open-label titration and optimization period; SDP, stable-dose period; TEAE, treatment-emergent adverse
   event.
   a
     Includes participants who initiated once nightly and changed 1 time to twice nightly (n=15), initiated twice
   nightly and changed 1 time to once nightly (n=15), or changed regimens twice or more (n=10).
   b
     All four participants with TEAEs of dizziness in the once-nightly group were taking lower-sodium oxybate 3
   g/night at the time of the event.




                                                           7
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 293 of 385 PageID #: 33778



   Appendix Table 4. TEAEs across all study periodsa H[FOXGLQJ SODFHER GDWD LQ  RI WRWDO SDUWLFLSDQWV,
   in participants taking any single dose of lower-sodium oxybate >4·5 g, if TEAE onset occurred while
   participant received >4·5 g, vs not taking any single dose of lower-sodium oxybate >4·5 g (safety
   population; post hoc analysis)
                                                         Took a single dose of lower-sodium   Took only doses of lower-sodium
                                                                  oxybate >4·5 gb,c                   oxybate ā Jc
    3UHIHUUHG WHUP LQ  RI Wotal participants, n (%)                 (n=34)                            (n=120)
    Nausea                                                               0 (0)                           32 (26·7)
    Headache                                                           4 (11·8)                          18 (15·0)
    Dizziness                                                           1 (2·9)                          15 (12·5)
    Anxiety                                                              0 (0)                           14 (11·7)
    Vomiting                                                             0 (0)                           15 (12·5)
    Decreased appetite                                                  1 (2·9)                          13 (10·8)
    Diarrhea                                                             0 (0)                            11 (9·2)
    Nasopharyngitis                                                     3 (8·8)                           8 (6·7)
    Upper respiratory tract infection                                   1 (2·9)                           11 (9·2)
    Urinary tract infection                                             1 (2·9)                           8 (6·7)
    Dry mouth                                                            0 (0)                            10 (8·3)
    Fatigue                                                              0 (0)                            9 (7·5)
    Insomnia                                                            1 (2·9)                           8 (6·7)
    Night sweats                                                        1 (2·9)                           8 (6·7)
    Tremor                                                               0 (0)                            9 (7·5)
    Hyperhidrosis                                                        0 (0)                            6 (5·0)
    Muscle spasms                                                       1 (2·9)                           6 (5·0)
    Somnolence                                                           0 (0)                            7 (5·8)
    Pharyngitis                                                         2 (5·9)                           4 (3·3)
    Hypertension                                                        2 (5·9)                           2 (1·7)
    Ataxia                                                              2 (5·9)                            0 (0)
    Dermatitis contact                                                  2 (5·9)                            0 (0)
   SDP, stable-dose period; TEAE, treatment-emergent adverse event.
   a
     Through last participant visit on December 18, 2020.
   b
     TEAEs are included if the participant took a single dose of lower-sodium oxybate >4·5 g immediately prior to
   the start date of the TEAE; percentages are based on participants who took a single dose of lower-sodium
   oxybate >4·5 g at any time during the study.
   c
     The median total nightly dose in each group (established at end of SDP, or last dose before termination, if before
   SDP) was 6 g for those participants who took a single dose of lower-sodium oxybate >4·5 g and 7 g for those
   participants who took only doses of lower-sodium oxybate ·5 g.




                                                                 8
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 294 of 385 PageID #: 33779




                    EXHIBIT 27
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 295 of 385 PageID #: 33780
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 296 of 385 PageID #: 33781

                                                                                              Neurol Ther



     Conclusion: Clinicians may use this resource to   INTRODUCTION
     guide LXB dosing optimization with patients.
                                                       Narcolepsy and idiopathic hypersomnia are
     Keywords: Consensus panel; Drug therapy;
                                                       unique chronic sleep disorders with the com-
     Idiopathic hypersomnia; Narcolepsy; Low-
                                                       mon symptom of excessive daytime sleepiness
     sodium oxybate; Recommendations; Titration
                                                       (EDS) [1]. Narcolepsy is also associated with
                                                       cataplexy (narcolepsy type 1 only), disrupted
      Key Summary Points                               nighttime sleep, sleep paralysis, and hypna-
                                                       gogic/hypnopompic hallucinations [1, 2]. Idio-
      Why carry out this study?                        pathic hypersomnia symptoms include sleep
                                                       inertia; long, unrefreshing naps; and long sleep
      As a result of the recent approval of low-
                                                       times (those who sleep C 10 or 11 h per 24-h
      sodium oxybate for treating idiopathic
                                                       period often experience worse symptoms)
      hypersomnia, in addition to the
                                                       [1, 3, 4]. The standard of care for patients with
      previously approved indication for
                                                       narcolepsy has been sodium oxybate (SXB,
      narcolepsy, expert guidance on when and
                                                       XyremÒ [Jazz Pharmaceuticals; Dublin, Ire-
      how to adjust dosing, as well as detailed
                                                       land]), which is approved for treating EDS or
      guidance for patients who are
                                                       cataplexy in people 7 years of age and older
      transitioning from sodium oxybate to
                                                       [5–9]. A new oxybate formulation (calcium,
      low-sodium oxybate, will be of great
                                                       magnesium, potassium, and sodium oxybates),
      beneﬁt to physicians.
                                                       low-sodium oxybate (LXB, XywavÒ [Jazz Phar-
      An expert panel of ﬁve practicing                maceuticals; Dublin, Ireland]), was approved by
      physicians with extensive expertise in           the United States Food and Drug Administra-
      treating patients with narcolepsy and/or         tion (US FDA) in 2020 for patients with nar-
      idiopathic hypersomnia developed a set of        colepsy and in 2021 for adults with idiopathic
      31 recommendation statements to guide            hypersomnia [10–14]. Until US approval of LXB,
      low-sodium oxybate treatment.                    no medication had been approved for treatment
                                                       of idiopathic hypersomnia worldwide [10]. LXB
      What was learned from the study?                 has the same active moiety as the high-sodium
      The panel’s recommendation statements            oxybate SXB (i.e., gamma-hydroxybutyrate
      were organized into four overarching             [GHB]) but has 92% less sodium [10, 15].
      topics: (1) introducing low-sodium                   SXB and LXB are salts of GHB that are
      oxybate to patients; (2) initiating low-         hypothesized to act on GABAergic circuits
      sodium oxybate for adult narcolepsy and          within the brain. GHB enhances sleep/wake
      idiopathic hypersomnia; (3) addressing           state stability, thereby improving EDS and pre-
      challenges in using low-sodium oxybate           venting cataplexy [9, 16]. Similar to SXB, LXB is
      for adult narcolepsy and idiopathic              administered as a liquid C 2 h after eating and
      hypersomnia; and (4) transitioning from          is taken while in bed. The pharmacokinetics of
      sodium oxybate to low-sodium oxybate.            GHB are nonlinear [17], which is important to
                                                       consider when assessing the pharmacodynam-
      The panel recommended that clinicians            ics of SXB and LXB. LXB meets bioequivalence
      explain how LXB works, explain safety            criteria for area under the curve with SXB but
      aspects, and set expectations with their         has some pharmacokinetic/pharmacodynamic
      patients prior to starting treatment.            (PK/PD) differences [18]. In fasting individuals,
      Strategies were recommended for                  LXB takes slightly longer than SXB to reach a
      optimizing LXB dosage based on                   maximum plasma concentration (Tmax median
      individual efﬁcacy and tolerability and          1.00 h vs 0.52 h, respectively), and the maxi-
      ensuring adequate sleep duration.                mum plasma concentration for LXB is lower
                                                       than that of SXB (Cmax median 94.63 lg/mL vs
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 297 of 385 PageID #: 33782

  Neurol Ther



  123.0 lg/mL, respectively). Nevertheless, LXB       and had a positive impact on their ability to
  demonstrates robust efﬁcacy over multiple           provide care (88%).
  symptoms in patients with narcolepsy or idio-          As a result of this degree of ﬂexibility,
  pathic hypersomnia [19, 20].                        physicians may beneﬁt from expert guidance on
      Although physicians have been prescribing       when and how to adjust LXB dosing, as well as
  SXB to patients with narcolepsy for 2 decades,      detailed guidance for patients who are transi-
  recommendations for optimizing LXB dosing           tioning from SXB to LXB. To address this need,
  may be useful for prescribers given its newer       an expert panel was convened to develop con-
  indication for individuals with idiopathic          sensus-based guidance for the treatment of
  hypersomnia, as well as its subtle PK/PD differ-    narcolepsy and idiopathic hypersomnia with
  ences with SXB. LXB allows for ﬂexible dosing       LXB.
  paradigms, both in the titration of the dose
  amount in grams as well as the number of doses
  taken per night (for patients with idiopathic       METHODS
  hypersomnia). The recommended maximum
  total nightly dose of LXB for patients with         Expert Panel Selection and Topic
  narcolepsy is 9 g, divided into two doses. For      Development
  idiopathic hypersomnia, the recommended
  maximum dose is 6 g (once nightly) or 9 g           Five practicing physicians were selected for the
  (twice nightly) [10]. Based on experience with      expert panel on the basis of their extensive
  SXB, recommendations for LXB may include            expertise in treating patients with narcolepsy
  explaining to patients how LXB works and set-       and/or idiopathic hypersomnia; one of the ﬁve
  ting expectations on time to therapeutic effect.    physicians (AMM) was chosen to serve as the
      Awareness of potential challenges with          panel chair (Fig. 1). The consensus panel’s ini-
  patients who are taking LXB, such as the need       tial objectives, formulated by Jazz Pharmaceu-
  to individualize treatment regimens, can also be    ticals and Interactive Forums, Inc. (IFI), were to
  helpful. LXB, similar to SXB, should be taken       develop consensus-based guidance for initiating
  twice nightly in participants with narcolepsy,      and achieving optimal symptom management
  and in a social media-based analysis of people      with LXB for narcolepsy and idiopathic hyper-
  with narcolepsy who took SXB, 65% of patients       somnia within the parameters of the prescribing
  reported missing the second dose at least           information. A modiﬁed Delphi process, previ-
  monthly [21]. FT218 is a newly approved ﬁxed-       ously described in the literature, was used that
  dose high-sodium oxybate formulation (con-          included the development of a literature sum-
  taining the same sodium per dose as SXB) that is    mary and limited the number of rounds of rat-
  taken once nightly for the treatment of nar-        ings to two [25]. An outline of recommendation
  colepsy [22, 23]. However, the ability to adjust    topics (derived from the LXB prescribing label
  dosing paradigms (either gram amount or             and key literature) was drafted by IFI, and this
  nightly frequency), as with LXB, can be an asset    was subsequently reviewed and revised by the
  in tailoring treatment to a patient’s speciﬁc       panel chair. The panel chair, in collaboration
  needs. A real-world survey of physicians treating   with IFI, generated an extensive list of questions
  patients with narcolepsy found that 48% of          about the recommendation topics. The panel
  physicians adjusted their patients’ nightly         chair then reviewed and prioritized these ques-
  number of doses (e.g., from three nightly doses     tions for an online survey to be completed by
  to two nightly doses, or from two to one) for       the panel experts prior to the ﬁrst consensus
  reasons such as encouraging adherence or pro-       panel meeting.
  fessional or family obligations [24]. The major-        As this article is based on a modiﬁed Delphi
  ity of physicians surveyed felt the ability to      approach in which all participants originally
  adjust oxybate dosing to accommodate routine        consented to participate and author the present
  changes was important or very important (88%)       manuscript, no formal ethical approval was
                                                      sought.
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 298 of 385 PageID #: 33783

                                                                                               Neurol Ther




     Fig. 1 Modiﬁed Delphi consensus panel process



     Recommendation Statement                           meeting (also held virtually), the panel experts
     Development                                        ﬁnalized the recommendation statements and
                                                        voted to determine ﬁnal consensus. Jazz Phar-
     The online survey was posted and completed         maceuticals did not provide input on these
     independently by each expert panel member          statements during development but reviewed
     prior to the ﬁrst consensus panel meeting. The     each statement to ensure the guidance provided
     survey responses were compiled by IFI into         was     consistent   with     the    prescribing
     recommendation comments with additional            information.
     supportive comments. During the ﬁrst consen-
     sus panel meeting (which was held virtually),      Establishing Consensus
     the panel experts determined which recom-
     mendation content should receive priority. On      The expert panel members voted on each rec-
     the basis of discussions from the ﬁrst consensus   ommendation statement using a scale from 0
     panel meeting, the panel chair directed the        (not at all agree) to 4 (very much agree). Voting
     development of draft recommendation state-         for consensus occurred twice: ﬁrst on the draft
     ments. Using a second online survey, the panel     recommendation statements that were devel-
     experts reviewed these draft statements, voted     oped following the ﬁrst panel meeting, and
     to establish initial consensus, and provided       second on the revised recommendation state-
     comments (based on their clinical judgment) to     ments during the second panel meeting.
     improve the statements. Under the direction of
     the panel chair, IFI revised the statements
     accordingly. During the second consensus panel
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 299 of 385 PageID #: 33784

  Neurol Ther



  RESULTS                                              therapeutic oxybate doses (6–9 g oxybate salts,
                                                       divided) [26, 27]; however, the risk for oxybates
  The ﬁrst and second consensus panel meetings         to be abused remains and warrants monitoring
  were held on September 16, 2022 and October          [10]. The Risk Evaluation and Mitigation Strat-
  24, 2022, respectively. During the second            egy (REMS) program, which has a central phar-
  meeting, revisions were made to 30 recom-            macy that distributes oxybate prescriptions,
  mendations and one new recommendation was            tracks volumes of LXB and SXB dispensed and
  added. The recommendations were organized            utilized, concomitant medications, illicit drug
  into four broad recommendation topics (i.e., 1.      use, and medical problems [28]. In the post-
  introducing LXB to patients; 2. initiating LXB       marketing period from December 2016 through
  for adult narcolepsy and idiopathic hypersom-        December 2017, 31 instances of oxybate abuse
  nia; 3. addressing challenges in using LXB for       were reported through the REMS program, out
  adult narcolepsy and idiopathic hypersomnia;         of 17,037 enrolled individuals who received at
  4. transitioning from SXB to LXB), each with at      least one SXB shipment during that period [29].
  least one subtopic. This resulted in eight overall   Additionally, there were 343 instances of misuse
  recommendation topics, several of which con-         and 22 instances of diversion. As LXB was
  tained multiple recommendations. The panel           approved after the reporting period for the
  experts achieved a high level of agreement,          REMS program, the postmarketing study did
  including 30 statements rated 4.0 and one            not include people who were prescribed LXB.
  statement rated 3.8; additionally, ancillary            LXB, along with other oxybates, is con-
  guidance was generated for each recommenda-          traindicated with alcohol or sedative hypnotics
  tion and is presented below. All recommenda-         as the combined use can increase the CNS
  tion statements are presented together in            depressant effects of LXB [9, 10, 23]. In cases
  Supplemental Table S1.                               where patients would like to consume an alco-
                                                       holic beverage (e.g., at a party or event), they
                                                       may discuss temporary dosing adjustments with
  Introducing LXB to Patients
                                                       their physician [24]. Concomitant use of LXB
                                                       and divalproex sodium increases the systemic
  Recommendations comprising statements 1–3            exposure to GHB [10]. For patients already tak-
  are shown in Table 1.                                ing LXB who are initiating divalproex sodium
                                                       treatment, the LXB dose should be decreased by
  Introducing LXB as a Therapeutic Option              at least 20%. For patients already taking dival-
  A discussion of LXB PK/PD and oxybate mech-          proex sodium who are initiating LXB treatment,
  anism of action will be beneﬁcial to the             a lower starting dosage of LXB is recommended
  patient’s understanding of details such as           (e.g., \ 4.5 g per night).
  nighttime administration in bed, safety pre-
  cautions, and multiple-dose administration.          Presenting Information Regarding Label
  LXB takes an average of 1.3 h to reach Cmax (in      Warnings
  fasting individuals) and is metabolized quickly      Symptoms of CNS depression that can occur
  (the mean terminal elimination half-life of GHB      from LXB treatment include decreased alert-
  is 0.66 h) [10]. Although the mechanism of           ness, loss of consciousness, hypotension, respi-
  action of LXB is not completely understood, it is    ratory depression, profound sedation, and death
  hypothesized to exert its therapeutic effect         [10]. Patients are instructed not to drive (or do
  through the GABAB receptor during sleep at           anything that requires them to be fully awake or
  noradrenergic and dopaminergic neurons, as           is dangerous) for at least 6 h after taking LXB
  well as at thalamocortical neurons [10].             [10]. Rates of respiratory depression in clinical
                                                       trials of SXB were relatively low: in one trial, 2
  Helping Patients Understand the Safety of LXB        of 128 patients with narcolepsy had profound
  Typical illicit GHB doses (11–18 g and usually       CNS depression that resolved after respiratory
  repeated administrations) are higher than            intervention [10], and in two controlled trials,
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 300 of 385 PageID #: 33785

                                                                                                             Neurol Ther



     Table 1 Introducing LXB to patients
     Topic                 Statement number   Recommendation                                            Agreement
                                                                                                        ratinga (initial,
                                                                                                        ﬁnal)
     Introducing LXB to    1                  Prior to initiating LXB, discuss rationale for its use in N/Ab, 4.0
       patients                                 narcolepsy and idiopathic hypersomnia and
                                                implications of its PK/PD proﬁle. Explain that LXB
                                                contains oxybate, which is identical to an endogenous
                                                molecule made in the human brain, GHB. Oxybate
                                                has an inhibitory effect on alerting pathways in the
                                                brain, which enables it to improve the quality of sleep.
                                                In addition, oxybate is rapidly absorbed and
                                                metabolized, which is why LXB is taken in bed and
                                                typically in two doses (the recommended regimen for
                                                patients with narcolepsy, and a regimen option for
                                                patients with idiopathic hypersomnia), separated by
                                                2.5–4 h. Due to its mechanism of action, patients with
                                                narcolepsy can expect improvement in both EDS and
                                                cataplexy; patients with idiopathic hypersomnia can
                                                expect improvement in their EDS and overall
                                                symptom burden
     Helping patients      2                  (a) When introducing LXB to patients, emphasize        2.8, 4.0
      understand the                            prescribing parameters that ensure its safe use,
      safety of LXB                             including the REMS program and guidance to avoid
                                                use with alcohol or other CNS depressants. Mention
                                                data demonstrating safety and FDA approval of
                                                therapeutic oxybate in children and adults when used
                                                as prescribed
                                              (b) Consider explaining key differences between LXB
                                                and illicit GHB, including comparative doses utilized
                                                and common recreational use of GHB in combination
                                                with other substances
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 301 of 385 PageID #: 33786

  Neurol Ther



  Table 1 continued
  Topic                  Statement number        Recommendation                                            Agreement
                                                                                                           ratinga (initial,
                                                                                                           ﬁnal)

  Presenting             3a: CNS depression,     (i) CNS depression: explain the potential for CNS       i. 3.6, 4.0
    information            respiratory              depression with LXB and emphasize the importance
    regarding label        depression               of taking the medicine only when in bed and never in
    warnings                                        combination with alcohol or other CNS depressants.
                                                    Discuss the REMS program and ongoing monitoring
                                                 (ii) Respiratory depression: explain that respiratory    ii. 3.2, 4.0
                                                    depression and sleep-disordered breathing can occur.
                                                    Inform the patient that starting dose is low and that
                                                    therapeutic response and adverse effects will be
                                                    monitored. Patients with sleep-disordered breathing
                                                    should be counseled and monitored when appropriate
                         3b: abuse/misuse        Explain the potential for abuse, misuse, and diversion of 3.4, 4.0
                                                   the medication. Discuss the REMS program, role of
                                                   central pharmacy, and ongoing monitoring
                         3c: depression,         Explain that depression, anxiety, or suicidality could  3.2, 3.8
                           suicidality, or         emerge or intensify during treatment, and that these
                           psychiatric effects     symptoms will be carefully assessed and monitored.
                                                   Patients should be advised to report any worsening of
                                                   these symptoms
                         3d: parasomnias         If the patient has a history of parasomnias, counsel that 3.2, 4.0
                                                    events can worsen or reemerge. Rarely, events may
                                                    emerge in patients without a prior history of
                                                    parasomnias. Educate patients in maintaining a safe
                                                    sleep environment. Patients should report any
                                                    abnormal behavior during sleep
  CNS central nervous system, EDS excessive daytime sleepiness, FDA US Food and Drug Administration, GHB gamma-
  hydroxybutyrate, LXB low-sodium oxybate, PD pharmacodynamics, PK pharmacokinetic, REMS Risk Evaluation and
  Mitigation Strategy
  a
   On a scale of 0–4
  b
    This statement was derived from comments and suggestions made by the panel during meeting #2. It was reviewed during a
  follow-up panel meeting and achieved a consensus agreement rating of 4.0


  none of 40 patients with a baseline apnea–hy-                 pharmacotherapy (including SXB) in partici-
  popnea index of 16–67 events per hour experi-                 pants with OSA found that central apneas
  enced clinically signiﬁcant worsening of their                increased in those taking SXB, with clinically
  sleep-disordered breathing [10]. In 50 patients               signiﬁcant oxygen desaturations observed in
  with obstructive sleep apnea (OSA), 3 patients                three participants [30]. Approaches to manag-
  (6%) had oxygen desaturation B 55% when                       ing obstructive versus central apneas vary
  taking 9 g of SXB [10]. A trial of                            somewhat. Management of OSA can involve
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 302 of 385 PageID #: 33787

                                                                                                 Neurol Ther



     behavioral measures (e.g., abstaining from          however, it must be noted that two participants
     alcohol, weight loss), positive airway pressure,    in the narcolepsy trial endorsed items on the
     mandibular repositioning devices, or surgery        Columbia-Suicide Severity Rating Scale (one
     [31]. Management of central sleep apnea             each before and after discontinuing study
     includes positive pressure therapy (e.g., contin-   medication) [19]. Four of 781 participants with
     uous positive airway pressure, adaptive servo-      narcolepsy (\ 1%) taking SXB in clinical trials
     ventilation, and noninvasive positive pressure      discontinued as a result of depression. Two
     ventilation), phrenic nerve stimulation, and        suicides and two suicide attempts occurred in
     low-ﬂow supplemental oxygen administration          adult patients taking SXB in clinical trials
     [32].                                               (N = 781) [10]. Some instances of depression
        Most dangers associated with oxybate prod-       and of depression with suicidal ideation have
     ucts, including LXB, are related to its combi-      been reported in individuals with narcolepsy
     nation with other substances. As mentioned in       who started taking SXB; these symptoms
     Sect. ‘‘Helping Patients Understand the Safety of   resolved upon either reducing the SXB dose or
     LXB’’, the REMS central pharmacy tracks vol-        stopping SXB completely [39, 40]. Psychotic
     umes of SXB and LXB dispensed and utilized,         symptoms (e.g., daytime hallucinations) have
     concomitant medications, illicit drug use, and      occurred in people with narcolepsy, which also
     medical problems [28]. Withdrawal symptoms          resolved upon reducing dose or stopping SXB
     associated with oxybate products can some-          [41–43]. One case of psychosis followed by sui-
     times occur when a drug is suddenly stopped         cidal ideation and a near-fatal suicide attempt
     after being taken for a period of time. Several     was reported in an adolescent with narcolepsy;
     patients in clinical trials have reported insom-    following cessation of SXB treatment, this
     nia after abruptly stopping LXB treatment           individual’s psychotic symptoms and suicidal
     (narcolepsy with cataplexy, n = 1; idiopathic       ideations did not recur [44].
     hypersomnia, n = 8), and one patient with               Parasomnias, such as sleep paralysis and
     idiopathic hypersomnia reported visual/audi-        sleepwalking, occur in the general population.
     tory hallucinations [10]. Although tolerance to     Sleep paralysis has a prevalence of 7.5–35% [1],
     oxybate medications has not been systemati-         and a systematic review indicated that approx-
     cally studied, in long-term clinical studies of     imately 20% of individuals have experienced at
     SXB in patients with narcolepsy, or LXB in          least one episode of sleep paralysis [45]. A life-
     patients with idiopathic hypersomnia, clinical      time prevalence of 6.9% has been reported for
     efﬁcacy was maintained without requiring sub-       sleepwalking from a systematic review of studies
     sequent dose increases [33, 34].                    including more than 100,000 individuals [46].
        Before and during LXB treatment, it is criti-    In clinical trials for LXB, 6% of patients with
     cal to assess for depression, anxiety, and suici-   narcolepsy and 5% of patients with idiopathic
     dality. Depression and depressive symptoms are      hypersomnia reported parasomnias such as
     more prevalent in people with narcolepsy or         sleepwalking (although the presence of clini-
     idiopathic hypersomnia than in the general          cally signiﬁcant parasomnias was an exclusion
     population [35–38]. Presence or development of      criterion for participating in these trials) [10].
     these symptoms may warrant co-management                General guidance for managing parasomnias
     with psychiatry or psychology for added safety.     includes avoiding sleep deprivation, maintain-
     In clinical trials for LXB, although current or     ing a regular sleep–wake schedule, and limiting
     past major depression was a trial exclusion cri-    or eliminating the use of alcohol and recre-
     terion, depression and depressed mood were          ational drugs [47]. For sleep paralysis, sleeping
     reported by 3% and 4% of participants with          in a lateral or prone (abdominal) position, as
     narcolepsy, and 1% and 3% of participants with      opposed to supine (on the back), may reduce
     idiopathic hypersomnia, respectively [10].          episodes [48]. For patients who sleep with a
     There were no reports of suicide or suicidal        partner, their partner may be able to rouse them
     ideation by participants taking LXB in the          from sleep paralysis, which may be indicated if
     idiopathic hypersomnia clinical trial [20];         the patient is heard uttering low vocalizations
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 303 of 385 PageID #: 33788

  Neurol Ther



  in their sleep during the morning [48]. For           increment [ 1.5 g per night per week). Only
  sleepwalking, it is important to maintain a safe      one participant took LXB thrice nightly in a
  sleep environment using the following guid-           clinical trial setting, but this is also an option
  ance: sleep on the lowest ﬂoor in the house; use      for patients with idiopathic hypersomnia [49].
  a mattress on the ﬂoor; sleep alone or consider a     For patients with idiopathic hypersomnia who
  larger (king-size) bed for co-sleeping; minimize      take a single dose and spontaneously wake 2.5
  or pad any furniture near the bed and ensure          to 4 h after dosing, a second dose may be
  the ﬂoor is free from objects or debris that could    considered.
  lead to tripping or injury; place any lights above
  the bed and out of reach; use plastic cups or         Setting Expectations for Therapy
  bottles if bedside water is necessary; consider       In the phase 3 clinical trials, the median (range)
  using childproof door knobs, door wedges, or          time to reach stable dose in participants ana-
  alarms; and remove or lock any weapons or             lyzed for efﬁcacy was 29.0 (1, 84) days in par-
  dangerous household items [47].                       ticipants with narcolepsy and 48.5 (1, 97) days
     It should be noted that label warnings for         in participants with idiopathic hypersomnia
  LXB are typically related to class effects of oxy-    [19, 49]; a substantial proportion (55/134 in the
  bate treatment. In particular, warnings regard-       efﬁcacy population) of participants in the nar-
  ing abuse and misuse; CNS and respiratory             colepsy trial transitioned from SXB, which may
  depression; depression, anxiety, and suicidality;     have contributed to shorter titration times.
  and parasomnias are present in the prescribing        Some patients may not need to be titrated above
  information for all three approved oxybate            the minimum approved doses of 4.5 g/night
  medications [9, 10, 23].                              (divided into two doses) and 3 g/night (once
                                                        nightly, idiopathic hypersomnia only) [10]. In
  Initiating LXB for Adult Narcolepsy                   participants with idiopathic hypersomnia, the
  and Idiopathic Hypersomnia                            greatest improvements in Epworth Sleepiness
                                                        Scale (ESS) and Idiopathic Hypersomnia Severity
  Recommendations comprising statements 4 and           Scale (IHSS) scores occurred during the ﬁrst
  5a–c are shown in Table 2.                            4 weeks of LXB treatment [49]. Although time
                                                        to therapeutic effect for LXB in patients with
  Developing an Initial Schedule for Timing             narcolepsy has not been formally assessed,
  of Doses                                              analysis of two trials of SXB in participants with
  In all cases, LXB should be taken C 2 h after         narcolepsy found a median (95% CI) time to
  eating, with the ﬁrst dose taken at bedtime,          therapeutic effect of 37 (31–50) days for EDS
  while the patient is in bed. However, a variety of    and 25 (17–29) days for cataplexy [50]. Median
  dosing titration options and regimen adjust-          (95% CI) time to maximum effect was 106
  ments may be considered to tailor the treat-          (85–164) and 213 (94–279) days for EDS and
  ment. For patients with narcolepsy, LXB should        cataplexy, respectively.
  be taken twice nightly in equal or unequal                For patients with idiopathic hypersomnia, in
  doses, with the second dose scheduled (using an       addition to the overall IHSS score, analysis of
  alarm) for 2.5 to 4 h after the ﬁrst dose and         the three IHSS component scores (i.e., compo-
  taken while the patient is still in bed. Patients     nent 1: items 5, 9, 10, 11, 12, 13, 14; compo-
  can set the alarm for 4 h after the ﬁrst dose, but,   nent 2: items 1, 2, 3, 4, 8; and component 3:
  if they wake spontaneously after at least 2.5 h,      items 6 and 7) can provide more granular
  the second dose can be taken then. Approaches         information on changes in daytime function-
  for adding the second dose in these patients          ing, long sleep duration and sleep inertia, and
  include splitting the single dose into two equal      napping, respectively, with LXB treatment [51].
  or unequal doses followed by titration as             LXB improved all three IHSS components simi-
  appropriate (per the label guidance, the total        larly in patients with idiopathic hypersomnia
  dose should not be increased in an                    [34].
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 304 of 385 PageID #: 33789

                                                                                                                                     Neurol Ther



     Table 2 Initiating LXB for adult narcolepsy and idiopathic hypersomnia
     Topic                      Statement         Recommendation                                                                  Agreement
                                number                                                                                            ratinga (initial,
                                                                                                                                  ﬁnal)

     Developing an initial      4                 (a) In developing a schedule for LXB administration, ensure that total sleep 3.0, 4.0
       schedule for timing of                        opportunity is at least 7.5–8 h and that sleep and wake times are regular.
       doses                                         For twice-nightly dosing, initiate LXB at 4.5 g divided into two equal
                                                     doses. Both doses should be taken in bed, with the ﬁrst dose administered
                                                     at bedtime. Set an alarm to awaken for second administration 4 h later. If
                                                     the patient wakes spontaneously at least 2.5 h after the ﬁrst dose, the
                                                     second dose can be administered. Advise food avoidance for at least 2 h
                                                     before each dose
                                                  (b) Once-nightly consideration in idiopathic hypersomnia: if patient prefers
                                                    or is unlikely to wake for second dose, consider once-nightly dosing
                                                    (starting at B 3 g at bedtime) and titrate to a maximum dose of 6 g
                                                    according to label instructions. If the patient wakes spontaneously 2.5–4 h
                                                    after ﬁrst dose, consider addition of a second dose
     Setting expectations for   5a: therapeutic   Inform that the dose and timing may need to be adjusted over weeks or         3.2, 4.0
       therapy                    effect            months to achieve the optimal therapeutic effect. Time to initial
                                                    therapeutic effect may be up to 6 weeks; time to optimal therapeutic effect
                                                    may be up to 12 weeks
                                5b: signals of    (i) Narcolepsy: establish baseline ESS and/or cataplexy frequency and impact 3.6, 4.0
                                  effectiveness      of symptoms on daily function and overall quality of life. Monitor for
                                                     reduced severity and frequency of symptoms and improvement in daily
                                                     functioning (e.g., reduced frequency of naps, cataplexy-free days, improved
                                                     school/job performance, increased alertness, improved driving
                                                     performance, increased overall patient satisfaction)
                                                  (ii) Idiopathic hypersomnia: establish baseline daytime and nighttime
                                                    symptoms. Obtain baseline ESS and determine impact of symptoms on
                                                    daily function and overall quality of life. Consider obtaining baseline and
                                                    subsequent IHSS scores. Monitor for severity and frequency of symptoms
                                                    and improvement in daily functioning (e.g., improved sleep inertia,
                                                    improved nocturnal sleep duration, reduced frequency of naps, improved
                                                    school/job performance, increased alertness, improved driving
                                                    performance, improved brain fog, increased overall patient satisfaction)
                                5c: follow-up     (i) Follow-up (in-person or virtual) should occur at least every 4–6 weeks      3.2, 4.0
                                  and                after initiation of LXB and throughout the titration period. Subsequent
                                  monitoring         visits should occur at least every 3 months until the patient is stable on
                                                     therapy. After 1 year, routine visits depend on patient stability but should
                                                     be at least every 6 months
                                                  (ii) Monitoring includes adherence and response to therapy, timing and
                                                    adjustment of doses, sleep effects, adverse events, review of concomitant
                                                    medications, adherence to behavioral therapies, and changes of medical and
                                                    psychiatric status/conditions

     ESS Epworth Sleepiness Scale, IHSS Idiopathic Hypersomnia Severity Scale, LXB low-sodium oxybate
     a
       On a scale of 0–4
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 305 of 385 PageID #: 33790

  Neurol Ther



      In relation to recommendation statement 5,      thoroughly studied [53]. Nevertheless, CBT
  monitoring for ‘‘sleep effects’’ refers to phar-    strategies such as sleep hygiene and delaying of
  macodynamic effect of treatment including           bedtime may be helpful to patients with nar-
  time to sleep onset, response of rapid eye          colepsy or idiopathic hypersomnia who have
  movement (REM) dissociative symptoms (e.g.,         difﬁculty falling or remaining asleep.
  dream enactment, vocalizations, and motor               For individuals with idiopathic hypersomnia
  behaviors during sleep), and duration of dose.      who have difﬁculty waking for a second dose,
  Adherence to behavioral therapies includes          one approach may be to titrate to 6 g once
  adherence to a regular sleep schedule and other     nightly until the patient is able to awaken to an
  lifestyle approaches for symptom management.        alarm, at which time the dose may be split
  Electronic medical record messaging can be          (equally or unequally) to achieve longer sleep
  used as needed to augment follow-ups.               duration. An additional approach may be to
                                                      titrate to \ 4.5 g once nightly until the patient
  Addressing Challenges in Using LXB                  is able to awaken to an alarm, at which time a
  for Adult Narcolepsy and Idiopathic                 second (unequal) dose may be added within the
  Hypersomnia                                         parameters of label guidance (titration incre-
                                                      ment should not exceed 1.5 g per night per
  Recommendations comprising statements 6a–f          week, to a maximum dose of 9 g per night).
  and 7a–n are shown in Table 3. Any recom-               Difﬁculty awakening in the morning could
  mendation to change (e.g., increase or decrease)    be related to the condition (i.e., sleep inertia) or
  one dose implies that the alternate dose remains    treatment (i.e., lingering sedation). Sleep inertia
  the same. Clinicians should note that the trou-     would most likely be present before treatment
  bleshooting strategies listed in statements 6 and   was initiated, while lingering sedation would
  7 are options, not stepwise guidance. Any           begin after initiation of LXB. These scenarios
  adverse event that does not subside after 5 to      should be addressed differently: difﬁculty
  7 days warrants action. For all adverse events,     awakening from suboptimal treatment (i.e.,
  clinicians should consider scenarios that qualify   incomplete titration to efﬁcacy) should be
  for discontinuation of LXB and strategies for       addressed with uptitration, whereas difﬁculty
  rechallenging.                                      awakening from lingering sedation from treat-
                                                      ment (i.e., a side effect due to the second dose
                                                      being too high or too late in the night) should
  Sleep Initiation and Maintenance
                                                      be addressed with decreased dosing or earlier
  Cognitive behavioral therapy for insomnia
                                                      administration of the second dose. In particular,
  (CBT-I) typically consists of weekly meetings
                                                      unequal dosing (when the second dose is lower
  between the client and the therapist for
                                                      than the ﬁrst) may help to address lingering
  approximately 6 to 8 weeks [52]. Two major foci
                                                      sedation from treatment.
  of CBT-I are stimulus control therapy (limiting
  the amount of time spent awake in bed) and
  sleep restriction therapy (limiting the amount      Adverse Events in Narcolepsy and Idiopathic
  of time in bed to a duration during which the       Hypersomnia
  patient is most likely to sleep). These therapies   Nausea, headache, and dizziness are among the
  can increase the drive for sleep. Additionally,     most common side effects observed with LXB
  CBT-I aims to reduce the anxiety and worry          treatment [10]. A study of the duration of
  associated with not being able to fall asleep and   treatment-emergent adverse events (TEAEs)
  often employs relaxation techniques. More           during the phase 3 clinical trial in participants
  recently, strategies for CBT for hypersomnia        with narcolepsy found most TEAEs occurred
  (CBT-H) have begun to be developed (e.g., using     early and decreased in incidence over the course
  sleep–wake diaries to help structure daytime        of the study [54]. In the case of headache, any
  and nighttime activities, anxiety management),      other medical condition that may be causing
  but these have not yet been validated or            headaches (e.g., morning headache due to
                                                      development of OSA [55]) must ﬁrst be ruled
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 306 of 385 PageID #: 33791

                                                                                                                               Neurol Ther



     Table 3 Addressing challenges in using LXB for adult narcolepsy and idiopathic hypersomnia
     Topic                            Statement number               Recommendation                                     Agreement ratinga
                                                                                                                        (initial, ﬁnal)
     Addressing challenges in sleep   6a: difﬁculty falling asleep   Evaluate medical, psychiatric, social, behavioral, 3.8, 4.0
       initiation and maintenance       after ﬁrst dose                and environmental factors
                                                                     Evaluate role of food intake
                                                                     Evaluate and align timing of natural sleep/wake
                                                                      schedule with LXB administration
                                                                     Increase ﬁrst dose
                                                                     Consider CBT-I/H
                                      6b: difﬁculty falling asleep   Evaluate medical, psychiatric, social, behavioral, 3.6, 4.0
                                        after second dose              and environmental factors
                                                                     Evaluate role of food intake
                                                                     Evaluate and align timing of natural sleep/wake
                                                                      schedule with LXB administration
                                                                     Increase second dose or decrease duration
                                                                       between doses
                                                                     Consider CBT-I/H
                                      6c: inability to sleep long    Evaluate medical, psychiatric, social, behavioral, 3.6, 4.0
                                        enough after ﬁrst dose         and environmental factors
                                                                     Evaluate role of food intake
                                                                     Evaluate and align timing of natural sleep/wake
                                                                      schedule with LXB administration
                                                                     Increase ﬁrst dose
                                                                     Allow for initial sleep period prior to
                                                                      administration of ﬁrst dose
                                                                     Consider CBT-I/H
                                      6d: inability to sleep long    Evaluate medical, psychiatric, social, behavioral, 3.6, 4.0
                                        enough after second dose       and environmental factors
                                                                     Evaluate role of food intake
                                                                     Evaluate and align timing of natural sleep/wake
                                                                      schedule with LXB administration
                                                                     Delay second dose if patient is not waking
                                                                      spontaneously within 4 h of ﬁrst dose
                                                                     Increase second dose
                                                                     Increase ﬁrst dose and delay second dose
                                                                     Consider CBT-I/H
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 307 of 385 PageID #: 33792

  Neurol Ther



   Table 3 continued
   Topic                          Statement number   Recommendation                                                Agreement ratinga
                                                                                                                   (initial, ﬁnal)

                                  6e: difﬁculty      Ensure full 4 h between doses                                 3.4, 4.0
                                    awakening for    Evaluate and align timing of natural
                                    second dose       sleep/wake schedule with LXB
                                                      administration
                                                     Decrease ﬁrst dose
                                                     For idiopathic hypersomnia: switch to once nightly and
                                                      titrate to maximum of 6 g. If patient awakens earlier than
                                                      desired or becomes able to awaken by alarm, restart twice-
                                                      nightly dosing
                                  6f: difﬁculty      If condition-related:                                         3.8, 4.0
                                     awakening at    Evaluate and align timing of natural sleep/wake schedule
                                     morning wake     with LXB administration
                                     time
                                                     Titrate to maximum dose
                                                     Administer second dose earlier
                                                     If treatment-related:
                                                     Evaluate and align timing of natural sleep/wake schedule
                                                      with LXB administration
                                                     Decrease second dose
                                                     Administer second dose earlier
   Addressing adverse events in   7a: headache       Evaluate/treat for headache disorder or other medical         3.8, 4.0
     narcolepsy and idiopathic                         conditions
     hypersomnia                                     Optimize headache hygiene (e.g., caffeine, hydration,
                                                      skipped meals)
                                                     Give time for resolution if mild or moderate in severity
                                                     Titrate more slowly
                                                     Evaluate other medications
                                                     Decrease total dose
                                                     Decrease second dose
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 308 of 385 PageID #: 33793

                                                                                                                          Neurol Ther



     Table 3 continued
     Topic     Statement number             Recommendation                                                     Agreement ratinga
                                                                                                               (initial, ﬁnal)

               7b: nausea at bedtime        Advise staying in bed after dose                                   3.4, 4.0
                                            Give time for resolution
                                            Titrate more slowly
                                            Evaluate other medications
                                            Consume noncaffeinated beverage or crackers
                                            Decrease ﬁrst dose
                                            Increase ﬁrst dose (if prolonged sleep onset, i.e., C 20–30 min)
                                            If refractory, consider nonsedating antiemetic medication
               7c: nausea at wake           Give time for resolution                                           3.8, 4.0
                                            Titrate more slowly
                                            Consume noncaffeinated beverage or crackers
                                            Decrease second dose
                                            Administer second dose earlier
                                            If refractory, consider nonsedating antiemetic medication
               7d: dizziness at bedtime     Counsel on safety and avoidance of rapid postural changes          3.4, 4.0
                                            Advise staying in bed after dose
                                            Review concomitant medications and time of administration
                                            Give time for resolution
                                            Increase ﬁrst dose (to shorten sleep onset time)
                                            Decrease ﬁrst dose (if falls asleep quickly)
               7e: dizziness during night   Advise staying in bed                                              3.4, 4.0
                                            Counsel on safety and avoidance of rapid postural changes
                                            Review concomitant medications and time of administration
                                            Give time for resolution
                                            Reduce duration between doses
                                            Increase second dose (if prolonged return to sleep)
                                            Increase ﬁrst dose (if waking earlier than desired)
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 309 of 385 PageID #: 33794

  Neurol Ther



  Table 3 continued
  Topic Statement number           Recommendation                                                           Agreement ratinga
                                                                                                            (initial, ﬁnal)

         7f: dizziness upon        Advise staying in bed until dizziness subsides                           3.8, 4.0
            awakening              Counsel on safety and avoidance of rapid postural changes
                                   Review concomitant medications and time of administration
                                   Give time for resolution
                                   Increase duration between second dose and waking
                                   Decrease second dose
         7g: decreased appetite/   Give time for resolution                                                 3.8, 4.0
           weight loss             Monitor weight loss progression/signiﬁcance
                                   Evaluate other appetite-suppressing medications
                                   Increase caloric intake
                                   Consider nutritionist referral
                                   Decrease total dose
         7h: parasomnias           Counsel on safety                                                        3.4, 4.0
                                   Review concomitant medications and time of administration
                                   Titrate more slowly (if prior history of non-REM parasomnias)
                                   Evaluate and align timing of natural sleep/wake schedule with LXB
                                    administration
                                   Ensure adequate time for sleep (non-REM parasomnias)
                                   Decrease ﬁrst dose (non-REM parasomnias)
                                   Increase total dose (REM parasomnias)
                                   For idiopathic hypersomnia: consider change from once to twice nightly
                                    (non-REM parasomnias)
         7i: diarrhea              Evaluate for underlying medical condition                                3.8, 4.0
                                   Evaluate dietary factors
                                   Titrate more slowly
                                   Decrease total dose
                                   Give time for resolution
                                   Consider antidiarrheal medication
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 310 of 385 PageID #: 33795

                                                                                                                            Neurol Ther



     Table 3 continued
     Topic   Statement number    Recommendation                                                                  Agreement ratinga
                                                                                                                 (initial, ﬁnal)

             7j: hyperhidrosis   Evaluate for underlying medical condition                                       3.8, 4.0
                                 Give time for resolution
                                 Optimize ambient temperature for sleep
                                 Decrease total dose
                                 Consider symptom medications
             7k: anxiety         Evaluate psychological issues                                                   3.4, 4.0
                                 Give time for resolution
                                 Titrate more slowly
                                 Decrease total dose
                                 Consider nonsedating anxiolytic medication
                                 Consider referral to psychologist/psychiatrist
             7l: depression      For suicidality, discontinue and refer immediately for psychiatric evaluation   3.2, 4.0
                                 Evaluate psychological issues
                                 Titrate more slowly
                                 Decrease total dose
                                 Consider antidepressant medication
                                 Consider referral to psychologist/psychiatrist
             7m: vomiting        Evaluate for underlying medical condition                                       3.8, 4.0
                                 Consume noncaffeinated beverage or crackers
                                 Titrate more slowly
                                 Give time for resolution
                                 Decrease total dose
                                 Consider nonsedating antiemetic medication
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 311 of 385 PageID #: 33796

  Neurol Ther



  Table 3 continued
  Topic             Statement number               Recommendation                                              Agreement ratinga
                                                                                                               (initial, ﬁnal)

                    7n: enuresis                   Urinate before bedtime and second dose                      3.8, 4.0
                                                   Restrict ﬂuids before bedtime
                                                   Give time for resolution
                                                   Titrate more slowly
                                                   Decrease total dose based on timing of enuresis
                                                   For idiopathic hypersomnia: consider switching to
                                                   twice nightly

  CBT-H cognitive behavioral therapy for hypersomnia, CBT-I cognitive behavioral therapy for insomnia, LXB low-sodium oxybate, REM
  rapid eye movement
  a
    On a scale of 0–4

  out before pursuing other strategies. Urgency of
                                                                     The approach taken differs on the basis of
  action is also dependent upon the level of
                                                                     whether the patient is experiencing REM (in-
  severity; for mild and moderate headaches,
                                                                     crease dose) or non-REM (decrease dose) para-
  granting time for resolution is more reasonable.
                                                                     somnias. This relates to oxybate’s effect on sleep
  If nausea occurs at bedtime, ensure that the
                                                                     architecture, where SXB has been found to
  patient is only using water (and not another
                                                                     decrease      awakenings,      dose-dependently
  type of beverage) as the diluent for LXB, and
                                                                     increase slow-wave sleep, and dose-dependently
  that the patient is not drinking anything else at
                                                                     decrease REM sleep (following a brief increase in
  the time of administration. For patients who
                                                                     REM sleep during treatment initiation) [63].
  have moderate or severe vomiting, a nonsedat-
                                                                     Further, effects on REM efﬁciency appear to be
  ing antiemetic may be considered immediately.
                                                                     dependent on time of day, with an early study
  If the patient experiences dizziness after the ﬁrst
                                                                     showing REM efﬁciency is increased following
  dose and has difﬁculty falling asleep right away,
                                                                     administration of GHB (single 2.25 g dose) prior
  consider increasing the ﬁrst dose to shorten the
                                                                     to a nocturnal sleep episode but not a morning
  time to sleep onset. While increasing the dose
                                                                     nap [64].
  may seem counterintuitive, helping the patient
                                                                        For patients whose anxiety or depression
  fall asleep faster may prevent dizziness from
                                                                     becomes severe to the point of interfering with
  occurring. If the patient experiences dizziness
                                                                     their daily life and relationships, clinical judg-
  but falls asleep quickly, consider lowering the
                                                                     ment should be used regarding discontinuing
  ﬁrst dose to reduce the adverse effect.
                                                                     oxybate treatment, including LXB, and further
      Oxybate treatment has been associated with
                                                                     psychiatric care should be sought.
  weight loss across multiple prior studies
  [56–59]. This may be desirable in cases where
  patients are overweight or obese and have other                    Transitioning from SXB to LXB
  cardiometabolic disorders, as are common in
  narcolepsy     and    idiopathic    hypersomnia                    The recommendations for statement 8 are shown
  [60–62]. However, where weight loss is unde-                       in Table 4.
  sired or patients become underweight, discon-
  tinuing oxybates, including LXB, should be                         Setting Expectations, Dose Adjustment,
  considered.                                                        and Follow-up
      The option to increase or decrease dose to                     There is limited information on the comparison
  address parasomnias may be counterintuitive.                       of adverse events while taking SXB and after
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 312 of 385 PageID #: 33797

                                                                                                                    Neurol Ther



     Table 4 Transitioning from SXB to LXB
     Topic                   Statement   Recommendation                                                          Agreement
                             number                                                                              ratinga
                                                                                                                 (initial, ﬁnal)
     Setting expectations,   8           When patients transition from SXB to LXB, they should expect            3.8, 4.0
       dose adjustment,                   a different taste but similar therapeutic response and side effects.
       and follow-up                      Adjustment to dose and timing of doses may be required in some
                                          cases
                                         Initial patient contact should occur within 2–4 weeks after
                                           starting medication; if dose adjustment is required, follow-up
                                           contact should occur within 6 weeks. Following stabilization,
                                           regular follow-up visits should occur at least every 6 months
     LXB low-sodium oxybate, SXB sodium oxybate
     a
     On a scale of 0–4


     switching to LXB. The Cmax of LXB is lower than               treatments, may beneﬁt from taking SXB over
     that for SXB [18], which might be expected to                 LXB [68].
     result in some change in the frequency or
     severity of adverse events. In a real-world study
     of patients with narcolepsy transitioning from                DISCUSSION
     SXB to LXB over 8 weeks, participants experi-
     enced similar efﬁcacy and safety with LXB as                  An expert panel of ﬁve practicing physicians
     they had with SXB; most reported the transition               with extensive expertise in treating patients
     process was easy and that they preferred LXB                  with narcolepsy and/or idiopathic hypersomnia
     [65]. Similarly, in a real-world study of partici-            developed the recommendation statements.
     pants with narcolepsy assessed for 21 weeks                   These panel members were well positioned to
     after switching from SXB to LXB, participants                 provide detailed guidance on issues pertaining
     experienced a maintenance of tolerability and                 to LXB dosing, transitioning, expectations,
     efﬁcacy and the majority preferred LXB to SXB                 safety, and adverse events, and high agreement
     at the end of the transition period [66, 67]. In              was obtained on all statements. As a result of
     particular, adverse events that may be related to             the current lack of literature on LXB dosing
     a high sodium load, like hyperhidrosis and                    optimization, these recommendations were
     enuresis, decreased over time after participants              derived using a modiﬁed Delphi process, with
     switched from SXB to LXB.                                     many of them being based on the extensive
        Long-term data on the risk of cardiovascular               clinical experience of the panel members, rather
     diseases in patients taking LXB versus those                  than research studies.
     taking SXB are not yet available. LXB may be
     associated with the development of fewer car-
     diovascular-related comorbidities (e.g., hyper-
                                                                   CONCLUSION
     tension) due to the 92% reduction in sodium
                                                                   This paper provides expert guidance on the
     compared with SXB (which contains 1640 mg at
                                                                   optimization of LXB treatment for patients with
     the highest dose of 9 g). Patients with comorbid
                                                                   narcolepsy or idiopathic hypersomnia. Health-
     postural orthostatic tachycardia syndrome, for
                                                                   care professionals may use this resource to guide
     whom higher sodium intake (10–12 g of sodium
                                                                   dosing decisions with their patients and to
     daily) is recommended, in addition to other
                                                                   answer their patients’ questions about the
                                                                   treatment.
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 313 of 385 PageID #: 33798

  Neurol Ther



  ACKNOWLEDGEMENTS                                     Declarations

                                                          Conﬂict of Interest. Anne Marie Morse has
        Medical Writing and Editorial Assis-           received research/grant support and consul-
  tance. The authors thank Phyllis C. Zee, MD,         tancy fees from Jazz Pharmaceuticals, Harmony
  PhD for her participation in and contributions       Biosciences, Avadel Pharmaceuticals, Takeda
  to the consensus panel. The authors thank Ste-       Pharmaceuticals, Eisai, Alkermes, National
  phen D. Lande, PhD and Emily Barker, PhD             Institutes of Health, and Geisinger Health Plan.
  (employees of Interactive Forums, Inc.) for their    She is the CEO and founder of DAMM Good
  contributions to this manuscript. Under the          Sleep, LLC. Richard K. Bogan is a shareholder of
  direction of the authors, Emily Bruggeman, PhD       WaterMark Medical and Healthy Humming
  and Sean Anderson, PhD (employees of Peloton         LLC. He serves on the board of directors for
  Advantage, LLC, an OPEN Health company)              WaterMark Medical. He has served as a consul-
  provided medical writing and editorial support.      tant to Jazz Pharmaceuticals, Harmony Bio-
  Jazz Pharmaceuticals provided funding to Pelo-       sciences, Takeda, Avadel, and Oventus. He has
  ton Advantage for medical writing and editorial      participated in industry-funded research for
  support, and funded the journal’s Rapid Service      Avadel, BresoTec, Idorsia, Suven, Jazz Pharma-
  Fee.                                                 ceuticals, Balance, Vanda, Merck, Eisai, Phillips,
                                                       Fresca, Takeda, Liva Nova, Roche, Sommetrics,
        Authorship. All authors have made sub-         NLS, Sanoﬁ, and Apinemed. He has taken part
  stantial contributions to the conception or          in speakers bureaus for Jazz Pharmaceuticals,
  design of the work, or the acquisition, analysis,    Eisai, Harmony, and Idorsia. Asim Roy has
  or interpretation of data, or the creation of new    received consultancy fees from Takeda, Avadel,
  software used in the work; have drafted the          and Inspire. He has participated in industry-
  work or revised it critically for important intel-   sponsored research for Jazz Pharmaceuticals,
  lectual content; have approved the version to be     Harmony, NLS, Eisai, Fisher Paykel, Inspire,
  published; and have agreed to be account-            Nyxoah, Signiﬁer. Michael J. Thorpy has
  able for all aspects of the work in ensuring that    received fees for serving as a consultant or on
  questions related to the accuracy or integrity of    advisory boards for Axsome, Balance Thera-
  any part of the work are appropriately investi-      peutics, Flamel/Avadel, Harmony Biosciences,
  gated and resolved.                                  LLC, Jazz Pharmaceuticals, Suven Life Sciences
                                                       Ltd., Takeda Pharmaceutical Co., Ltd, NLS
     Author Contributions. Anne Marie Morse            Pharmaceuticals, XW Pharma, Idorsia Pharma-
  designed the study. Anne Marie Morse, Richard        ceuticals, and Eisai Pharmaceuticals.
  K. Bogan, Asim Roy, and Michael J. Thorpy
  contributed to data interpretation and to                Ethical Approval. This article is based on a
  preparation, review, revision, and ﬁnal approval     modiﬁed Delphi approach in which all partici-
  of the manuscript.                                   pants originally consented to participate and
                                                       author the present manuscript. As acknowl-
    Funding. The study and the journal’s               edged, Phyllis C. Zee, MD, PhD contributed to
  Rapid Service Fee were sponsored by Jazz             the consensus panel meetings and participated
  Pharmaceuticals.                                     in the initial drafts of the manuscript. As a result
                                                       of institutional regulations at a new position,
     Data Availability. Data sharing is not            she terminated her participation as an author
  applicable to this article, as no datasets were      prior to submission, but provided consent for
  generated or analyzed during the current study.      publication and acknowledgement of her con-
                                                       tributions. At the time of her participation, she
                                                       had served on scientiﬁc advisory boards for Jazz
                                                       Pharmaceuticals plc, Eisai, and Harmony
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 314 of 385 PageID #: 33799

                                                                                                              Neurol Ther



     Biosciences; was a consultant for CVS Caremark;            7.   Bassetti CLA, Kallweit U, Vignatelli L, et al. Euro-
     and owned stock in Teva.                                        pean guideline and expert statements on the man-
                                                                     agement of narcolepsy in adults and children.
                                                                     J Sleep Res. 2021;20:e13387.
        Open Access. This article is licensed under
     a    Creative     Commons      Attribution-Non-            8.   Xyrem [summary of product characteristics]. Brus-
     Commercial 4.0 International License, which                     sels: UCB Pharma; 2022.
     permits any non-commercial use, sharing,
                                                                9.   XyremÒ (sodium oxybate) oral solution, CIII [pre-
     adaptation, distribution and reproduction in                    scribing information]. Palo Alto: Jazz Pharmaceuti-
     any medium or format, as long as you give                       cals, Inc.; 2023.
     appropriate credit to the original author(s) and
     the source, provide a link to the Creative                 10. XywavÒ (calcium, magnesium, potassium, and
                                                                    sodium oxybates) oral solution, CIII [prescribing
     Commons licence, and indicate if changes were                  information]. Palo Alto: Jazz Pharmaceuticals, Inc.;
     made. The images or other third party material                 2023.
     in this article are included in the article’s
     Creative Commons licence, unless indicated                 11. Dauvilliers Y, Bogan RK, Sonka K, Partinen M,
                                                                    Foldvary-Schaefer N, Thorpy MJ. Calcium, magne-
     otherwise in a credit line to the material. If                 sium, potassium, and sodium oxybates oral solu-
     material is not included in the article’s Creative             tion: a lower-sodium alternative for cataplexy or
     Commons licence and your intended use is not                   excessive daytime sleepiness associated with nar-
     permitted by statutory regulation or exceeds the               colepsy. Nat Sci Sleep. 2022;14:531–43.
     permitted use, you will need to obtain permis-             12. Szarfman A, Kuchenberg T, Soreth J, Lajmanovich S.
     sion directly from the copyright holder. To view               Declaring the sodium content of drug products.
     a copy of this licence, visit http://                          N Engl J Med. 1995;333(19):1291.
     creativecommons.org/licenses/by-nc/4.0/.
                                                                13. US Food and Drug Administration. Quantitative
                                                                    labeling of sodium, potassium, and phosphorus for
                                                                    human over-the-counter and prescription drug
     REFERENCES                                                     products. Guidance for industry. US Food and Drug
                                                                    Administration; 2022.
     1.   American Academy of Sleep Medicine. Interna-          14. US Food and Drug Administration. Clinical review
          tional classiﬁcation of sleep disorders—third edi-        for Binosto, NDA 202344. US Food and Drug
          tion, text revision. Darien: American Academy of          Administration; 2012.
          Sleep Medicine; 2023.
                                                                15. Junnarkar G, Allphin C, Profant J, et al. Develop-
     2.   Scammell TE. Narcolepsy.       N   Engl   J   Med.        ment of a lower-sodium oxybate formulation for
          2015;373(27):2654–62.                                     the treatment of patients with narcolepsy and
                                                                    idiopathic hypersomnia. Expert Opin Drug Discov.
     3.   Trotti LM, Ong JC, Plante DT, Friederich Murray C,        2022;17(2):109–19.
          King R, Bliwise DL. Disease symptomatology and
          response to treatment in people with idiopathic       16. Thorpy MJ, Bogan RK. Update on the pharmaco-
          hypersomnia: initial data from the Hypersomnia            logic management of narcolepsy: mechanisms of
          Foundation Registry. Sleep Med. 2020;75:343–9.            action and clinical implications. Sleep Med.
                                                                    2020;68:97–109.
     4.   Vernet C, Arnulf I. Idiopathic hypersomnia with
          and without long sleep time: a controlled series of   17. Felmlee MA, Morse BL, Morris ME. c-Hydroxybu-
          75 patients. Sleep. 2009;32(6):753–9.                     tyric acid: pharmacokinetics, pharmacodynamics,
                                                                    and toxicology. AAPS J. 2021;23(1):22.
     5.   Maski K, Trotti LM, Kotagal S, et al. Treatment of
          central disorders of hypersomnolence: an American     18. Chen C, Jenkins J, Zomorodi K, Skowronski R.
          Academy of Sleep Medicine clinical practice guide-        Pharmacokinetics, bioavailability, and bioequiva-
          line. J Clin Sleep Med. 2021;17(9):1881–93.               lence of lower-sodium oxybate in healthy partici-
                                                                    pants in 2 open-label, randomized, crossover
     6.   Lopez R, Arnulf I, Drouot X, Lecendreux M,                studies. Clin Transl Sci. 2021;14(6):2278–87.
          Dauvilliers Y. French consensus. Management of
          patients with hypersomnia: which strategy? Rev        19. Bogan RK, Thorpy MJ, Dauvilliers Y, et al. Efﬁcacy
          Neurol (Paris). 2017;173(1–2):8–18.                       and safety of calcium, magnesium, potassium, and
                                                                    sodium oxybates (lower-sodium oxybate [LXB]; JZP-
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 315 of 385 PageID #: 33800

  Neurol Ther



       258) in a placebo-controlled, double-blind, ran-           sleep apnea: acute effects on sleep-disordered
       domized withdrawal study in adults with nar-               breathing. Sleep Med. 2010;11(1):38–42.
       colepsy with cataplexy. Sleep. 2021;44(3):zsaa206.
                                                             31. Gottlieb DJ, Punjabi NM. Diagnosis and manage-
  20. Dauvilliers Y, Arnulf I, Foldvary-Schaefer N, et al.       ment of obstructive sleep apnea: a review. JAMA.
      Safety and efﬁcacy of lower-sodium oxybate in              2020;323(14):1389–400.
      adults with idiopathic hypersomnia: a phase 3,
      placebo-controlled,    double-blind,   randomised      32. Badr MS, Dingell JD, Javaheri S. Central sleep
      withdrawal study. Lancet Neurol. 2022;21(1):               apnea: a brief review. Curr Pulmonol Rep.
      53–65.                                                     2019;8(1):14–21.

  21. Horsnell M, Zhang E, Cook R, et al. Understanding      33. US Xyrem Multicenter Study Group. A 12-month,
      the patient experience with sodium oxybate ther-           open-label, multicenter extension trial of orally
      apy for narcolepsy [poster]. In: Advances in sleep         administered sodium oxybate for the treatment of
      and circadian science; February 17–20, 2023;               narcolepsy. Sleep. 2003;26(1):31–5.
      Clearwater Beach.
                                                             34. Morse AM, Dauvilliers Y, Arnulf I, et al. Long-term
  22. Bogan R, Thorpy MJ, Winkelman JW, Dubow J,                 efﬁcacy and safety of low-sodium oxybate in an
      Gudeman J, Seiden D. Randomized, crossover,                open-label extension period of a placebo-con-
      open-label study of the relative bioavailability and       trolled, double-blind, randomized withdrawal study
      safety of FT218, a once-nightly sodium oxybate             in adults with idiopathic hypersomnia. J Clin Sleep
      formulation: phase 1 study in healthy volunteers.          Med. 2023;19(10):1811–22.
      Sleep Med. 2022;100:442–7.
                                                             35. Ohayon MM. Narcolepsy is complicated by high
  23. LumryzTM (sodium oxybate) for extended-release             medical and psychiatric comorbidities: a compar-
      oral solution, CIII [prescribing information].             ison with the general population. Sleep Med.
      Chesterﬁeld: Avadel CNS Pharmaceuticals; 2023.             2013;14(6):488–92.

  24. Roy A, Ito D, Morris S, Candler S, Profant J, Bae C.   36. Cohen A, Mandrekar J, St Louis EK, Silber MH,
      Individualized treatment patterns for patients with        Kotagal S. Comorbidities in a community sample of
      narcolepsy treated with oxybate: a clinical practice       narcolepsy. Sleep Med. 2018;43:14–8.
      perspective. Nat Sci Sleep. 2023;15:767–78.
                                                             37. Dauvilliers Y, Lopez R, Ohayon M, Bayard S.
  25. Broder MS, Gibbs SN, Yermilov I. An adaptation of          Hypersomnia and depressive symptoms: method-
      the RAND/UCLA modiﬁed Delphi panel method in               ological and clinical aspects. BMC Med. 2013;11:78.
      the time of COVID-19. J Healthc Leadersh. 2022;14:
      63–70.                                                 38. Vernet C, Leu-Semenescu S, Buzare MA, Arnulf I.
                                                                 Subjective symptoms in idiopathic hypersomnia:
  26. Carter LP, Pardi D, Gorsline J, Grifﬁths RR. Illicit       beyond excessive sleepiness. J Sleep Res. 2010;19(4):
      gamma-hydroxybutyrate (GHB) and pharmaceuti-               525–34.
      cal sodium oxybate (Xyrem): differences in char-
      acteristics and misuse. Drug Alcohol Depend.           39. Ortega-Albás JJ, López-Bernabé R, Garcı́a AL, Gómez
      2009;104(1–2):1–10.                                        JR. Suicidal ideation secondary to sodium oxybate.
                                                                 J Neuropsychiatry Clin Neurosci. 2010;22(3):352r.
  27. Kamal RM, van Noorden MS, Franzek E, Dijkstra BA,          e26-e26.
      Loonen AJ, De Jong CA. The neurobiological
      mechanisms of gamma-hydroxybutyrate depen-             40. Rossetti AO, Heinzer RC, Tafti M, Buclin T. Rapid
      dence and withdrawal and their clinical relevance:         occurrence of depression following addition of
      a review. Neuropsychobiology. 2016;73(2):65–80.            sodium oxybate to modaﬁnil. Sleep Med.
                                                                 2010;11(5):500–1.
  28. Xywav and Xyrem REMS prescriber brochure: Jazz
      Pharmaceuticals;     2021.        https://www.         41. Sarkanen T, Niemelä V, Landtblom AM, Partinen
      xywavxyremrems.com/. Accessed Feb 21, 2023.                M. Psychosis in patients with narcolepsy as an
                                                                 adverse effect of sodium oxybate. Front Neurol.
  29. Strunc MJ, Black J, Lillaney P, et al. The XyremÒ          2014;5:136.
      (sodium oxybate) Risk Evaluation and Mitigation
      Strategy (REMS) program in the USA: results from       42. Buckley PJ, Wolf CT. Psychosis in a 22-year-old
      2016 to 2017. Drugs Real World Outcomes.                   woman with narcolepsy after restarting sodium
      2021;8(1):15–28.                                           oxybate. Psychosomatics. 2018;59(3):298–301.

  30. George CF, Feldman N, Inhaber N, et al. A safety
      trial of sodium oxybate in patients with obstructive
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 316 of 385 PageID #: 33801

                                                                                                                Neurol Ther



     43. Canellas-Dols F, Delgado C, Arango-Lopez C, Per-              nasal continuous positive airway pressure. Cepha-
         aita-Adrados R. Narcolepsy-cataplexy and psy-                 lalgia. 2009;29(6):635–41.
         chosis: a case study. Rev Neurol. 2017;65(2):70–4.
                                                                  56. Plazzi G, Ruoff C, Lecendreux M, et al. Treatment of
     44. Chien J, Ostermann G, Turkel SB. Sodium oxybate-             paediatric narcolepsy with sodium oxybate: a dou-
         induced psychosis and suicide attempt in an                  ble-blind, placebo-controlled, randomised-with-
         18-year-old girl. J Child Adolesc Psychopharmacol.           drawal     multicentre   study    and     open-label
         2013;23(4):300–1.                                            investigation. Lancet Child Adolesc Health.
                                                                      2018;2(7):483–94.
     45. Sharpless BA, Barber JP. Lifetime prevalence rates of
         sleep paralysis: a systematic review. Sleep Med Rev.     57. Schinkelshoek MS, Smolders IM, Donjacour CE,
         2011;15(5):311–5.                                            et al. Decreased body mass index during treatment
                                                                      with sodium oxybate in narcolepsy type 1. J Sleep
     46. Stallman HM, Kohler M. Prevalence of sleepwalk-              Res. 2019;28(3):e12684.
         ing: a systematic review and meta-analysis. PLoS
         ONE. 2016;11(11): e0164769.                              58. Husain AM, Ristanovic RK, Bogan RK. Weight loss
                                                                      in narcolepsy patients treated with sodium oxybate.
     47. Fleetham JA, Fleming JA. Parasomnias. CMAJ.                  Sleep Med. 2009;10(6):661–3.
         2014;186(8):E273–80.
                                                                  59. Ponziani V, Pizza F, Zenesini C, Vignatelli L, Pession
     48. Stefani A, Högl B. Nightmare disorder and isolated          A, Plazzi G. BMI changes in pediatric type 1 nar-
         sleep paralysis. Neurotherapeutics. 2021;18(1):              colepsy under sodium oxybate treatment. Sleep.
         100–6.                                                       2021;44(7):1–7.

     49. Thorpy MJ, Arnulf I, Foldvary-Schaefer N, et al.         60. Black J, Reaven NL, Funk SE, et al. Medical comor-
         Efﬁcacy and safety of lower-sodium oxybate in an             bidity in narcolepsy: ﬁndings from the Burden of
         open-label titration period of a phase 3 clinical            Narcolepsy Disease (BOND) study. Sleep Med.
         study in adults with idiopathic hypersomnia. Nat             2017;33:13–8.
         Sci Sleep. 2022;14:1901–17.
                                                                  61. Saad R, Ben-Joseph RH, Prince P, Stack C, Bujanover
     50. Bogan RK, Roth T, Schwartz J, Miloslavsky M. Time            S, Taylor B. Clinical presentation prior to idiopathic
         to response with sodium oxybate for the treatment            hypersomnia diagnosis among US adults: a retro-
         of excessive daytime sleepiness and cataplexy in             spective, real-world claims analysis [poster 497].
         patients with narcolepsy. J Clin Sleep Med.                  Annual Meeting of the Associated Professional
         2015;11(4):427–32.                                           Sleep Societies; June 10–13, 2021.

     51. Rassu AL, Evangelista E, Barateau L, et al. Idiopathic   62. Saad R, Prince P, Taylor B, Ben-Joseph RH. Charac-
         Hypersomnia Severity Scale to better quantify                teristics of adults newly diagnosed with idiopathic
         symptoms severity and their consequences in idio-            hypersomnia in the United States. Sleep Epidemiol.
         pathic hypersomnia. J Clin Sleep Med. 2022;18(2):            2023.          https://doi.org/10.1016/j.sleepe.2023.
         617–29.                                                      100059.

     52. Pigeon WR. Treatment of adult insomnia with              63. Mamelak M, Black J, Montplaisir J, Ristanovic R. A
         cognitive-behavioral therapy. J Clin Psychol.                pilot study on the effects of sodium oxybate on
         2010;66(11):1148–60.                                         sleep architecture and daytime alertness in nar-
                                                                      colepsy. Sleep. 2004;27(7):1327–34.
     53. Ong JC, Dawson SC, Mundt JM, Moore C. Devel-
         oping a cognitive behavioral therapy for hyper-          64. Lapierre O, Montplaisir J, Lamarre M, Bedard MA.
         somnia using telehealth: a feasibility study. J Clin         The effect of gamma-hydroxybutyrate on nocturnal
         Sleep Med. 2020;16(12):2047–62.                              and diurnal sleep of normal subjects: further con-
                                                                      siderations on REM sleep-triggering mechanisms.
     54. Bogan RK, Foldvary-Schaefer N, Skowronski R,                 Sleep. 1990;13(1):24–30.
         Chen A, Thorpy MJ. Long-term safety and tolera-
         bility during a clinical trial and open-label exten-     65. Leary EB, Kirby MT, Skowronski R, Xu K, Pﬁster C,
         sion of lower-sodium oxybate in participants with            Macfadden W. Effectiveness and treatment opti-
         narcolepsy with cataplexy. CNS Drugs. 2023;37(4):            mization among participants with narcolepsy
         323–35.                                                      switching from sodium oxybate to lower-sodium
                                                                      oxybate: interim data from the SEGUE study [poster
     55. Goksan B, Gunduz A, Karadeniz D, et al. Morning              138]. Annual Meeting of the Associated Professional
         headache in sleep apnoea: clinical and                       Sleep Societies; June 4–8, 2022; Charlotte, NC.
         polysomnographic evaluation and response to
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 317 of 385 PageID #: 33802

  Neurol Ther



  66. Bae CJ, Zee PC, Leary EB, et al. Effectiveness and         transitioning from sodium oxybate to low-sodium
      tolerability in people with narcolepsy transitioning       oxybate: data from the real-world TENOR study.
      from high-sodium oxybate to low-sodium oxybate:            Sleep Med. 2024;113:328–37.
      data from the real-world TENOR study. Sleep Med.
      2023;109:65–74.                                        68. Miller AJ, Raj SR. Pharmacotherapy for postural
                                                                 tachycardia syndrome. Auton Neurosci. 2018;215:
  67. Husain AM, Zee PC, Leary EB, et al. Dosing and             28–36.
      transition characteristics in people with narcolepsy
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 318 of 385 PageID #: 33803




                    EXHIBIT 28
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 319 of 385 PageID #: 33804
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 320 of 385 PageID #: 33805

Y. Dauvilliers, R.K. Bogan, I. Arnulf et al.                                                                     Sleep Medicine Reviews 66 (2022) 101709



    Abbreviations                                                             IHSS       idiopathic hypersomnia severity scale
                                                                              ISS        insufﬁcient sleep syndrome
    AHI             apnea-hypopnea index                                      LST        long sleep time
    CPAP            continuous positive airway pressure                       MSL,       mean sleep latency
    CSF             cerebrospinal ﬂuid                                        MSLT       multiple sleep latency test
    EDS             excessive daytime sleepiness                              NT1        narcolepsy type 1
    ESS             Epworth sleepiness scale                                  NT2        narcolepsy type 2
    GABA            gamma-aminobutyric acid                                   OSA        obstructive sleep apnea
    ICSD            International Classiﬁcation of Sleep Disorders            PLMS       periodic leg movements of sleep
    ICSD-2          International Classiﬁcation of Sleep Disorders, 2nd       PSG        polysomnography
                    Edition                                                   SOREMP     sleep onset rapid eye movement period
    ICSD-3          International Classiﬁcation of Sleep Disorders, 3rd       TST        total sleep time
                    Edition



of sleep inertia, sometimes called “sleep drunkenness,” does not              separate entities [11]. A 24-h TST 11 h is common but not
occur in healthy controls [13]. Sleep inertia and other symptoms of           mandatory for diagnosis [2].
hypersomnolence, including EDS and LST, can also be associated                    In summary, idiopathic hypersomnia may be challenging for
with sleep deprivation, delayed sleep phase, other sleep disorders            clinicians to recognize and diagnose because it is rare, clinically
(eg, obstructive sleep apnea [OSA]), medication or substance use/             heterogeneous, and has symptoms that overlap with other disor-
abuse, and psychiatric disorders (most typically depression) [2].             ders. Additionally, EDS is present in approximately one-third of the
    Idiopathic hypersomnia is a debilitating neurologic disorder of           general population and can be comorbid with sleep apnea,
hypersomnolence with heterogeneous presentation. A recent                     depression, and other conditions, further complicating diagnosis
claims analysis indicated a limited-duration prevalence estimate of           [4]. This review will discuss clinical considerations related to the
10.3 per 100,000 persons [14]. The primary symptom is EDS, with               pathogenesis, diagnosis, and management of idiopathic hyper-
additional variable features of prolonged nighttime sleep, long               somnia, including perspectives from the European Union and
(>1 h), unrefreshing naps, sleep inertia, and cognitive impairment            United States.
[2,15]. Per the International Classiﬁcation of Sleep Disorders, 3rd
Edition (ICSD-3), EDS is present in all individuals with idiopathic           2. Current idiopathic hypersomnia diagnostic criteria and
hypersomnia [2], but appears to manifest differently than in nar-             considerations
colepsy type 1 (NT1); “sleep attacks” seem more speciﬁc to nar-
colepsy [16]. Patients with sleep inertia may depend on external              2.1. Core features of idiopathic hypersomnia
sources (loud alarms; family members) to wake up in the morning,
and even after exhausting these measures, may not awaken or may                   Diagnosis of idiopathic hypersomnia involves careful clinical
rapidly return to sleep, negatively impacting their work, school,             evaluation to exclude other disorders with similar symptoms, plus
and family life [15]. Sleep inertia is at least mild in 78%e100% of           objective sleep testing (Fig. 1). Current ICSD-3 diagnostic criteria
individuals with idiopathic hypersomnia [13,17e19], and severe                require the presence of EDS for 3 months, absence of cataplexy,
(harder to awaken and greater tendency to return to sleep, with               and conﬁrmatory objective sleep testing (Supplemental Table 1)
sluggishness, poor balance, and impaired reﬂexes [12]) in 36% [13],           [2,7], including MSL 8 min on MSLT and/or total 24-h TST of
irrespective of sleep time [20]. After morning sleep inertia fades,           660 min on PSG or wrist actigraphy (the latter also requiring a
individuals are usually able to remain awake throughout the day,              sleep log showing averaged 24-h TST 11 h daily over 7 days). In
but feel persistently drowsy, with brain fog (including memory and            children and adolescents, normal sleep time for age should be
attention problems, frequently misplacing and forgetting things,              considered when using 24-h TST to conﬁrm diagnosis [2]. Age or
and a feeling of one's mind “going blank” [7,13]) and renewed sleep           sex do not signiﬁcantly inﬂuence MSLT results (ie, sleep latency and
inertia after naps. Prolonged sleep (11 h over a 24-h period, or             number of SOREMPs) in a pediatric population [26]. The ﬁnding of
19 h over 32 h), as determined by objective sleep testing, is                two sleep onset rapid eye movement periods (SOREMPs) on MSLT
common [2,21]. Across studies, sleep duration 10 h has been re-              (or less than one if nocturnal rapid eye movement [REM] latency
ported in approximately 30%e50% of individuals with idiopathic                was 15 min) is currently an exclusion criterion. An ESS score that
hypersomnia, but could be present in up to approximately 70% in               is not persistently high may suggest a different disorder.
the authors' experience [2,19,22]. The prevalence of prolonged                    The SOREMP requirement for diagnosis remains controversial in
sleep may be underestimated since most sleep centers cannot                   the case of patients with MSL >8 min on MSLT but with conﬁrmed
perform extended PSG (>24 h) [15] and patients' responsibilities              sleep duration 660 min on a 24-h PSG. A patient with 2 SOR-
may prevent them from sleeping for the required duration; actig-              EMPs, MSL >8 min, and 24-h TST 660 min should be considered
raphy monitoring remains underutilized.                                       for a diagnosis of idiopathic hypersomnia, despite not meeting
    Idiopathic hypersomnia was initially described in the early               ICSD-3 criteria for either narcolepsy or idiopathic hypersomnia.
1970s [23], and was included in the original International Classiﬁ-           Recommending sleep extension prior to scheduling diagnostic
cation of Sleep Disorders (ICSD; ﬁrst published in 1990) as of its last       testing may be helpful to exclude normal long sleep, because long
iteration in 2001 [24]. In 2005, ICSD, 2nd Edition (ICSD-2) described         sleepers will generally note resolution of EDS symptoms and feel
two clinical phenotypes of idiopathic hypersomnia: with LST                   fully refreshed upon awakening when they meet their individual
(10 h) and without LST (<10 h) [25]. However, the most recent 3rd            sleep need. Because of frequently normal MSLT ﬁndings in idio-
Edition (ICSD-3, 2014) includes both phenotypes under one deﬁ-                pathic hypersomnia with LST [20,22] and low MSLT test-retest
nition (mean sleep latency [MSL] 8 min or total sleep time [TST]             reliability [27], researchers have proposed objective evidence of
11 h), although research continues into whether these may be                 LST as a more reliable endpoint [3]. However, 2014 ICSD-3 criteria
                                                                          2
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 321 of 385 PageID #: 33806

Y. Dauvilliers, R.K. Bogan, I. Arnulf et al.                                                                                           Sleep Medicine Reviews 66 (2022) 101709




Fig. 1. An Initial Approach to Diagnosis of Idiopathic Hypersomnia or Other Sleep Disorders in Individuals Presenting With a Complaint of EDS
Dashed boxes indicate follow-up diagnostic testing.
BMI, body mass index; BPD, bipolar disorder; CPAP, continuous positive airway pressure; EDS, excessive daytime sleepiness; IH, idiopathic hypersomnia; ISS, insufﬁcient sleep
syndrome; MDD, major depressive disorder; MSLT, multiple sleep latency test; NT1, narcolepsy type 1; NT2, narcolepsy type 2; OCST, out-of-center sleep testing; OSA, obstructive
sleep apnea; PSG, polysomnography; TST, total sleep time.




remain the standard for diagnosis, with contemporary modiﬁca-                                 Patients frequently report automatic behaviors upon waking
tions proposed in 2020 [3], including stricter criteria and use of                         and when drowsy during the day, whereas hypnagogic hallucina-
extended-duration objective sleep testing involving in-laboratory                          tions and sleep paralysis are less frequent [13,20,22]. These latter
PSG or outpatient prolonged PSG and/or electroencephalography                              symptoms are not uncommon in the general population; the
testing protocols [21,28].                                                                 prevalence of hallucinations has been estimated as 6.6% (hypno-
                                                                                           pompic) to 24.8% (hypnagogic), and the prevalence of sleep paral-
                                                                                           ysis as 7.6% [35,36]. Nightmares in idiopathic hypersomnia are rare,
2.2. Ancillary features of idiopathic hypersomnia                                          and half of patients report frequent “blackout” of their nights upon
                                                                                           awakening, whereas around 20% complain of “dreaming too much”
   Per ICSD-3 criteria, sleep inertia is not required for diagnosing                       [37]. Although there is no deﬁnition of “good” sleep in idiopathic
idiopathic hypersomnia, but is an important, common symptom                                hypersomnia (in contrast with disrupted sleep in other disorders),
that clinicians should recognize and quantify [2]. Sleep inertia can                       other than the supportive ﬁnding of sleep efﬁciency 90% [2], one
be measured using several instruments, including the sleep inertia                         may expect that criteria for other disorders would be absent in
questionnaire (which has been validated only in individuals with                           people with idiopathic hypersomnia (eg, apnea-hypopnea index
depression) [29], the hypersomnia severity index (a nine-item tool                         [AHI] <5, and periodic leg movements of sleep [PLMS] <15/hour).
to measure hypersomnia severity, distress, and impairment, which                           Some patients with idiopathic hypersomnia may have variable
has been validated in patients with sleep disorders) [30], the psy-                        sleep-wake patterns due to their long naps and nocturnal sleep
chomotor vigilance task (PVT; a short and simple tool to measure                           (when feasible); therefore, it is always important to stabilize bed-
behavioral alertness and sustained attention, which correlates with                        times and wake times with an appropriate duration of time in bed
symptoms of sleep inertia in patients with central hypersomno-                             prior to establishing the diagnosis.
lence disorders) [31,32], and the idiopathic hypersomnia severity
scale (IHSS; a 14-item, patient-reported, validated questionnaire
assessing idiopathic hypersomnia symptoms' frequency, duration,                            3. Diagnostic challenges in idiopathic hypersomnia
and impacts, which has demonstrated speciﬁcity and reliability in
detecting signiﬁcant changes following treatment) [33,34]. The                                Objective sleep testing required for diagnosing idiopathic
severity of sleep inertia in idiopathic hypersomnia, assessed with                         hypersomnia presents many challenges. Despite the inclusion of
the IHSS, correlates with impairment of PVT performance [31].                              sleep test results in ICSD-3 diagnostic criteria, prolonged PSG re-
However, PVT results do not discriminate among disorders with                              cordings are less likely to be performed in the United States than in
severe sleep inertia [31], and none of these questionnaires have yet                       Europe due to expense and reimbursement issues, sometimes
been used as a screening tool in clinical practice.                                        preventing complete diagnostic evaluation.
                                                                                       3
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 322 of 385 PageID #: 33807

Y. Dauvilliers, R.K. Bogan, I. Arnulf et al.                                                                      Sleep Medicine Reviews 66 (2022) 101709


    The MSLT has poor test-retest reliability in clinical populations         idiopathic hypersomnia, and a subset of patients does not exhibit
with central nervous system hypersomnolence disorders                         the LST phenotype [2], extended monitoring procedures are un-
[27,38,39], especially idiopathic hypersomnia, because of MSL                 likely to become the only method of diagnosing idiopathic hyper-
variability and number of SOREMPs across testing sessions. In a               somnia unless the criteria regarding long sleep are modiﬁed. New
retrospective study, 25% of patients meeting MSLT criteria initially          tools and technologies must be developed to record sleep while
met criteria again during a second test [27]. In another retrospec-           individuals are in their daily living environments, with analysis
tive study, >30% of patients crossed the threshold of 2 SOREMPs              possibly aided by artiﬁcial intelligence. Moreover, the absence of
between sleep studies, changing from a diagnosis of idiopathic                any pathognomonic clinical features or known biomarkers further
hypersomnia (based on initial MSLT ﬁndings) to narcolepsy type 2              hinders the diagnosis of idiopathic hypersomnia [16].
(NT2; based on the second MSLT) [38]. Low test-retest reliability                 Idiopathic hypersomnia, as currently deﬁned, remains a diag-
could be explained by intrinsic features of the MSLT or by sponta-            nosis of exclusion [47]. A challenge is in not only discriminating
neous ﬂuctuations in symptom severity in idiopathic hypersomnia               idiopathic hypersomnia from other disorders of hypersomnolence,
and NT2, implying that there may be substantial phenotypic                    but in establishing whether symptoms or test results are due to
overlap between these categories. These ﬁndings challenge the                 neurologic, psychiatric, or other medical causes [47]. EDS is a
validity of the required 8-min MSL cutoff or TST 11 h and reinforce          symptom of several sleep disorders that must be considered in the
a possibility for reassessment in patients with a clinical presenta-          differential diagnosis of idiopathic hypersomnia [2,7,48], such as
tion suggestive of idiopathic hypersomnia who do not fulﬁll ICSD-3            OSA, narcolepsy, insufﬁcient sleep syndrome (ISS; especially in
diagnostic criteria. Patients with idiopathic hypersomnia whose               normal long sleep), and circadian phase delay. Also, non-REM
hypersomnolence resolved or improved during long-term treat-                  parasomnias, which can cause EDS [49e51], may be comorbid,
ment with wake-promoting medications should be reassessed                     albeit rarely, in idiopathic hypersomnia [52]. Other diagnoses must
under drug-free conditions, as the disorder may improve or spon-              be considered, as well as head injury and obesity. EDS can persist in
taneously remit in approximately 14%e26% of cases [40,41].                    OSA despite adherence to continuous positive airway pressure
Consideration of MSLT parameters besides MSL and number of                    (CPAP) therapy [53,54]. Furthermore, even in the absence of OSA,
SOREMPs has been proposed for differential diagnosis of central               obesity can be associated with EDS and LST, which appears to be
hypersomnolence disorders, including sustained sleep latency,                 related to a metabolic and/or circadian abnormality [55,56].
REM sleep latency, time spent in REM sleep, and sleep stage                       Therefore, to accurately diagnose idiopathic hypersomnia, one
sequence [42e44].                                                             must consider the overall picture, beyond just ICSD-3 criteria. The
    The PSG also has limitations, and efforts are underway to                 individual patient's characteristics, signs, and symptoms must be
develop more precise and speciﬁc diagnostic criteria based on this            elicited and synthesized to inform an appropriate, efﬁcient
tool [15]. Extended-duration PSG protocols have been proposed for             approach to diagnostic testing (Fig. 1). A diagnostic algorithm based
conﬁrming idiopathic hypersomnia, as long sleep may be a more                 on standard practice in France is available in the literature [47];
reliable symptom than propensity to fall asleep during the day                however, national and international variations in practice (eg, with
[15,20,21,45]. The current ICSD-3 diagnostic criteria call for                regard to adoption of prolonged PSG testing) preclude develop-
660 min of sleep in a 24-h period on PSG based on one study [20],            ment of a universal algorithm.
or wrist actigraphy in association with a sleep log, but do not
otherwise specify details of the protocol (eg, setting) nor account           3.1. Idiopathic hypersomnia versus narcolepsy
for factors expected to impact total sleep duration (eg, age) [2]. That
48-h protocol includes an overnight PSG, then daytime MSLT, then                  NT1 and NT2 have the same MSL diagnostic criterion as idio-
a second PSG of 18e20 h comprising overnight sleep and uninter-               pathic hypersomnia (8 min) but require two or more SOREMPs, as
rupted naps; this protocol has normative data on long-term sleep              opposed to fewer than two SOREMPs [2] (Figs. 1 and 2). The pres-
monitoring [15,20]. Another standardized protocol includes PSG                ence of cataplexy or low cerebrospinal ﬂuid (CSF) levels of
and modiﬁed MSLT, then a 32-h bed rest recording (one night, one              hypocretin-1 clearly differentiates NT1 [2]. Distinguishing idio-
day, one night) [15,21] with normative data reported. A 60-h pro-             pathic hypersomnia from NT2 is more challenging, as these disor-
tocol includes PSG recording for 48 h, then an MSLT [15,45]. These            ders may differ only by the presence of REM sleep during MSLT
extended-duration protocols could be performed in any region, but             naps (ie, number of SOREMPs) [2]. Sleep inertia is more common
are not uniformly available or used outside their originating                 and often more severe in idiopathic hypersomnia compared with
groups; they are only performed regularly in select European Union            NT2 (Figs. 1 and 2) [15,19]. The severity of sleepiness in idiopathic
countries. Both extended-duration PSG and actigraphy have limi-               hypersomnia did not differ from that in narcolepsy (mean ESS
tations for measuring extended sleep duration in idiopathic                   scores ranged from 14.1 to 17.9 in idiopathic hypersomnia, 14.5 to
hypersomnia [15,46]. There are few standard protocols (ie, sleep              16.7 in NT2, and 16.6 to 18.5 in NT1 [17,18,33,57,58]). However,
time, time in bed, possible activity, light, etc) or normative mea-           people with idiopathic hypersomnia tend to feel sleepy all day, and
sures (ie, with good speciﬁcity and sensitivity) for extended-                are unrefreshed after long naps, but are generally able to remain
duration PSG, as outlined in the protocols above. Extended-                   awake, whereas people with narcolepsy may feel temporarily
duration actigraphy has not been validated in idiopathic hyper-               refreshed after short naps with dream content, and sometimes
somnia versus healthy controls. Additionally, optimal actigraphic             experience episodes of severe, irresistible sleepiness (“sleep at-
settings have not been established, and the procedure is not typi-            tacks”) [2,17,18,57,58]. Abnormal REM sleep phenomena such as
cally reimbursed by insurance in the United States and European               frequent vivid dreams, sleep paralysis, and hypnagogic hallucina-
Union. For both extended-length procedures, there is increased                tions are more frequent in narcolepsy [52] (Fig. 2).
cost and inconsistent availability. Further study of extended-length              In contrast to narcolepsy, the frequency of the HLA DQB1*0602
protocols, which allow for quantiﬁcation of excessive sleep dura-             haplotype in idiopathic hypersomnia is similar to the general
tion to diagnose idiopathic hypersomnia with LST, is needed.                  population [40]. Carrier frequency of the HLA DQB1*0602 haplo-
However, it is still unclear whether recording excessive sleep                type ranges from 18%e 31% in idiopathic hypersomnia, 95%e98% in
duration can aid in formally discriminating among the diagnoses of            narcolepsy with cataplexy, 26%e100% in narcolepsy without cata-
NT2, idiopathic hypersomnia with LST, and physiological long sleep            plexy and normal CSF hypocretin levels, and 15%e40% in controls
[3]. Also, as LST is not currently a requirement for diagnosis of             (40.2% in African American controls) [20,40,59e61].
                                                                          4
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 323 of 385 PageID #: 33808

Y. Dauvilliers, R.K. Bogan, I. Arnulf et al.                                                                                           Sleep Medicine Reviews 66 (2022) 101709




Fig. 2. Diagnostic Features of NT1, NT2, and Idiopathic Hypersomnia [2,12,27,105,106]
CSF, cerebrospinal ﬂuid; ESS, Epworth Sleepiness Scale; MSLT, multiple sleep latency test; NT1, narcolepsy type 1; NT2, narcolepsy type 2; PSG, polysomnography; REM, rapid eye
movement; SOREMP, sleep onset rapid eye movement period.




3.2. Idiopathic hypersomnia versus OSA                                                       Hypersomnia in mood disorders, especially depression, can
                                                                                          present as sleepiness with difﬁculty getting out of bed in the
   In contrast with idiopathic hypersomnia (Fig. 1), OSA is often                         morning [64]. However, sleep inertia may be more severe in people
diagnosed in middle-aged or older men with higher body mass                               with idiopathic hypersomnia, who more frequently require assis-
indices [2,20,40,62]. Similar to idiopathic hypersomnia, patients                         tance from another person to awaken [64]. Some patients with
with OSA lack cataplexy; however, they have normal nighttime                              depression may desire to remain in bed and overestimate their
sleep durations and excessive snoring [2,18]. Patients with idio-                         sleep duration because they include time in bed when estimating
pathic hypersomnia often have severe sleep inertia, whereas pa-                           sleep time [28] (Fig. 1). In depression, both EDS and LST can be
tients with OSA typically do not [2,19,32]. Diagnostic testing for OSA                    present [66]. In the authors’ experience, the sleepiness and sleep
may begin with testing (PSG or out-of-center sleep testing); if                           inertia of depression are more marked in the morning (which is
positive, that may be followed by a trial of CPAP if desired [2].                         also true in idiopathic hypersomnia) and, importantly, often
                                                                                          congruent with low mood, which improves in the late afternoon.
                                                                                          LST may persist during euthymic periods [67]. Symptoms of
3.3. Idiopathic hypersomnia versus ISS                                                    depressed mood are common in patients with idiopathic hyper-
                                                                                          somnia [20,57]; however, although subjective sleepiness has been
    In ISS, TST is shorter than expected for age due to intentional                       associated with increased odds of depressive symptoms, objective
curtailment (typically during the week), and EDS resolves with                            sleepiness on the MSLT has been associated with decreased odds of
extension of sleep time [2,63]. ISS can occur at any age and is                           depressive symptoms [68], and medications may confound the
approximately equally prevalent in males and females (Fig. 1) [2].                        validity of objective sleep testing [69e71] (Fig. 1). TST and sleep
ISS is similar to idiopathic hypersomnia in that patients may                             efﬁciency are greater, and MSL on the MSLT is shorter, in people
experience some sleep inertia, depressive symptoms, and halluci-                          with idiopathic hypersomnia compared with hypersomnia associ-
nations; however, symptoms in ISS result from suboptimal sleep                            ated with a psychiatric disorder [64]. MSL is usually >8 min with
[2,18,63], whereas in idiopathic hypersomnia, symptoms do not                             mood disorders or hypersomnia associated with a psychiatric dis-
resolve with additional sleep [2,64].                                                     order [72]. For clinical reasons, it may not be possible to discontinue
                                                                                          antidepressants prior to sleep testing, in which case the clinician
                                                                                          must determine whether information from an MSLT performed
3.4. Idiopathic hypersomnia versus mood disorders                                         during antidepressant treatment is helpful in the diagnosis.

   Claims analyses support the presence of comorbid conditions
that share symptoms with idiopathic hypersomnia, which may                                3.5. Iatrogenic hypersomnolence
confound diagnosis [65]. Consistent with clinical experience
described earlier, common comorbidities in adults with newly                                 Medication/Substance use/abuse complicates differential diag-
diagnosed idiopathic hypersomnia include mood disorders (32.1%),                          nosis. Drug-induced hypersomnolence can occur due to sedatives,
depressive disorders (31.0%), and anxiety disorders (30.7%). Sleep                        hypnotics, and other medications that cause sedation incidentally
apnea and mood disorders should be treated before diagnosing                              [73], including antidepressants, H1 antihistamines, antipsychotics,
idiopathic hypersomnia.                                                                   and hypocretin antagonists. Stimulant withdrawal can also result in
                                                                                      5
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 324 of 385 PageID #: 33809

Y. Dauvilliers, R.K. Bogan, I. Arnulf et al.                                                                     Sleep Medicine Reviews 66 (2022) 101709


hypersomnolence. A careful clinical history is usually sufﬁcient to          LST, and idiopathic hypersomnia with LST, suggesting that this last
unveil medication or substance use/abuse, but depending on the               category has a homogeneous phenotype [22]. Distinguishing these
clinical setting, we may recommend a urine drug screen at the time           phenotypes will likely require novel discoveries providing better
of objective sleep testing to exclude confounding substances.                insight into the underlying neurobiology and pathophysiology [2].


                                                                             5. Treatment
4. Pathogenesis

                                                                                 In the United States, lower-sodium oxybate (LXB; Xywav®) has
    The pathophysiology of idiopathic hypersomnia remains un-
                                                                             been approved to treat idiopathic hypersomnia in adults since
known. No consistent abnormalities in the key wakefulness-
                                                                             August 2021 [94]. In a phase 3, placebo-controlled, double-blind,
promoting or sleep-wake circuit neurotransmitters have been
                                                                             randomized withdrawal study in adults with idiopathic hyper-
found [2], with normal levels of CSF hypocretin-1, histamine, and
                                                                             somnia, LXB demonstrated statistically signiﬁcant, clinically
tele-methylhistamine [74e77], albeit with some inconsistencies
                                                                             meaningful effects on EDS, idiopathic hypersomnia symptom
[59,78]. A recent study found no striking differences in CSF biogenic
                                                                             severity, and self-reported patient global impression of change [95].
amines, their metabolites, or trace amine levels in participants with
                                                                             This study marked the ﬁrst use of the IHSS in a clinical trial of an
idiopathic hypersomnia, NT1, or NT2 and individuals without
                                                                             idiopathic hypersomnia treatment [95]. LXB is approved for use in
objective EDS [79]. Interestingly, the presence of an endogenous
                                                                             adults with idiopathic hypersomnia [94]; no treatments are
gamma-aminobutyric acid (GABA)-like substance in the CSF of in-
                                                                             approved for use in pediatric patients, and no clinical studies of
dividuals with idiopathic hypersomnia (and other stimulant-
                                                                             pediatric idiopathic hypersomnia have been performed. LXB is not
resistant disorders of hypersomnolence) that modulates GABA-
                                                                             approved for the treatment of idiopathic hypersomnia outside of
mediated inhibitory effects on arousal [80,81] has been reported,
                                                                             the United States.
but not replicated [82]. Another proposed contributor to idiopathic
                                                                                 Treatments typically used off-label for treating idiopathic
hypersomnia is circadian mechanisms (eg, longer circadian period
                                                                             hypersomnia include alerting agents (wake-promoting agents or
or long biological night) [20,83e86]. The frequent family history of
                                                                             stimulants), despite limited evidence for efﬁcacy in this population
idiopathic hypersomnia symptoms suggests genetic predisposition
                                                                             [96]. Modaﬁnil was previously approved in Europe to treat idio-
[7,87], but no speciﬁc genetic locus or inheritance pattern has been
                                                                             pathic hypersomnia, although this indication was rescinded in 2010
demonstrated. Family history of excessive sleepiness, idiopathic
                                                                             [97]. Pharmacotherapy reportedly controls EDS satisfactorily in
hypersomnia, or another disorder of hypersomnolence is seen in
                                                                             approximately 65%e72% of patients; modaﬁnil, methylphenidate,
34%e37% of patients with idiopathic hypersomnia [40,41,62].
                                                                             and dextroamphetamine monotherapy are frequently used, while
    Neuroimaging suggests that persistent sleepiness in idiopathic
                                                                             high-dose monotherapy or combination polytherapy may be
hypersomnia may relate to abnormal neural activity in an arousal
                                                                             necessary in up to one-third of patients [40,41,62]. Few random-
system and intrusion of a sleep-like state during wakefulness [15].
                                                                             ized, placebo-controlled trials have been conducted in idiopathic
The ﬁrst positron emission tomography study in participants with
                                                                             hypersomnia; most data are from observational studies and case
NT1 and idiopathic hypersomnia showed hypermetabolism in the
                                                                             series [96]. However, randomized, double-blind, placebo-
anterior and middle cingulate and insula in the resting wake state,
                                                                             controlled clinical trials showed that modaﬁnil was an effective
compared with controls, which was hypothesized to represent an
                                                                             treatment for EDS in participants with idiopathic hypersomnia
altered arousal system [88]. Brain scintigraphy in participants with
                                                                             without LST [97,98]. Other medications, including clarithromycin
idiopathic hypersomnia showed regional cerebral blood ﬂow de-
                                                                             [99,100], ﬂumazenil [81], and pitolisant [81,101], have shown some
creases in the medial prefrontal cortex and posterior cingulate
                                                                             effect on EDS in participants with hypersomnolence. A GABAB re-
cortex, and increases in the amygdala and temporo-occipital
                                                                             ceptor agonist, baclofen, has also been reported as a potential
cortices, during resting wakefulness; this pattern is similar to
                                                                             treatment [19].
regional cerebral blood ﬂow during non-REM sleep, potentially
consistent with incomplete transitions between sleep-wake states
[89]. Hypermetabolism in the precuneus and inferior parietal                 6. Discussion and expert opinion
lobule was observed in participants with NT1 and idiopathic
hypersomnia compared with controls, although regional patterns                   Distinguishing EDS with its various causes from idiopathic
of hypermetabolism differed between the groups [90].                         hypersomnia is challenging. In the absence of pathognomonic
    Classical PSG ﬁndings in idiopathic hypersomnia with LST                 features, suspicion for idiopathic hypersomnia can be raised by
demonstrate normal architecture, with prolonged, high sleep efﬁ-             characteristic, albeit nonspeciﬁc features (Fig. 1), including early-
ciency that may include one to several additional sleep cycles               life onset of symptoms and female sex [2]. This contrasts with the
[20,28]. However, there have been reports of other heterogeneous             typically older, predominantly male OSA population [2]. Assess-
PSG abnormalities [91e93], decreased percentage of slow-wave                 ment of qualitative daytime hypersomnolence symptoms may
sleep [91], increased REM sleep [91], and altered sleep quality              provide additional clues. For example, severe sleep inertia and long,
and stability [92], likely due to differing diagnostic criteria across       unrefreshing naps are characteristic of idiopathic hypersomnia and
studies.                                                                     suggest that NT1 is unlikely, whereas clear cataplexy establishes an
    The heterogeneous nature of symptoms belonging to currently              NT1 diagnosis and excludes idiopathic hypersomnia [2]. Extended
broadly deﬁned idiopathic hypersomnia suggests the possibility of            nocturnal sleep duration suggests idiopathic hypersomnia, but is
different etiologies [3,47]. There appear to be separate phenotypes          not observed in idiopathic hypersomnia without LST, and is found
for individuals requiring increased sleep duration compared with a           in the general population as an isolated ﬁnding without daytime
normal amount of sleep [3]. A cluster analysis including nighttime           somnolence (ie, long sleepers [typically deﬁned as adults sleeping
and daytime symptoms, nocturnal PSG, and MSLT in 96 patients                 10 h/night or children sleeping >2 h more than normal for age])
with central hypersomnolence disorders differentiated three main             [2]. Sleep extension during weekends or other periods, suggesting
clusters, including NT1, NT2 and idiopathic hypersomnia without              unfulﬁlled sleep need, may represent a clinical biomarker of



                                                                         6
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 325 of 385 PageID #: 33810

Y. Dauvilliers, R.K. Bogan, I. Arnulf et al.                                                                       Sleep Medicine Reviews 66 (2022) 101709


idiopathic hypersomnia after exclusion of ISS [28,102]. It has been           sleep, which usually cannot be accommodated because of work and
found that patients with idiopathic hypersomnia sleep an average              other responsibilities [3].
of 3 h longer on weekends and holidays than during the week [13],                 Testing for idiopathic hypersomnia begins with PSG and MSLT,
and many patients extended their sleep duration and time in bed               often with preceding actigraphy monitoring and/or sleep diary to
during the COVID-19 pandemic and associated lockdown [103,104].               document adequate sleep and time in bed. Preparation before sleep
    Due to high sleep efﬁciency and generally normal REM sleep                testing and careful attention to protocol are important for reliable
physiology in idiopathic hypersomnia, nighttime symptoms (eg,                 results, including counseling on adequate time in bed, as is tapering
sleep paralysis, hypnogogic/hypnopompic hallucinations) are rare.             of antidepressants and other confounding sedating and/or REM
Although nonspeciﬁc, these symptoms, if frequent and intensive,               sleep suppressant medications in advance whenever feasible and
can help differentiate idiopathic hypersomnia and narcolepsy [52].            safe. For example, if the sleep period is truncated after 8 h for a long
Nightmares are not more frequent than in the general population,              sleeper patient, or even at the 6-h mark, the resulting sleepiness
and REM sleep behavior disorder is not comorbid to idiopathic                 can affect the MSLT. Possibly reﬂecting differences in sleep duration
hypersomnia, unlike narcolepsy [52]. Other nocturnal sleep char-              as part of sleep testing, one study showed that 71% of patients with
acteristics may be difﬁcult to elicit because patients frequently lack        idiopathic hypersomnia with LST had MSL >8 min [20], and other
insight into their sleep behaviors. Therefore, history from a sleep           studies showed that some patients had MSL of 4e10 min [21,22].
companion, caregiver, or parent regarding disruptive snoring,                 Repetition of sleep testing is expensive and inconvenient.
breathing pauses, or parasomnia behaviors may inform diagnostic                   Idiopathic hypersomnia may coexist with other disorders, such
considerations. Disruptive snoring is most frequent in OSA, yet               as depression, but is incompatible with others, such as narcolepsy.
snoring and obesity can be comorbid in patients with narcolepsy               If doubt remains following initial tests, CSF hypocretin levels can
but rarely in idiopathic hypersomnia [2,95]. Disrupted nighttime              rule out NT1 in those with demonstrated genetic predisposition (ie,
sleep is common in NT1 and uncommon in idiopathic hypersomnia                 HLA DQB1*0602 positivity; however, a caveat is that DQB1*0602
[92].                                                                         positivity alone is nonspeciﬁc and insufﬁcient for NT1 diagnosis,
    Environmental inﬂuences are other components of screening for             given its relatively high prevalence in the general population [2]).
idiopathic hypersomnia. Inadequate sleep must be corrected before             An iterative approach employing other tests or trials of therapy (eg,
the evaluation continues, ensuring patients allocate enough time              treatment with CPAP or other measures to address sleep-
for sleep and that their sleep is not disrupted by using electronic           disordered breathing) may be necessary to identify and address
devices in bed, or other environmental factors (eg, noisy or hot              confounding comorbid conditions. Current diagnostic criteria for
bedroom) that could reduce sleep quality or quantity. ISS can be              idiopathic hypersomnia are controversial; thus, the search for
difﬁcult to exclude, and a careful history of the daily sleep pattern,        additional biomarkers and debate about borders between sleep
including weekend sleep, should be taken, ideally using sleep logs            disorders must continue.
or actigraphy. A trial of extended sleep duration should be under-                In summary, the well-informed healthcare practitioner is
taken if ISS is suspected. We recommend the patient keep a sleep              equipped to distinguish idiopathic hypersomnia from other con-
log for about a month, and after a 2-week baseline, extend their              ditions marked by EDS and other overlapping symptoms through
sleep by 1e2 h for 2 weeks while logging their level of daytime               thoughtful application of both clinical judgment and appropriate
sleepiness with the ESS. If sleepiness does not improve, we then              testing, thus enabling patients to receive the most effective treat-
test for other causes of sleepiness using PSG and MSLT, ideally with          ment for this debilitating sleep disorder.
conﬁrmatory actigraphy to ensure accurate estimation of sleep
duration prior to laboratory testing [2]. Use of sedating substances
                                                                              7. Practice points
(eg, medications, alcohol) is another potential source of EDS to
consider.
                                                                              1. Idiopathic hypersomnia is a sleep disorder of unknown etiology
    In most patients presenting with hypersomnolence, narrowing
                                                                                 and low prevalence characterized by excessive daytime sleepi-
diagnostic possibilities to a single disorder after screening, history,
                                                                                 ness, with or without long sleep duration, unrefreshing naps,
and physical examination is difﬁcult, except when there is unam-
                                                                                 and sleep inertia.
biguous cataplexy. In the authors' experience, symptoms of idio-
                                                                              2. Demographic (eg, higher female prevalence) and symptomatic
pathic hypersomnia vary across time within an individual patient's
                                                                                 features of the idiopathic hypersomnia population form a
disease course. Thus, screening should weigh which disorders are
                                                                                 typical proﬁle, but with high heterogeneity and substantial
most likely so that the subsequent workup (diagnostic testing) can
                                                                                 overlap with other sleep disorders.
rapidly lead to a clear diagnosis (Fig. 1). Although EDS is currently
                                                                              3. Careful clinical history, with consideration of associated
required in diagnostic criteria, EDS may appear to be absent in
                                                                                 comorbidities and documentation of sleep patterns over at least
patients with idiopathic hypersomnia with LST in clinical practice
                                                                                 2 weeks, is important before considering sleep testing.
(although this is rare) because long sleep duration may offset any
                                                                              4. Efﬁcient screening and workup are important to reduce diag-
potential EDS. However, in most cases, patients with idiopathic
                                                                                 nostic delay so that patients may receive timely, effective
hypersomnia complain of EDS, drowsiness, fatigue, and sleep
                                                                                 therapy.
inertia, regardless of their TST. Total 24-h sleep time 660 min is
                                                                              5. The United States Food and Drug Administration approved
included among diagnostic criteria (though not required for diag-
                                                                                 lower-sodium oxybate in 2021 for the treatment of idiopathic
nosis, if mean sleep latency on MSLT is 8 min [2]), but extended
                                                                                 hypersomnia in adults.
PSG [20] is not feasible for all patients (eg, due to reimbursement
issues). However, in these and other cases, idiopathic hypersomnia
can still be identiﬁed and distinguished from normal long sleep by
the presence of other characteristic symptoms, such as sleep inertia          8. Research agenda
[2]. Furthermore, ESS scores do not differentiate among idiopathic
hypersomnia, NT1, and NT2 [17,18,33,57,58]. Updated ICSD-3                    1. More research is needed into protocols for diagnostic testing to
criteria are needed, as recently proposed by a consensus of Euro-                improve accuracy, reliability, and convenience, especially ap-
pean experts, to emphasize a new criterion: excessive quantity of                proaches for in-laboratory and in-home recordings for extended
                                                                                 sleep duration.
                                                                          7
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 326 of 385 PageID #: 33811

Y. Dauvilliers, R.K. Bogan, I. Arnulf et al.                                                                                             Sleep Medicine Reviews 66 (2022) 101709


2. The degree of distinction and possible overlap between idio-                              [7] Trotti LM. Idiopathic hypersomnia. Sleep Med Clin 2017;12:331e44.
                                                                                             [8] Johns MW. Reliability and factor analysis of the Epworth sleepiness scale.
   pathic hypersomnia and narcolepsy type 2, both in terms of
                                                                                                 Sleep 1992;15:376e81.
   pathophysiology and diagnostic features, should be further                                [9] Krahn LE, Arand DL, Avidan AY, Davila DG, DeBassio WA, Ruoff CM, et al.
   examined.                                                                                     Recommended protocols for the multiple sleep latency test and maintenance
3. Better understanding of idiopathic hypersomnia as a disease                                   of wakefulness test in adults: guidance from the American Academy of Sleep
                                                                                                 Medicine. J Clin Sleep Med 2021;17:2489e98.
   state would lead to the identiﬁcation of reliable biomarkers and                         [10] Ohayon MM, Reynolds 3rd CF, Dauvilliers Y. Excessive sleep duration and
   inform rational treatment strategies.                                                         quality of life. Ann Neurol 2013;73:785e94.
4. The IHSS should be considered for disease characterization.                              [11] * Nevsimalova S, Susta M, Prihodova I, Maurovich Horvat E, Milata M,
                                                                                                 Sonka K. Idiopathic hypersomnia: a homogeneous or heterogeneous dis-
                                                                                                 ease?. Sleep Med 2021;80:86e91.
Declaration of competing interest                                                           [12] Trotti LM. Waking up is the hardest thing I do all day: sleep inertia and sleep
                                                                                                 drunkenness. Sleep Med Rev 2017;35:76e84.
                                                                                            [13] Vernet C, Leu-Semenescu S, Buzare MA, Arnulf I. Subjective symptoms in
    Y Dauvilliers is a consultant for and has participated in advisory                           idiopathic hypersomnia: beyond excessive sleepiness. J Sleep Res 2010;19:
boards for Jazz Pharmaceuticals, UCB Pharma, Avadel, Harmony                                     525e34.
Biosciences, Idorsia, Orexia, Takeda, Paladin, and Bioprojet. RK                            [14] Acquavella J, Mehra R, Bron M, Suomi JMH, Hess GP. Prevalence of narco-
                                                                                                 lepsy, other sleep disorders, and diagnostic tests from 2013e2016: insured
Bogan is a shareholder of Watermark Medical and Healthy Hum-                                     patients actively seeking care. J Clin Sleep Med 2020;16:1255e63.
ming, LLC; serves on the board of directors for Watermark; is a                             [15] * Arnulf I, Leu-Semenescu S, Dodet P. Precision medicine for idiopathic
medical consultant to Jazz Pharmaceuticals, Harmony Biosciences,                                 hypersomnia. Sleep Med Clin 2019;14:333e50.
                                                                                            [16] Billiard M, Sonka K. Idiopathic hypersomnia. Sleep Med Rev 2016;29:23e33.
Avadel Pharmaceuticals, Takeda, and Oventus; has conducted
                                                                                            [17] Leu-Semenescu S, Louis P, Arnulf I. Beneﬁts and risk of sodium oxybate in
industry-funded research for Avadel, Axsome, Bresotec, Bayer,                                    idiopathic hypersomnia versus narcolepsy type 1: a chart review. Sleep Med
Idorsia, Suven, Jazz, Balance, NLS, Vanda, Merck, Eisai, Philips,                                2016;17:38e44.
Fresca, Takeda, LivaNova, Roche, Sanoﬁ, Sommetrics, and Noctrix;                            [18] Kretzschmar U, Werth E, Sturzenegger C, Khatami R, Bassetti CL,
                                                                                                 Baumann CR. Which diagnostic ﬁndings in disorders with excessive daytime
and is on the speakers bureau for Jazz, Eisai, and Harmony. I Arnulf                             sleepiness are really helpful? A retrospective study. J Sleep Res 2016;25:
has participated in advisory boards for UCB Pharm, Idorsia, Ono                                  307e13.
Pharma, and Roche Pharma. TE Scammell has consulted for Avadel,                             [19] * Trotti LM, Ong JC, Plante DT, Friederich Murray C, King R, Bliwise DL.
                                                                                                 Disease symptomatology and response to treatment in people with idio-
Axsome, Consynance, Eisai, Harmony Biosciences, Idorsia, Jazz                                    pathic hypersomnia: initial data from the Hypersomnia Foundation registry.
Pharmaceuticals, Merck, Orion Pharma, Takeda, and Tris Pharma-                                   Sleep Med 2020;75:343e9.
ceuticals and has received research grants from the National In-                            [20] Vernet C, Arnulf I. Idiopathic hypersomnia with and without long sleep time:
                                                                                                 a controlled series of 75 patients. Sleep 2009;32:753e9.
stitutes of Health, Merck, Jazz, and Takeda. EK St Louis receives                           [21] * Evangelista E, Lopez R, Barateau L, Chenini S, Bosco A, Jaussent I, et al.
research support from the National Institutes of Health, the Na-                                 Alternative diagnostic criteria for idiopathic hypersomnia: a 32-hour pro-
tional Institute of Neurological Disease and Stroke, the National                                tocol. Ann Neurol 2018;83:235e47.
                                                                                                 
                                                                                            [22] Sonka      
                                                                                                         K, Susta  M, Billiard M. Narcolepsy with and without cataplexy, idio-
Institute on Aging, and the National Heart, Lung, and Blood Insti-                               pathic hypersomnia with and without long sleep time: a cluster analysis.
tute. MJ Thorpy has received research/grant support and consul-                                  Sleep Med 2015;16:225e31.
tancy fees from Jazz Pharmaceuticals, Harmony Biosciences,                                  [23] Roth B, Nevsimalova S, Rechtschaffen A. Hypersomnia with "sleep drunk-
                                                                                                 enness. Arch Gen Psychiatr 1972;26:456e62.
Balance Therapeutics, Axsome Therapeutics, and Avadel
                                                                                            [24] American Academy of Sleep Medicine. International classiﬁcation of sleep
Pharmaceuticals.                                                                                 disorders, revised: diagnostic and coding manual. Chicago, IL: American
                                                                                                 Academy of Sleep Medicine; 2001.
                                                                                            [25] American Academy of Sleep Medicine. Idiopathic hypersomnia with long
Acknowledgments
                                                                                                 sleep time. In: International classiﬁcation of sleep disorders: diagnostic and
                                                                                                 coding manual. second ed. Westchester, IL: American Academy of Sleep
   Under the direction of the authors, Judith Bammert Adams,                                     Medicine; 2005. p. 98e103.
PharmD, employee of Peloton Advantage, LLC, an OPEN Health                                  [26] Pizza F, Barateau L, Jaussent I, Vandi S, Antelmi E, Mignot E, et al. Validation
                                                                                                 of multiple sleep latency test for the diagnosis of pediatric narcolepsy type 1.
company, provided medical writing assistance funded by Jazz                                      Neurology 2019;93:e1034e44.
Pharmaceuticals; editorial assistance in formatting, proofreading,                          [27] Lopez R, Doukkali A, Barateau L, Evangelista E, Chenini S, Jaussent I, et al.
copyediting, and fact-checking was also provided by Peloton                                      Test-retest reliability of the multiple sleep latency test in central disorders of
                                                                                                 hypersomnolence. Sleep 2017;40:zsx164.
Advantage.                                                                                  [28] Evangelista E, Rassu AL, Barateau L, Lopez R, Chenini S, Jaussent I, et al.
                                                                                                 Characteristics associated with hypersomnia and excessive daytime sleepi-
Appendix A. Supplementary data                                                                   ness identiﬁed by extended polysomnography recording. Sleep 2021;44:
                                                                                                 zsaa264.
                                                                                            [29] Kanady JC, Harvey AG. Development and validation of the Sleep Inertia
   Supplementary data related to this article can be found at                                    Questionnaire (SIQ) and assessment of sleep inertia in analogue and clinical
https://doi.org/10.1016/j.smrv.2022.101709.                                                      depression. Cognit Ther Res 2015;39:601e12.
                                                                                            [30] Fernandez-Mendoza J, Puzino K, Amatrudo G, Bourchtein E, Calhoun SL,
                                                                                                 Plante DT, et al. The Hypersomnia Severity Index: reliability, construct, and
References                                                                                       criterion validity in a clinical sample of patients with sleep disorders. J Clin
                                                                                                 Sleep Med 2021;17:2249e56.
[*] Key reference                                                                           [31] * Evangelista E, Rassu AL, Lopez R, Biagioli N, Chenini S, Barateau L, et al.
   [1] Ohayon MM. From wakefulness to excessive sleepiness: what we know and                     Sleep inertia measurement with the psychomotor vigilance task in idiopathic
       still need to know. Sleep Med Rev 2008;12:129e41.                                         hypersomnia. Sleep 2022;45:zsab220.
   [2] * American Academy of Sleep Medicine. International classiﬁcation of sleep           [32] * Trotti LM, Saini P, Bremer E, Mariano C, Moron D, Rye DB, et al. The Psy-
       disorders. third ed. Darien, IL: American Academy of Sleep Medicine; 2014.                chomotor Vigilance Test as a measure of alertness and sleep inertia in people
   [3] * Lammers GJ, Bassetti CLA, Dolenc-Groselj L, Jennum PJ, Kallweit U,                      with central disorders of hypersomnolence. J Clin Sleep Med 2022;18(5):
       Khatami R, et al. Diagnosis of central disorders of hypersomnolence: a                    1395e403.
       reappraisal by European experts. Sleep Med Rev 2020;52:101306.                       [33] * Dauvilliers Y, Evangelista E, Barateau L, Lopez R, Chenini S, Delbos C, et al.
   [4] Jaussent I, Morin CM, Ivers H, Dauvilliers Y. Incidence, worsening and risk               Measurement of symptoms in idiopathic hypersomnia: the idiopathic
       factors of daytime sleepiness in a population-based 5-year longitudinal                   hypersomnia severity scale. Neurology 2019;92:e1754e62.
       study. Sci Rep 2017;7:1372.                                                          [34] Rassu AL, Evangelista E, Barateau L, Chenini S, Lopez R, Jaussent I, et al.
   [5] Ohayon MM, Dauvilliers Y, Reynolds 3rd CF. Operational deﬁnitions and al-                 Idiopathic Hypersomnia Severity Scale to better quantify symptoms severity
       gorithms for excessive sleepiness in the general population: implications for             and their consequences in idiopathic hypersomnia. J Clin Sleep Med
       DSM-5 nosology. Arch Gen Psychiatr 2012;69:71e9.                                          2022;18:617e29.
   [6] Fernandez-Mendoza J, Vgontzas AN, Kritikou I, Calhoun SL, Liao D, Bixler EO.         [35] Ohayon MM. Prevalence of hallucinations and their pathological associations
       Natural history of excessive daytime sleepiness: role of obesity, weight loss,            in the general population. Psychiatr Res 2000;97:153e64.
       depression, and sleep propensity. Sleep 2015;38:351e60.

                                                                                        8
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 327 of 385 PageID #: 33812

Y. Dauvilliers, R.K. Bogan, I. Arnulf et al.                                                                                               Sleep Medicine Reviews 66 (2022) 101709

 [36] Sharpless BA, Barber JP. Lifetime prevalence rates of sleep paralysis: a sys-            [65] Saad R, Ben-Joseph RH, Prince P, Stack C, Bujanover S, Taylor B. Clinical
      tematic review. Sleep Med Rev 2011;15:311e5.                                                  presentation prior to idiopathic hypersomnia diagnosis among US adults: a
 [37] Chabani E, Vionnet MC, Beaute      R, Leu-Semenescu S, Dodet P, Arnulf I.                    retrospective, real-world claims analysis [poster 497]. Annual Meeting of the
      Blackout of my nights: contentless, timeless and selﬂess report from the                      Associated Professional Sleep Societies; 2021.
      night in patients with central hypersomnias. Conscious Cognit 2020;81:                   [66] American Psychiatric Association. Diagnostic and statistical manual of
      102931.                                                                                       mental disorders. ﬁfth ed., DSM-5. Washington, DC: American Psychiatric
 [38] Trotti LM, Staab BA, Rye DB. Test-retest reliability of the multiple sleep la-                Publishing; 2013.
      tency test in narcolepsy without cataplexy and idiopathic hypersomnia.                   [67] Baldwin DS, Papakostas GI. Symptoms of fatigue and sleepiness in major
      J Clin Sleep Med 2013;9:789e95.                                                               depressive disorder. J Clin Psychiatr 2006;67(suppl 6):9e15.
 [39] Ruoff C, Pizza F, Trotti LM, Sonka K, Vandi S, Cheung J, et al. The MSLT is              [68] Plante DT, Finn LA, Hagen EW, Mignot E, Peppard PE. Subjective and
      repeatable in narcolepsy type 1 but not narcolepsy type 2: a retrospective                    objective measures of hypersomnolence demonstrate divergent associations
      patient study. J Clin Sleep Med 2018;14:65e74.                                                with depression among participants in the Wisconsin Sleep Cohort Study.
 [40] Anderson KN, Pilsworth S, Sharples LD, Smith IE, Shneerson JM. Idiopathic                     J Clin Sleep Med 2016;12:571e8.
      hypersomnia: a study of 77 cases. Sleep 2007;30:1274e81.                                 [69] Arand DL, Bonnet MH. The multiple sleep latency test. Handb Clin Neurol
 [41] Bassetti C, Aldrich MS. Idiopathic hypersomnia. A series of 42 patients. Brain                2019;160:393e403.
      1997;120(Pt 8):1423e35.                                                                  [70] Kolla BP, Jahani Kondori M, Silber MH, Samman H, Dhankikar S,
 [42] Pizza F, Vandi S, Detto S, Poli F, Franceschini C, Montagna P, et al. Different               Mansukhani MP. Advance taper of antidepressants prior to multiple sleep
      sleep onset criteria at the multiple sleep latency test (MSLT): an additional                 latency testing increases the number of sleep-onset rapid eye movement
      marker to differentiate central nervous system (CNS) hypersomnias. J Sleep                    periods and reduces mean sleep latency. J Clin Sleep Med 2020;16:1921e7.
      Res 2011;20:250e6.                                                                       [71] Mansukhani MP, Dhankikar S, Kotagal S, Kolla BP. The inﬂuence of antide-
 [43] Zhang Z, Mayer G, Dauvilliers Y, Plazzi G, Pizza F, Fronczek R, et al. Exploring              pressants and actigraphy-derived sleep characteristics on pediatric multiple
      the clinical features of narcolepsy type 1 versus narcolepsy type 2 from                      sleep latency testing. J Clin Sleep Med 2021;17:2179e85.
      European Narcolepsy Network database with machine learning. Sci Rep                      [72] Galuskova      
                                                                                                                K, Sonka K. Idiopathic hypersomnia and depression, the challenge
      2018;8:10628.                                                                                 for clinicians and researchers. Prague Med Rep 2021;122:127e39.
 [44] Murer T, Imbach LL, Hackius M, Taddei RN, Werth E, Poryazova R, et al.                   [73] Pagel JF. Drug-induced hypersomnolence. Sleep Med Clin 2017;12:383e93.
      Optimizing MSLT speciﬁcity in narcolepsy with cataplexy. Sleep 2017;40:                  [74] Mignot E, Lammers GJ, Ripley B, Okun M, Nevsimalova S, Overeem S, et al.
      zsx173.                                                                                       The role of cerebrospinal ﬂuid hypocretin measurement in the diagnosis of
 [45] Pizza F, Ferri R, Poli F, Vandi S, Cosentino FI, Plazzi G. Polysomnographic                   narcolepsy and other hypersomnias. Arch Neurol 2002;59:1553e62.
      study of nocturnal sleep in idiopathic hypersomnia without long sleep time.              [75] Kanbayashi T, Inoue Y, Chiba S, Aizawa R, Saito Y, Tsukamoto H, et al. CSF
      J Sleep Res 2013;22:185e96.                                                                   hypocretin-1 (orexin-A) concentrations in narcolepsy with and without
 [46] Cook JD, Eftekari SC, Leavitt LA, Prairie ML, Plante DT. Optimizing actigraphic               cataplexy and idiopathic hypersomnia. J Sleep Res 2002;11:91e3.
      estimation of sleep duration in suspected idiopathic hypersomnia. J Clin                 [76] Dauvilliers Y, Baumann CR, Carlander B, Bischof M, Blatter T, Lecendreux M,
      Sleep Med 2019;15:597e602.                                                                    et al. CSF hypocretin-1 levels in narcolepsy, Kleine-Levin syndrome, and
 [47] Leu-Semenescu S, Quera-Salva MA, Dauvilliers Y. French consensus. Idio-                       other hypersomnias and neurological conditions. J Neurol Neurosurg Psy-
      pathic hypersomnia: investigations and follow-up. Rev Neurol (Paris)                          chiatry 2003;74:1667e73.
      2017;173:32e7.                                                                           [77] Dauvilliers Y, Delallee N, Jaussent I, Scholz S, Bayard S, Croyal M, et al.
 [48] Plante DT. Hypersomnia in mood disorders: a rapidly changing landscape.                       Normal cerebrospinal ﬂuid histamine and tele-methylhistamine levels in
      Curr Sleep Med Rep 2015;1:122e30.                                                             hypersomnia conditions. Sleep 2012;35:1359e66.
 [49] Lopez R, Jaussent I, Scholz S, Bayard S, Montplaisir J, Dauvilliers Y. Functional        [78] Ebrahim IO, Sharief MK, de Lacy S, Semra YK, Howard RS, Kopelman MD,
      impairment in adult sleepwalkers: a case-control study. Sleep 2013;36:                        et al. Hypocretin (orexin) deﬁciency in narcolepsy and primary hypersomnia.
      345e51.                                                                                       J Neurol Neurosurg Psychiatry 2003;74:127e30.
 [50] Lopez R, Jaussent I, Dauvilliers Y. Objective daytime sleepiness in patients             [79] Barateau L, Jaussent I, Roeser J, Ciardiello C, Kilduff TS, Dauvilliers Y. Cere-
      with somnambulism or sleep terrors. Neurology 2014;83:2070e6.                                 brospinal ﬂuid monoamine levels in central disorders of hypersomnolence.
 [51] Carrillo-Solano M, Leu-Semenescu S, Golmard JL, Groos E, Arnulf I. Sleepiness                 Sleep 2021;44:zsab012.
      in sleepwalking and sleep terrors: a higher sleep pressure? Sleep Med                    [80] Rye DB, Bliwise DL, Parker K, Trotti LM, Saini P, Fairley J, et al. Modulation of
      2016;26:54e9.                                                                                 vigilance in the primary hypersomnias by endogenous enhancement of
 [52] Leu-Semenescu S, Maranci JB, Lopez R, Drouot X, Dodet P, Gales A, et al.                      GABAA receptors. Sci Transl Med 2012;4:161ra51.
      Comorbid parasomnias in narcolepsy and idiopathic hypersomnia: more                      [81] Trotti LM, Saini P, Koola C, LaBarbera V, Bliwise DL, Rye DB. Flumazenil for
      REM than NREM parasomnias. J Clin Sleep Med 2022;18:1355e64.                                  the treatment of refractory hypersomnolence: clinical experience with 153
 [53] Gasa M, Tamisier R, Launois SH, Sapene M, Martin F, Stach B, et al. Residual                  patients. J Clin Sleep Med 2016;12:1389e94.
      sleepiness in sleep apnea patients treated by continuous positive airway                 [82] Dauvilliers Y, Evangelista E, Lopez R, Barateau L, Jaussent I, Cens T, et al.
      pressure. J Sleep Res 2013;22:389e97.                                                         Absence of gamma-aminobutyric acid-a receptor potentiation in central
 [54] Pepin JL, Viot-Blanc V, Escourrou P, Racineux JL, Sapene M, Levy P, et al.                    hypersomnolence disorders. Ann Neurol 2016;80:259e68.
      Prevalence of residual excessive sleepiness in CPAP-treated sleep apnoea                 [83] Landzberg D, Trotti LM. Is idiopathic hypersomnia a circadian rhythm dis-
      patients: the French multicentre study. Eur Respir J 2009;33:1062e7.                          order? Curr Sleep Med Rep 2019;5:201e6.
 [55] Vgontzas AN, Bixler EO, Tan TL, Kantner D, Martin LF, Kales A. Obesity                   [84] Lippert J, Halfter H, Heidbreder A, Ro € hr D, Gess B, Boentert M, et al. Altered
      without sleep apnea is associated with daytime sleepiness. Arch Intern Med                    dynamics in the circadian oscillation of clock genes in dermal ﬁbroblasts of
      1998;158:1333e7.                                                                              patients suffering from idiopathic hypersomnia. PLoS One 2014;9:e85255.
 [56] Panossian LA, Veasey SC. Daytime sleepiness in obesity: mechanisms beyond                [85] Materna L, Halfter H, Heidbreder A, Boentert M, Lippert J, Koch R, et al.
      obstructive sleep apneada review. Sleep 2012;35:605e15.                                       Idiopathic hypersomnia patients revealed longer circadian period length in
 [57] Dauvilliers Y, Paquereau J, Bastuji H, Drouot X, Weil JS, Viot-Blanc V. Psy-                  peripheral skin ﬁbroblasts. Front Neurol 2018;9:424.
      chological health in central hypersomnias: the French Harmony study.                     [86] Thomas RJ, Bianchi MT. A circadian mechanism for idiopathic hyper-
      J Neurol Neurosurg Psychiatry 2009;80:636e41.                                                 somniada long biological night. Sleep Med 2020;74:31e2.
 [58] Ozaki A, Inoue Y, Nakajima T, Hayashida K, Honda M, Komada Y, et al.                     [87] Dauvilliers Y, Bassetti CL. Idiopathic hypersomnia. In: Kryger M, Roth T,
      Health-related quality of life among drug-naive patients with narcolepsy                      Dement WC, editors. Principles and practice of sleep medicine. sixth ed.
      with cataplexy, narcolepsy without cataplexy, and idiopathic hypersomnia                      Philadelphia, PA: Elsevier; 2017. p. 883e91.
      without long sleep time. J Clin Sleep Med 2008;4:572e8.                                  [88] Dauvilliers Y, Evangelista E, de Verbizier D, Barateau L, Peigneux P. [18F]
 [59] Kanbayashi T, Kodama T, Kondo H, Satoh S, Inoue Y, Chiba S, et al. CSF his-                   Fludeoxyglucose-positron emission tomography evidence for cerebral hy-
      tamine contents in narcolepsy, idiopathic hypersomnia and obstructive sleep                   permetabolism in the awake state in narcolepsy and idiopathic hypersomnia.
      apnea syndrome. Sleep 2009;32:181e7.                                                          Front Neurol 2017;8:350.
 [60] Andlauer O, Moore Ht, Hong SC, Dauvilliers Y, Kanbayashi T, Nishino S, et al.            [89] Boucetta S, Montplaisir J, Zadra A, Lachapelle F, Soucy JP, Gravel P, et al.
      Predictors of hypocretin (orexin) deﬁciency in narcolepsy without cataplexy.                  Altered regional cerebral blood ﬂow in idiopathic hypersomnia. Sleep
      Sleep 2012;35:1247e55.                                                                        2017;40:zsx140.
 [61] Mignot E, Hayduk R, Black J, Grumet FC, Guilleminault C. HLA DQB1*0602 is                [90] Trotti LM, Saini P, Crosson B, Meltzer CC, Rye DB, Nye JA. Regional brain
      associated with cataplexy in 509 narcoleptic patients. Sleep 1997;20:                         metabolism differs between narcolepsy type 1 and idiopathic hypersomnia.
      1012e20.                                                                                      Sleep 2021;44(8):zsab050.
 [62] Ali M, Auger RR, Slocumb NL, Morgenthaler TI. Idiopathic hypersomnia:                    [91] Plante DT. Nocturnal sleep architecture in idiopathic hypersomnia: a sys-
      clinical features and response to treatment. J Clin Sleep Med 2009;5:562e8.                   tematic review and meta-analysis. Sleep Med 2018;45:17e24.
 [63] Pizza F, Filardi M, Moresco M, Antelmi E, Vandi S, Neccia G, et al. Excessive            [92] * Maski KP, Colclasure A, Little E, Steinhart E, Scammell TE, Navidi W, et al.
      daytime sleepiness in narcolepsy and central nervous system hypersomnias.                     Stability of nocturnal wake and sleep stages deﬁnes CNS disorders of hy-
      Sleep Breath 2020;24:605e14.                                                                  persomnolence. Sleep 2021;44(7):zsab021.
 [64] Buskova J, Novak T, Miletínova
                                       E, Kralova          
                                                   R, Kost Alova J, Klikova
                                                                              M, et al.       [93] Cairns A, Bogan R. Comparison of the macro and microstructure of sleep in a
      Self-reported symptoms and objective measures in idiopathic hypersomnia                       sample of sleep clinic hypersomnia cases. Neurobiol Sleep Circadian
      and hypersomnia associated with psychiatric disorders: a prospective cross-                   Rhythms 2019;6:62e9.
      sectional study. J Clin Sleep Med 2022;18:713e20.

                                                                                           9
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 328 of 385 PageID #: 33813

Y. Dauvilliers, R.K. Bogan, I. Arnulf et al.                                                                                              Sleep Medicine Reviews 66 (2022) 101709

 [94] Xywav® (calcium, magnesium, potassium, and sodium oxybates) oral solu-                  [100] Trotti LM, Saini P, Bliwise DL, Freeman AA, Jenkins A, Rye DB. Clarithromycin
      tion, CIII [prescribing information]. Palo Alto, CA: Jazz Pharmaceuticals, Inc.;              in g-aminobutyric acid-related hypersomnolence: a randomized, crossover
      2021.                                                                                         trial. Ann Neurol 2015;78:454e65.
 [95] Dauvilliers Y, Arnulf I, Foldvary-Schaefer N, Morse AM, Sonka K, Thorpy MJ,             [101] Leu-Semenescu S, Nittur N, Golmard JL, Arnulf I. Effects of pitolisant, a his-
      et al. Safety and efﬁcacy of lower-sodium oxybate in adults with idiopathic                   tamine H3 inverse agonist, in drug-resistant idiopathic and symptomatic
      hypersomnia: a phase 3, placebo-controlled, double-blind, randomised                          hypersomnia: a chart review. Sleep Med 2014;15:681e7.
      withdrawal study. Lancet Neurol 2022;21:53e65.                                          [102] Gool JK, Zhang Z, Oei M, Mathias S, Dauvilliers Y, Mayer G, et al. Data-driven
 [96] Evangelista E, Lopez R, Dauvilliers Y. Update on treatment for idiopathic                     phenotyping of central disorders of hypersomnolence with unsupervised
      hypersomnia. Expet Opin Invest Drugs 2018;27:187e92.                                          clustering. Neurology 2022;98:e2387e400.
 [97] Mayer G, Benes H, Young P, Bitterlich M, Rodenbeck A. Modaﬁnil in the                   [103] Barateau L, Chenini S, Rassu AL, Denis C, Lorber Q, Dhalluin C, et al. Changes
      treatment of idiopathic hypersomnia without long sleep timeda random-                         in sleep pattern during the COVID-19 lockdown in patients with narcolepsy,
      ized, double-blind, placebo-controlled study. J Sleep Res 2015;24:74e81.                      idiopathic hypersomnia, and restless legs syndrome. Neurology 2022;99:
 [98] Inoue Y, Tabata T, Tsukimori N. Efﬁcacy and safety of modaﬁnil in patients                    e1475e85.
      with idiopathic hypersomnia without long sleep time: a multicenter, ran-                [104] Nigam M, Hippolyte A, Dodet P, Gales A, Maranci JB, Al-Youssef S, et al.
      domized, double-blind, placebo-controlled, parallel-group comparison                          Sleeping through a pandemic: impact of COVID-19-related restrictions on
      study. Sleep Med 2021;80:315e21.                                                              narcolepsy and idiopathic hypersomnia. J Clin Sleep Med 2022;18:255e63.
 [99] Trotti LM, Saini P, Freeman AA, Bliwise DL, García PS, Jenkins A, et al.                [105] Johns MW. A new method for measuring daytime sleepiness: the Epworth
      Improvement in daytime sleepiness with clarithromycin in patients with                        Sleepiness Scale. Sleep 1991;14:540e5.
      GABA-related hypersomnia: clinical experience. J Psychopharmacol 2014;28:               [106] Bassetti C, Gugger M, Bischof M, Mathis J, Sturzenegger C, Werth E, et al. The
      697e702.                                                                                      narcoleptic borderland: a multimodal diagnostic approach including cere-
                                                                                                    brospinal ﬂuid levels of hypocretin-1 (orexin A). Sleep Med 2003;4:7e12.




                                                                                         10
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 329 of 385 PageID #: 33814




   Supplemental Table 1. ICSD-3 Diagnostic Criteria for Idiopathic Hypersomnia [1]

     'DLO\ SHULRGV RI LUUHSUHVVLEOH QHHG WR VOHHS RU GD\WLPH ODSVHV LQWR VOHHS SUHVHQW IRU 
     months
     Absence of cataplexy

     Presence of at least 1 of the following:
     0HDQ VOHHS ODWHQF\  PLQXWHV RQ 06/7
     7RWDO -KRXU VOHHS WLPH  PLQXWHV RQ -KRXU 36* RU ZULVW DFWLJUDSK\ LQ DVVRFLDWLRQ
     ZLWK D VOHHS ORJ DYHUDJHG RYHU  GD\V
     )HZHU WKDQ  625(03V RQ 06/7 RU  LI QRFWXUQDO 5(0 ODWHQF\ ZDV  PLQXWHV

     ,QVXIILFLHQW VOHHS V\QGURPH LV UXOHG RXW

     +\SHUVRPQROHQFH DQGRU 06/7 ILQGLQJV DUH QRW EHWWHU H[SODLQHG E\ RWKHU FDXVHV
   ICSD-3, International Classification of Sleep Disorders UG (GLWLRQ 06/7 PXOWLSOH VOHHS
   ODWHQF\ WHVW 36* SRO\VRPQRJUDSK\ 5(0 rapid eye movement 625(03 VOHHS RQVHW UDSLG
   eye movement period.


   Reference:
   [1] American Academy of Sleep Medicine. International Classification of Sleep Disorders. 3rd
       ed. 'DULHQ ,/ $PHULFDQ $FDGHP\ RI 6OHHS 0HGLFLQH 
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 330 of 385 PageID #: 33815




                    EXHIBIT 29
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 331 of 385 PageID #: 33816
                    Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 332 of 385 PageID #: 33817
                        Landzberg and Trotti                                                                                            Page 2


                                               lib 24 hour polysomnography, or at least 7 days of ad lib actigraphy, after excluding other
Author Manuscript




                                               causes of sleepiness such as narcolepsy type 1, narcolepsy type 2, insufficient sleep
                                               syndrome, causal medical or comorbid psychiatric illnesses, and medication side effects [1].
                                               Importantly, the diagnosis of IH requires exclusion of circadian rhythm sleep wake disorders
                                               that are causal to the symptoms of sleepiness, such as delayed sleep phase syndrome.
                                               However, as this review will highlight, there may still be aspects of circadian dysfunction
                                               present in people diagnosed with IH.

                                               The etiology of IH is currently unknown and no single biomarker has been firmly
                                               established. However, there are several non-mutually exclusive, proposed hypotheses for its
                                               pathophysiology. Some of these hypotheses involve alterations of key wake-sleep regulatory
                                               pathways including mono-aminergic and GABAergic neurotransmitter systems, sleep-wake
                                               instability and disrupted sleep homeostasis [2, 3]. Other proposed mechanisms for IH
                                               include dysfunction of the autonomic nervous system and changes in the brain’s default
Author Manuscript




                                               mode network or other regional changes in brain connectivity or metabolism [4-6].

                                               Another important component of sleep-wake regulation is the circadian system. As our
                                               understanding of circadian rhythms has increased over the last few decades, the study of
                                               circadian function in idiopathic hypersomnia patients has become an intriguing possibility.
                                               There have been recent studies exploring circadian gene associations, expression of clock
                                               proteins and circadian phase mapping in patients with idiopathic hypersomnia. Although it is
                                               premature to conclude that IH is a circadian rhythm disorder, these studies provide
                                               increasing evidence that circadian dysfunction may contribute to at least some cases of IH.
                                               The aim of this review is to provide an overview of recent circadian studies in IH and to
                                               explore the role of circadian rhythm dysfunction in idiopathic hypersomnia.
Author Manuscript




                           II.    Overview of the Circadian System
                                               Many human activities, including numerous behavioral and metabolic processes, function on
                                               a diurnal cycle. Perhaps the most dramatic example of a diurnal cycle is the sleep-wake
                                               cycle, but other processes ranging from food intake to ovulation also exhibit clear diurnal
                                               cycles [7]. All of these processes are controlled by an internal timing system referred to as a
                                               circadian rhythm. The biological pacemaker for this process is the suprachiasmatic nucleus
                                               (SCN), which is located in the anterior hypothalamus, and consists of neurons with self-
                                               sustained rhythmic properties. This endogenous rhythm typically has cycles of
                                               approximately, but rarely precisely, 24 hours [8].

                                               Generation and maintenance of this circadian rhythm are accomplished by the expression of
                                               core circadian proteins that form an auto-regulatory transcriptional/translational feedback
Author Manuscript




                                               loop. The process starts during the biological daytime when two transcription factors,
                                               circadian locomotor output cycles kaput (CLOCK) and brain and muscle arnt-like protein 1
                                               (BMAL1), form a heterodimer. This CLOCK-BMAL1 transcription factor complex binds to
                                               an enhancer box, promoting transcription of proteins including two key regulating proteins
                                               period (PER) and cryptochrome (CRY). As PER and CRY build up in the cytoplasm
                                               throughout the biological day, the proteins form a complex that travels back into the nucleus
                                               where it degrades the CLOCK-BMAL1 transcription factor. This inhibitory component


                                               Curr Sleep Med Rep. Author manuscript; available in PMC 2020 December 11.
                    Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 333 of 385 PageID #: 33818
                        Landzberg and Trotti                                                                                             Page 3


                                               allows for the biological nighttime. PER and CRY concentrations decrease throughout the
Author Manuscript




                                               biological night, due to the degradation of CLOCK-BMAL1 complexes and an additional
                                               phosphorylation process, allowing this regulatory process to reset for the next biological day
                                               [9].

                                               Clock gene expression is preserved across the majority of cell types and is found in both
                                               central and peripheral cells. Many peripheral cells exhibit rhythmic properties even in vitro
                                               (i.e., separated from the influence of the SCN), and these cells are considered part of the
                                               peripheral circadian clock [10, 9]. The SCN asserts dominant control over this system
                                               through endocrine and neuronal outputs, allowing for an orchestrated whole body clock.
                                               However, the presence of peripheral circadian clock cells provides an attractive and
                                               accessible way to investigate circadian genetics and function.

                                               Because the endogenous circadian rhythm is rarely precisely 24 hours in length, the
Author Manuscript




                                               endogenous rhythm must be synchronized daily to the surrounding environment. Through a
                                               process called entrainment, the SCN uses inputs such as light to align its intrinsic cycle with
                                               the environment. Depending on the timing, duration and intensity of the light signal,
                                               exposure to light can cause either circadian phase advancement or delay [9].

                                               Circadian phases can be mapped by measuring diurnal processes, such as temperature or
                                               hormones that are expressed in rhythm to the body’s circadian cycle. Melatonin, a
                                               commonly measured circadian marker, is produced by the pineal gland, which has direct
                                               connections from the SCN. During the biological day, melatonin production is suppressed,
                                               resulting in a low melatonin concentration. This concentration begins to rise in the evening
                                               before peaking during the biological night. Dim light melatonin onset (DLMO), the time
                                               melatonin levels rise above baseline under dim light exposure, is an important measure of
Author Manuscript




                                               melatonin thought to represent the start of the biological night and typically occurs between
                                               19:30 and 22:00 [11].

                                               Sleep-wake processes are driven in part by the circadian rhythm. This endogenous rhythm
                                               promotes the expression of wake processes during the biological day and sleep processes
                                               during the biological night. Dysfunction of the circadian rhythm can present as a delayed or
                                               advanced onset of sleep, diminished amplitude, or impaired regulation of a circadian phase.
                                               The manifestations of these effects have a wide range of symptoms, and are important to
                                               investigate in IH.


                           III.    Symptomatology of IH as a clue to circadian dysfunction
                                               Idiopathic hypersomnia can have several clinical presentations, and current understanding of
Author Manuscript




                                               this syndrome is heavily influenced by case series of IH patients that have characterized the
                                               symptom profiles [12-21•]. While there is no single pathognomonic symptom, commonly
                                               reported symptoms of IH include long sleep times, prolonged non-refreshing naps, memory
                                               problems, attention deficits, automatic behaviors, and sleep drunkenness.

                                               Although not considered as a part of the diagnostic criteria for the disorder, IH tends to be
                                               accompanied by a late chronotype. The three major chronotypes are early, intermediate, and
                                               late, where early type patients have a tendency to be alert in the morning and late type


                                               Curr Sleep Med Rep. Author manuscript; available in PMC 2020 December 11.
                    Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 334 of 385 PageID #: 33819
                        Landzberg and Trotti                                                                                             Page 4


                                               patients have a tendency to be alert in the evening. A person’s chronotype is thought to
Author Manuscript




                                               represent the behavioral phenotype of their underlying circadian processes. Numerous large
                                               genome wide association studies have shown an association of SNPs from key circadian
                                               genes with different chronotype presentations [22-24]. A commonly used grading scale is
                                               the Horne-Ostberg scale (HO), in which a lower score represents a later chronotype [25]. In
                                               one of the largest cohort studies of IH patients to date, Vernet et al reported that IH patients
                                               were significantly more alert in the evening with an HO score of 47.8, as compared to an HO
                                               score of 55.2 in controls [21•]. In a smaller sample, no significant difference in HO scores
                                               was seen between IH patients and controls (43.3 in IH vs 53.2 in controls, p = 0.09), but this
                                               may have reflected Type II error [26••].

                                               Because of this tendency toward late chronotype, IH shares similarities to the circadian
                                               rhythm sleep-wake disorder, delayed sleep phase syndrome (DSPS). People with DSPS may
                                               also experience severe daytime sleepiness and pronounced sleep inertia. However, in DSPS
Author Manuscript




                                               these symptoms are attributed to chronic, partial sleep deprivation caused by a misalignment
                                               of chronotype and daily activities, e.g., needing to awaken in time for school or work. As
                                               such, DSPS patients should have resolution of sleepiness and sleep inertia with adjustment
                                               of their behavioral schedule to their circadian cycle. In contrast, while IH patients may have
                                               an evening chronotype, their symptoms would not be expected to abate with such alignment.
                                               DSPS symptomatology is from consequences of the internal circadian rhythm being
                                               misaligned with society’s preferences, while IH patients continue to have symptoms despite
                                               increased sleep time or adjustment of their behaviors. At present, the precise mechanism of
                                               late chronotype in IH is still unknown.

                                               An additional finding commonly shared between DSPS and IH is sleep drunkenness, the
                                               symptom of having great difficulty awakening from sleep, with prolonged cognitive
Author Manuscript




                                               dysfunction and lapses back into sleep. These symptoms are similar to sleep inertia, which is
                                               the physiologic transitional state between sleep and wake that is characterized by
                                               hypovigilance and impaired cognition. However, while sleep inertia is considered a normal
                                               biologic process, sleep drunkenness is considered pathologic, with much more severe
                                               symptoms. It is reported that 78% of IH patients have difficulty awakening with a reported
                                               range of 12.5 – 55.1% having sleep drunkenness [20•, 27••]. It is not currently known
                                               whether sleep drunkenness represents an exaggerated form of sleep inertia or represents a
                                               distinct process.

                                               In healthy controls, sleep inertia is worsened with waking during the biological night [28]. In
                                               individuals with delayed sleep phase syndrome, sleep drunkenness occurs as a manifestation
                                               of phase delay, such that the difficulty awakening and propensity to fall back asleep arise
Author Manuscript




                                               from a person trying to awaken when their circadian rhythm is still in the biological night
                                               phase [1]. Thus, because IH patients tend to have a late chronotype, sleep drunkenness in IH
                                               patients could in part be explained by circadian misalignment. This is supported by the fact
                                               that lower HO scores are found in IH patients with sleep drunkenness than in patients
                                               without this symptom [20•]. However, if sleep drunkenness in IH was purely circadian,
                                               sleeping later into the environmental day resulting in awakening during the biological day
                                               would be expected to alleviate these symptoms, and daytime naps would not be expected to
                                               cause sleep drunkenness. However, increased total sleep time does not decrease sleep


                                               Curr Sleep Med Rep. Author manuscript; available in PMC 2020 December 11.
                    Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 335 of 385 PageID #: 33820
                        Landzberg and Trotti                                                                                             Page 5


                                               drunkenness symptoms in IH patients and patients frequently report daytime naps are a
Author Manuscript




                                               trigger for sleep drunkenness [20•].

                                               Thus, both sleep drunkenness and late chronotype symptoms in IH patients suggest that
                                               there may be an aspect of circadian dysfunction in IH, although such circadian dysfunction
                                               is unlikely to fully explain the phenotype.


                           IV.     Measurement of Circadian Phase Timing and Duration in Idiopathic
                           Hypersomnia
                                               The first study to objectively measure circadian phases in idiopathic hypersomnia was by
                                               Nevsimalova et al in 2000, who measured salivary levels of both melatonin and cortisol to
                                               map circadian phases in IH and control patients [29••]. Salivary melatonin and cortisol had
                                               previously been shown to correlate well with serum melatonin, the gold standard for phase
Author Manuscript




                                               markers [30]. Salivary samples were taken over a 24 hour time period in a group of 15
                                               patients with idiopathic hypersomnia with long sleep times and sleep drunkenness and 15
                                               controls [29••]. IH patients had evidence for delayed circadian rhythms of both melatonin
                                               and cortisol. The evening melatonin rise was delayed by nearly 2 hours (occurring at a mean
                                               of 23:12 in IH patients and 21:32 in controls, p < 0.01). The morning decline was delayed by
                                               nearly 3 hours (8:41 in IH vs 5:56 in controls, p < 0.01). Morning cortisol rise was delayed
                                               by over an hour (5:31 in IH vs 4:22 in controls, p < 0.01). In addition to this evidence for
                                               phase delay in IH, the IH patients demonstrated significant lower nighttime melatonin
                                               concentration (21.3 pg/ml in IH vs 29.0 pg/ml in controls, p < 0.05). There was a suggestion
                                               that IH patients might have a longer duration of the night phase, as the length of the
                                               melatonin signal was longer by 91 minutes in IH patients than controls (9.68 hours in IH
                                               patients vs 8.17 hours in controls), but this finding was not statistically significant [29••].
Author Manuscript




                                               A recent abstract has provided additional data in support of the idea that people with IH may
                                               have an abnormally long night phase duration, contributing to long sleep times and daytime
                                               sleepiness [31]. In this work, urine melatonin metabolites (urine 6-sulfatoxy melatonin) were
                                               measured in 50 IH patients, although control values were not provided. The average duration
                                               of biological night, as measured by urinary melatonin metabolites, was long at 16 +/− 1.2
                                               hours. In only 10/50 (20%) patients, the biological night was considered to be of normal
                                               duration, i.e., 9 hours or less. Unspecified treatment response to bright light therapy occurred
                                               in 80% (32/40) of the patients with a baseline long biological night.

                                               Recent breakthroughs in the understanding of dermal fibroblast cells have made it possible
                                               to directly investigate circadian phases in peripheral clock cells of IH patients. Dermal
Author Manuscript




                                               fibroblasts are peripheral clock cells and because circadian gene expression is preserved in
                                               these cells, the circadian phases in dermal fibroblasts can be used as surrogates for the
                                               circadian phases in central circadian clocks. Materna et al. examined the circadian period
                                               length of dermal fibroblasts in fifteen IH patients and compared them with sixteen healthy
                                               controls [26••]. Circadian period length of fibroblasts was measured using a lentiviral
                                               bioluminescence assay that transfected a luciferase gene under the control of BMAL1
                                               promoter into human fibroblast cells. IH patients had significantly longer circadian period
                                               lengths than controls, by an average of 0.82 hours longer (average period length of 25.3


                                               Curr Sleep Med Rep. Author manuscript; available in PMC 2020 December 11.
                    Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 336 of 385 PageID #: 33821
                        Landzberg and Trotti                                                                                              Page 6


                                               hours in IH patients vs 24.5 hours in controls; 95% CI for the difference of 0.44 to 1.2
Author Manuscript




                                               hours).


                           V.     Circadian Genetics in Idiopathic Hypersomnia
                                               A case report identified a family that had three members with IH confirmed by clinical
                                               assessment and PSG, suggesting a genetic predisposition to IH in this family with an
                                               autosomal dominant inheritance pattern [32]. Other, larger studies have confirmed a
                                               predisposition to sleepiness in family members of IH patients, with affected family members
                                               in 26.9 to 39.1% of cases [17, 19, 33, 34]. Family predisposition, however, has been
                                               categorized largely by subjective accounts of daytime sleepiness in these relatives, as
                                               opposed to objective family diagnoses of IH.

                                               To date, there have not been any published genetic association studies exclusively containing
Author Manuscript




                                               idiopathic hypersomnia patients. However, a few candidate–gene association studies have
                                               been performed on cohorts where large portions of the included patients met criteria for IH.
                                               One such study examined single nucleotide polymorphism (SNP) mutations in circadian
                                               genes with a cohort of patients with hypersomnia of central origin where 44.2% (38/86) of
                                               patients had idiopathic hypersomnia with long sleep time [35•]. Ten circadian SNPs (in
                                               CRY1, CRY2, and BMAL1) were investigated, and one SNP within CRY1 significantly
                                               differed between the central hypersomnia patients and controls. The frequency of this SNPs
                                               in the different included hypersomnia syndromes was not recorded, so it is unknown if this
                                               CRY1 gene polymorphism is independently associated with IH.

                                               Dermal fibroblasts have also been used to investigate circadian genetic expression in IH and
                                               have produced intriguing evidence that key circadian genes are abnormally expressed in IH.
                                               Ten IH patients were chosen after rigorous diagnostic evaluation including clinical, PSG and
Author Manuscript




                                               MSLT assessment and dermal fibroblasts were obtained by skin biopsy [36••]. The
                                               expression of key circadian proteins was measured over two consecutive 24-hour periods
                                               and compared to concentrations in a healthy control group. The circadian amplitudes of the
                                               expressed genes BMAL1, PER1 and PER2 were decreased in fibroblasts of IH patients as
                                               compared to that of healthy controls. The largest decrease was in the BMAL1 gene, in which
                                               the amplitude of expression was decreased by 63% in the first diurnal cycle and by 46% in
                                               the second cycle. PER1 and PER2 gene expression were also were also decreased in the first
                                               diurnal cycle by 45% and 32%, respectively. CRY1 and CRY2 expression did not differ
                                               between IH and control samples. The only difference in gene transcription rate for the two
                                               groups was in BMAL1, which was significantly lower in IH patients than controls [36••].

                                               Despite the many similarities between central and peripheral clock cells, differences in
Author Manuscript




                                               expression as well as function of certain genes are thought to exist [10]. Therefore, we
                                               cannot extrapolate whether the central circadian clock cells in IH also exhibit the impaired
                                               circadian gene expression found in fibroblast cells. Additionally it is still unclear whether
                                               the altered expression of clock genes is due to genetic mutations or instead due to disrupted
                                               sleep, as it has recently been shown that disrupted sleep may alter fibroblast circadian gene
                                               expression [37].




                                               Curr Sleep Med Rep. Author manuscript; available in PMC 2020 December 11.
                    Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 337 of 385 PageID #: 33822
                        Landzberg and Trotti                                                                                                             Page 7


                                               Nonetheless, the demonstration of impaired gene expression of circadian protein BMAL1,
Author Manuscript




                                               and to a lesser extent circadian proteins PER1 and PER2, in fibroblasts of IH patients
                                               identify possible molecular drivers of the previous findings of delayed and prolonged
                                               circadian phases in IH.


                           VI.     Conclusion
                                               Idiopathic hypersomnia is a central disorder of hypersomnolence that is associated with late
                                               chronotype and sleep drunkenness. Clinical phenotype and melatonin and cortisol rhythms
                                               are consistent with a circadian phase delay. A longer circadian period or longer night phase
                                               is suggested by studies of dermal fibroblasts and urinary melatonin metabolites, respectively.
                                               Decreased circadian amplitude is seen in both melatonin levels and expression of circadian
                                               genes BMAL1, PER1, and PER2. A SNP within circadian gene CRY1 is associated with the
                                               central disorders of hypersomnolence as a group, including idiopathic hypersomnia. Further
Author Manuscript




                                               investigation is needed to better understand the disrupted circadian phases and altered gene
                                               expression observed in idiopathic hypersomnia patients and whether these are playing a
                                               causative role in symptoms.

                                               Research Agenda:

                                                    a.      Determine the mechanisms of the symptoms of sleep drunkenness and late
                                                            chronotype in IH. A study comparing the evening rise and morning decline of
                                                            melatonin between IH patients with and without a late chronotype as well as IH
                                                            patients with and without sleep drunkenness would examine if these symptoms
                                                            are from a delayed night phase.

                                                    b.      Determine underlying pathophysiology behind the delayed and prolonged night
Author Manuscript




                                                            phase. While BMAL1 appears to play an important role in IH, it may be that key
                                                            transcriptional regulators of BMAL1, as opposed to mutations of the BMAL1
                                                            gene, are the driver as the expression of BMAL1 rather than protein function has
                                                            been found to be abnormal.

                                                    c.      Examine if using circadian rhythm therapies improve symptoms as well as
                                                            improve phase delay in IH patients.


                           Acknowledgments
                                               Support: This was supported by the National Institute of Neurological Disorders And Stroke of the National
                                               Institutes of Health under Award Number K23 NS083748. The content is solely the responsibility of the authors
                                               and does not necessarily represent the official views of the National Institutes of Health
Author Manuscript




                           References
                                               1. International classification of sleep disorders. 3rd ed. Darien, IL: American Acad. of Sleep
                                                  Medicine.
                                               2. Billiard M, Sonka K. Idiopathic hypersomnia. Sleep Med Rev. 2016;29:23–33. doi:10.1016/
                                                  j.smrv.2015.08.007. [PubMed: 26599679]
                                               3. Rye DB, Bliwise DL, Parker K, Trotti LM, Saini P, Fairley J et al. Modulation of vigilance in the
                                                  primary hypersomnias by endogenous enhancement of GABAA receptors. Sci Transl Med.
                                                  2012;4(161):161ra51. doi:10.1126/scitranslmed.3004685.



                                               Curr Sleep Med Rep. Author manuscript; available in PMC 2020 December 11.
                    Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 338 of 385 PageID #: 33823
                        Landzberg and Trotti                                                                                                  Page 8


                                               4. Sforza E, Roche F, Barthelemy JC, Pichot V. Diurnal and nocturnal cardiovascular variability and
                                                  heart rate arousal response in idiopathic hypersomnia. Sleep Med. 2016;24:131–6. doi:10.1016/
Author Manuscript




                                                  j.sleep.2016.07.012. [PubMed: 27810179]
                                               5. Boucetta S, Montplaisir J, Zadra A, Lachapelle F, Soucy JP, Gravel P et al. Altered Regional
                                                  Cerebral Blood Flow in Idiopathic Hypersomnia. Sleep. 2017;40(10). doi:10.1093/sleep/zsx140.
                                               6. Dauvilliers Y, Evangelista E, de Verbizier D, Barateau L, Peigneux P. [18F]Fludeoxyglucose-
                                                  Positron Emission Tomography Evidence for Cerebral Hypermetabolism in the Awake State in
                                                  Narcolepsy and Idiopathic Hypersomnia. Front Neurol. 2017;8:350. doi:10.3389/fneur.2017.00350.
                                                  [PubMed: 28775709]
                                               7. Silver R, Kriegsfeld LJ. Circadian rhythms have broad implications for understanding brain and
                                                  behavior. Eur J Neurosci. 2014;39(11):1866–80. doi:10.1111/ejn.12593. [PubMed: 24799154]
                                               8. Czeisler CA, Duffy JF, Shanahan TL, Brown EN, Mitchell JF, Rimmer DW et al. Stability,
                                                  precision, and near-24-hour period of the human circadian pacemaker. Science.
                                                  1999;284(5423):2177–81. [PubMed: 10381883]
                                               9. Fonken LK, Nelson RJ. The effects of light at night on circadian clocks and metabolism. Endocr
                                                  Rev. 2014;35(4):648–70. doi:10.1210/er.2013-1051 10.1210/er.9013-1051. [PubMed: 24673196]
Author Manuscript




                                               10. Mohawk JA, Green CB, Takahashi JS. Central and peripheral circadian clocks in mammals. Annu
                                                    Rev Neurosci. 2012;35:445–62. doi:10.1146/annurev-neuro-060909-153128. [PubMed: 22483041]
                                               11. Pandi-Perumal SR, Smits M, Spence W, Srinivasan V, Cardinali DP, Lowe AD et al. Dim light
                                                    melatonin onset (DLMO): a tool for the analysis of circadian phase in human sleep and
                                                    chronobiological disorders. Prog Neuropsychopharmacol Biol Psychiatry. 2007;31(1):1–11.
                                                    doi:10.1016/j.pnpbp.2006.06.020. [PubMed: 16884842]
                                               12. Roth B. Narcolepsy and hypersomnia: review and classification of 642 personally observed cases.
                                                    Schweiz Arch Neurol Neurochir Psychiatr. 1976;119(1):31–41. [PubMed: 981985]
                                               13. Aldrich MS. The clinical spectrum of narcolepsy and idiopathic hypersomnia. Neurology.
                                                    1996;46(2):393–401. doi:10.1212/wnl.46.2.393. [PubMed: 8614501]
                                               14. Billiard M, Merle C, Carlander B, Ondze B, Alvarez D, Besset A. Idiopathic hypersomnia.
                                                    Psychiatry Clin Neurosci. 1998;52(2):125–9. doi:10.1111/j.1440-1819.1998.tb00987.x. [PubMed:
                                                    9628108]
                                               15. Bassetti C, Aldrich MS. Idiopathic hypersomnia. A series of 42 patients. Brain. 1997;120 ( Pt
Author Manuscript




                                                    8):1423–35. doi:10.1093/brain/120.8.1423. [PubMed: 9278632]
                                               16. Komada Y, Inoue Y, Mukai J, Shirakawa S, Takahashi K, Honda Y. Difference in the characteristics
                                                    of subjective and objective sleepiness between narcolepsy and essential hypersomnia. Psychiatry
                                                    Clin Neurosci. 2005;59(2):194–9. doi:10.1111/j.1440-1819.2005.01357.x. [PubMed: 15823167]
                                               17. Anderson KN, Pilsworth S, Sharples LD, Smith IE, Shneerson JM. Idiopathic hypersomnia: a
                                                    study of 77 cases. Sleep. 2007;30(10):1274–81. doi:10.1093/sleep/30.10.1274. [PubMed:
                                                    17969461]
                                               18. Sonka K, Susta M, Billiard M. Narcolepsy with and without cataplexy, idiopathic hypersomnia
                                                    with and without long sleep time: a cluster analysis. Sleep Med. 2015;16(2):225–31. doi:10.1016/
                                                    j.sleep.2014.09.016. [PubMed: 25576137]
                                               19. Ali M, Auger RR, Slocumb NL, Morgenthaler TI. Idiopathic hypersomnia: clinical features and
                                                    response to treatment. J Clin Sleep Med. 2009;5(6):562–8. [PubMed: 20465024]
                                               20•. Vernet C, Leu-Semenescu S, Buzare MA, Arnulf I. Subjective symptoms in idiopathic
                                                      hypersomnia: beyond excessive sleepiness. J Sleep Res. 2010;19(4):525–34. doi:10.1111/
                                                      j.1365-2869.2010.00824.x. [PubMed: 20408941] This controlled cohort study reports subjective
Author Manuscript




                                                      symptoms of idiopathic hypersomnia patients including the frequency of sleep drunkenness and
                                                      chronotype HO scores.
                                               21•. Vernet C, Arnulf I. Idiopathic hypersomnia with and without long sleep time: a controlled series
                                                      of 75 patients. Sleep. 2009;32(6):753–9. doi:10.1093/sleep/32.6.753. [PubMed: 19544751] This
                                                      controlled prospective cohort study compares symptoms of IH patients with those of healthy
                                                      controls including HO scores.
                                               22. Lane JM, Vlasac I, Anderson SG, Kyle SD, Dixon WG, Bechtold DA et al. Genome-wide
                                                    association analysis identifies novel loci for chronotype in 100,420 individuals from the UK
                                                    Biobank. Nat Commun. 2016;7:10889. doi:10.1038/ncomms10889. [PubMed: 26955885]


                                               Curr Sleep Med Rep. Author manuscript; available in PMC 2020 December 11.
                    Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 339 of 385 PageID #: 33824
                        Landzberg and Trotti                                                                                                     Page 9


                                               23. Jones SE, Tyrrell J, Wood AR, Beaumont RN, Ruth KS, Tuke MA et al. Genome-Wide Association
                                                   Analyses in 128,266 Individuals Identifies New Morningness and Sleep Duration Loci. PLoS
Author Manuscript




                                                   Genet. 2016;12(8):e1006125. doi:10.1371/journal.pgen.1006125. [PubMed: 27494321]
                                               24. Hu Y, Shmygelska A, Tran D, Eriksson N, Tung JY, Hinds DA. GWAS of 89,283 individuals
                                                   identifies genetic variants associated with self-reporting of being a morning person. Nat Commun.
                                                   2016;7:10448. doi:10.1038/ncomms10448. [PubMed: 26835600]
                                               25. Horne JA, Ostberg O. A self-assessment questionnaire to determine morningness-eveningness in
                                                   human circadian rhythms. Int J Chronobiol. 1976;4(2):97–110. [PubMed: 1027738]
                                               26••. Materna L, Halfter H, Heidbreder A, Boentert M, Lippert J, Koch R et al. Idiopathic
                                                     Hypersomnia Patients Revealed Longer Circadian Period Length in Peripheral Skin Fibroblasts.
                                                     Front Neurol. 2018;9:424. doi:10.3389/fneur.2018.00424. [PubMed: 29930532] This study
                                                     investigates the circadian period length in IH patients compared to healthy controls by using
                                                     peripheral circadian clock cells.
                                               27••. Trotti LM. Waking up is the hardest thing I do all day: Sleep inertia and sleep drunkenness. Sleep
                                                     Med Rev. 2017;35:76–84. doi:10.1016/j.smrv.2016.08.005. [PubMed: 27692973] This review
                                                     article reports alleviating and aggravating factors of both sleep inertia and sleep drunkenness.
Author Manuscript




                                               28. Scheer FA, Shea TJ, Hilton MF, Shea SA. An endogenous circadian rhythm in sleep inertia results
                                                   in greatest cognitive impairment upon awakening during the biological night. J Biol Rhythms.
                                                   2008;23(4):353–61. doi:10.1177/0748730408318081. [PubMed: 18663242]
                                               29••. Nevsimalova S, Blazejova K, Illnerova H, Hajek I, Vankova J, Pretl M et al. A contribution to
                                                     pathophysiology of idiopathic hypersomnia. Suppl Clin Neurophysiol. 2000;53:366–70.
                                                     [PubMed: 12741022] This controlled cohort study provides evidence of delayed circadian phases
                                                     in IH patients by examining salivary melatonin and cortisol levels.
                                               30. Nowak R, McMillen IC, Redman J, Short RV. The correlation between serum and salivary
                                                   melatonin concentrations and urinary 6-hydroxymelatonin sulphate excretion rates: two non-
                                                   invasive techniques for monitoring human circadian rhythmicity. Clin Endocrinol (Oxf).
                                                   1987;27(4):445–52. [PubMed: 3436070]
                                               31. Thomas R, Naik S. The Circadian Variant of Idiopathic Hypersomnia. Sleep. 2017;40(1):a243.
                                               32. Janackova S, Motte J, Bakchine S, Sforza E. Idiopathic hypersomnia: a report of three adolescent-
                                                   onset cases in a two-generation family. J Child Neurol. 2011;26(4):522–5.
                                                   doi:10.1177/0883073810384865. [PubMed: 21270467]
Author Manuscript




                                               33. Nevsimalova-Bruhova S, Roth B. Heredofamilial aspects of narcolepsy and hypersomnia. Schweiz
                                                   Arch Neurol Neurochir Psychiatr. 1972;110(1):45–54. [PubMed: 4337591]
                                               34. Billiard M, Dauvilliers Y. Idiopathic Hypersomnia. Sleep Med Rev. 2001;5(5):349–58.
                                                   doi:10.1053/smrv.2001.0168. [PubMed: 12530998]
                                               35•. Schirmacher AHH, Heidbreder A, Happe S, Kelsch R, Kuhlenbäumer G, Mayer G, Young P.
                                                     Sequence variants in circadian rhythmic genes in a cohort of patients suffering from hypersomnia
                                                     of central origin. Biological Rhythm Research. 2011;42:5:407–16.
                                                     doi:10.1080/09291016.2010.525382This candidate-gene associations study examines
                                                     polymorphisms of circadian rhythmic genes in patients with EDS.
                                               36••. Lippert J, Halfter H, Heidbreder A, Rohr D, Gess B, Boentert M et al. Altered dynamics in the
                                                     circadian oscillation of clock genes in dermal fibroblasts of patients suffering from idiopathic
                                                     hypersomnia. PLoS One. 2014;9(1):e85255. doi:10.1371/journal.pone.0085255. [PubMed:
                                                     24454829] This cohort control study provides evidence of impaired gene expression of peripheral
                                                     circadian clock genes in IH patients.
Author Manuscript




                                               37. Moller-Levet CS, Archer SN, Bucca G, Laing EE, Slak A, Kabiljo R et al. Effects of insufficient
                                                   sleep on circadian rhythmicity and expression amplitude of the human blood transcriptome. Proc
                                                   Natl Acad Sci USA. 2013;110(12):E1132–41. doi:10.1073/pnas.1217154110. [PubMed:
                                                   23440187]




                                               Curr Sleep Med Rep. Author manuscript; available in PMC 2020 December 11.
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 340 of 385 PageID #: 33825




                    EXHIBIT 30
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 341 of 385 PageID #: 33826
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 342 of 385 PageID #: 33827
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 343 of 385 PageID #: 33828
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 344 of 385 PageID #: 33829




                    EXHIBIT 31
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 345 of 385 PageID #: 33830
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 346 of 385 PageID #: 33831
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 347 of 385 PageID #: 33832
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 348 of 385 PageID #: 33833
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 349 of 385 PageID #: 33834
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 350 of 385 PageID #: 33835
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 351 of 385 PageID #: 33836
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 352 of 385 PageID #: 33837
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 353 of 385 PageID #: 33838
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 354 of 385 PageID #: 33839




                    EXHIBIT 32
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 355 of 385 PageID #: 33840
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 356 of 385 PageID #: 33841




                                                                                       2
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 357 of 385 PageID #: 33842




                                                                                       3
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 358 of 385 PageID #: 33843




                                                                                       4
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 359 of 385 PageID #: 33844




                                                                                       
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 360 of 385 PageID #: 33845




                    EXHIBIT 33
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 361 of 385 PageID #: 33846

Transcription of Audio                                                                        FINAL - May 8, 2024
Avadel Pharmaceuticals                                                                       1Q 2024 Earnings Call
                                                     Page 1                                                          Page 3
     IN THE MATTER OF                                          1          Except as required by law, Avadel undertakes
     -------------------------------                           2   no obligation to update or revise any forward looking
                                                               3   statement contained in this presentation to reflect
     AVADEL PHARMACEUTICALS (AVDL)                             4   new information, future events, or otherwise.
                                                               5          On the call today are Greg Divis, Chief
     -------------------------------                           6   Executive Officer; Richard Kim, Chief Commercial
                                                               7   Officer; and Tom McHugh, Chief Financial Officer. At
     TRANSCRIPTION OF                                          8   this time, I'll turn the call over to Greg.
     Avadel 1Q 2024 Earnings Call                              9          MR. DIVIS: Thank you, Austin. Good
     May 8, 2024                                              10   morning, everyone, and thank you for joining us to
     Video Runtime: 0:43:16                                   11   review our first quarter 2024 results. Following my
                                                              12   opening remarks, Richard will provide an update on our
                                                              13   launch progress, including our key metrics through
     JANE ROSE REPORTING                                      14   March 31st. Tom will then review our Q1 financial
     Wendy K. Sawyer, CDLT, Transcriptionist                  15   results and we will conclude with a question-and-answer
                                                              16   session.
                                                              17           I'm pleased to report another quarter of
                                                              18   strong execution and results of our LUMRYZ launch. We
                                                              19   continue to deliver on our ability to reach the
                                                              20   narcolepsy community and drive significant quarter
                                                              21   over quarter growth across our early launch metrics,
                                                              22   metrics we believe are critical to building a strong
                                                              23   foundation for LUMRYZ, both in the near term and in
     FINAL COPY                                               24   the long term.
     JANE ROSE REPORTING 1-800-825-3341                       25           While our top business priority and focus

                                                     Page 2                                                          Page 4
 1             (Beginning of Audio Recording.)                 1   remain on the launch of LUMRYZ, during Q1 we also made
 2          OPERATOR: Greetings and welcome to Avadel          2   important progress in our efforts to expand our reach
 3   Pharmaceuticals First Quarter 2024 Earnings Call. At      3   into those living with idiopathic hypersomnia, or IH,
 4   this time, all participants are in a listen-only mode.    4   as well as pediatric patients with narcolepsy, both of
 5   A question-and-answer session will follow the formal      5   whom can possibly benefit from LUMRYZ and if approved
 6   presentation.                                             6   for those uses, offers potentially significant
 7          As a reminder, this conference is being            7   incremental value and future growth opportunities for
 8   recorded. It is now my pleasure to introduce Austin       8   LUMRYZ beyond narcolepsy.
 9   Murtagh with Stern Investor Relations. Thank you.         9          Since launch last summer, our team has begun
10   You may begin.                                           10   to deliver on the promise of LUMRYZ in our pursuit of
11          MR. MURTAGH: Good morning, and thank you          11   becoming the market leader and achieving preferred
12   for joining us on our conference call to discuss         12   oxybate status among patients and providers. Our
13   Avadel's First Quarter 2024 Earnings. As a reminder,     13   early robust uptake among patients and physicians
14   before we begin, the following presentation includes     14   provides unequivocal evidence of this progress and of
15   several matters that constitute forward looking          15   the opportunity based on the clear, unmet needs of
16   statements within the meaning of the Private             16   oxybate eligible patients, evidence that has been
17   Securities Litigation Reform Act of 1995.                17   further solidified by the consistent and compelling
18          Forward looking statements are subject to         18   patient, caregiver, and provider feedback we routinely
19   risks and uncertainties that could cause actual          19   hear.
20   results to differ materially from those contemplated     20          As we now approach our first full year in
21   in such forward looking statements. These risks and      21   the market with LUMRYZ, I continue to be impressed by
22   uncertainties are described in Avadel's public filings   22   the relentlessness and the results being delivered by
23   under the Exchange Act included in the Form 10K for      23   the entire Avadel team. It is their collective
24   the year ended December 31, 2023, which was filed on     24   efforts, contributions, and achievements that have
25   February 29, 2024, and subsequent SEC filings.           25   established the initial foundation for LUMRYZ, which

JANE ROSE REPORTING                                                        National Court-Reporting Coverage
1-800-825-3341                                                              janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 362 of 385 PageID #: 33847

Transcription of Audio                                                                           FINAL - May 8, 2024
Avadel Pharmaceuticals                                                                          1Q 2024 Earnings Call
                                                        Page 5                                                         Page 7
 1   we believe positions us very well to achieve our             1          We are currently on track to dose our first
 2   future aspiration and expectation of achieving market        2   patient in the second half of this year and plan to
 3   leadership.                                                  3   provide additional details at that time.
 4           Underscoring the results we announced this           4          Additionally, we are progressing the
 5   morning, since the launch of LUMRYZ, greater than            5   preclinical development of a potential no or low
 6   2,800 patients have enrolled into Avadel's RYZUP             6   sodium once-at-bedtime oxybate formulation with a
 7   patient support services program and greater than 1700       7   target product profile that is bioequivalent to
 8   cumulative patients have initiated LUMRYZ therapy. In        8   LUMRYZ. For this program, we currently expect to
 9   addition, in Q1 of this year, we generated $27.2 million     9   provide updates by the end of 2024.
10   of net revenue. The results we achieved continue to         10          In summary, we have a number of
11   show the strength and the opportunity of LUMRYZ's           11   opportunities continue to build our leadership in the
12   position in the evolving narcolepsy treatment               12   sleep space and most importantly positively impact
13   landscape.                                                  13   even more patients. These opportunities will continue
14           As a team, we are laser focused on the              14   to be supported by our launch execution for LUMRYZ and
15   launch of LUMRYZ in ensuring we continue to deliver on      15   narcolepsy, which has created a strong foundation for
16   the promise of LUMRYZ to the narcolepsy community.          16   continued growth.
17   And we are well-positioned to continue advancing the        17          And with that, I'll turn the call over to
18   launch and driving growth for LUMRYZ in narcolepsy and      18   Richard for details on our commercial progress.
19   beyond.                                                     19   Richard?
20           In this regard, while our launch focus and          20          MR. KIM: Thanks, Greg, and good morning,
21   priorities are very clear, we are also in parallel          21   everyone. As Greg commented, our LUMRYZ launch has
22   beginning to make real progress on specific future          22   been off to a strong start this year. And today, I'm
23   growth opportunities we believe can deliver additional      23   excited to provide some additional context into the
24   long term value for patients, for the company, and our      24   encouraging trends we're seeing. We continue to build
25   shareholders.                                               25   on the momentum generated since launching LUMRYZ and

                                                        Page 6                                                         Page 8
 1           Our first near term opportunity is our               1   have made strong progress during the Q1.
 2   potential expansion into the pediatric narcolepsy            2           Our team's commitment to bring our much
 3   population, which represents approximately 5 percent         3   needed therapy to the narcolepsy community has allowed
 4   of all oxybate-treated narcolepsy patients. Our              4   us to build a strong foundation, and we believe we are
 5   supplemental new drug application for LUMRYZ has been        5   well positioned to see continued growth throughout the
 6   accepted by the FDA and a target action data is set          6   year.
 7   for September 7th.                                           7           Now turning to our key launch KPIs. We had
 8           We believe LUMRYZ, if approved for this use,         8   more than 2,800 patients enrolled in the Horizon
 9   has the potential to address both patient and                9   Program at the end of March, which demonstrates a
10   caregiver's unmet needs, while potentially offering a       10   nearly 50 percent increase since the end of December.
11   transformational treatment option for pediatric             11           Additionally, 1,700 patients initiated
12   patients and their families. We look forward to             12   therapy as of the end of Q1, representing a greater
13   hearing the FDA's decision later this year.                 13   than 70 percent increase in cumulative patients who
14           Next, as we have previously shared, we are          14   initiated therapy since the end of 2023. Since our
15   evaluating LUMRYZ's use for the treatment of IH.            15   launch last June, we continue to build strong and
16   During Q1, we've made significant progress in our           16   steady positive demand for LUMRYZ.
17   readiness to initiate a pivotal Phase III trial for IH      17           Looking more closely at the patient segment
18   in the second half of this calendar year.                   18   dynamics, we continue to see patients initiating
19           Similar to pediatric narcolepsy, we have            19   therapy with LUMRYZ from all three patient segments.
20   heard from many experts in the field that there is a        20           Now in comparison to last year, where the
21   clear and compelling need for once-at-bedtime LUMRYZ        21   majority of patients were switch patients, this year
22   for those suffering from IH due to the associated deep      22   we're seeing beginning to see a more balanced ratio
23   sleep inertia making it extremely difficult for some        23   with roughly 50 percent coming from switches and the
24   patients to even wake up for their second dose of an        24   other 50 percent from discontinued and naive patients.
25   immediate release oxybate.                                  25           Another differentiator from last quarter is

JANE ROSE REPORTING                                                           National Court-Reporting Coverage
1-800-825-3341                                                                 janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 363 of 385 PageID #: 33848

Transcription of Audio                                                                        FINAL - May 8, 2024
Avadel Pharmaceuticals                                                                       1Q 2024 Earnings Call
                                                     Page 9                                                        Page 11
 1   that we're seeing a growing number of naive patients      1   overall commercially covered lives to about 85
 2   on therapy, which signals that LUMRYZ's value             2   percent.
 3   proposition is compelling to patients who have not        3           Overall, we exited Q1 with growing momentum,
 4   previously been on an oxybate.                            4   and we are thrilled to see the results of our team's
 5           Moving to HCPs, more than 2,100 HCPs have         5   relentlessness and dedication to the narcolepsy
 6   completed their REMS certification as of March 31st,      6   community materialize and grow quarter over quarter.
 7   an increase of more than 300 since the end of             7   We believe LUMRYZ is positioned for long term growth
 8   December, including those who are experienced oxybate     8   and is on track to becoming the preferred oxybate for
 9   prescribers and some who previous to LUMRYZ had not       9   the narcolepsy community.
10   written for an oxybate.                                  10           And now I'll turn the call over to Tom to
11           As a reminder, there are more than 4,500         11   discuss our financials. Tom?
12   HCPs who make up the entire oxybate prescribing          12           MR. MCHUGH: Thank you, Richard. Good
13   universe and our field teams have been focusing their    13   morning, everyone. And before I begin, I'll note that
14   initial efforts on the 1,600 high volume oxybate         14   full financial results are available in the press
15   prescribers who represent 80 percent of the total        15   release issued this morning and in the 10Q.
16   prescription volume.                                     16           We are pleased to report that we generated
17           For the top 500 prescribers who make up 50       17   $27.2 million net revenue and gross profit of $25.7
18   percent of the total oxybate prescription volume, now    18   million for the quarter ending March 31st, 2024. And
19   80 percent of these HCPs have written for LUMRYZ, up     19   additionally, as of March 31st, there was
20   from 64 percent at the end of December. Gaining use      20   approximately one month of demand in the channel,
21   in the highest volume oxybate prescribers has been a     21   which is consistent with prior quarters.
22   key part of our launch strategy, and we are pleased      22           Turning to operating expenses, we reported a
23   with the progress we are making with these HCPs.         23   total of $51.7 million of GAAP operating expenses for
24           Additionally, we reached an important            24   the first quarter 2024 compared to $28.3 million in
25   milestone last month when we introduced our first        25   the prior year. The increase in year over year
                                                    Page 10                                                        Page 12
 1   LUMRYZ patient ambassadors to the narcolepsy              1   operating expenses is primarily attributable to launch
 2   community. Katie, Tyler, and Wendy are amazing people     2   related costs and higher compensation and legal costs.
 3   with narcolepsy who want to share their personal          3           GAAP operating expenses in the Q1 of 2024
 4   journeys and how being treated with LUMRYZ has changed    4   includes $6.5 million of noncash charges comprised of
 5   their lives.                                              5   stock based compensation of $5.4 million and
 6           Our market research continues to show the         6   depreciation and amortization of $1.1 million. After
 7   importance of the patient voice in the narcolepsy         7   adjusting for these items, cash operating expenses
 8   treatment journey as patients often receive the           8   were approximately $45 million for the quarter. This
 9   therapy they ask their HCP for. With the LUMRYZ           9   is at the upper end of our previously communicated
10   patient voice now activated, we are unlocking another    10   guidance of $40 to $45 million of quarterly cash
11   opportunity to drive the LUMRYZ conversation in HCP      11   operating expenses and is due primarily to higher
12   offices.                                                 12   legal costs related to the patent trial that took
13           Transitioning to product fulfillment, our        13   place at the end of February.
14   overall reimbursement process continues to improve       14           For the remainder of 2024, we expect that
15   with over 700 new starts in the first quarter. We        15   recurring quarterly cash operating expenses will be in
16   have seen through a combination of our strong payer      16   the range of $40 to $45 million, and non-cash operating
17   coverage and a growing experience with HCP offices       17   expenses will be in the range of $5 to $7 million.
18   that we are getting more patients initiated on           18           We believe that net cash used for operations
19   therapy, and we continue to see good early signs of      19   will be materially lower after taking into account
20   persistency with LUMRYZ when compared to twice-nightly   20   expected cash receipts from continued LUMRYZ sales.
21   oxybates.                                                21           With respect to the balance sheet, as of
22           Lastly, on the payer front, we have payer        22   March 31st, we had approximately $89 million of cash,
23   coverage policies in place with the three largest PBM    23   cash equivalents, and marketable securities compared
24   owned GPOs. Additionally, we recently gained coverage    24   to $105 million as of December 31st, 2023.
25   with a large PBM group, PRIME Therapeutics, taking       25           With our current trends, plans, and

JANE ROSE REPORTING                                                        National Court-Reporting Coverage
1-800-825-3341                                                              janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 364 of 385 PageID #: 33849

Transcription of Audio                                                                       FINAL - May 8, 2024
Avadel Pharmaceuticals                                                                      1Q 2024 Earnings Call
                                                    Page 13                                                       Page 15
 1   assumptions, we maintain that we can achieve breakeven    1   headwinds like a higher gross to net or maybe even
 2   when there are approximately 1,300 to 1,500               2   free drug use? Or was it more driven by "permanent"
 3   commercially reimbursed patients and that we can          3   patient discontinuation rates increasing? Thanks.
 4   achieve this milestone during 2024.                       4          MR. DIVIS: Richard, you want to start with
 5          In addition to the number of reimbursed            5   that?
 6   patients on therapy, our expectations regarding the       6          MR. KIM: Yes. Thanks for the question,
 7   timing of achieving breakeven take into account a         7   Andrew. Yes. So I think, overall, to your point,
 8   number of other assumptions, including how quickly        8   we're very pleased with our early launch metrics,
 9   patient demand grows, net pricing of LUMRYZ, and          9   having another 900 patient added to RYZUP and 700
10   operating expenses.                                      10   patient initiations. At this stage of the launch, the
11          Closing out today's financial updates, we         11   most important thing we are really focusing in on is
12   pay close attention to the sell side estimates. And      12   getting patients on therapy, A, for that patient
13   at this time, we are comfortable with current            13   experience and, B, to get ACP offices used to
14   consensus of approximately $162 million for the full     14   prescribing and hearing those patient experiences as
15   year, including the possibility that 2024 revenue        15   well.
16   could be higher if actual results such as the rate of    16          So that's really been our focus. To your
17   increase in reimbursed patients, the total number of     17   point, there are some headwinds that we experienced as
18   reimbursed patients who are treated with LUMRYZ, and     18   an industry in Q1 with higher deductibles and other
19   net pricing outperform the assumptions currently used    19   things that impact our co pay. So we expect those to
20   by the sell side.                                        20   have settled down. And maybe one last comment on your
21          With that, I'll turn the call back to Greg        21   discontinuation rates. We're pleased with our early
22   for closing remarks.                                     22   discontinuation rates that we see.
23          MR. DIVIS: Thank you, Tom. With our LUMRYZ        23          They are numerically lower than what we see
24   launch well positioned for continued growth this year    24   historically with the twice-nightlies. So, I'll turn
25   and our meaningful expansion opportunities in the        25   this around once again. It says, we're really pleased

                                                    Page 14                                                       Page 16
 1   sleep space, the value we are creating today is laying    1   with our early launch KPIs and maybe I'll turn it over
 2   a strong foundation for the long term. We thank you       2   to Greg to add some more color.
 3   as always for your support and look forward to            3           MR. DIVIS: Yes. I think that for us, most
 4   providing future updates on our progress. And with        4   important for us is patient initiations and getting
 5   that, we will open the call for questions. I'll turn      5   and keeping people on therapy. And I think the team
 6   it over to the operator.                                  6   has done an excellent job in that regard through the
 7          OPERATOR: Thank you. We will now begin the         7   launch. And from a persistency standpoint, I think,
 8   question-and-answer session. If you have dialed in        8   we remain really bullish on how that will translate to
 9   and would like to as a question, please press *1 on       9   revenue over time.
10   your telephone keypad to raise your hand and join the    10           MR. TSAI: Thanks. Very clear. Congrats
11   queue. If you would like to withdraw your question,      11   again.
12   please press *1 again.                                   12           OPERATOR: And your next question comes from
13          If you're called upon to ask your question        13   the line of Francois Brisebois with Oppenheimer. Your
14   and are listening via loud speaker on your device,       14   line is open.
15   please pick up your handset to ensure that your phone    15           MR. BRISEBOIS: Thanks for the question. So
16   is not on mute when asking your question. Again,         16   I was just wondering in terms of RYZUP, that metric,
17   press *1 to join the queue.                              17   do you ever see -- I know it's difficult to know
18          Your first question comes from the line of        18   exactly how quickly patients move from RYZUP to on
19   Andrew Tsai with Jefferies. Your line is open.           19   therapy. But are there cases where they just -- they
20          MR. TSAI: Hey, good morning. Congrats on          20   do not -- they enter RYZUP and they never get the
21   the progress and the slope of the curve and such. My     21   therapy? If so, what would be the reason for that?
22   question is around the patient additions and treated     22           MR. KIM: Yeah. Hey, Frank. Yeah. No.
23   patients this quarter seemingly grew faster than the     23   Yeah, sure. I'll take that, Greg. Yeah. So great
24   actual sales number. So can you help us reconcile the    24   question, Frank. So yeah, as far as RYZUP is
25   reported sales number? Was it driven more by onetime     25   concerned, I would say any new therapy that comes to

JANE ROSE REPORTING                                                        National Court-Reporting Coverage
1-800-825-3341                                                              janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 365 of 385 PageID #: 33850

Transcription of Audio                                                                         FINAL - May 8, 2024
Avadel Pharmaceuticals                                                                        1Q 2024 Earnings Call
                                                     Page 17                                                       Page 19
 1   marketplace, there are patients who "abandon the           1   you getting a lot of feedback that the waking up in
 2   process" along so that they do not ever get to             2   the middle of the night is a problem? Or is it not a
 3   initiate therapy. That's -- we're not immune to that       3   big deal for these patients?
 4   either.                                                    4           MR. DIVIS: Richard, you want to comment on
 5           That abandonment rate for us is very low and       5   that?
 6   has stayed relatively consistently low throughout our      6           MR. KIM: Yeah. I think for IH, it really
 7   entire launch. So we've seen very good                     7   comes down to more of the sleep inertia. A lot of
 8   stick-to-itiveness. And Frank, it's the same reasons       8   these folks, just have sleep inertia where they're
 9   for almost any product. Sometimes the patients lose        9   just unable to wake up during the middle of the night
10   interest. It could be insurance. It could be              10   to take a second dose. So that's really the key area
11   something else has come up in their life. We don't        11   of the feedback from research that we hear about is,
12   really get all of those details. But once again, our      12   oxybates are very effective. But if you can't wake up
13   abandonment rate has been relatively low for patients     13   to take that second dose, you're getting a sub
14   entering RYZUP.                                           14   therapeutic dose.
15           MR. BRISEBOIS: Thank you. And then, in            15           MR. BRISEBOIS: Thank you.
16   terms of the pediatric endpoints, you mentioned 5         16           OPERATOR: Your next question comes from the
17   percent of the population. But how often do these         17   line of Ami Fadia with Needham and Company.
18   patients, once they're on something that seems to         18           MS. FADIA: Hi, good morning. Congrats on
19   work, obviously, there's discontinuation, we're going     19   all the progress. I had a couple of questions just
20   to follow that with time to see if it's better with       20   around LUMRYZ. Can you sort of quantify what are the
21   you guys. It seems like it's trending well. But that      21   net number of patients on treatment currently? And
22   5 percent pediatric population, do you guys see that      22   with regards to net price, how has that progressed in
23   as much bigger than 5 percent kind of as a read           23   first quarter?
24   through, where if these, you know, obviously, it takes    24           And as you comment on your confidence in
25   a lot of time to diagnose.                                25   being able to achieve or potentially beat where the
                                                     Page 18                                                       Page 20
 1          But if the diagnosis gets quicker, you get          1   consensus stands today, what are the assumptions
 2   pediatrics. And then they probably don't want to           2   you're making with regards to net price evolution
 3   change what they're on when they become adults. Is         3   through the course of the year?
 4   there any upside to that 5 percent?                        4           MR. DIVIS: Richard, you want to take the
 5          MR. DIVIS: Well, I think we agree with all          5   first and Tom the second?
 6   of your thoughts, Frank, from that perspective. We         6           MR. KIM: Yeah, sure. I mean, yeah, thanks.
 7   think that the actual market opportunity is likely         7   Ami, right now, we're really, clearly focused on our
 8   from a pediatric perspective is likely, materially         8   early launch metrics. You know, there's a lot of
 9   larger than what's actually being treated today,           9   dynamics that are going on here. And at this stage of
10   predominantly because the condition is really a           10   the time, we really believe that RYZUP enrollments in
11   condition of adolescence, right, where initial            11   patients who have initiated therapy are really the
12   symptoms predominantly present earlier in life.           12   right view to look at things.
13          Your comment about the time to proper              13           We're going to continue to look at these
14   diagnosis is a major challenge and has been for quite     14   metrics. And in the future, we will be transitioning
15   some time, from that perspective.                         15   to other metrics like patients who are actually on
16          So we do think the total opportunity is            16   therapy at this time as well. There's a lot of
17   actually larger than what the actual treated pool is      17   dynamics at this stage of a launch, but we do tend to
18   today, no different than how we think about adult. So     18   shift to that in the future.
19   for us, I think the opportunity to bring something new    19           MR. MCHUGH: Yeah. Hi, Ami. It's Tom. So
20   that doesn't disrupt the entire family, we think          20   with respect to the second part of your question on
21   offers opportunity both for currently treated and         21   net pricing, we've consistently pointed to an
22   potentially patients who aren't being treated today.      22   expectation that on average, patients will generate
23          MR. BRISEBOIS: Okay. Great. And in terms           23   about $120,000 of net revenue per year. I will share
24   of IH, you know, the -- it seems intuitive that these     24   with you we're at that point now.
25   patients need to sleep and are still restless. Are        25           The expectation has always been that when we

JANE ROSE REPORTING                                                         National Court-Reporting Coverage
1-800-825-3341                                                               janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 366 of 385 PageID #: 33851

Transcription of Audio                                                                        FINAL - May 8, 2024
Avadel Pharmaceuticals                                                                       1Q 2024 Earnings Call
                                                     Page 21                                                       Page 23
 1   have more patients continuing on therapy, as Richard       1   over, 900 patient adds into RYZUP. It's hard to
 2   just noted, the new patients coming in would represent     2   predict exactly where this is going forward.
 3   the tipping point, as I've called in the past. The         3           But we're only reporting on our Q3 of full
 4   other things that can affect net pricing, one of them      4   launch. And we think steady positive growth is a good
 5   is certainly compliance.                                   5   and positive thing. So that trend of those 900-ish
 6            Listen, if every patient took every -- the        6   adds every quarter, we'd like to continue that trend
 7   dose every day of the year, net revenue goes up, of        7   at a minimum going forward.
 8   course. But that's certainly one of the variables.         8           OPERATOR: Thank you. Your next question
 9   And the other is the gross to nets themselves, which       9   comes from the line of David Amsellem with Piper
10   as we commented earlier, there were some -- we're not     10   Sandler.
11   unique in that regard.                                    11           MR. AMSELLEM: Just have a couple of
12            Gross to nets as a percentage of revenue go      12   questions. So, and I apologize if I missed these, if
13   up during Q1, but that tends to settle down over the      13   you mentioned these details. Can you talk to the
14   course of the rest of the year.                           14   percentage of LUMRYZ patients who have actually been
15            MR. DIVIS: Yeah. The only comment I'll           15   on Xywav? That's number one. Number two, can you
16   add, Ami, if I may, the only comment I'll add             16   talk to the lag time between enrollment in RYZUP and
17   generally on metrics and KPIs, I think we've got our      17   initiation of therapy and how that lag time differs
18   eyes set that as the launch continues to mature a         18   between patients who have access and patients who
19   little bit and some of these variables get a little       19   don't have access or don't have good access?
20   bit more mature that really drive and ultimately          20           So that's the second question. And then
21   result in kind of net average patients or net exit        21   last question is on idiopathic hypersomnia. Is it
22   patients on therapy that we will transition to that       22   fair to assume that that's going to be a randomized
23   during the course of this year.                           23   withdrawal design similar to the registration study
24            What our intention is, is to do that and         24   that Jazz ran for Xywav? Thank you.
25   have an overlapping quarter where we continue with the    25           MR. DIVIS: Thanks, David. Richard, maybe
                                                     Page 22                                                       Page 24
 1   same metrics and add in patients on therapy and then       1   you can take the first two.
 2   ultimately, I think where we'll net out over time is       2            MR. KIM: Yes, sure. No problem. Thanks,
 3   just patients on therapy.                                  3   David. So as far as the percentage of the Xywav
 4          MS. FADIA: Got it. If I may ask one more            4   patients, so the majority of our launch to date right
 5   question. As I think about the total number of             5   now, the majority of our enrollments and patients
 6   patient adds to RYZUP, over the last couple of             6   initiated are patients who have switched from twice-
 7   quarters, it seems that you're continuing to see           7   nightly oxybates. And the majority of those are
 8   growth in average monthly patient adds per quarter         8   Xywav patients.
 9   over the last three quarters for which we, you know,       9            So if you take more than 50 percent of
10   have the data.                                            10   overall enrollments and more than 50 percent of those,
11          Can you just talk about sort of the momentum       11   it's somewhere north of 25 percent to 30 percent of
12   as you see progressing through the course of the year?    12   the patients who have switched from Xywav. And if
13   You know, I'm sort of seeing kind of an increase by       13   you look overall as far as the lag time or the timing
14   100 new patient adds per quarter in addition to sort of   14   to get that initiation through RYZUP or the enrollment
15   the previous quarter. And I'm just sort of trying to      15   into a patient started, to your point, it is very
16   understand how should we be modeling that trend as we     16   different for the two groups.
17   go through 2024?                                          17            Those who are covered, in essence, meet all
18          MR. DIVIS: Richard, you want to comment?           18   the prior authorization criteria. Those are averaging
19          MR. KIM: Yeah. No, it's a great                    19   still right about 30 days, about a month, for us to
20   observation. I think, Ami, first, we're just very         20   get those initiated. And those without coverage are
21   pleased with the strong and steady positive growth        21   much longer, are being measured in months.
22   we've seen with LUMRYZ and really just the feedback       22            Several, we can still get through in shorter
23   that we've heard from offices.                            23   period of time. The range is quite large. But if you
24          Over the last couple of quarters, we've sort       24   don't have a coverage policy, those ones definitely
25   of been commenting sort of on this sort of net sort of    25   take us -- those timelines are measured in months and

JANE ROSE REPORTING                                                         National Court-Reporting Coverage
1-800-825-3341                                                               janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 367 of 385 PageID #: 33852

Transcription of Audio                                                                        FINAL - May 8, 2024
Avadel Pharmaceuticals                                                                       1Q 2024 Earnings Call
                                                    Page 25                                                        Page 27
 1   definitely not in weeks.                                  1   hearings upcoming. The APA hearing in terms of the
 2           Greg, I guess I'll turn it over back to you       2   suit against FDA is scheduled for this Friday at 2
 3   for IH.                                                   3   p.m. in the D.C. Federal Court. As noted previously,
 4           MR. DIVIS: Yes. I think, David, we haven't        4   we intervened alongside FDA and the Department of
 5   said explicitly what the trial design is yet. That        5   Justice, and we'll make our own arguments in support
 6   will become public, you know, certainly over the          6   of the government this Friday. So that's the APA
 7   summer as it gets posted on clintrials.gov and            7   status.
 8   whatnot.                                                  8           In terms of the Delaware patent litigation,
 9           But what I will say is that there's been a        9   obviously, we had the ruling a couple of months back
10   handful of companies who have done studies in this       10   on from the jury and the royalties and whatnot. The
11   area with full support of FDA. We obviously engage       11   next stop there is a hearing on June 4th, and that's
12   with FDA on this process, and I think it's fair to say   12   along this process in Delaware.
13   that those proxies are good proxies for how our trial    13           So we'll be glad to get those two hearings
14   will -- what our trial design will look like as we go    14   behind us and continue to move forward with our
15   forward.                                                 15   launch. And outside of those comments, there probably
16           MR. AMSELLEM: Okay. That's very helpful.         16   isn't much else to say right now in terms of what's
17   Thank you.                                               17   near term on the litigation.
18           MR. DIVIS: Thanks.                               18           MR. GOODMAN: Thanks.
19           OPERATOR: Your next question comes from the      19           MR. MCHUGH: Thanks, Marc.
20   line of Marc Goodman with Leerink Partners.              20           OPERATOR: Your next question comes from the
21           MR. GOODMAN: Hi, good morning. Two               21   line of Ash Verma with UBS.
22   questions. First, what's your sense of how many          22           MR. VERMA: Hi, thanks for taking our
23   patients are actually on oxybate this past quarter       23   questions. I'm joining a little bit late, so maybe if
24   just in total between all the companies involved? And    24   something is repeated, let me know. Like, on this
25   second of all, can you just give us an update on the     25   first question, like can you clarify like on this 1Q
                                                    Page 26                                                        Page 28
 1   litigation that's still outstanding? Thank you.           1   pricing or inventory dynamics of what you saw with
 2           MR. DIVIS: Yes. Richard, you want to              2   LUMRYZ? It seems the patient adds were pretty
 3   answer the first one to the best of our ability?          3   encouraging but the revenue came in a little bit
 4           MR. KIM: Yes. Sure, yes. It's a great             4   lighter versus how the patient numbers are.
 5   question, Marc. The data is becoming a little more        5           And then secondly, so Jazz noted on their
 6   fragmented across the different oxybates as we go         6   first protocol that there are some of these patients
 7   forward right now. So can't say we have a perfect         7   that came off the item because it's not in
 8   answer for you today.                                     8   formularies.
 9           But what we can say is we definitely see          9           And for those patients who are in
10   growth in segments that were really not there prior to   10   transition, do you think LUMRYZ can be an attractive
11   LUMRYZ coming in the marketplace. A couple notable       11   option? And how much of these patients do you think
12   ones are in, patients who have who had previously        12   you stand to benefit from during this year? Thanks.
13   discontinued twice-nightly oxybates who are now on       13           MR. DIVIS: Thanks, Ash. Tom, can you take
14   LUMRYZ. And also that we have people, HCPs writing       14   pricing and inventory? And maybe, Richard, you can
15   for LUMRYZ who had never written for an oxybate          15   take the other comment.
16   previously as well.                                      16           MR. MCHUGH: Yes. Hi, Ash. Listen, I'd say
17           So we are definitely piecing those numbers       17   that pricing inventory came in as we expected it to.
18   together to our claims and reports from other oxybate    18   I commented on an earlier question that average net
19   companies. And our overall view is the market is         19   revenue per patient, we're currently annualized about
20   growing. It's just hard for us to give you an exact      20   $120,000 per year. The inventory in the channel has
21   number at this stage, but we're definitely working on    21   consistently been at about a month, and that's going
22   that.                                                    22   back to when we first launched. So really no
23           MR. DIVIS: Yes. And regarding the                23   surprises there relative to revenue.
24   litigation, I'll just describe it this way kind of       24           MR. KIM: Yeah. And as far as the changes
25   generally, right? There's a couple of near term          25   in formulary, yeah, there clearly were several changes

JANE ROSE REPORTING                                                        National Court-Reporting Coverage
1-800-825-3341                                                              janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 368 of 385 PageID #: 33853

Transcription of Audio                                                                        FINAL - May 8, 2024
Avadel Pharmaceuticals                                                                       1Q 2024 Earnings Call
                                                     Page 29                                                       Page 31
 1   in formulary, in many cases where, the branded twice-      1   paid therapy?
 2   nightly sodium oxybate and/or the AG were no longer        2           And do we know what that 700 on top of what
 3   being covered. So those patients have definitely been      3   before? I'm trying to see if we -- if we can piece
 4   a focal point for us. And they've been going on for a      4   together a patients on therapy number or if that's
 5   while. So we definitely see that as a unique               5   wishful thinking.
 6   opportunity going forward here with some of the payers     6           MR. DIVIS: Richard, you want to clarify?
 7   as well for LUMRYZ.                                        7           MR. KIM: Yeah. Oren, sorry. Yeah. So
 8          MR. VERMA: Got it. Thank you.                       8   just to be very clear here, you know, we had announced
 9          OPERATOR: Your next question comes from the         9   that we had over 1,700 patients initiated cumulatively
10   line of Oren Livnat with H.C. Wainwright.                 10   through the end of Q1. We were at about 1,000 at the
11          MR. LIVNAT: Thanks for taking the                  11   end of Q4.
12   question. I just want to build on others. We've           12           So that's, in Q1, an additional over 700
13   heard from piecing together Jazz and your commentary      13   patient initiations that occurred in Q1. So just to
14   today, it does seem clear that you are seeing market      14   clarify. So that's the same metric that we've given
15   growth now, that you're driving some market growth,       15   before. So it's just sort of taking the 1,700 and
16   from where the market was before you entered. And I'm     16   subtracting how we ended up in 2023.
17   just wondering, going forward, now you're at a 50/50      17           MR. LIVNAT: Okay. Thank you.
18   mix. Where do you see that playing out in mix as you      18           OPERATOR: Your next question comes from the
19   go forward?                                               19   line of Chase Knickerbocker with Craig-Hallum.
20          Because I'm seeing, you know, XYREM is             20           MR. KNICKERBOCKER: Good morning, guys. A
21   highly eroded now, right? And a lot of those patients     21   lot's been asked, maybe just a couple around the edges
22   have moved to both the AG and Xywav and your product.     22   here. Now that we have more patients from the naive
23   Do you need to take patients away from Xywav to meet      23   and previously discontinued groups on drug, if we
24   your targets? Or are you feeling like through this        24   think about persistency specifically in these groups
25   year your comfort versus estimates rests on your          25   on LUMRYZ or even trends in the larger population of
                                                     Page 30                                                       Page 32
 1   opportunities in other buckets?                            1   people patients on drug now that they're a bigger
 2            MR. DIVIS: Richard, do you have any, maybe        2   portion of your patients, have trends and
 3   opening comments on it?                                    3   discontinuations at the one kind of two-month time
 4            MR. KIM: Yeah. It's a great perspective.          4   frame ticked up at all from these patients as they
 5   So, first, we're just very pleased to sort of see          5   become a larger part of the mix? Basically, is there
 6   continued demand for all three patient segments. The       6   a higher level of discontinuation with these two
 7   switches, the previously discontinued, and the naive.      7   patient populations?
 8   Going forward, we anticipate to still have robust          8           MR. KIM: Yes, thanks for the question,
 9   representation from all three segments.                    9   Chase. No, overall, our discontinuation rate across
10            And as we talked before, so, yes, there was      10   all three segments is very strong. And if we look at
11   a little bit of an increase in naive patients, but the    11   our overall composition, it is lower than what we saw
12   proposition for switch patients is as strong as it's      12   traditionally for twice-nightly oxybates.
13   ever been if they've been on a twice-nightly sodium       13           For the naives and the discontinued, it was
14   oxybate or twice-nightly mixed salt version.              14   really just this quarter where they sort of stepped up
15            So we do anticipate demand coming from all       15   in the representation. We are seeing slightly lower
16   three patient segments going forward. The composition     16   rates compared to the switch patients, but not
17   may switch a little bit over time here, but we do         17   meaningfully lower.
18   definitely anticipate all three segments being well       18           So, it's still relatively early on. So,
19   represented for the rest of this year.                    19   we're going to definitely watch those trends. So as I
20            MR. LIVNAT: Okay. And I was hopping on           20   mentioned, it's lower, but what we had sort of
21   and off the call, so I apologize if I misheard. But I     21   articulated is not meaningfully lower at this stage.
22   thought I heard you say 700 patient starts in the         22           MR. KNICKERBOCKER: Helpful color. And then
23   quarter. I wasn't -- if I heard correctly, I don't        23   maybe another one for you, Richard. As we think about
24   believe that's a metric you've given us in the past.      24   the pediatric opportunity, obviously, Medicaid is a
25   Is that -- does that mean new patients initiated on       25   very important payer there. Can you update us on how

JANE ROSE REPORTING                                                         National Court-Reporting Coverage
1-800-825-3341                                                               janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 369 of 385 PageID #: 33854

Transcription of Audio                                                                       FINAL - May 8, 2024
Avadel Pharmaceuticals                                                                      1Q 2024 Earnings Call
                                                    Page 33                                                       Page 35
 1   coverage looks for LUMRYZ with Medicaid generally         1   guys.
 2   today? I know it's likely to be different state to        2          OPERATOR: Your next question comes from the
 3   state, but just general color there.                      3   line of Myriam Belghiti with LifeSci Capital.
 4          MR. KIM: Yeah. We are going through the            4          MS. BELGHITI: Thanks for taking my question
 5   process, Chase. And Medicaid, as you know, takes a        5   and congrats on the quarter. I was just wondering if
 6   very, very, very long time. So, we haven't really had     6   you could provide a little more detail in terms of the
 7   a significant amount of Medicaid usage come through at    7   distribution of patients initiating therapy? I
 8   this stage. And we'll provide more updates as we make     8   understand 50 percent is both discontinued and naive,
 9   more progress there.                                      9   but can you provide a further breakdown of those two
10          We also do have other assistance programs if      10   segments?
11   patients aren't covered through our patient              11          MR. KIM: Yeah, sure, Myriam. Thanks for
12   assistance. But at this stage right now, we've got --    12   the question. So, yeah, as we said, sort of, we've
13   you know, we're still early in the process as far as     13   seen -- if we look at the overall gestalt of all of
14   getting our Medicaid coverage.                           14   our patients thus far, the majority of our switch
15          MR. KNICKERBOCKER: Got it. And then 85            15   patients, Q1 was where we sort of saw more of a
16   percent commercially covered lives plus there is an      16   balance between the switches and the
17   impressive number. Maybe anywhere else that you're       17   discontinued/naive.
18   hearing from physicians as far as kind of key sticking   18          And of those discontinued and naive, they're
19   points as far as coverage goes as far as making this     19   moderately balanced, but there definitely has been
20   where you can kind of block and tackle from here to      20   growth almost quarter over quarter for the naive
21   make this an easy the easiest as possible kind of        21   segment within that other bucket. So, it was a little
22   writing experience for them.                             22   bit more balanced in Q1, and we'll sort of see where
23          And then just lastly, as far as any impact        23   the trend's going forward. But it's been nice to see
24   from change, the change in disruption, cyberattack on    24   the naive segment start to tick up here over time.
25   the quarter? Did we see any change in fill rates         25          MS. BELGHITI: Okay. Got it. And in terms
                                                    Page 34                                                       Page 36
 1   there? Was that kind of part of what it might have        1   of the IH opportunity, are there any important
 2   affected the quarter?                                     2   differences between IH and narcolepsy patients when it
 3          MR. KIM: Yeah, sure. So as far as the --           3   comes to cardiovascular risk? Or any relevant
 4   to your point, Chase, we're really pleased with our       4   comorbidities when it comes to sodium intake?
 5   commercial coverage. The team has done an excellent       5          MR. DIVIS: Richard, do you have any
 6   job in securing, you know, those nearly 85 percent        6   thoughts?
 7   commercially cover lives.                                 7          MR. KIM: Sure. I'm sorry about that, Greg.
 8          And I would say, in general, we're sort of         8   Yeah. In general, no. These are still generally
 9   in the same situation now with other established          9   younger patients, less of a Medicare population
10   products where there's just always going to be some      10   overall. So a general statement would be not really
11   bumps in the road for some patients going through.       11   that we see from our data.
12   Now it's have the patients met all the PA criteria and   12          MS. BELGHITI: Okay. Got it. Thanks for
13   those sorts of things, even though that they're          13   taking my question.
14   covered.                                                 14          OPERATOR: Your next question comes from the
15          So we have an outstanding field                   15   line of Matt Kaplan with Ladenburg Thalmann. Mr.
16   reimbursement team that's there to actually help walk    16   Kaplan, your line is open.
17   offices through every step. And our goal is to really    17          MR. KAPLAN: Good morning, guys, and
18   help sort of guide every new patient initiation          18   congrats on the quarterly results. Given your success
19   through with our field reimbursement team to make it     19   in terms of adding prior Xywav patients to LUMRYZ,
20   as easy as possible for the offices.                     20   how important is it to have a low sodium offering in
21          And as far as your change health comment is       21   the market? And I guess second part of that question
22   concerned, thus far, we have not seen any meaningful     22   is how difficult will it be to create a low sodium,
23   impact to any of our fill rates being impacted by        23   bioequivalent LUMRYZ?
24   them.                                                    24          MR. DIVIS: Yeah, I think our view has been
25          MR. KNICKERBOCKER: Got it. Thank you,             25   very consistent on this topic from the beginning,

JANE ROSE REPORTING                                                        National Court-Reporting Coverage
1-800-825-3341                                                              janerose@janerosereporting.com
 Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 370 of 385 PageID #: 33855

Transcription of Audio                                                                        FINAL - May 8, 2024
Avadel Pharmaceuticals                                                                       1Q 2024 Earnings Call
                                                    Page 37                                                       Page 39
 1   which is that we think all patients should have the       1         CERTIFICATE OF TRANSCRIPTION
 2   opportunity to have an uninterrupted night sleep. And     2
 3   for the subset of patients who are at risk for sodium,    3          Jane Rose Reporting does hereby certify that
 4   if we have the ability to formulate and develop and       4   the foregoing transcript is a true and correct record
 5   bring that opportunity to the marketplace, then we're     5   of the recorded proceedings; that said proceedings was
 6   certainly going to do the work to try to accomplish       6   transcribed to the best of our ability from the audio
 7   that.                                                     7   receiving; and that Jane Rose Reporting is neither
 8          So from our perspective, it isn't a                8   counsel for, nor related to, any of the parties to
 9   requirement to have a successful once-nightly LUMRYZ      9   this case, and have no interest, financial or
10   franchise because we do believe the data on sodium       10   otherwise, in its outcome.
11   speaks for itself. That being said, we certainly know    11
12   there's patients out there who could benefit from both   12
13   a lower sodium version and a once at bedtime LUMRYZ.     13                     _______________________
14   So therefore, we're doing the work.                      14                     Jane Rose Reporting
15          In terms of the difficulty of it, it's a          15                     May 8, 2024
16   formulation challenge in and of itself, given how the    16
17   active moiety performs in this sort of situation. But    17
18   we certainly have our best and brightest working with    18
19   our third party partners on this, and we look forward    19
20   to giving an update later this year.                     20
21          MR. KAPLAN: All right. Thanks for taking          21
22   the question.                                            22
23          MR. DIVIS: Thanks, Matt.                          23
24          OPERATOR: That concludes our Q and A              24
25   session. I will now turn the conference back over to     25
                                                    Page 38
 1   Greg Divis for closing remarks.
 2         MR. DIVIS: Thank you. And most
 3   importantly, thank you everyone for joining us today.
 4   Thank you for your time, and we wish you a great day,
 5   and we look forward to future updates and any follow-
 6   up during the course of today and over the next couple
 7   weeks. Have a great day. Thank you.
 8         OPERATOR: Ladies and gentlemen, that
 9   concludes today's call. Thank you all for joining.
10   You may now disconnect.
11         (End of Audio Recording.)
12
13
14
15
16
17
18
19
20
21
22
23
24
25

JANE ROSE REPORTING                                                        National Court-Reporting Coverage
1-800-825-3341                                                              janerose@janerosereporting.com
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 371 of 385 PageID #: 33856

   Transcription of Audio                                                                       FINAL - May 8, 2024
   Avadel Pharmaceuticals                                                                      1Q 2024 Earnings Call

                                                                                                                    Page 40

                A            announced 5:4 31:8      believe 3:22 5:1,23 6:8   channel 11:20 28:20     concerned 16:25
    abandon 17:1             annualized 28:19          8:4 11:7 12:18 20:10    charges 12:4              34:22
    abandonment 17:5,13      answer 26:3,8             30:24 37:10             Chase 31:19 32:9 33:5   conclude 3:15
    ability 3:19 26:3 37:4   anticipate 30:8,15,18   benefit 4:5 28:12            34:4                 concludes 37:24 38:9
       39:6                  APA 27:1,6                37:12                   Chief 3:5,6,7           condition 18:10,11
    able 19:25               apologize 23:12 30:21   best 26:3 37:18 39:6      claims 26:18            conference 2:7,12
    accepted 6:6             application 6:5         better 17:20              clarify 27:25 31:6,14     37:25
    access 23:18,19,19       approach 4:20           beyond 4:8 5:19           clear 4:15 5:21 6:21    confidence 19:24
    accomplish 37:6          approved 4:5 6:8        big 19:3                     16:10 29:14 31:8     congrats 14:20 16:10
    account 12:19 13:7       approximately 6:3       bigger 17:23 32:1         clearly 20:7 28:25        19:18 35:5 36:18
    achieve 5:1 13:1,4         11:20 12:8,22 13:2    bioequivalent 7:7         clintrials.gov 25:7     consensus 13:14 20:1
       19:25                   13:14                   36:23                   close 13:12             consistent 4:17 11:21
    achieved 5:10            area 19:10 25:11        bit 21:19,20 27:23        closely 8:17              36:25
    achievements 4:24        arguments 27:5            28:3 30:11,17 35:22     closing 13:11,22 38:1   consistently 17:6
    achieving 4:11 5:2       articulated 32:21       block 33:20               collective 4:23           20:21 28:21
       13:7                  Ash 27:21 28:13,16      branded 29:1              color 16:2 32:22 33:3   constitute 2:15
    ACP 15:13                asked 31:21             breakdown 35:9            combination 10:16       contained 3:3
    Act 2:17,23              asking 14:16            breakeven 13:1,7          come 17:11 33:7         contemplated 2:20
    action 6:6               aspiration 5:2          brightest 37:18           comes 14:18 16:12,25    context 7:23
    activated 10:10          assistance 33:10,12     bring 8:2 18:19 37:5         19:7,16 23:9 25:19   continue 3:19 4:21
    active 37:17             associated 6:22         Brisebois 16:13,15           27:20 29:9 31:18       5:10,15,17 7:11,13
    actual 2:19 13:16        assume 23:22              17:15 18:23 19:15          35:2 36:3,4,14         7:24 8:15,18 10:19
       14:24 18:7,17         assumptions 13:1,8      bucket 35:21              comfort 29:25             20:13 21:25 23:6
    add 16:2 21:16,16          13:19 20:1            buckets 30:1              comfortable 13:13         27:14
       22:1                  attention 13:12         build 7:11,24 8:4,15      coming 8:23 21:2        continued 7:16 8:5
    added 15:9               attractive 28:10          29:12                      26:11 30:15            12:20 13:24 30:6
    adding 36:19             attributable 12:1       building 3:22             comment 15:20 18:13     continues 10:6,14
    addition 5:9 13:5        audio 2:1 38:11 39:6    bullish 16:8                 19:4,24 21:15,16       21:18
       22:14                 Austin 2:8 3:9          bumps 34:11                  22:18 28:15 34:21    continuing 21:1 22:7
    additional 5:23 7:3,23   authorization 24:18     business 3:25             commentary 29:13        contributions 4:24
       31:12                 Avadel 1:4,9 2:2 3:1                              commented 7:21          conversation 10:11
    additionally 7:4 8:11      4:23                              C                21:10 28:18          COPY 1:24
       9:24 10:24 11:19      Avadel's 2:13,22 5:6    calendar 6:18             commenting 22:25        correct 39:4
    additions 14:22          available 11:14         call 1:9 2:3,12 3:5,8     comments 27:15 30:3     correctly 30:23
    address 6:9              AVDL 1:4                  7:17 11:10 13:21        commercial 3:6 7:18     costs 12:2,2,12
    adds 22:6,8,14 23:1,6    average 20:22 21:21       14:5 30:21 38:9            34:5                 counsel 39:8
       28:2                    22:8 28:18            called 14:13 21:3         commercially 11:1       couple 19:19 22:6,24
    adjusting 12:7           averaging 24:18         Capital 35:3                 13:3 33:16 34:7        23:11 26:11,25 27:9
    adolescence 18:11                                cardiovascular 36:3       commitment 8:2            31:21 38:6
    adult 18:18                         B            caregiver 4:18            communicated 12:9       course 20:3 21:8,14
    adults 18:3              B 15:13                 caregiver's 6:10          community 3:20 5:16       21:23 22:12 38:6
    advancing 5:17           back 13:21 25:2 27:9    case 39:9                    8:3 10:2 11:6,9      Court 27:3
    affect 21:4                28:22 37:25           cases 16:19 29:1          comorbidities 36:4      cover 34:7
    AG 29:2,22               balance 12:21 35:16     cash 12:7,10,15,18,20     companies 25:10,24      coverage 10:17,23,24
    agree 18:5               balanced 8:22 35:19       12:22,23                   26:19                  24:20,24 33:1,14,19
    allowed 8:3                35:22                 cause 2:19                company 5:24 19:17        34:5
    alongside 27:4           based 4:15 12:5         CDLT 1:15                 compared 10:20 11:24    covered 11:1 24:17
    amazing 10:2             Basically 32:5          certainly 21:5,8 25:6        12:23 32:16            29:3 33:11,16 34:14
    ambassadors 10:1         beat 19:25                37:6,11,18              comparison 8:20         Craig-Hallum 31:19
    Ami 19:17 20:7,19        becoming 4:11 11:8      CERTIFICATE 39:1          compelling 4:17 6:21    create 36:22
       21:16 22:20             26:5                  certification 9:6            9:3                  created 7:15
    amortization 12:6        bedtime 37:13           certify 39:3              compensation 12:2,5     creating 14:1
    amount 33:7              beginning 2:1 5:22      challenge 18:14 37:16     completed 9:6           criteria 24:18 34:12
    Amsellem 23:9,11           8:22 36:25            change 18:3 33:24,24      compliance 21:5         critical 3:22
       25:16                 begun 4:9                 33:25 34:21             composition 30:16       cumulative 5:8 8:13
    Andrew 14:19 15:7        Belghiti 35:3,4,25      changed 10:4                 32:11                cumulatively 31:9
    and/or 29:2                36:12                 changes 28:24,25          comprised 12:4          current 12:25 13:13




   JANE ROSE REPORTING                                                         National Court-Reporting Coverage
   1-800-825-3341                                                               janerose@janerosereporting.com
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 372 of 385 PageID #: 33857

   Transcription of Audio                                                                        FINAL - May 8, 2024
   Avadel Pharmaceuticals                                                                       1Q 2024 Earnings Call

                                                                                                                     Page 41

    currently 7:1,8 13:19    discontinuations 32:3    entering 17:14          feedback 4:18 19:1,11     gained 10:24
      18:21 19:21 28:19      discontinued 8:24        entire 4:23 9:12 17:7      22:22                  Gaining 9:20
    curve 14:21                26:13 30:7 31:23         18:20                 feeling 29:24             general 33:3 34:8 36:8
    cyberattack 33:24          32:13 35:8,18          equivalents 12:23       field 6:20 9:13 34:15       36:10
                             discontinued/naive       eroded 29:21               34:19                  generally 21:17 26:25
                D              35:17                  essence 24:17           filed 2:24                  33:1 36:8
    data 6:6 22:10 26:5      discuss 2:12 11:11       established 4:25 34:9   filings 2:22,25           generate 20:22
      36:11 37:10            disrupt 18:20            estimates 13:12 29:25   fill 33:25 34:23          generated 5:9 7:25
    date 24:4                disruption 33:24         evaluating 6:15         FINAL 1:24                  11:16
    David 23:9,25 24:3       distribution 35:7        events 3:4              financial 3:7,14 11:14    gentlemen 38:8
      25:4                   Divis 3:5,9 13:23 15:4   evidence 4:14,16           13:11 39:9             gestalt 35:13
    day 21:7 38:4,7            16:3 18:5 19:4 20:4    evolution 20:2          financials 11:11          getting 10:18 15:12
    days 24:19                 21:15 22:18 23:25      evolving 5:12           first 2:3,13 3:11 4:20      16:4 19:1,13 33:14
    deal 19:3                  25:4,18 26:2,23        exact 26:20                6:1 7:1 9:25 10:15     give 25:25 26:20
    December 2:24 8:10         28:13 30:2 31:6 36:5   exactly 16:18 23:2         11:24 14:18 19:23      given 30:24 31:14
      9:8,20 12:24             36:24 37:23 38:1,2     excellent 16:6 34:5        20:5 22:20 24:1          36:18 37:16
    decision 6:13            doing 37:14              Exchange 2:23              25:22 26:3 27:25       giving 37:20
    dedication 11:5          dose 6:24 7:1 19:10      excited 7:23               28:6,22 30:5           glad 27:13
    deductibles 15:18          19:13,14 21:7          execution 3:18 7:14     focal 29:4                go 21:12 22:17 25:14
    deep 6:22                drive 3:20 10:11 21:20   Executive 3:6           focus 3:25 5:20 15:16       26:6 29:19
    definitely 24:24 25:1    driven 14:25 15:2        exit 21:21              focused 5:14 20:7         goal 34:17
      26:9,17,21 29:3,5      driving 5:18 29:15       exited 11:3             focusing 9:13 15:11       goes 21:7 33:19
      30:18 32:19 35:19      drug 6:5 15:2 31:23      expand 4:2              folks 19:8                going 17:19 20:9,13
    Delaware 27:8,12           32:1                   expansion 6:2 13:25     follow 2:5 17:20 38:5       23:2,7,22 28:21 29:4
    deliver 3:19 4:10 5:15   due 6:22 12:11           expect 7:8 12:14        following 2:14 3:11         29:6,17 30:8,16
      5:23                   dynamics 8:18 20:9         15:19                 foregoing 39:4              32:19 33:4 34:10,11
    delivered 4:22             20:17 28:1             expectation 5:2 20:22   Form 2:23                   35:23 37:6
    demand 8:16 11:20        D.C 27:3                   20:25                 formal 2:5                good 2:11 3:9 7:20
      13:9 30:6,15                                    expectations 13:6       formularies 28:8            10:19 11:12 14:20
    demonstrates 8:9                     E            expected 12:20 28:17    formulary 28:25 29:1        17:7 19:18 23:4,19
    Department 27:4          earlier 18:12 21:10      expenses 11:22,23       formulate 37:4              25:13,21 31:20
    depreciation 12:6           28:18                   12:1,3,7,11,15,17     formulation 7:6 37:16       36:17
    describe 26:24           early 3:21 4:13 10:19      13:10                 forward 2:15,18,21        Goodman 25:20,21
    described 2:22              15:8,21 16:1 20:8     experience 10:17           3:2 6:12 14:3 23:2,7     27:18
    design 23:23 25:5,14        32:18 33:13             15:13 33:22              25:15 26:7 27:14       government 27:6
    detail 35:6              Earnings 1:9 2:3,13      experienced 9:8 15:17      29:6,17,19 30:8,16     GPOs 10:24
    details 7:3,18 17:12     easiest 33:21            experiences 15:14          35:23 37:19 38:5       great 16:23 18:23
      23:13                  easy 33:21 34:20         experts 6:20            foundation 3:23 4:25        22:19 26:4 30:4 38:4
    develop 37:4             edges 31:21              explicitly 25:5            7:15 8:4 14:2            38:7
    development 7:5          effective 19:12          extremely 6:23          fragmented 26:6           greater 5:5,7 8:12
    device 14:14             efforts 4:2,24 9:14      eyes 21:18              frame 32:4                Greetings 2:2
    diagnose 17:25           either 17:4                                      franchise 37:10           Greg 3:5,8 7:20,21
    diagnosis 18:1,14        eligible 4:16                       F            Francois 16:13              13:21 16:2,23 25:2
    dialed 14:8              encouraging 7:24         Fadia 19:17,18 22:4     Frank 16:22,24 17:8         36:7 38:1
    differ 2:20                 28:3                  fair 23:22 25:12           18:6                   grew 14:23
    differences 36:2         ended 2:24 31:16         families 6:12           free 15:2                 gross 11:17 15:1 21:9
    different 18:18 24:16    endpoints 17:16          family 18:20            Friday 27:2,6               21:12
      26:6 33:2              engage 25:11             far 16:24 24:3,13       front 10:22               group 10:25
    differentiator 8:25      enrolled 5:6 8:8           28:24 33:13,18,19     fulfillment 10:13         groups 24:16 31:23,24
    differs 23:17            enrollment 23:16           33:19,23 34:3,21,22   full 4:20 11:14 13:14     grow 11:6
    difficult 6:23 16:17        24:14                   35:14                    23:3 25:11             growing 9:1 10:17
      36:22                  enrollments 20:10        faster 14:23            further 4:17 35:9           11:3 26:20
    difficulty 37:15            24:5,10               FDA 6:6 25:11,12 27:2   future 3:4 4:7 5:2,22     grows 13:9
    disconnect 38:10         ensure 14:15               27:4                     14:4 20:14,18 38:5     growth 3:21 4:7 5:18
    discontinuation 15:3     ensuring 5:15            FDA's 6:13                                          5:23 7:16 8:5 11:7
      15:21,22 17:19 32:6    enter 16:20              February 2:25 12:13              G                  13:24 22:8,21 23:4
      32:9                   entered 29:16            Federal 27:3            GAAP 11:23 12:3             26:10 29:15,15




   JANE ROSE REPORTING                                                        National Court-Reporting Coverage
   1-800-825-3341                                                              janerose@janerosereporting.com
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 373 of 385 PageID #: 33858

   Transcription of Audio                                                                           FINAL - May 8, 2024
   Avadel Pharmaceuticals                                                                          1Q 2024 Earnings Call

                                                                                                                         Page 42

      35:20                    impressed 4:21            K 1:15                   line 14:18,19 16:13,14     33:19
    guess 25:2 36:21           impressive 33:17          Kaplan 36:15,16,17          19:17 23:9 25:20       Marc 25:20 26:5 27:19
    guidance 12:10             improve 10:14               37:21                     27:21 29:10 31:19      March 3:14 8:9 9:6
    guide 34:18                included 2:23             Katie 10:2                  35:3 36:15,16           11:18,19 12:22
    guys 17:21,22 31:20        includes 2:14 12:4        keeping 16:5             Listen 21:6 28:16         market 4:11,21 5:2
      35:1 36:17               including 3:13 9:8        key 3:13 8:7 9:22        listening 14:14            10:6 18:7 26:19
                                  13:8,15                  19:10 33:18            listen-only 2:4            29:14,15,16 36:21
               H               increase 8:10,13 9:7      keypad 14:10             litigation 2:17 26:1,24   marketable 12:23
    half 6:18 7:2                 11:25 13:17 22:13      Kim 3:6 7:20 15:6           27:8,17                marketplace 17:1
    hand 14:10                    30:11                    16:22 19:6 20:6        little 21:19,19 26:5       26:11 37:5
    handful 25:10              increasing 15:3             22:19 24:2 26:4           27:23 28:3 30:11,17    materialize 11:6
    handset 14:15              incremental 4:7             28:24 30:4 31:7 32:8      35:6,21                materially 2:20 12:19
    hard 23:1 26:20            industry 15:18              33:4 34:3 35:11 36:7   lives 10:5 11:1 33:16      18:8
    HCP 10:9,11,17             inertia 6:23 19:7,8       kind 17:23 21:21            34:7                   Matt 36:15 37:23
    HCPs 9:5,5,12,19,23        information 3:4             22:13 26:24 32:3       living 4:3                MATTER 1:1
      26:14                    initial 4:25 9:14 18:11     33:18,20,21 34:1       Livnat 29:10,11 30:20     matters 2:15
    headwinds 15:1,17          initiate 6:17 17:3        Knickerbocker 31:19         31:17                  mature 21:18,20
    health 34:21               initiated 5:8 8:11,14       31:20 32:22 33:15      long 3:24 5:24 11:7       McHugh 3:7 11:12
    hear 4:19 19:11               10:18 20:11 24:6,20      34:25                     14:2 33:6               20:19 27:19 28:16
    heard 6:20 22:23              30:25 31:9             know 16:17,17 17:24      longer 24:21 29:2         mean 20:6 30:25
      29:13 30:22,23           initiating 8:18 35:7        18:24 20:8 22:9,13     look 6:12 14:3 20:12      meaning 2:16
    hearing 6:13 15:14         initiation 23:17 24:14      25:6 27:24 29:20          20:13 24:13 25:14      meaningful 13:25
      27:1,11 33:18               34:18                    31:2,8 33:2,5,13          32:10 35:13 37:19       34:22
    hearings 27:1,13           initiations 15:10 16:4      34:6 37:11                38:5                   meaningfully 32:17,21
    help 14:24 34:16,18           31:13                  KPIs 8:7 16:1 21:17      looking 2:15,18,21 3:2    measured 24:21,25
    helpful 25:16 32:22        insurance 17:10                                       8:17                   Medicaid 32:24 33:1,5
    Hey 14:20 16:22            intake 36:4                           L            looks 33:1                 33:7,14
    Hi 19:18 20:19 25:21       intention 21:24           Ladenburg 36:15          lose 17:9                 Medicare 36:9
      27:22 28:16              interest 17:10 39:9       Ladies 38:8              lot 17:25 19:1,7 20:8     meet 24:17 29:23
    high 9:14                  intervened 27:4           lag 23:16,17 24:13          20:16 29:21            mentioned 17:16
    higher 12:2,11 13:16       introduce 2:8             landscape 5:13           lot's 31:21                23:13 32:20
      15:1,18 32:6             introduced 9:25           large 10:25 24:23        loud 14:14                met 34:12
    highest 9:21               intuitive 18:24           larger 18:9,17 31:25     low 7:5 17:5,6,13         metric 16:16 30:24
    highly 29:21               inventory 28:1,14,17         32:5                     36:20,22                31:14
    historically 15:24            28:20                  largest 10:23            lower 12:19 15:23         metrics 3:13,21,22
    hopping 30:20              Investor 2:9              laser 5:14                  32:11,15,17,20,21       15:8 20:8,14,15
    Horizon 8:8                involved 25:24            lastly 10:22 33:23          37:13                   21:17 22:1
    hypersomnia 4:3            issued 11:15              late 27:23               LUMRYZ 3:18,23 4:1,5      middle 19:2,9
      23:21                    item 28:7                 launch 3:13,18,21 4:1       4:8,10,21,25 5:5,8     milestone 9:25 13:4
    H.C 29:10                  items 12:7                   4:9 5:5,15,18,20         5:15,16,18 6:5,8,21    million 5:9 11:17,18
                                                            7:14,21 8:7,15 9:22      7:8,14,21,25 8:16,19    11:23,24 12:4,5,6,8
                I                         J                 12:1 13:24 15:8,10       9:9,19 10:1,4,9,11      12:10,16,17,22,24
    idiopathic 4:3 23:21       Jane 1:14,25 39:3,7          16:1,7 17:7 20:8,17      10:20 11:7 12:20        13:14
    IH 4:3 6:15,17,22            39:14                      21:18 23:4 24:4          13:9,18,23 19:20       minimum 23:7
        18:24 19:6 25:3 36:1   Jazz 23:24 28:5 29:13        27:15                    22:22 23:14 26:11      misheard 30:21
        36:2                   Jefferies 14:19           launched 28:22              26:14,15 28:2,10       missed 23:12
    III 6:17                   job 16:6 34:6             launching 7:25              29:7 31:25 33:1        mix 29:18,18 32:5
    immediate 6:25             join 14:10,17             law 3:1                     36:19,23 37:9,13       mixed 30:14
    immune 17:3                joining 2:12 3:10         laying 14:1              LUMRYZ's 5:11 6:15        mode 2:4
    impact 7:12 15:19            27:23 38:3,9            leader 4:11                 9:2                    modeling 22:16
        33:23 34:23            journey 10:8              leadership 5:3 7:11                                moderately 35:19
    impacted 34:23             journeys 10:4             Leerink 25:20                      M               moiety 37:17
    importance 10:7            June 8:15 27:11           legal 12:2,12            maintain 13:1             momentum 7:25 11:3
    important 4:2 9:24         jury 27:10                level 32:6               major 18:14                22:11
        15:11 16:4 32:25       Justice 27:5              life 17:11 18:12         majority 8:21 24:4,5,7    month 9:25 11:20
        36:1,20                                          LifeSci 35:3              35:14                     24:19 28:21
    importantly 7:12 38:3                 K              lighter 28:4             making 6:23 9:23 20:2     monthly 22:8




   JANE ROSE REPORTING                                                            National Court-Reporting Coverage
   1-800-825-3341                                                                  janerose@janerosereporting.com
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 374 of 385 PageID #: 33859

   Transcription of Audio                                                                        FINAL - May 8, 2024
   Avadel Pharmaceuticals                                                                       1Q 2024 Earnings Call

                                                                                                                      Page 43

    months 24:21,25 27:9     obviously 17:19,24                 P               permanent 15:2             9:21
    morning 2:11 3:10 5:5      25:11 27:9 32:24       PA 34:12                  persistency 10:20        prescribing 9:12
     7:20 11:13,15 14:20     occurred 31:13           paid 31:1                   16:7 31:24               15:14
     19:18 25:21 31:20       offering 6:10 36:20      parallel 5:21             personal 10:3            prescription 9:16,18
     36:17                   offers 4:6 18:21         part 9:22 20:20 32:5      perspective 18:6,8,15    present 18:12
    move 16:18 27:14         Officer 3:6,7,7            34:1 36:21                30:4 37:8              presentation 2:6,14
    moved 29:22              offices 10:12,17 15:13   participants 2:4          Pharmaceuticals 1:4        3:3
    Moving 9:5                 22:23 34:17,20         parties 39:8                2:3                    press 11:14 14:9,12
    Murtagh 2:9,11           Okay 18:23 25:16         partners 25:20 37:19      Phase 6:17                 14:17
    mute 14:16                 30:20 31:17 35:25      party 37:19               phone 14:15              pretty 28:2
    Myriam 35:3,11             36:12                  patent 12:12 27:8         physicians 4:13 33:18    previous 9:9 22:15
                             once 15:25 17:12,18      patient 4:18 5:7 6:9      pick 14:15               previously 6:14 9:4
               N               37:13                    7:2 8:17,19 10:1,7      piece 31:3                 12:9 26:12,16 27:3
    naive 8:24 9:1 30:7,11   once-at-bedtime 6:21       10:10 13:9 14:22        piecing 26:17 29:13        30:7 31:23
      31:22 35:8,18,20,24      7:6                      15:3,9,10,12,14 16:4    Piper 23:9               price 19:22 20:2
    naives 32:13             once-nightly 37:9          21:6 22:6,8,14 23:1     pivotal 6:17             pricing 13:9,19 20:21
    narcolepsy 3:20 4:4,8    ones 24:24 26:12           24:15 28:2,4,19 30:6    place 10:23 12:13          21:4 28:1,14,17
      5:12,16,18 6:2,4,19    onetime 14:25              30:16,22 31:13 32:7     plan 7:2                 primarily 12:1,11
      7:15 8:3 10:1,3,7      open 14:5,19 16:14         33:11 34:18             plans 12:25              PRIME 10:25
      11:5,9 36:2              36:16                  patients 4:4,12,13,16     playing 29:18            prior 11:21,25 24:18
    near 3:23 6:1 26:25      opening 3:12 30:3          5:6,8,24 6:4,12,24      please 14:9,12,15          26:10 36:19
      27:17                  operating 11:22,23         7:13 8:8,11,13,18,21    pleased 3:17 9:22        priorities 5:21
    nearly 8:10 34:6           12:1,3,7,11,15,16        8:21,24 9:1,3 10:8        11:16 15:8,21,25       priority 3:25
    need 6:21 18:25 29:23      13:10                    10:18 13:3,6,17,18        22:21 30:5 34:4        Private 2:16
    needed 8:3               operations 12:18           14:23 15:12 16:18       pleasure 2:8             probably 18:2 27:15
    Needham 19:17            operator 2:2 14:6,7        17:1,9,13,18 18:22      plus 33:16               problem 19:2 24:2
    needs 4:15 6:10            16:12 19:16 23:8         18:25 19:3,21 20:11     point 15:7,17 20:24      proceedings 39:5,5
    neither 39:7               25:19 27:20 29:9         20:15,22 21:1,2,21        21:3 24:15 29:4 34:4   process 10:14 17:2
    net 5:10 11:17 12:18       31:18 35:2 36:14         21:22 22:1,3 23:14      pointed 20:21              25:12 27:12 33:5,13
      13:9,19 15:1 19:21       37:24 38:8               23:18,18 24:4,5,6,8     points 33:19             product 7:7 10:13
      19:22 20:2,21,23       Oppenheimer 16:13          24:12 25:23 26:12       policies 10:23             17:9 29:22
      21:4,7,21,21 22:2,25   opportunities 4:7 5:23     28:6,9,11 29:3,21,23    policy 24:24             products 34:10
      28:18                    7:11,13 13:25 30:1       30:11,12,25 31:4,9      pool 18:17               profile 7:7
    nets 21:9,12             opportunity 4:15 5:11      31:22 32:1,2,4,16       population 6:3 17:17     profit 11:17
    never 16:20 26:15          6:1 10:11 18:7,16,19     33:11 34:11,12 35:7       17:22 31:25 36:9       program 5:7 7:8 8:9
    new 3:4 6:5 10:15          18:21 29:6 32:24         35:14,15 36:2,9,19      populations 32:7         programs 33:10
      16:25 18:19 21:2         36:1 37:2,5              37:1,3,12               portion 32:2             progress 3:13 4:2,14
      22:14 30:25 34:18      option 6:11 28:11        pay 13:12 15:19           position 5:12              5:22 6:16 7:18 8:1
    nice 35:23               Oren 29:10 31:7          payer 10:16,22,22         positioned 8:5 11:7        9:23 14:4,21 19:19
    night 19:2,9 37:2        outcome 39:10              32:25                     13:24                    33:9
    nightly 24:7 29:2        outperform 13:19         payers 29:6               positions 5:1            progressed 19:22
    noncash 12:4             outside 27:15            PBM 10:23,25              positive 8:16 22:21      progressing 7:4 22:12
    non-cash 12:16           outstanding 26:1         pediatric 4:4 6:2,11,19     23:4,5                 promise 4:10 5:16
    north 24:11                34:15                    17:16,22 18:8 32:24     positively 7:12          proper 18:13
    notable 26:11            overall 10:14 11:1,3     pediatrics 18:2           possibility 13:15        proposition 9:3 30:12
    note 11:13                 15:7 24:10,13 26:19    people 10:2 16:5          possible 33:21 34:20     protocol 28:6
    noted 21:2 27:3 28:5       32:9,11 35:13 36:10      26:14 32:1              possibly 4:5             provide 3:12 7:3,9,23
    number 7:10 9:1 13:5     overlapping 21:25        percent 6:3 8:10,13,23    posted 25:7                33:8 35:6,9
      13:8,17 14:24,25       owned 10:24                8:24 9:15,18,19,20      potential 6:2,9 7:5      provider 4:18
      19:21 22:5 23:15,15    oxybate 4:12,16 6:25       11:2 17:17,22,23        potentially 4:6 6:10     providers 4:12
      26:21 31:4 33:17         7:6 9:4,8,10,12,14       18:4 24:9,10,11,11        18:22 19:25            provides 4:14
    numbers 26:17 28:4         9:18,21 11:8 25:23       33:16 34:6 35:8         preclinical 7:5          providing 14:4
    numerically 15:23          26:15,18 29:2 30:14    percentage 21:12          predict 23:2             proxies 25:13,13
                             oxybates 10:21 19:12       23:14 24:3              predominantly 18:10      public 2:22 25:6
              O                24:7 26:6,13 32:12     perfect 26:7                18:12                  pursuit 4:10
    obligation 3:2           oxybate-treated 6:4      performs 37:17            preferred 4:11 11:8      p.m 27:3
    observation 22:20                                 period 24:23              prescribers 9:9,15,17




   JANE ROSE REPORTING                                                          National Court-Reporting Coverage
   1-800-825-3341                                                                janerose@janerosereporting.com
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 375 of 385 PageID #: 33860

   Transcription of Audio                                                                        FINAL - May 8, 2024
   Avadel Pharmaceuticals                                                                       1Q 2024 Earnings Call

                                                                                                                      Page 44

               Q               28:22 32:14 33:6       results 2:20 3:11,15      seemingly 14:23          started 24:15
    quantify 19:20             34:4,17 36:10             3:18 4:22 5:4,10       seen 10:16 17:7 22:22    starts 10:15 30:22
    quarter 2:3,13 3:11,17   reason 16:21                11:4,14 13:16 36:18       34:22 35:13           state 33:2,3
      3:20,21 8:25 10:15     reasons 17:8             revenue 5:10 11:17        segment 8:17 35:21       statement 3:3 36:10
      11:6,6,18,24 12:8      receipts 12:20              13:15 16:9 20:23          35:24                 statements 2:16,18,21
      14:23 19:23 21:25      receive 10:8                21:7,12 28:3,19,23     segments 8:19 26:10      status 4:12 27:7
      22:8,14,15 23:6        receiving 39:7           review 3:11,14               30:6,9,16,18 32:10    stayed 17:6
      25:23 30:23 32:14      reconcile 14:24          revise 3:2                   35:10                 steady 8:16 22:21
      33:25 34:2 35:5,20     record 39:4              Richard 3:6,12 7:18       sell 13:12,20              23:4
      35:20                  recorded 2:8 39:5           7:19 11:12 15:4 19:4   sense 25:22              step 34:17
    quarterly 12:10,15       Recording 2:1 38:11         20:4 21:1 22:18        September 6:7            stepped 32:14
      36:18                  recurring 12:15             23:25 26:2 28:14       services 5:7             Stern 2:9
    quarters 11:21 22:7,9    reflect 3:3                 30:2 31:6 32:23 36:5   session 2:5 3:16 14:8    sticking 33:18
      22:24                  Reform 2:17              right 18:11 20:7,12          37:25                 stick-to-itiveness
    question 14:9,11,13      regard 5:20 16:6 21:11      24:4,19 26:7,25        set 6:6 21:18              17:8
      14:16,18,22 15:6       regarding 13:6 26:23        27:16 29:21 33:12      settle 21:13             stock 12:5
      16:12,15,24 19:16      regards 19:22 20:2          37:21                  settled 15:20            stop 27:11
      20:20 22:5 23:8,20     registration 23:23       risk 36:3 37:3            share 10:3 20:23         strategy 9:22
      23:21 25:19 26:5       reimbursed 13:3,5,17     risks 2:19,21             shared 6:14              strength 5:11
      27:20,25 28:18 29:9      13:18                  road 34:11                shareholders 5:25        strong 3:18,22 7:15,22
      29:12 31:18 32:8       reimbursement 10:14      robust 4:13 30:8          sheet 12:21                8:1,4,15 10:16 14:2
      35:2,4,12 36:13,14       34:16,19               Rose 1:14,25 39:3,7       shift 20:18                22:21 30:12 32:10
      36:21 37:22            related 12:2,12 39:8        39:14                  shorter 24:22            studies 25:10
    questions 14:5 19:19     Relations 2:9            roughly 8:23              show 5:11 10:6           study 23:23
      23:12 25:22 27:23      relative 28:23           routinely 4:18            side 13:12,20            sub 19:13
    question-and-answer      relatively 17:6,13       royalties 27:10           signals 9:2              subject 2:18
      2:5 3:15 14:8            32:18                  ruling 27:9               significant 3:20 4:6     subsequent 2:25
    queue 14:11,17           release 6:25 11:15       Runtime 1:11                 6:16 33:7             subset 37:3
    quicker 18:1             relentlessness 4:22      RYZUP 5:6 15:9 16:16      signs 10:19              subtracting 31:16
    quickly 13:8 16:18         11:5                      16:18,20,24 17:14      similar 6:19 23:23       success 36:18
    quite 18:14 24:23        relevant 36:3               20:10 22:6 23:1,16     situation 34:9 37:17     successful 37:9
    Q1 3:14 4:1 5:9 6:16     remain 4:1 16:8             24:14                  sleep 6:23 7:12 14:1     suffering 6:22
      8:1,12 11:3 12:3       remainder 12:14                                       18:25 19:7,8 37:2     suit 27:2
      15:18 21:13 31:10      remarks 3:12 13:22                  S              slightly 32:15           summary 7:10
      31:12,13 35:15,22        38:1                   sales 12:20 14:24,25      slope 14:21              summer 4:9 25:7
    Q3 23:3                  reminder 2:7,13 9:11     salt 30:14                sodium 7:6 29:2 30:13    supplemental 6:5
    Q4 31:11                 REMS 9:6                 Sandler 23:10                36:4,20,22 37:3,10    support 5:7 14:3
                             repeated 27:24           saw 28:1 32:11 35:15         37:13                   25:11 27:5
               R             report 3:17 11:16        Sawyer 1:15               solidified 4:17          supported 7:14
                             reported 11:22 14:25     says 15:25                sorry 31:7 36:7          sure 16:23 20:6 24:2
    raise 14:10              reporting 1:14,25 23:3                             sort 19:20 22:11,13,14     26:4 34:3 35:11 36:7
    ran 23:24                                         scheduled 27:2
                               39:3,7,14              SEC 2:25                     22:15,24,25,25,25     surprises 28:23
    randomized 23:22         reports 26:18                                         30:5 31:15 32:14,20   switch 8:21 30:12,17
    range 12:16,17 24:23                              second 6:18,24 7:2
                             represent 9:15 21:2        19:10,13 20:5,20           34:8,18 35:12,15,22     32:16 35:14
    rate 13:16 17:5,13       representation 30:9                                   37:17                 switched 24:6,12
      32:9                                              23:20 25:25 36:21
                               32:15                  secondly 28:5             sorts 34:13              switches 8:23 30:7
    rates 15:3,21,22 32:16   represented 30:19                                  space 7:12 14:1            35:16
      33:25 34:23                                     securing 34:6
                             representing 8:12        securities 2:17 12:23     speaker 14:14            symptoms 18:12
    ratio 8:22               represents 6:3                                     speaks 37:11
    reach 3:19 4:2                                    see 8:5,18,22 10:19
                             required 3:1               11:4 15:22,23 16:17     specific 5:22                       T
    reached 9:24             requirement 37:9                                   specifically 31:24
    read 17:23                                          17:20,22 22:7,12                                 tackle 33:20
                             research 10:6 19:11        26:9 29:5,18 30:5       stage 15:10 20:9,17      take 13:7 16:23 19:10
    readiness 6:17           respect 12:21 20:20                                   26:21 32:21 33:8,12
    real 5:22                                           31:3 33:25 35:22,23                                19:13 20:4 24:1,9,25
                             rest 21:14 30:19           36:11                   stand 28:12                28:13,15 29:23
    really 15:11,16,25       restless 18:25                                     standpoint 16:7
      16:8 17:12 18:10                                seeing 7:24 8:22 9:1                               takes 17:24 33:5
                             rests 29:25                22:13 29:14,20          stands 20:1              talk 22:11 23:13,16
      19:6,10 20:7,10,11     result 21:21                                       start 7:22 15:4 35:24
      21:20 22:22 26:10                                 32:15                                            talked 30:10




   JANE ROSE REPORTING                                                          National Court-Reporting Coverage
   1-800-825-3341                                                                janerose@janerosereporting.com
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 376 of 385 PageID #: 33861

   Transcription of Audio                                                                           FINAL - May 8, 2024
   Avadel Pharmaceuticals                                                                          1Q 2024 Earnings Call

                                                                                                                            Page 45

    target 6:6 7:7               23:16,17 24:13,23      Tyler 10:2                  35:22                  $51.7 11:23
    targets 29:24                30:17 32:3 33:6                                  we're 7:24 8:22 9:1      $6.5 12:4
    team 4:9,23 5:14 16:5        35:24 38:4                        U                15:8,21,25 17:3,19     $7 12:17
       34:5,16,19             timelines 24:25           UBS 27:21                   20:7,13,24 21:10       $89 12:22
    teams 9:13                timing 13:7 24:13         ultimately 21:20 22:2       22:20 23:3 26:21
    team's 8:2 11:4           tipping 21:3              unable 19:9                 28:19 30:5 32:19                  0
    telephone 14:10           today 3:5 7:22 14:1       uncertainties 2:19,22       33:13 34:4,8 37:5,14   0:43:16 1:11
    tend 20:17                   18:9,18,22 20:1 26:8   Underscoring 5:4          we've 6:16 17:7 20:21
    tends 21:13                  29:14 33:2 38:3,6      understand 22:16            21:17 22:22,23,24                 1
    term 3:23,24 5:24 6:1     today's 13:11 38:9          35:8                      29:12 31:14 33:12      1 14:9,12,17
       11:7 14:2 26:25        Tom 3:7,14 11:10,11       undertakes 3:1              35:12                  1Q 1:9 27:25
       27:17                     13:23 20:5,19 28:13    unequivocal 4:14          whatnot 25:8 27:10       1,000 31:10
    terms 16:16 17:16         top 3:25 9:17 31:2        uninterrupted 37:2        wish 38:4                1,300 13:2
       18:23 27:1,8,16 35:6   topic 36:25               unique 21:11 29:5         wishful 31:5             1,500 13:2
       35:25 36:19 37:15      total 9:15,18 11:23       universe 9:13             withdraw 14:11           1,600 9:14
    Thalmann 36:15               13:17 18:16 22:5       unlocking 10:10           withdrawal 23:23         1,700 8:11 31:9,15
    thank 2:9,11 3:9,10          25:24                  unmet 4:15 6:10           wondering 16:16          1-800-825-3341 1:25
       11:12 13:23 14:2,7     track 7:1 11:8            upcoming 27:1               29:17 35:5             10K 2:23
       17:15 19:15 23:8,24    traditionally 32:12       update 3:2,12 25:25       work 17:19 37:6,14       10Q 11:15
       25:17 26:1 29:8        transcribed 39:6            32:25 37:20             working 26:21 37:18      100 22:14
       31:17 34:25 38:2,3,4   transcript 39:4           updates 7:9 13:11         writing 26:14 33:22      1700 5:7
       38:7,9                 TRANSCRIPTION 1:8           14:4 33:8 38:5          written 9:10,19 26:15    1995 2:17
    thanks 7:20 15:3,6           39:1                   upper 12:9
       16:10,15 20:6 23:25    Transcriptionist 1:15     upside 18:4                         X                         2
       24:2 25:18 27:18,19    transformational 6:11     uptake 4:13               XYREM 29:20              2 27:2
       27:22 28:12,13         transition 21:22 28:10    usage 33:7                Xywav 23:15,24 24:3,8    2,100 9:5
       29:11 32:8 35:4,11     transitioning 10:13       use 6:8,15 9:20 15:2        24:12 29:22,23         2,800 5:6 8:8
       36:12 37:21,23            20:14                  uses 4:6                    36:19                  2023 2:24 8:14 12:24
    therapeutic 19:14         translate 16:8
                                                                                                             31:16
    Therapeutics 10:25        treated 10:4 13:18                   V                         Y             2024 1:9,10 2:3,13,25
    therapy 5:8 8:3,12,14        14:22 18:9,17,21,22    value 4:7 5:24 9:2 14:1   yeah 16:22,22,23,23        3:11 7:9 11:18,24
       8:19 9:2 10:9,19       treatment 5:12 6:11       variables 21:8,19           16:24 19:6 20:6,6,19     12:3,14 13:4,15
       13:6 15:12 16:5,19        6:15 10:8 19:21        Verma 27:21,22 29:8         21:15 22:19 28:24        22:17 39:15
       16:21,25 17:3 20:11    trend 22:16 23:5,6        version 30:14 37:13         28:25 30:4 31:7,7      25 24:11
       20:16 21:1,22 22:1,3   trending 17:21            versus 28:4 29:25           33:4 34:3 35:11,12     29 2:25
       23:17 31:1,4 35:7      trends 7:24 12:25         Video 1:11                  36:8,24
    thing 15:11 23:5             31:25 32:2,19          view 20:12 26:19          year 2:24 4:20 5:9                  3
    things 15:19 20:12        trend's 35:23               36:24                     6:13,18 7:2,22 8:6
       21:4 34:13             trial 6:17 12:12 25:5                                                        30 24:11,19
                                                        voice 10:7,10               8:20,21 11:25,25,25    300 9:7
    think 15:7 16:3,5,7          25:13,14               volume 9:14,16,18,21        13:15,24 20:3,23
       18:5,7,16,18,19,20     true 39:4                                                                    31 2:24
                                                                                    21:7,14,23 22:12       31st 3:14 9:6 11:18,19
       19:6 21:17 22:2,5,20   try 37:6                             W                28:12,20 29:25
       23:4 25:4,12 28:10     trying 22:15 31:3                                                              12:22,24
                                                        Wainwright 29:10            30:19 37:20
       28:11 31:24 32:23      Tsai 14:19,20 16:10                                 younger 36:9
                                                        wake 6:24 19:9,12                                               4
       36:24 37:1             turn 3:8 7:17 11:10
                                                        waking 19:1                                        4th 27:11
    thinking 31:5                13:21 14:5 15:24                                            $
                                                        walk 34:16                                         4,500 9:11
    third 37:19                  16:1 25:2 37:25
                                                        want 10:3 15:4 18:2       $1.1 12:6
    thought 30:22             turning 8:7 11:22
                                                         19:4 20:4 22:18 26:2     $105 12:24                          5
    thoughts 18:6 36:6        twice 24:6 29:1
                                                         29:12 31:6               $120,000 20:23 28:20
    three 8:19 10:23 22:9     twice-nightlies 15:24                                                        5 6:3 17:16,22,23 18:4
                                                        wasn't 30:23              $162 13:14
       30:6,9,16,18 32:10     twice-nightly 10:20                                                          50 8:10,23,24 9:17
                                                        watch 32:19               $25.7 11:17
    thrilled 11:4                26:13 30:13,14                                                              24:9,10 35:8
                                                        way 26:24                 $27.2 5:9 11:17
    tick 35:24                   32:12                                                                     50/50 29:17
                                                        weeks 25:1 38:7           $28.3 11:24
    ticked 32:4               two 23:15 24:1,16                                                            500 9:17
                                                        welcome 2:2               $40 12:10,16
    time 2:4 3:8 7:3 13:13       25:21 27:13 32:6
                                                        well-positioned 5:17      $45 12:8,10,16
       16:9 17:20,25 18:13       35:9                                                                                   6
                                                        Wendy 1:15 10:2           $5 12:17
       18:15 20:10,16 22:2    two-month 32:3                                                               64 9:20
                                                        we'll 22:2 27:5,13 33:8   $5.4 12:5




   JANE ROSE REPORTING                                                            National Court-Reporting Coverage
   1-800-825-3341                                                                  janerose@janerosereporting.com
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 377 of 385 PageID #: 33862

   Transcription of Audio                                          FINAL - May 8, 2024
   Avadel Pharmaceuticals                                         1Q 2024 Earnings Call

                                                                                 Page 46

              7
    7th 6:7
    70 8:13
    700 10:15 15:9 30:22
      31:2,12

               8
    8 1:10 39:15
    80 9:15,19
    85 11:1 33:15 34:6

              9
    900 15:9 23:1
    900-ish 23:5




   JANE ROSE REPORTING                                National Court-Reporting Coverage
   1-800-825-3341                                      janerose@janerosereporting.com
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 378 of 385 PageID #: 33863




                    EXHIBIT 34
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 379 of 385 PageID #: 33864
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 380 of 385 PageID #: 33865
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 381 of 385 PageID #: 33866
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 382 of 385 PageID #: 33867




                    EXHIBIT 35
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 383 of 385 PageID #: 33868
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 384 of 385 PageID #: 33869
Case 1:21-cv-00691-GBW Document 627-1 Filed 05/28/24 Page 385 of 385 PageID #: 33870
